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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

NATIONAL ASSOCIATION FOR GUN
RIGHTS, and SUSAN KAREN GOLDMAN,           No. 1:22-cv-04774
                  Plaintiffs,
      v.                                   Honorable Harry D. Leinenweber

CITY OF HIGHLAND PARK, ILLINOIS,           Honorable Jeffrey T. Gilbert
                  Defendant.




                   DECLARATION OF JAMES YURGEALITIS
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                         DECLARATION OF JAMES YURGEALITIS

      I, James Yurgealitis, declare under penalty of perjury that the following is true and correct:

       1.      This declaration is based on my personal knowledge and experience, and if I am

called as a witness, I could and would testify competently to the truth of the matters discussed in

this declaration.

       2.      All opinions contained herein are made pursuant to a reasonable degree of

professional certainty. My curriculum vitae, which is attached as Exhibit A, documents my

educational and professional experience in detail.

       3.      I am currently self-employed as a Legal and Forensic Consultant where I provide

firearms and related technical and public policy consulting, forensic case reviews, and testing

and training services to corporations, legal counsel, and the public sector.

       4.      Previously, I served as a Federal Law Enforcement Officer for 26 years. From

1986 until 1990 I was a Special Agent with the Bureau of Diplomatic Security in the United

States Department of State. Then, from 1990 until December 2012, I served as a Special Agent

with the Bureau of Alcohol, Tobacco Firearms & Explosives (ATF) in the United States

Department of Justice.

       5.      When I retired from ATF, I was a Senior Special Agent and a Program Manager

at the ATF National Laboratory Center. For nine years, I was responsible for all ATF firearms

and forensic firearms related training and research at the National Laboratory Center. I directed

ATF’s Forensic Training Programs, oversaw all forensic firearms-related research, supervised 52

instructors and administrative personnel, and maintained liaison with commercial firearms and

ammunitions manufacturers.




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       6.      I graduated from the Federal Law Enforcement Training Center, the Criminal

Investigator Training Program, the Bureau of Diplomatic Security New Agent Training, and the

Bureau of ATF New Agent Training Program. I also conducted regular training for local, state,

and federal law enforcement agencies, domestically and abroad, regarding firearms

classification, operability, and firearms statutes.

       7.      I have been granted regular access to a number of firearms reference collections,

including the ATF National Reference Collection (10,000+ firearms) as well as the Liege

Proofhouse (1,000+ ammunition cartridges), Springfield Armory National Historical Site

Firearms Collection (10,000+ firearms), Smithsonian Institution Firearms Reference Collection

(4,000+ firearms), Wetechnische Studiensammlung des BWB (Federal Defense Procurement

Bureau Museum in Germany) (10,000+ firearms). I have also toured numerous firearms and

ammunition manufacturers’ facilities in the United States and overseas.

       8.      I maintain a personal library of firearms- and ammunition-related books, printed

material, documents, and periodicals, attend local and national tradeshows, and maintain contact

with other recognized experts in the field.

       9.      Over the course of my career, I have been recognized, and testified, as an expert

witness in numerous local, state, and federal courts.

       10.     I have a Bachelor of Arts Degree in Political Science and Psychology from

St. John Fisher University in Rochester, New York.

       11.     In the past four years, I have served as an expert in Herrera v. Raoul, Case No.

1:23-cv-00532 (N.D. Ill.), Harrel v. Raoul, Case No. 3:23-cv-141-SPM (S.D. Ill.); Langley v.

Kelly, Case No. 3:23-cv-192-SPM (S.D. Ill.); Barnett v. Raoul, 3:23-cv-209-SPM (S.D. Ill.);

Federal Firearms Licensees of Illinois v. Pritzker, Case No. 3:23-cv-215-SPM (S.D. Ill.);

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Viramontes v. Cook County, Case No. 1:21-cv-04595 (N.D. Ill.); Gates v. Polis, Case No. 1:22-

cv-01866 (D. Colo.); Nat’l Ass’n for Gun Rights v. Lopez, Case No. 1:22-cv-404-DKW-RT

(D. Haw.); Del. State Sportsmen’s Ass’n v. Del. Dep’t of Safety & Homeland Security, Case No.

1:22-cv-00951-RGA; Capen v. Healey, Case No. 1:22-cv-11431-FDS (D. Mass.); Oregon

Firearms Fed’n v. Brown, Case No. 2:22-cv-01815-IM (D. Or.); and Joseph v. Brown, Case No.

22-cv-41008 (Circuit Court of Harney County, Oregon). Exhibit B contains a listing of the cases

that I have recently served as an expert witness or consultant in.

       12.      I am being compensated for my research, opinions, preparation, and testimony at

the rate of $400/hour.

       13.      I have reviewed the complaint filed in this case, National Association for Gun

Rights v. City of Highland Park, Illinois, Case No. 1:22-cv-04774 (N.D. Ill.), and Highland Park

Ordinance No. 68-13, codified at Highland Park Code § 136.001 (the “Highland Park

Ordinance”).

       14.      I have been asked by counsel for Defendant the City of Highland Park, Illinois

(“Highland Park”) to address certain statements made in Plaintiffs’ Reply In Support of Motion

for Preliminary Injunction (Dkt. 81) concerning the necessity and suitability of assault weapons

and large-capacity magazines (“LCMs”), as defined by the Highland Park Ordinance, for civilian

self-defense.

                                    REBUTTAL OPINIONS

       15.      Based on my experience, and my training and research regarding the conception,

design, history, and purpose of assault weapons, the characteristics of assault weapons as

described in the Highland Park Ordinance are ill-suited for civilian self-defense. In fact, the




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prohibited characteristics make the weapons more suitable for offensive assaults that pose a

serious risk to the public and to law enforcement officers.

       16.     Based on my training, experience, and knowledge, I would not recommend an

assault weapon for home or self-defense. Home defense and self-defense rarely, if ever, involve

lengthy shootouts at long ranges. The range and performance characteristics of assault weapons

increase the risk of bystander injury and building material destruction.

I.     Features of Assault Weapons in the Highland Park Ordinance

       17.     The Highland Park Ordinance does not ban all firearms, all semi-automatic

firearms, or even all firearms chambered to fire .223/556 mm (AR-platform) or 7.62x39 mm

(AK-platform) caliber ammunition.

       18.     Instead, the Highland Park Ordinance prohibits a number of enumerated firearms

and features with obvious military (i.e., non-sporting) heritage, certain weapons based on

magazine features, and shotguns with revolving cylinders. The features delineated in the

Highland Park Ordinance are direct descendants from those on military firearms. These features

are not necessary for civilian self-defense; firearms without these features are permitted under

the Highland Park Ordinance, and these lawful alternatives are widely available to civilian

customers and provide effective means for civilian self-defense.

       19.     Pistol grip without a stock attached (semiautomatic rifles and semiautomatic

shotguns): A semiautomatic rifle or semiautomatic shotgun that includes a pistol grip (without a

shoulder stock) increases the ability of the operator to conceal the rifle or shotgun and to

maneuver the firearm in confined space such as a vehicle. The pistol grip also facilitates easier

firing from positions other than the shoulder (firing from the hip or a point position directly in

front of the operator).


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       20.     Any feature capable of functioning as a protruding grip that can be held by

the non-trigger hand (semiautomatic rifles, semiautomatic pistols, and semiautomatic

shotguns): Protruding foregrips allow increased stability of the firearm by the operator. This

allows the operator to better control recoil and muzzle climb, thus increasing the hit probability

of successive shots. A protruding foregrip is not a feature found on traditional sporting firearms.

It appeared on some versions of AK-based rifles; however, it was not until the advent of the Rail

Attachment Systems (RAS) and acceptance by the U.S. Military of the same that foregrips for

semi-automatic rifles became more widespread. A foregrip on a pistol is regulated under the

National Firearms Act and subject to more restrictive controls to include registration in a national

database.

       21.     Folding, telescoping, or thumbhole stock (semiautomatic rifles, semiautomatic

pistols, and semiautomatic shotguns): Folding and/or telescoping stocks allow the operator to

more easily conceal or maneuver the rifle in a confined space such as a vehicle. They also

facilitate easier or more comfortable firing from positions other than the shoulder. However, a

firearm does not need an adjustable stock to operate. Folding stocks were added to the M-1

carbine in World War II for paratrooper use. More recent variants of the U.S. Military’s M-16

(M-4 Carbine) have incorporated telescoping stocks as a standard feature. Thumbhole stocks

have historically been utilized on some firearms for sport and target shooting; however, during

the time the Federal Assault Weapons Ban was in effect (1994-2004), a number of AK-style

firearms (amongst others) were equipped with thumbhole stocks to circumvent the ban’s

prohibition on pistol grips.

       22.     Shroud attached to the barrel, or that partially or completely encircles the

barrel (semiautomatic rifles and semiautomatic pistols): Historically, barrel shrouds were a

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feature of military rifles produced and adopted at the beginning of the 20th Century. The U.S.

Model 1903 Springfield Rifle (standard issue for U.S. Forces in WWI) incorporated a wooden

barrel shroud. The M1 “Garand” Rifle utilized by the U.S. Military during WWII incorporated a

traditional wooden stock and a wooden handguard which covered the top 2/3rds of the barrel.

Barrel shrouds encircle and protect the end of the barrel, keeping the barrel safe from damage

caused by collision with objects and providing the operator with a second grip without being

burned. In a modern gas-operated semiautomatic military rifle, it serves to protect the gas

tube/piston mechanism from inadvertent damage. It also provides additional grip space for the

operator to steady and control the rifle during rapid, repeat firing without risking being burned by

a hot barrel.

        23.     Muzzle brake or muzzle compensator (semiautomatic rifles and semiautomatic

pistols): These are devices attached to the muzzle of a firearm barrel which directionally deviate

a portion of the gasses escaping (from the muzzle) to counteract the recoil of the firearm. Many

firearms have a tendency to “climb” when fired rapidly due to the effects of recoil on the

operator and the firearm itself. Counteracting muzzle climb allows the operator to rapidly and

effectively fire follow-up shots into the intended target or acquire additional targets.

        24.     The Highland Park Ordinance also prohibits certain magazine features.

        25.     The capacity to accept a detachable magazine at some location outside of the

pistol grip (semiautomatic pistols): The placement of a detachable magazine outside of the pistol

grip is a feature not common to sporting pistols and can trace its origin to military pistols. The

Bergman Military Model 1897 (or No. 5) featured a detachable magazine outside the pistol grip.

Further evolution of this design can be found in the Mauser C-96 or “Broomhandle” pistols,

which were manufactured with fixed internal as well as detachable magazines forward of the

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pistol grip. Modern firearms recently or currently manufactured in this configuration are either

semiautomatic pistol variants of submachinegun designs (HK SP89, Czech Scorpion, TEC-9,

etc.) or pistols based upon AR and AK receivers. The magazine placement provides a second

grip, which can increase stability and allow more controlled rapid fire.

       26.     Fixed magazine capacity in excess of five rounds (semiautomatic shotguns) or

ten rounds (semiautomatic rifle or semiautomatic pistol): This feature prohibits large-capacity

fixed magazines. A fixed magazine capable of holding more than 5 rounds of ammunition for a

semiautomatic shotgun or 10 rounds for a semiautomatic rifle or semiautomatic pistol is not

necessary to operate a firearm as designed. All firearms are capable of functioning with

compliant capacities. Generally speaking, modern semiautomatic rifles that are designed,

manufactured, and marketed as “hunting rifles” traditionally have a fixed magazine capacity of

less than 10 rounds depending on caliber. For example, the Browning BAR in .30-06 caliber as

currently manufactured has a fixed magazine capacity of four (4) rounds. Similarly, many

modern semiautomatic shotguns that are designed, manufactured, and marketed as “hunting

shotguns” have a fixed magazine capacity of less than 5 rounds, including, for example, the

Remington Model 1100, which has a fixed magazine capacity of four (4) rounds. Notably, most

shotguns comply with state hunting laws that restrict shotguns to no more than 5 rounds.

       27.     An ability to accept a detachable magazine (semiautomatic shotgun):

Detachable magazines allow shooters to replace an empty or depleted magazine with a fresh

magazine to resume firing quickly.

       28.     Finally, the Highland Park Ordinance defines any shotgun with a revolving

cylinder as an assault weapon. Shotguns with revolving cylinders are known as “street sweeper”

shotguns, and are of a design that has not been accepted or issued for military or law

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enforcement use by any nation or agency that I am aware of. In terms of legitimate sporting use

for either hunting or target shooting or self-defense, I cannot conceive of it having any utility.

Shotguns of this type have been classified as a “Destructive Device” by ATF and are subject to

additional restrictions under the National Firearms Act of 1935.

           29.    For more than 30 years, these types of prohibited features—useful for offensive

military applications in combat settings but not necessary for civilian self-defense—have been

the subject of study and regulation.

           30.    For example, in 1989, an ATF working group formed under the President

George H.W. Bush administration evaluated the importability of semiautomatic rifles and

completed a report, which is attached as Exhibit C. 1 That working group determined that certain

civilian semiautomatic rifles were generally semiautomatic versions of selective-fire military

assault rifles. 2 As the working group explained, selective-fire military assault rifles can fire in

fully automatic mode (AKA: a machinegun). By contrast, civilian semiautomatic assault rifles

cannot fire in fully automatic mode, but they have the same “general characteristics which are

common to the modern military assault rifle.” 3

           31.    These characteristics are associated with features that are designed for offensive,

military applications. As the working group found, these characteristics and features carried over

from the military assault rifle to the semiautomatic versions, and distinguished the semiautomatic




1
 Report and Recommendation on the Importability of Certain Semiautomatic Rifles, Department
of the Treasury Bureau of Alcohol, Tobacco and Firearms (July 6, 1989).
2
    Id. at 5–6.
3
    Id. at 6.

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assault rifles from traditional sporting rifles. 4 The ability to accept a detachable magazine,

folding/telescoping stocks, pistol grips, and other identified characteristics were “military

configurations.” 5 As a result, the ATF working group determined that semiautomatic assault

rifles were not “generally recognized as particularly suitable for or readily adaptable to sporting

purposes.” 6

           32.      In 1994, Congress enacted the Federal Assault Weapons Ban, creating criminal

penalties for the manufacture, transfer, or possession of assault weapons and large-capacity

magazines. In enacting the federal ban, Congress recognized the tragic threat posed by gangs,

drug-traffickers, mentally deranged persons, and others armed with assault weapons. 7

Specifically, Congress noted that assault weapons had become the weapon of choice for gangs,

and law enforcement faced a “rising level of lethality … from assault weapons on the street.” 8

           33.      Congress, when drafting the 1994 Federal Assault Weapons Ban, incorporated the

technical work of the 1989 ATF working group. 9 Congress recognized that “semiautomatic

assault rifles … represent a distinctive type of rifle distinguished by certain general

characteristics which are common to the modern military assault rifle.” 10 Congress further



4
    Id.
5
    Id. at 6–7.
6
    Id. at 12.
7
 H.R. Rep. No. 103-489, Public Safety and Recreational Firearms Use Protection Act (May 2,
1994) (attached as Exhibit D) at 12.
8
    Id. at 13–14.
9
    Id. at 17.
10
     Id.

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recognized that these features serve “specific, combat-functional ends” that provide “a capability

for lethality—more wounds, more serious, in more victims—far beyond that of other firearms in

general, including other semiautomatic guns.” 11

          34.        ATF organized two subsequent working groups in 1998 and 2011. The 1998

working group concurred with the conclusions of the 1989 study and added a finding that “the

ability to accept a detachable large capacity magazine originally designed and produced for a

military assault weapon should be added to the list of disqualifying military configuration

features identified in 1989.” 12 The 2011 working group then considered the importability of

certain shotguns, finding that features such as folding/telescoping/collapsible stock, shotgun

magazines over 5 rounds, and forward pistol grips were most appropriate for military or law

enforcement use and not sporting purposes. 13

          35.        As described above, the prohibited features serve military-style offensive

purposes as opposed to traditional sporting or self-defense uses. And the ATF’s concerns about

the offensive nature of these firearms have certainly been borne out by their subsequent criminal

use in mass shootings and assaults on law enforcement in the past decade.

II.       Assault Weapons Are Ill-Suited for Self-Defense

          36.        At numerous points throughout Plaintiffs’ Reply in Support of Motion for a

Preliminary Injunction, Plaintiffs allege that self-defense is one of the primary reasons for the



11
     Id. at 18–20.
12
  Department of the Treasury Study on the Sporting Suitability of Modified Semiautomatic
Assault Rifles, Department of the Treasury Bureau of Alcohol, Tobacco and Firearms (April
1998) (attached as Exhibit E) at 2.
13
  ATF Study on the Importability of Certain Shotguns, U.S. Department of Justice Bureau of
Alcohol, Tobacco, Firearms and Explosives (January 2011) (attached as Exhibit F), at iv, 9–13.

                                                     10
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purchase of a firearm regulated by the Highland Park Ordinance. It is my opinion, based on my

experience and training, that an AR, AK, or other banned assault weapon is a poor choice for

self-defense.

           37.   Due to my background as a Federal Law Enforcement Officer, training, and

experience, I have been asked on numerous occasions over the past 35 years what firearm I

would recommend for home or self-defense. In all of those years, I have never recommended any

of the firearms prohibited by the Highland Park Ordinance as a self-defense or home defense

weapon.

           38.   Home defense and/or self-defense situations rarely, if ever, involve lengthy

shootouts at distant ranges with extensive exchanges of gunfire. Many assault weapons banned

under the Highland Park Ordinance were designed to be effective at battlefield ranges of up to

500 yards or more, and the typical muzzle velocity of a .223 caliber bullet is approximately

3,200 feet per second. When the .223 cartridge was designed for the AR-16 / M-16, it was

intended to kill or incapacitate enemy combatants at distances of hundreds of yards, not dozens

of feet.

           39.   Projectiles travelling at velocities found in banned weapons also pose a serious

risk of over-penetration in most home construction materials, such as gypsum board / sheet rock

and typical 2x4 lumber, which also poses a serious risk of death or injury to innocent bystanders

in adjoining rooms, apartments, attached dwellings, etc.




                                                 11
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           40.    In August 2014, the National Rifle Association’s “American Rifleman” published

an article by Stanton Wormley: “The AR-15 for Home Defense: Penetration Tests.” 14 Wormley

conducted penetration tests on nine different types of .223 / 5.56mm ammunition by firing them

through simulated wall sections constructed of gypsum board / sheet rock and wooden 2x4 studs.

When fired at a 90-degree angle to the walls, all nine (including “frangible” rounds designed to

disintegrate when hitting a hard surface) easily penetrated the wall section as well as water jugs

placed three feet behind:

           “But just how much energy did the penetrating projectiles carry? All the loads, including
           the Glaser, exploded one-gallon water jugs placed 3 feet behind the wall sections.” 15

           41.    The tests conducted by Wormley also included firing longitudinally through the

wall sections, resulting in the penetration of three successive 2” thick 2x4 studs by a number of

the projectiles. These tests vividly highlight the inherent dangers of utilizing assault weapons

with high velocity ammunition in a home defense scenario.

           42.    The current U.S. Army issue .223 caliber ammunition is capable of penetrating

3/8” hardened steel at 350 yards. 16 Potential over-penetration in a confined environment is

problematic in terms of risk to bystanders or family members outside the target location. Most

jacketed commercially available .223 / 5.56mm ammunition has impressive penetration

capabilities. Additionally, the (former) NATO issue M855 SS109 5.56mm is readily available



14
   Stanton Wormley, The AR-15 for Home Defense: Penetration Tests, American Rifleman (Aug.
5, 2014), https://www.americanrifleman.org/content/the-ar-15-for-home-defense-penetration-
tests/ (last accessed March 12, 2023).
15
     Id.
16
   Maj. John L. Plaster, Testing The Army’s M855A1 Standard Ball Cartridge (May 21, 2014),
https://www.americanrifleman.org/content/testing-the-army-s-m855a1-standard-ball-cartridge/
(last accessed March 12, 2023).

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for purchase by civilians. This ammunition was designed to penetrate up to 3mm of “soft” (i.e.,

non-hardened) steel. This capability poses substantial risks to individuals in adjoining rooms,

neighboring apartments, or other attached dwelling units.

          43.    Assault pistols are similarly a poor choice for home defense or personal

protection. Many assault pistols enumerated in the Highland Park Ordinance require two hands

to effectively aim and shoot. In a home defense situation, an individual may be required to use

one hand to call 911 while attempting to operate a “two handed” firearm with one hand. Such a

situation would also preclude the homeowner from utilizing their “non-gun hand” to pick up or

guide a small child, elderly, or handicapped individual during such an event.

          44.    Further, home defense and street/commercial robbery situations are rarely lengthy

protracted shootouts with extensive exchanges of gunfire. The National Rifle Association

Institute for Legislative Action (NRA-ILA) regularly publishes newsclips on their “Armed

Citizen” webpage highlighting examples of defensive use of firearms by citizens. 17

          45.    Claude Werner, a firearm instructor and writer, conducted a detailed statistical

analysis of 482 incidents provided by the NRA-ILA on their website from 1997 to 2001. He

determined, from the information provided, that the average number of shots fired in a defensive

scenario was 2.2. 18

          46.    Lucy Allen conducted a similar statistical analysis of the “Armed Citizen”

newsclips for the period January 2011 – May 2017. Her analysis revealed that the average

number of shots fired in a self-defense scenario was identical to that determined by Werner: 2.2



17
   Armed Citizen, National Rifle Association Institute for Legislative Action,
https://www.nraila.org/gun-laws/armed-citizen/ (last accessed March 12, 2023).
18
     Claude Werner, The Armed Citizen – A Five Year Analysis (attached as Exhibit G), at 3.

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shots. “According to this analysis of incidents in the NRA Armed Citizen database, it is

extremely rare for a person, when using firearms in self-defense, to fire more than seventeen

rounds. Out of 736 incidents, there were no incidents in which the defender was reported to have

fired more than 17 bullets and only two incidents (0.3% of all incidents), in which the defender

was reported to have fired more than 10 bullets. Defenders fired 2.2 shots on average.” 19

          47.   These two independent analyses of information provided by the NRA, itself an

organization which advocates and promotes use and availability of firearms for self-defense,

showed that the average shots fired per self-defense incident had not changed over a 20-year

period.

          48.   Additionally, an abundance of ammunition is not a substitute for weapons

familiarization and shot placement. Repeated practice and shooting with a chosen firearm will

make someone a more effective deterrent should deadly force be required.

          49.   If an individual asking for a self-defense weapon recommendation has a

preference for shoulder weapons, I have recommended a pump-action 12- or 20-gauge shotgun

(Remington 870, etc.) loaded with 00 Buckshot and stored with the “hammer dropped” on an

empty chamber, safety off. The only action required to bring the shotgun from a safe unloaded

condition to a firing condition is to work the pump action of the shotgun. The advantages of this

type of firearm and storage condition are unmatched stopping power and low probability of over-

penetration (as compared to rifle caliber and velocity projectiles). The loading/chambering

process itself is an audible deterrent—i.e., the sound of someone loading a shotgun can be




19
  Declaration of Lucy P. Allen, Del. State Sportsmen’s Ass’n v. Del. Dep’t of Homeland
Security, Case No. 1:22-cv-00951-RGA (D. Del.), Dkt. 38 at 5.

                                                14
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enough to scare off an intruder or attacker. Training and familiarization with this type of firearm

is simple and straightforward.

       50.     For a handgun, my first inclination is to recommend an eight-shot revolver in

.38 +P caliber/.357 Magnum (Similar to S&W Model 627, Taurus Model 608, etc.) loaded with

hollow point bullets. As with my rationale for recommending a pump action shotgun, there is a

low probability of over penetration and ease of reloading with a speed loader should more than

eight shots be required. Revolvers are also easy for other family members to learn to operate,

especially if they have less familiarity with firearms.

       51.     In terms of a carry handgun, I value concealability. The advantage of concealed

carry is protection without broadcasting the fact. In a street robbery scenario, I believe the best

course of action is to quickly extricate yourself from the “kill zone” and not engage in a

protracted gunfight. When I was employed as a Special Agent with ATF, we were issued a Sig

Sauer P229 in .40 S&W caliber as a primary duty weapon. We were also given the choice of a

Sig Sauer P239 in .40 S&W or a five-shot Smith and Wesson Model 640 in .357 Magnum as a

backup firearm. When off duty, I carried the S&W 640 and a speed loader extensively as

opposed to the P229. I found it easy to conceal and am of the opinion that ten (10) rounds was an

adequate amount of ammunition to enable me, or myself and my wife, or child, to extricate

myself from a street or retail location robbery should I encounter one. Consequently, I have most

often recommended either a lightweight small revolver (S&W Bodyguard, Ruger LCR, Smith

and Wesson Model 36, 640 or variant) carried with a speed loader or a low-profile small

semiautomatic pistol (Sig Sauer P236, Ruger LCP, Colt Pocketlite etc.) with a spare magazine.

       52.     In sum, the types of firearms classified as assault weapons under the Highland

Park Ordinance, specifically AR- and AK-type rifles, are descendants of military weapons

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designed for use in combat. These features are not designed for, nor are they particularly suitable

for, civilian self-defense. Hundreds of firearms-without these features- are permitted under the

Highland Park Ordinance, and provide Highland Park citizens with more than effective means of

self-defense.



      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.



       Executed on March 13, 2023 at      ~J....Je..lr:55'T€JE,~-
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                                     James E. Yurgealitis
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                                  24 Hour Mobile: (443) 452-7248
                                   Email: jyurgealitis@gmail.com
_____________________________________________________________________________________________

SUMMARY:

Self employed as a Legal and Public Policy Consultant providing Technical Firearms and Forensic
Consulting, Testing and Policy Research / Training Services to Corporations, Legal Counsel and the
Public Sector

EDUCATION:

B.A., Political Science and Psychology, St. John Fisher University, Rochester, New York – May 1985

PROFESSIONAL EXPERIENCE:

December 2012 to Present: Independent Legal and Policy Consultant / Subject Matter Expert

Currently provide independent consulting services to Corporations, Legal Counsel and Governmental
entities in regard to Public Policy and Technical matters relating to Firearms, Firearms Policy, Forensics
and Law Enforcement. Current and former clients include the Office of the District Attorney for Cook
County Illinois, The City of Sunnyvale, California, The City of Highland Park, Illinois, The Office of the
Attorney General for the Commonwealth of Massachusetts and the Center for American Progress,
Washington D.C. I have provided sound policy and technical assistance for my clients to include expert
testimony which successfully endured the opposition’s legal appeals to the U.S. Circuit Court of Appeals
and the U.S. Supreme Court.

December 2003 to December 2012: Senior Special Agent / Program Manager for Forensic Services
ATF National Laboratory Center (NLC), Beltsville, Maryland. U. S Department of Justice, Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF)

Directed the administration and management of ATF’s Forensic Training Programs to include the
National Firearms Examiner Academy (NFEA) a 12-month training program for State and Local Forensic
Firearm Examiner Trainees. Also managed two additional forensic training programs. Administered a
$1M + budget in accordance with strict ATF and National Institute of Justice (NIJ) guidelines and
reporting requirements. Responsible for oversight of all Forensic Firearms related research at the NLC.
Supervised a full and part time cadre of fifty-two (52) instructors and administrative personnel.
Maintained liaison with commercial firearms and ammunition manufacturers and subject matter experts
and ensure that lesson plans and curriculum reflected the latest technical developments in firearms
manufacture, forensics and their application to federal and state law. Applied for, received and managed
in excess of $2M in external grants to facilitate uninterrupted delivery of training during internal budget
shortfalls. Detailed to the Department of Homeland Security Command Center in 2005 with overall
responsibility to coordinate and direct Federal, State and Local Law Enforcement assets during and
following Hurricanes “Irene” and “Katrina” and again in 2010 for “Andrew” and “Danielle”.

June 1997 - December 2003: Special Agent / Violent Crime Coordinator, ATF Baltimore Field Division,
Baltimore, Maryland
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Responsible for management of ATF’s “Project Disarm”, a joint law enforcement initiative between ATF,
The United States Attorney’s office for the District of Maryland (USAO), the Baltimore City Police
Department, the Baltimore City States Attorney’s Office and the Maryland State Police. Duties included
reviewing over 400 state and local firearms related arrests annually for subsequent referral to the USAO
and Federal Prosecution. Managed a caseload of 75 – 100 criminal cases annually. Responsible for
selection, referral, follow - up investigation and subsequent indictment and prosecution of armed career
criminals. Testified in front of Federal Grand Juries in excess of 75 times annually. Was recognized, and
testified, as an expert witness in the Identification, Operability and origin of Firearms and Ammunition in
three Federal Judicial Districts. Toured over 25 firearms and ammunition manufacturing facilities in
Europe and the United States. Temporarily assigned in 2001 for three months to the 9-11 Task Force
investigation in conjunction with FBI Assets. Temporarily assigned to the D.C. Sniper Task Force
Intelligence Group in 2002 for two months.

June 1990 – June 1997:
Special Agent, ATF Baltimore Field Division, Baltimore, Maryland

Served in various capacities as a street-level Special Agent. Acted as Group Supervisor and Assistant
Special Agent in Charge on numerous occasions. Served on the Washington – Baltimore High Intensity
Drug Trafficking Area (HIDTA) task force from 1995 – 1999. Investigated armed narcotics trafficking
organizations, seized assets, authored and executed Federal and state search and arrest warrants,
conducted surveillance, interviews / interrogations, testified in Federal and state courts as a fact witness,
purchased firearms, explosives and narcotics while in an undercover capacity, investigated fatal bombings
and arsons, firearms trafficking, alcohol and tobacco trafficking, homicide, fraud and gun store burglaries.
Also while detailed for 8 months as the Public Information Officer authored press releases, provided
interviews to local and national print and television media outlets and made presentations to local and
national public and special interest groups and associations.

April 1989 – June 1990 and July 1986 – March 1987: Special Agent, United States Department of State,
Diplomatic Security Service (DSS), Washington Field Office, Rossyln, VA

Conducted investigations of violations of Federal Law under the department’s purview to include
Passport and Visa Fraud, Illegal trafficking of restricted firearms and war materials to prohibited
countries, human trafficking, seized assets, authored and executed State, local and Federal Arrest and
Search Warrants, testified in Federal Court as a fact witness, detailed on an as needed basis to the
Dignitary Protection Division as Agent in Charge of multiple protective details for visiting and resident
foreign dignitaries, temporarily assigned to support Physical and Personal Protective Security in various
U.S. Embassies overseas on an as needed basis, detailed to the Secretary of State Protective Division on
an as needed basis to supervise agents assigned to augment the permanent protective detail.

March 1987-February 1989: Special Agent, DSS, Secretary of State Protective Division, Washington, DC

Served in various capacities as Acting Agent in Charge, Acting Shift Leader, Lead Advance Agent and
Shift Agent. Responsibilities included close personal protection of the Secretary of State both
domestically and overseas, extensive foreign travel to facilitate and prepare security arrangements for
overseas visits to include Presidential Summit meetings, liaison with foreign host government officials to
plan and solicit assistance with security arrangements, supervision of agents temporarily assigned to
augment the detail, liaison with U.S Government Intelligence Agencies and other Federal, State and Local
Law Enforcement Agencies to identify and protect against potential threats to the Secretary of State.

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CLEARANCES: Top Secret March 1986 valid through February 2015. Numerous prior SCI Clearances.

TEACHING EXPERIENCE:

   -   Instructed at the Federal Law Enforcement Training Center (FLETC), for ATF and other Federal
       Law Enforcement Agencies
   -   Instructed at the International Law Enforcement Academy (ILEA) in Budapest, Hungary
   -   Instructed for numerous State, local and / or regional law enforcement agencies both in the United
       States, Canada and Central America

LINKEDIN PROFILE AND ENDORSEMENTS:

https://www.linkedin.com/in/james-jim-yurgealitis-68618464?trk=nav_responsive_tab_profile_pic

REFERENCES:

Available upon request




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Case: 1:22-cv-04774 Document #: 87-5 Filed: 03/13/23 Page 23 of 261 PageID #:1962




                     Professional Qualifications of James E. Yurgealitis
                 Independent Legal, Public Policy and Forensic Consultant

I, James E. Yurgealitis, being duly sworn, depose and state:

1.) That I was previously employed as a Senior Special Agent / Program Manager with
    the Bureau of Alcohol, Tobacco Firearms & Explosives, (ATF) United States
    Department of Justice, and had been so employed since 1990. Prior to 1990 I was
    employed as a Special Agent with the Bureau of Diplomatic Security, (DSS) United
    States Department of State and had been so employed since 1986.

2.) I have a Bachelor of Arts Degree in Political Science and Psychology from St. John
    Fisher College, Rochester, New York.

3.) I am a graduate of the Federal Law Enforcement Training Center, Glynco, Georgia,
    the Criminal Investigator Training Program, Bureau of Diplomatic Security New
    Agent Training, and the Bureau of ATF New Agent Training Program.

4.) I have completed the Firearms Interstate Nexus Training Program conducted by the
    Firearms Technology Branch, ATF Headquarters, Washington, D.C.

5.) I have completed both Advanced Interstate and European Nexus Training conducted
    by ATF in conjunction with several domestic and European firearm manufacturers.

6.) I have testified in excess of 200 times before Federal Grand Juries regarding the
    classification, operability, and commerce of firearms and / or ammunition.

7.) I have previously qualified as an expert witness regarding the origin, operability /
    classification and interstate movement of firearms and ammunition in U.S. District
    Court for the District of Maryland, U.S. District Court for the District of Delaware
    and the Circuit Court For Baltimore City, Maryland.

8.) I have conducted regular training for local, state and federal law enforcement
    agencies both domestically and overseas regarding firearms classification,
    operability and firearms statutes.

9.) I maintain a personal library of books, printed material and documents that relate to
    the field of firearms, ammunition, and firearms classification, attend local and
    national trade shows and professional association meetings, and regularly review
    periodicals relating to firearms and ammunition.

10.) I attend trade shows, maintain contact with, and regularly consult with other
     persons, to include published authors and recognized experts in the origin,
     identification and classification of firearms and ammunition.

11.) I have, during my tenure with ATF, personally examined in excess of five thousand
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Qualifications Of James E. Yurgealitis contd.

firearms to determine their origin and classification and operability, and to facilitate
the tracing of those firearms.

I have toured production facilities for numerous firearms and ammunition manufacturers. The
tours were conducted by corporate historians, corporate officers, or production engineering
personnel.

Domestic Firearm Manufacturers:
Bushmaster Firearms, Ilion, NY, USA
Colt, New Haven CT, USA (4x)
H&R 1871 Inc., Chicopee, MA, USA (2x)
Marlin, North Haven CT, USA (4x)
O.F. Mossberg & Sons, North Haven, CT, USA (4x)
Remington Firearms, Ilion, NY, USA
Savage Arms Inc., Westfield, MA, USA (4x)
Sig-Sauer / SIGARMS Inc., Exeter, NH, USA (3x)
Smith and Wesson, Springfield, MA, USA (4x)
Sturm Ruger, Newport, NH, USA (4x)
Yankee Hill Machining, Florence, MA, USA

Foreign Firearm Manufacturers:
Carl Walther GmbH, Ulm, Germany
Ceska Zbrojovka (CZ), Uhersky Brod, Czech Republic
Fegarmy (FEG), Budapest, Hungary
F.N Herstal S.A., Herstal, Belgium
Glock GmbH, Deutsch-Wagram, Austria
Heckler & Koch GmbH, Oberndorf au Neckar, Germany
J.P. Sauer & Sohn GmbH, Eckernforde, Germany

Domestic Ammunition Manufacturers:
Fiocchi Ammunition, Ozark, MO, USA
PMC, Boulder City, NV, USA
Remington, Lonoke, AR, USA (4x)
Sierra, Sedalia, MO, USA
Starline Brass, Sedalia, MO, USA

European Proof Houses
Beschussamt Ulm, (Ulm Proofhouse) Ulm, Germany
Beschusstelle Eckernforde, (Eckernforde Proofhouse) Eckernforde, Germany
Czech Republic Proofhouse, Uhersky Brod, Czech Republic
Liege Proofhouse, Liege, Belgium


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Qualifications Of James E. Yurgealitis contd.

I have been allowed regular access to the following reference collections:
Bureau of Alcohol, Tobacco Firearms and Explosives Reference Collection, Martinsburg, West
Virginia, USA consisting of 5,000+ firearms

Liege Proofhouse, Liege, Belgium consisting of 1,000+ ammunition cartridges

Springfield Armory National Historic Site Firearms Collection, Springfield, MA, USA
consisting of 10,000+ Firearms

Smithsonian Institution (Museum of American History) Firearms Reference Collection
Washington, DC, USA, consisting of 4000+ firearms

Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
Koblenz, Germany consisting of 10,000+ Firearms

I have toured the following museums:
Heeresgeschichtliches Museum, (Museum of Military History), Vienna, Austria
Hungarian Military Museum, Budapest, Hungary
Springfield Armory National Historic Site, Springfield, MA, USA
United States Air Force Museum, Dayton, OH, USA
United States Army Ordnance Museum, Aberdeen Proving Ground, Aberdeen, MD, USA
United States Military Academy Museum, West Point, NY, USA
United States Naval Academy Museum, Annapolis, MD, USA
Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
Koblenz, Germany

Membership in Professional Organizations:

Member, International Ammunition Association (IAA)
Technical Advisor (pending approval), Association of Firearm and Toolmark Examiners (AFTE)
Member, Federal Law Enforcement Officers Association (FLEOA)




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                        EXHIBIT B
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                       James E. Yurgealitis: Consulting Engagements 2013 – 2023


  (D) – Engaged by Defendant’s Counsel
  (P) – Engaged by Plaintiff’s Counsel
  (O) – Engaged by other entity


  1. State of Maryland v. Smith, Linwood T, Circuit Court for Baltimore County, Maryland, Case No.
     03-K-12-004002 (D) – Defendant’s Private Counsel. Case review and consultation.

  2. Freidman v. City of Highland Park, Illinois, United States District Court for the District of
     Illinois, Case No. 1:13-cv-9073 (D) – Defendant’s Private Counsel acting as City Attorney.
     Report & Deposition.

  3. Wilson v. County of Cook, Illinois, Illinois Supreme Court, Case No. 2012 IL 112026 (D) –
     Office of the State’s Attorney for the Cook County, IL. Report & Deposition.

  4. Fyock v. The City of Sunnyvale, California, United States District Court for the Northern District
     of California, Case No. 13-cv-05807 RMW (D) – City Solicitor. Declaration.

  5. Wrenn v. District of Columbia, United States District Court for the District of Columbia, Civil
     Action Case No. 15-162 CKK (D) – U.S. Attorney’s Office for the District of Columbia. Report
     & Deposition.

  6. Mosaic Research Management, New York, New York, Confidential business assessment and
     projection (O) – Private consulting firm

  7. Worman v. Healey, United States District Court for the District of Massachusetts, Case No. 1:17-
     cv-10107 (D) – Office of the Attorney General for the Commonwealth of Massachusetts. Report
     & Deposition.

  8. Buckeye Firearms v. City of Cincinnati, Hamilton County, Ohio Court of Common Pleas, Case
     No. A1803098 (D) – Office of the City Attorney. Report & Deposition.

  9. Powell v. The State of Illinois, United States District Court for the Northern District of Illinois,
     Case No. 18-cv-6675 (D) – Plaintiff’s Private Counsel. Consultation.

  10. Fletcher v. Century Arms, Circuit Court of the 15th Judicial District, in and for Palm Beach
      County, Florida, Case No. 502018CA009715 (P) – Plaintiff’s Private Counsel. Case Review,
      Consultation & Deposition.

  11. Pullman Arms v. Healey, United States District Court for the District of Massachusetts, Case No.
      4:16-40136-TSH (D) - Office of the Attorney General for the Commonwealth of Massachusetts.
      Report.
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Yurgealitis Consulting Engagements 2013 – 2023 contd.


   12. United States v. Richard Cooke, United States District Court for the Western District of New
       York, Case No. 17-CR-0038 (D) – Office of the Federal Public Defender for the Western District
       of New York. Case review & consultation.

   13. Long v. GAMO Outdoor U.S.A. Inc., District Court, Clark County Nevada, Case No.
       A-16-748401-C (P) – Plaintiff’s Private Counsel. Test firing & consultation.

   14. Viramontes v. Cook County, IL, United States District Court for the Northern District of Illinois,
       Case No. 1:21-CV-04595 (D) – Office of the District Attorney for Cook County, Illinois. Report
       & Deposition.

   15. Arnold, Joseph et al., v. Kate Brown et al - Harney County, OR Circuit Court, Case No.
       22CV41008 (D) – State of Oregon. Court Testimony.

   16. Oregon Firearms Federation et al., v. Brown et al., United States Court for the District of Oregon,
       Pendleton Division, Case No. 2:22-cv-01815-IM (lead case), 3:22-cv-01859-IM (trailing case),
       3:22-cv-01862-IM (trailing case), 3:22-cv-01869-IM (trailing case). (D) – State of Oregon.
       Declaration.

   17. NAGR & Capen v. Healey, United States Court for the District of Massachusetts, Case No.
       1:22-cv-11431-FDS (D) – Office of the Attorney General for the Commonwealth of
       Massachusetts. Declaration.

   18. Delaware State Sportsmen's Ass'n et al v. Delaware Dep't of Homeland Security, United States
       District Court for the District of Delaware, Case No. No. 1:22-cv-00951-RGA (Consolidated),
       (D) – Office of the Attorney General for the State of Delaware. Declaration.

   19. NAGR v. Lopez, United States District Court for the District of Hawai’i, Case No. 1:22-cv-404-
       DKW-RT (D) – Office of the Attorney General for the State of Hawai’i. Declaration

   20. Harrel et al. v. Raoul, United States District Court for the Southern District of Illinois, Case No.
       23-141-SPM (D) – Office of the Attorney General for the State of Illinois. Declaration

   21. Herrera v. Raoul et.al., United States District Court for the Northern District of Illinois, Case No.
       1:23-cv-00532 (D) – Office of the District Attorney for Cook County, Illinois. In progress.

   22. Gates et.al. v. Polis, United States District Court for the District of Colorado, Case No. 1:22-
       cv-01866 (D) – Colorado Department of Law. In progress.

   23. Herrera v. Raoul et. al., United States District Court for the Northern District of Illinois, Case No.
       1:23-cv-00532 (D) – Department of Law, City of Chicago, IL. In progress.

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                       EXHIBIT C
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                                     DEPARTMENT OF THE TREASURY
                               BUREAU OF ALCOHOL, TOBACCO AND FIREARMS
                                          WASHINGTON, D.C. 20226


                                            J UL 06 1989




MEMORANDUM TO:            Director

               FROM:      Associate Director (Compliance Operations)

             SUBJECT:     Report and Recommendation on the
                          Importability of Certain Semiautomatic Rifles


The working group has completed its evaluation of the semiautomatic rifles whose importation
was suspended pending a determination as to whether these weapons are, as required by
18 U.S.C. § 925( d)(3), of a type "generally recognized as particularly suitable for or readily
adaptable to sporting purposes".

Attached for your review and approval is the report and recommendation on the importability of
these rifles.




Attachment

Appro<ed.    ~ C,J~                    #t
Disapprove: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                              Page 1

      Report and Recommendation on the lmportability of Certain Semiautomatic Rifles
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7##.ÿ<C(ÿ9:;<ÿ@.7.ÿ6"ÿ6"&.ÿ&ÿ8+%&.ÿB2#ÿE99E(ÿE9;D.ÿ
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F"$"1$(ÿ0$ÿ%#ÿ!%#!%1ÿ0%#"$,ÿ20%*0ÿ%&%*#ÿ0ÿ6"&$##ÿ%&&ÿ0ÿ#&$ÿ"ÿ!!"2ÿ
0ÿ%+"$%"&ÿ"-ÿ$%%"&!ÿ#"$%&ÿ$%-!#(ÿ20%!ÿ)*!'%&ÿ+%!%$,G,ÿ$%-!#.ÿ/0ÿ7&ÿ
>"$ÿ"&ÿ0ÿ='&ÿ6"&$"!ÿ8*ÿ"#$1ÿ0ÿ0ÿ%+"$%"&ÿ#&$#ÿ?.ÿ.ÿ.ÿ$ÿ#%&ÿ&ÿ
%&&ÿ"ÿ$"1%ÿ-"$ÿ0ÿ%+"$%"&ÿ"-ÿH'!%,ÿ+(ÿ#"$%&ÿ-%$$+#(ÿ%&*!'%&ÿ.ÿ.ÿ.ÿ$%-!#ÿ#'*0ÿ
#ÿ0"#ÿ+&'-*'$ÿ&ÿ%+"$ÿ,ÿI$"2&%&ÿ&ÿ"0$ÿ#'*0ÿ+&'-*'$$#ÿ&ÿ%+"$$#ÿ"-ÿ
-%$$+#.Aÿ7.ÿ>.ÿB".ÿ9JC9(ÿ:C0ÿ6"&.ÿEÿ7##.ÿ<ÿK9:;<L.ÿ7%&%-%*&!,(ÿ0ÿ$%-!#ÿ%&ÿ
%+"$ÿ,ÿI$"2&%&!ÿÿ0ÿ%+ÿ2$ÿ#+%'"+%*ÿ&ÿ+&'!!,ÿ"$ÿ$%%"&!ÿ#"$%&ÿ
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8&ÿ)!&%"&ÿ"-ÿ0ÿ--*ÿ"-ÿ0%#ÿ#*%"&ÿ,ÿ"&ÿ"-ÿ0ÿ#"&#"$#ÿ"-ÿ0ÿ%!!ÿ#*%-%*!!,ÿ#ÿ0ÿ
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+%!%$,ÿ-%$$+ÿ+,ÿÿ'#ÿ%&ÿÿ#"$%&ÿ1&ÿ"#ÿ&"ÿ+Mÿ%ÿ%+"$!ÿ#ÿÿ#"$%&ÿ-%$$+ .ÿ
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$"*%"&.Aÿ7.ÿ>.ÿB".ÿ9C:D(ÿ:C0ÿ6"&.ÿEÿ7##.ÿ<C(ÿ9:;<ÿ@.7.ÿ6"ÿ6"&.ÿ&ÿ8+%&.ÿB2#ÿ
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%+"$%"&ÿ"ÿ-%$$+#ÿ$%*'!$!,ÿ#'%!ÿ-"$ÿ$ÿ#0""%&ÿ"$ÿ0'&%&ÿ#%&*ÿ-%$$+#ÿ
$%*'!$!,ÿ#'%!ÿ-"$ÿ0"#ÿ'$"##ÿ*&ÿ"1%"'#!,ÿÿ'#ÿ-"$ÿ"0$ÿ'$"##ÿ#'*0ÿ#ÿ
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/0ÿ$+%&%"&ÿ"-ÿÿ2"&P#ÿ#'%%!%,ÿ-"$ÿ#"$%&ÿ'$"##ÿ?$#Q#Rÿ%$*!,ÿ2%0ÿ0ÿ
7*$$,ÿ"-ÿ0ÿ/$#'$,.Aÿ99Sÿ6"&.ÿ>*.ÿEDS;JÿK9:;<LÿK7+&ÿ"-ÿ7&.ÿF'$0,L.ÿT0%!ÿ0ÿ
!%#!%1ÿ0%#"$,ÿ#'##ÿ0ÿ0ÿ$+ÿ?#"$%&ÿ'$"##Aÿ$-$#ÿ"ÿ0ÿ$%%"&!ÿ#"$#ÿ"-ÿ
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0ÿ?&$!!,ÿ$*"&%NAÿ!&'ÿ"-ÿ#*%"&ÿ:EJKLKL.ÿ7.ÿ>.ÿB".ÿ9C:D(ÿ:C0ÿ6"&.ÿEÿ7##.ÿ
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         -%$$+#(ÿ2#ÿÿ+V"$ÿ$#"&ÿ20,ÿ0ÿ7*$$,ÿ"-ÿ0ÿ/$#'$,ÿ0#ÿ&ÿ%1&ÿ-%$!,ÿ$"ÿ
         %#*$%"&ÿ%&ÿ-%&%&ÿ&ÿ+%&%#$%&ÿ0ÿ%+"$ÿ$"0%%%"&.ÿ
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 !"ÿ"#$%"$ÿ&ÿ$'ÿ()"ÿ*"$+ÿ,#$ÿ!"ÿ-./01ÿ$'ÿ2#+$+3ÿ4$5!4'6ÿÿ!++%4ÿ
78)$!"ÿ"ÿ$ÿ9+8!6ÿ)!6!"4ÿ&+ÿ!%9%"$$!"ÿ&ÿ$'ÿ:49+$!"ÿ9)+944;ÿ$4$ÿ&ÿ
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"6ÿ$'ÿ&!++%4ÿ!"6)4$+3AÿB'ÿ9"ÿ&#)46ÿ!$4ÿ$$"$!"ÿ"ÿ'"6)"4ÿ"6ÿ+#%%"66ÿ$'ÿ
69$!"ÿ&ÿ&#$+!"ÿ#+!$+!ÿ$ÿ8)$ÿ$'ÿ8+!)4ÿ$394ÿ&ÿ'"6)"4AÿB'4ÿ&#$+!"ÿ#+!$+!ÿ+ÿ
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)4ÿ&+ÿ8)$!"ÿ'"6)"4ÿ9)+4)"$ÿ$ÿ4#$!"ÿ.<=>6?>@?Aÿ,$$#'%"$ÿ<Aÿ
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"ÿ)"4ÿ5!"ÿ!%9+$6ÿ9+!+ÿ$ÿ-./0ÿ+ÿ"+3ÿ#"8"$!"ÿ+!&4ÿ"6ÿ4'$)"4ÿ
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&+ÿ8)$!"ÿ$'ÿ49+$!"ÿ9)+944ÿ&ÿ+!&4ÿ"6ÿ4'$)"4AÿE"$!ÿ+#"$31ÿÿ+!&4ÿ"6ÿ4'$)"4ÿ
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F%91ÿ%#'!")"4ÿ"6ÿ4'+$H5++6ÿ+!&4ÿ"6ÿ4'+$H5++6ÿ4'$)"4?1ÿ"6ÿ4)+9)4ÿ%!!$+3ÿ
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,68!4+3ÿ"1ÿN#%5+ÿ-C1ÿ-./0Aÿ,$$#'%"$ÿ@AÿO$ÿ4ÿ$'ÿ#"4"4)4ÿ&ÿ$'ÿ"ÿ$'$ÿ$'!4ÿ+!&ÿ
6!6ÿ'8ÿÿ9+$!#)+ÿ)4ÿ!"ÿ$+$ÿ4'$!"ÿ"6ÿ')"$!"Aÿ,##+6!"31ÿ!$ÿ4ÿ+#%%"66ÿ$'$ÿ
!%9+$$!"ÿ&ÿ$'ÿI+$$ÿIJ=.1ÿ$$'+ÿ!$'ÿ$'ÿ2O(H,JBÿKA/<%%ÿG,BDÿ*!5+ÿ29+$!"ÿ
M!&ÿ"6ÿ$'ÿ*$%ÿKA/<%%ÿG,BDÿ*!5+ÿ29+$!"ÿM!&1ÿ5ÿ)$'+!P6ÿ&+ÿ!%9+$$!"Aÿ>B'ÿ
I+$$ÿIJ=.ÿ"6ÿ$'ÿ*$%1ÿ$'ÿ9+6#44+ÿ$ÿ$'ÿQR.-1ÿ+ÿ$ÿ&ÿ$'ÿ+!&4ÿ'4ÿ!%9+$$!"ÿ
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#%9!"ÿ8!6"#ÿ$'$ÿ$'4ÿ+!&4ÿ+ÿ"$ÿ"+3ÿ+#"!P6ÿ4ÿ9+$!#)+3ÿ4)!$5ÿ&+ÿ
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B'ÿ&!+4$ÿ$!%ÿ$'$ÿ,BÿT6ÿ53"6ÿ$'ÿ+4$+!#$!"4ÿ"ÿG,ÿ"6ÿ4)+9)4ÿ%!!$+3ÿ+!&4ÿ"6ÿ
4'$)"4ÿ"6ÿ)"6+$Tÿÿ%"!"&)ÿ"34!4ÿ)"6+ÿ$'ÿ:49+$!"ÿ9)+944;ÿ$4$ÿ4ÿ!"ÿ-.0Aÿ,$ÿ
$'$ÿ$!%1ÿ,Bÿ4ÿ&#6ÿ!$'ÿÿ" ÿ5+6ÿ&ÿ!%9+$6ÿ4'$)"AÿO$ÿ4ÿ#+ÿ$'$ÿ$'ÿ'!4$+!#ÿ
44)%9$!"ÿ$'$ÿÿ4'$)"4ÿ+ÿ49+$!"ÿ4ÿ"ÿ"+ÿ8!5Aÿ29#!&!#31ÿ,Bÿ4ÿ4T6ÿ$ÿ
6$+%!"ÿ'$'+ÿ$'ÿ2$+!T+H-<ÿ4'$)"ÿ4ÿ4)!$5ÿ&+ÿ49+$!"ÿ9)+944AÿB'!4ÿ4'$)"ÿ!4ÿÿ
%!!$+3S ÿ"&+#%"$ÿ9"ÿ!"!$!3ÿ64!"6ÿ"6ÿ%")&#$)+6ÿ!"ÿ2)$'ÿ,&+!#ÿ&+ÿ+!$ÿ
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,Bÿ4ÿ9+8!66ÿ!"&+%$!"ÿ$'$ÿ$'ÿ9"ÿ4ÿ4)!$5ÿ&+ÿ9!#S#%5$ÿ4$3ÿ#%9$!$!"4Aÿ
,Bÿ6$+%!"6ÿ$'$ÿ$'!4ÿ$39ÿ&ÿ#%9$!$!"ÿ6!6ÿ"$ÿ#"4$!$)$ÿ:49+$!"ÿ9)+944;ÿ)"6+ÿ$'ÿ
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!"ÿ#$ÿ%&'("ÿ!ÿ)#*+!ÿ,-.#/0$!ÿ120/$3ÿ-.4!5ÿ!!ÿ!ÿ67879%:ÿ42!.$ÿ+ÿ
;*44##5ÿ4ÿÿ4/2!#$ÿ#0ÿ.$5ÿ4;!#2$ÿ&:<5=<>=?ÿ8!ÿ@0#$!#2$ÿ$5ÿ!4!#$ÿ2ÿ!ÿ
A/2$"ÿ8Bÿ2.$5ÿ!!ÿ#!ÿA4ÿÿ40#.!20!#;ÿC4#2$ÿ2ÿÿ4*;!#Cÿ#ÿ0#*#!39!3/ÿ44.*!ÿ
42!.$?ÿD$ÿ!#4ÿ;4"ÿ8Bÿ5!0#$5ÿ!!"ÿ5.ÿ!2ÿ#!4ÿA#!"ÿ4#E"ÿ+.*F"ÿ54#$5ÿ0E#$ÿ
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5/!+*ÿ!2ÿ4/2!#$ÿ/./244?ÿ8#$"ÿ8Bÿ.45ÿ!2ÿ;2$#Eÿ/2*#;G;20+!ÿ;20/!#!#2$4ÿ4ÿÿ
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 2ÿ!5#!#2$*ÿ42!.$ÿ4/2!4ÿ2ÿ.$!#$"ÿ$5ÿ!/ÿ$5ÿ4F!ÿ422!#$ÿ$5ÿ#!4ÿ#0/2!!#2$ÿA4ÿ
5$#5?ÿ8!!;0$!ÿ?ÿ#4ÿ5;#4#2$ÿA4ÿ./*5ÿ+3ÿ!ÿ6$#!5ÿ7!!4ÿH#4!#;!ÿ12.!ÿ#$ÿ)#*+!ÿ
,-.#/0$!ÿ120/$3"ÿD$;?ÿC?ÿI##$4"ÿJK&ÿB?ÿ7.//?ÿ%KJ%ÿ<7?H?ÿ8*?ÿ%&'&=?ÿÿ;4ÿ#4ÿ;.$!*3ÿ
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84ÿ$2!5ÿ+2C"ÿ4;!#2$ÿ&:<5=<>=ÿ@/44*3ÿ/2C#54ÿ!!ÿ!ÿ7;!3ÿ4**ÿ.!2#Eÿ!ÿ
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4/2!#$ÿ/./244?ÿÿ*#4*!#Cÿ#4!23ÿ*42ÿ0F4ÿ#!ÿ;*ÿ!!ÿ!ÿ7;!3ÿ4**ÿ4;.!#$#Eÿ
!3/4ÿ2ÿ#04ÿ#$ÿ@;#4#$ÿ#4ÿ.!2#!3ÿ.$5ÿ4;!#2$ÿ&:<5=?ÿ7/;##;**3"ÿ#$ÿ#!4ÿ@/*$!#2$ÿ2ÿ
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        ;!#$ÿ!3/4ÿ2ÿ#0499<%=ÿ!24ÿ#0/2!5ÿ2ÿ4;#$!##;ÿ2ÿ4;ÿ/./244ÿ2ÿ2ÿ.4ÿ#$ÿ
        ;20/!#!#2$ÿ2ÿ!#$#$ÿ.$5ÿ;/!ÿVK%ÿ2ÿ!#!*ÿ%Kÿ2ÿ!ÿ6$#!5ÿ7!!4ÿ125Wÿ<:=ÿ$ÿ
        .$4C#;+*ÿ#0ÿ2!ÿ!$ÿÿ0;#$.$Wÿ<>=ÿ!24ÿ#04ÿ$2!ÿ;20#$ÿA#!#$ÿ!ÿ
        /.C#Aÿ2ÿ!ÿX!#2$*ÿB#04ÿ8;!ÿ<:(ÿ6?7?1?ÿ'K%"ÿ!ÿ4-?=ÿ$5ÿ4.#!+*ÿ2ÿ4/2!#$ÿ
        /./244ÿ<#$ÿ!ÿ;4ÿ2ÿ4./*.4ÿ0#*#!3ÿA/2$4ÿ!#4ÿ!3/ÿ#4ÿ*#0#!5ÿ!2ÿ42!.$4ÿ$5ÿ#*4=ÿ
        $5ÿ!24ÿ!F$ÿ2.!ÿ2ÿ!ÿ6$#!5ÿ7!!4?ÿ<,0/4#4ÿ555?=ÿ
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40#.!20!#;ÿC4#2$4ÿ2ÿ!.ÿ4*;!#Cÿ#ÿ0#*#!3ÿ44.*!ÿ#*4?ÿ84ÿÿ;*44ÿ2ÿ!3/ÿ2ÿ#0ÿ
!3ÿÿ2!$ÿV5ÿ!2ÿ4ÿY44.*!ÿ#*4"ZÿY44.*!9!3/ÿ#*4"ZÿY0#*#!3ÿ4!3*ÿ#*4"Zÿ2ÿ
Y/0#*#!3ÿ#*4?Zÿ7#$;ÿAÿÿ2$*3ÿ;2$;$5ÿA#!ÿ40#.!20!#;ÿ#*4"ÿ#!ÿ#4ÿ420A!ÿ2ÿÿ
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Case: 1:22-cv-04774 Document #: 87-5 Filed: 03/13/23 Page 35 of 261 PageID #:1974




!ÿ"#"ÿ$%%ÿ&$'ÿ$ÿÿ&(%%)ÿ("*"$+ÿ*,-.ÿ/'ÿ"#ÿ('!!ÿ&ÿ"#$!ÿ'0ÿ$"ÿ!ÿ+!!')ÿ
"ÿ!""%ÿÿÿ"'*ÿ"#"ÿ1!"ÿ,!+'$1!ÿ"#ÿ!ÿ(,'ÿ+!$,'"$0ÿ,ÿÿ$%%ÿ'&'ÿ"ÿ
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,$!"$($!#,ÿ1)ÿ+'"$ÿ'%ÿ+#'+"'$!"$+!ÿ#$+#ÿ'ÿ+**ÿ"ÿ"#ÿ*,'ÿ*$%$"')ÿ!!(%"ÿ
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+#'+"'$!"$+!ÿ,!$,ÿ"ÿ++*%$!#ÿ"#$!ÿ('!-ÿ
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+#'+"'$!"$+!ÿ,!$,ÿ&'ÿ*$%$"')ÿ%$+"$!ÿ#$+#ÿ,$!"$($!#!ÿ$"ÿ&'*ÿ"',$"$%ÿ!'"$ÿ
'$&%!-ÿ4#!ÿ*$%$"')ÿ&"('!ÿ,ÿ+#'+"'$!"$+!ÿF"#'ÿ"#ÿ!%+"$5ÿ&$'Gÿ'ÿ+''$,ÿ5'ÿ"ÿ"#ÿ
!*$("*"$+ÿ5'!$!ÿ&ÿ"#ÿ'$$%ÿ*$%$"')ÿ'$&%-ÿ4#!ÿ&"('!ÿ,ÿ+#'+"'$!"$+!ÿ'ÿ!ÿ
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     9-ÿ8$%$"')ÿI&$('"$-ÿ
ÿ
         -ÿ?1$%$")ÿ"ÿ++"ÿÿ,"+#1%ÿ*J$-ÿK$'"(%C%)ÿ%%*,'ÿ*$%$"')ÿ&$''*!ÿ'ÿ
             ,!$,ÿ"ÿ++"ÿ%'0ÿ,"+#1%ÿ*J$!-ÿ4#$!ÿ'5$,!ÿ"#ÿ!%,$'ÿ$"#ÿÿ&$'%)ÿ
             %'ÿ**($"$ÿ!(%)ÿ,ÿ"#ÿ1$%$")ÿ"ÿ'$,%)ÿ'%,-ÿ4#(!0ÿ%'ÿ++$")ÿ
             *J$!ÿ'ÿ$,$+"$5ÿ&ÿ*$%$"')ÿ&$''*!-ÿE#$%ÿ,"+#1%ÿ*J$!ÿ'ÿ"ÿ
             %$*$",ÿ"ÿ*$%$"')ÿ&$''*!0ÿ*!"ÿ"',$"$%ÿ!*$("*"$+ÿ!'"$ÿ&$''*!0ÿ,!$,ÿ
             "ÿ++**,"ÿÿ,"+#1%ÿ*J$0ÿ#5ÿÿ'%"$5%)ÿ!*%%ÿ*J$ÿ++$")-ÿLÿ
             ,,$"$0ÿ!*ÿ7""!ÿ#M5ÿÿ%$*$"ÿÿ"#ÿ*J$ÿ++$")ÿ%%,ÿ&'ÿ#("$0ÿ
             (!(%%)ÿMÿ'(,!ÿ'ÿ%!!-ÿ4#"ÿÿ&$''*ÿ$!ÿ,!$,ÿ,ÿ!%,ÿ$"#ÿÿ%'ÿ++$")ÿ
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             !"+D!-ÿ4#ÿ*$ÿ,5"ÿ&ÿ"#$!ÿ$"*ÿ$!ÿ'"1$%$")0ÿ!+$%%)ÿ&'ÿ$'1'ÿ"'!-ÿ
             4#!ÿ!"+D!ÿ%%ÿ"#ÿ&$''*ÿ"ÿ1ÿ&$',ÿ&'*ÿ"#ÿ&%,,ÿ!$"$0ÿ)"ÿ$"ÿ+ "ÿ1ÿ
             &$',ÿ'%)ÿ!ÿ++('"%)ÿ!ÿ$"#ÿÿÿ!"+D-ÿE$"#ÿ'!+"ÿ"ÿ!!$1%ÿ!'"$ÿ(!!ÿ
             &ÿ"#$!ÿ&"('0ÿ"#ÿ&%,$ÿ!"+Dÿ*D!ÿ$"ÿ!$'ÿ"ÿ+'')ÿ"#ÿ&$''*ÿ#ÿ#$D$ÿ'ÿ
             1+D+D$-ÿR5'0ÿ$"!ÿ',*$"ÿ,5"ÿ$!ÿ&'ÿ*$%$"')ÿ('!!0ÿ,ÿ$"ÿ$!ÿ
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             "#"ÿ'"'(,!ÿ+!$+((!%)ÿ1"#ÿ"#ÿ+"$ÿ&ÿ"#ÿ-ÿLÿ*!"ÿ+!!0ÿ"#ÿ
             2!"'$#"ÿ%$ÿ,!$3ÿ&ÿ"#*$%$"')ÿÿ,$+""!ÿÿ'$ÿ&ÿ"#$!ÿ")ÿ!ÿ"#"ÿ"#ÿ
             !#"'ÿ+ÿ#%,ÿ,ÿ&$'ÿ"#ÿ-ÿ/('"#'0ÿÿ$!"%ÿ'$ÿ+ÿ1ÿÿ$,ÿ$ÿP#,,ÿ
             &$'$ÿ&ÿ"#ÿÿ$ÿÿ+*1"ÿ!$"("$-ÿ/('"#'0ÿ!(+#ÿ'$!ÿ'ÿ,!$,ÿ"ÿ!!$!"ÿ$ÿ
             +"'%%$ÿ*+#$(!ÿ,('$ÿ("*"$+ÿ&$'-ÿT ÿ"#ÿ"#'ÿ#,0ÿ"#ÿ5!"ÿ*S'$")ÿ&ÿ
             !'"$ÿ&$''*!ÿ*%)ÿÿ*'ÿ"',$"$%ÿ$!"%ÿ'$ÿ1($%"ÿ$"ÿ"#ÿ'$!"ÿ&ÿ"#ÿ!"+Dÿ
             &ÿ"#ÿ&$''*ÿ!$+ÿP#,,ÿ!#"$ÿ$!ÿ"ÿ(!(%%)ÿ*%),ÿ$ÿ#("$ÿ'ÿ
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             ÿÿ!"#ÿ$%ÿ&ÿ'ÿ'#()*ÿ+ÿ!"&ÿ&#ÿ"&ÿ'%&"(ÿ),&'"ÿ,,($&"ÿ#&'ÿÿ
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       *ÿ/()ÿ)0,,'))&'*ÿ1ÿ#()ÿ)0,,'))&'ÿ"'((.ÿ)'2)ÿ&"ÿ&'ÿ&ÿ#0"$&")*ÿ/')3ÿ"ÿ
             4('.ÿ#''4)ÿÿ%),'))ÿÿ4055(ÿ#()ÿ "ÿÿ#''4ÿ)ÿ#'%ÿ&ÿ(,ÿ$&"$(ÿ
             ÿ)&&'6)ÿ,&)&"3ÿ),$((.ÿÿ"*ÿ1ÿ)$&"%ÿ,0',&)ÿ&#ÿ)&4ÿ#()ÿ)0,,'))&')ÿ
             )ÿ&ÿ)))9ÿ:"ÿ$&"'&(("ÿÿ74055(ÿ$(4-8ÿ&#ÿÿ'#(3ÿ,'$0('(.ÿ "ÿ#'%ÿ#0((.ÿ
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             -"#ÿ"ÿ)0,,'))"ÿ4055(ÿ#()*ÿ; &)ÿ#()ÿ)0,,'))&')ÿ $ÿ()&ÿ)'2ÿ&ÿ
             %4,"ÿ74055(ÿ$(4-8ÿ2ÿÿ(4%ÿ-"#ÿ"ÿ),&'"ÿ0))ÿ-.ÿ((&"ÿÿ)&&'ÿ
             &ÿ'$<0'ÿÿ'ÿ#&'ÿÿ)$&"%ÿ)&*ÿ=&2'3ÿÿ-''(ÿ&#ÿÿ),&'"ÿ'#(ÿ$"ÿ-ÿ
             4&%#%ÿ-.ÿ74">,&'"8ÿ&ÿ$2ÿÿ)4ÿ')0(*ÿ; 'ÿ'ÿ()&ÿ4055(ÿ
             $4")ÿ#&'ÿ),&'"ÿ#''4)ÿ&ÿ)))ÿ"ÿÿ'%0$&"ÿ&#ÿ4055(ÿ$(4-*ÿ?"ÿÿ$)ÿ
             &#ÿ4('.>).(ÿ,&")ÿÿ2ÿ#()ÿ)0,,'))&')ÿ"$&',&'%ÿ"ÿ'ÿ%)"3ÿÿ
             4'ÿ'4&2(ÿ&#ÿÿ#()ÿ)0,,'))&'ÿ4.ÿ2ÿ"ÿ%2')ÿ4,$ÿ&"ÿÿ$$0'$.ÿ&#ÿ
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       #*ÿ@,&%)*ÿ; ÿ4A&'.ÿ&#ÿ4('.ÿ#''4)ÿ2ÿ-,&%)ÿ)ÿ"ÿ"'(ÿ,'9ÿB&#ÿÿ#''4ÿ
             &'ÿ$&""ÿ),$#$ÿ4&0""ÿ,&")ÿ&ÿ $ÿ-,&%)ÿ4.ÿ-ÿ$%*ÿ; ÿ4('.ÿ
             0(.ÿ&#ÿÿ-,&%ÿ)ÿ,'4'(.ÿ&ÿ,'&2%ÿ)-(.ÿ"%ÿ)0,,&'ÿ#&'ÿÿ,&"ÿ "ÿ
             #'%ÿ#'&4ÿÿ,'&"ÿ,&)&"3ÿ),$((.ÿ "ÿ#'%ÿ#0((.ÿ0&4$*ÿ@,&%)ÿ'ÿ
             2(-(ÿ$$))&'.ÿ4)ÿ#&'ÿ),&'"ÿ'#()ÿ"%ÿ'ÿ0)%ÿ,'4'(.ÿ"ÿ(&">'"ÿ
             )&&"ÿ&ÿ""$ÿ)-(.*ÿ=&2'3ÿ'%&"(ÿ),&'"ÿ'#()ÿ%&ÿ"&ÿ$&4ÿ<0,,%ÿ
             ÿ-,&%)3ÿ"&'ÿ'ÿ.ÿ),$#$((.ÿ%)"%ÿ&ÿ$$&44&%ÿ4*ÿ?")%3ÿ-,&%)ÿ
             #&'ÿ),&'"ÿ#''4)ÿ'ÿ"'((.ÿ%)"%ÿ&ÿ$ÿ&ÿÿ%$-(ÿ7)("ÿ)2(ÿ
             4&0"8ÿ&'ÿ)4,(.ÿ$(4,ÿ&"&ÿÿ#''4*ÿÿ
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       *ÿC'"%ÿ(0"$'*ÿC'"%ÿ(0"$')ÿ'ÿ"$&',&'%ÿ"ÿÿ4A9&E'.ÿ&#ÿ4('.ÿ
             #''4)ÿ)ÿÿ%2$ÿ&ÿ#$(ÿÿ(0"$"ÿ&#ÿD,(&)2ÿ'"%)*ÿF0$ÿ(0"$')ÿ
             'ÿ"'((.ÿ&#ÿ&ÿ.,)*ÿ; ÿ#')ÿ.,ÿ)ÿÿ#()ÿ)0,,'))&'ÿ%)"%ÿ&ÿ#0"$&"ÿ)ÿÿ
             '"%ÿ(0"$'*ÿ; ÿ)$&"%ÿ.,ÿ$)ÿ&ÿÿ-''(ÿ&#ÿÿ'#(ÿ'ÿ-.ÿ)$')ÿ&'ÿ
             $(4,)*ÿ+ÿ'ÿ"&ÿ'ÿ&#ÿ".ÿ,'$0('ÿ),&'"ÿ0)ÿ#&'ÿ'"%ÿ(0"$')*ÿÿ
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         *ÿGÿ))*ÿH".ÿ4('.ÿ#''4)ÿ'ÿ<0,,%ÿÿ(04"&0)ÿ)9I)ÿ&ÿ#$(ÿ
             )ÿ("4"ÿ"%ÿ'ÿ$<0)&"ÿ"ÿ,&&'ÿ(ÿ&'ÿ%'!"))*ÿ; 'ÿ0))ÿ'ÿ
             "'((.ÿ#&'ÿ4('.ÿ"%ÿ(ÿ"#&'$4"ÿ,0',&))ÿ"%ÿ'ÿ"&ÿ0)0((.ÿ#&0"%ÿ&"ÿ
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                            +           )!#ÿ"#     $#%%#&ÿ'ÿ'+('$%ÿÿ#))ÿ$./'.ÿ0!ÿ#!ÿ+',(*'"        +ÿ$,#'!'/12(ÿ3!
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                               '%;'     #-!!ÿ%',#'!ÿ$ÿ#+'%#ÿ%#ÿ-4ÿ5      ÿ$&%ÿ#!"#      !ÿ%ÿ,#!%ÿ4%ÿ,!ÿ'ÿ*"# $!(+%4ÿ" $$%ÿ#+)ÿÿ%,''ÿ)(#$%ÿ#)"'        ÿ!%ÿ%,ÿ&4ÿ#5#    #!%,ÿ$ÿ
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  %,!#&'ÿÿ$#!5)     (-$ÿ%+%%##6#!%&4ÿÿ!&ÿ+ÿ#"-             +%#%(#$!ÿÿ"
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   9    ÿ$#+%*"#       !'ÿ%,ÿ$ÿ54    -ÿ%-,ÿÿ5   #!%@-ÿ)ÿ%%,%#ÿ!4#ÿ5         ÿ+$ÿB!#'($%"' ÿ%ÿ,M6  ÿ'%$(%(%%#ÿ!#%ÿ'$)!4ÿ#$%4'ÿÿ$!ÿ#-'$#%#6ÿ#!ÿ,%#'-%&%4ÿ%#!'ÿ
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A6.#.%(N1$O$O&ÿ5#         %,&ÿÿ+)#%#"ÿ      !ÿ'%-ÿ*+#)ÿ##+"-  ÿ<+%-%#ÿ*!'+ÿN(''+%ÿ#'!"     ÿA.0!Nÿ" ONP&OOÿ/5# ÿCÿ   *,ÿ%ÿ(ÿ'#!ÿ%#%ÿ#-!ÿ'%"    %#ÿ!$ÿ5,       #+$,ÿ'ÿ,-"#      %'ÿÿ
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 -#)$6'#/'ÿ#9,  !ÿ%ÿÿ#'$$ÿ!5ÿ         %,%,#!ÿ#ÿ"-
                                                           #!ÿ#%'ÿ%,#%'#%!ÿ&ÿ)%ÿ%ÿ#!#%##+!%ÿ$%ÿ,'-%ÿ#%%ÿ#5  !ÿ'%ÿ&#-!%ÿ!#)$'ÿÿ%5,   ÿ#$+ÿ<!+#$:(ÿ#!6ÿ"#       &ÿ+$#%!+&ÿ#%6&-*$ÿÿ
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                                                                      )ÿ #                                                                                                                + ÿ,)
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ÿ!"#$%ÿ"!&'ÿ"($ )ÿ**ÿ!+ÿ,ÿ$%+!"-,$!%ÿ,")ÿ&%)"ÿ.,-/ÿ01ÿ%)ÿ),"-$%)ÿ,,ÿ
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   ÿ3*$(ÿ,,ÿ,ÿ&*,$-,ÿ6!%6*&/$!%ÿ$/ÿ6*"ÿ%)ÿ6!-'**$%8ÿ/ÿ/-$&,!-,$6ÿ//&*,ÿ"$+*/ÿ
   "ÿ)/$%)ÿ%)ÿ$%,%))ÿ,!ÿ3ÿ'",$6&*"*2ÿ/&$,3*ÿ+!"ÿ6!-3,ÿ","ÿ,%ÿ/'!",$%ÿ''*$6,$!%/8ÿ
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$%ÿ%!ÿ2ÿ'"6*&)ÿ,ÿ$-'!",,$!%ÿ!+ÿ,"&ÿ/'!",$%ÿ+$""-/8ÿ.,ÿ$**ÿ!%*2ÿ'"(%,ÿ,ÿ$-'!",,$!%ÿ!+ÿ
-$*$,"20/,2*ÿ+$""-/ÿ$65ÿ*,!&ÿ'!'&*"ÿ-!%ÿ/!-ÿ&%ÿ! %"/ÿ+!"ÿ6!**6,$!%5ÿ
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 "+!"5ÿ$,ÿ$/ÿ,ÿ+$%)$%ÿ!+ÿ,ÿ!"#$%ÿ"!&'ÿ,,ÿ,ÿ/-$&,!-,$6ÿ//&*,ÿ"$+*ÿ$/ÿ%!,ÿÿ,2'ÿ!+ÿ
 +$""-ÿ%"**2ÿ"6!%$7)ÿ/ÿ'",$6&*"*2ÿ/&$,3*ÿ+!"ÿ!"ÿ")$*2ÿ)',3*ÿ,!ÿ/'!",$%ÿ'&"'!//ÿ
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ÿ!"ÿ!#$ÿ%&#'(!")ÿ*ÿ$+!,,"ÿ'-'ÿ'-ÿ.($$,ÿ&('ÿ!"ÿ/''+-,"'ÿ0ÿ"!'ÿ1ÿ#'-!$(2ÿ
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               '..$$3ÿÿ$ÿ45443                ÿÿ6    3ÿ7ÿÿ,    !"-ÿ..$ÿÿ#&(8ÿÿ&&3ÿÿ'7.ÿ$ÿ%)
                                                                                                        '.9$+ÿ,%     ÿ!.'ÿ9,   ÿ%&$ÿ'ÿ.$$ÿ;
                                                                                                                                                   ÿ$%)-
                                                                                                                                                      $:ÿÿ,       ÿ("(8<#ÿ'*.'$$ÿ7!ÿ8"ÿÿ$ÿ
                               )'   ! ' $  ( 8   $ 8 -        # ÿ ,                                           %  &         ÿ $                               
                               %'.ÿ9$%ÿ'$ÿ8'ÿ&%ÿ=.ÿ+((!!$8'ÿ."ÿ$&8+-('*&ÿ"#ÿÿ+&ÿ)- ÿ&-$'($$''..ÿÿ',     -'+.%3ÿÿ$7%$ÿ'&8ÿÿÿ&)'    !%'$&(8ÿÿ)'
                                                                                                                                                                        ,!'$-(8.ÿ3ÿ7ÿ
                ,     &&-)                                                                                        .  ÿ ,%                           ÿ $
                 $%$ÿ#+.$&ÿÿ,        &ÿ$%!"ÿ8+ÿ%,      .!"ÿÿ$'%.ÿÿ..ÿ$$(%ÿ(,'#ÿ$&%ÿÿ+,
                                                                                                         )- -!.$ÿ#!(8ÿ&)ÿ  -(ÿ$)''.!'ÿ$=(8ÿ.$$3ÿÿ7ÿÿ"&-ÿ.($'$.ÿ$%ÿ'..9ÿ3ÿ
                 ÿ
                 2(
                 ÿ!&3ÿ0>?6@    ÿ A63ÿ7&ÿ'$ÿ.$ÿ$(ÿ$%$ÿ)'!'$(8ÿ,-.&ÿ(ÿ&"ÿ'.ÿ5!8)-'+ÿ+)-$'$'.ÿ
                  2(
                  .ÿ3$ÿ%45443  $3ÿ ÿ7ÿ"ÿ.$ÿ9.,3ÿ(%-&ÿ$%ÿ@.$(ÿ+.ÿ$!!ÿ)3ÿ7ÿ)ÿ.$ÿ,!!ÿ'.#()"ÿ
                  ÿ
                  2(3ÿ>?6@A63ÿ7$ÿ'&ÿ)8ÿ."(&$."'.ÿ$%$ÿ$%8ÿ(3ÿ!"ÿ$%ÿ@.$(ÿ*ÿ'.+!'."ÿ
                  $7ÿ&ÿ)       "%'#$8ÿÿ'%&ÿ'$&(ÿ(&0-ÿBC.D&Eÿ'#Fÿÿ
                            8   ÿ$
                      ÿ2(3ÿ45443ÿ7$ÿ'&ÿ.$ÿ$%$ÿ7ÿ"*$ÿ$%ÿ@.$(G&ÿ,("3ÿ>(ÿ'.ÿ7ÿ,!"ÿ%=ÿ$ÿ
                   &ÿ&8-ÿ$%($'$.ÿ'#ÿÿ,  ÿ)'    !'$.(38ÿ7ÿ$,  -ÿ)'
                                                                            .!ÿ''$&ÿ(8&ÿ,"ÿ'.-ÿÿ.&-ÿ&+'"!ÿ'ÿ&.-ÿÿ(&$-'.+'ÿ!=ÿ&-.$:(ÿ'$$'ÿ."ÿ&=ÿ..$$3ÿÿ*7ÿ$+%'.)     ÿ
                                                    -             ÿ'
                                                                    & ÿ                                                                                                                     9 ÿ
                    $%ÿ@.$(ÿ,!"ÿ(ÿ,'$%ÿ$%$3ÿ7ÿ"ÿ.$ÿ9.,ÿ%,ÿ!&ÿ,ÿ+!"ÿ"&+('*ÿ'$3ÿÿÿ
                    ÿ
                    2(
                    $*%+3$ÿÿ>?6@
                               )
                                 ÿ)'    !'  $A63
                                                ( 8 ÿ ÿ7#ÿ7-ÿ.."ÿ)
                                                     ,               (&8$ÿ.*"ÿÿ$%&ÿ"@ÿ'..ÿ$ÿ&-(ÿ+($('.(+ÿ$!=8:ÿ.%$ÿ'ÿ$&ÿ"''""ÿÿ$.%$$:ÿÿ"*8&ÿ-$%'$$ÿÿ$%+$ÿ'#.+ÿ$ÿ
                                      ÿÿ&-($'.ÿ('#!ÿ7&ÿ$%$ÿ+((+$0ÿ
                     ÿ
                     2(83&ÿ-45443       (ÿ3(H%     ÿ$,'ÿ,     !"ÿÿ&")'
                                                                              )ÿ   ('"ÿ%'.$ÿ$$ÿÿ$)  ÿÿI3    3ÿ.?&    ÿ7ÿÿ&.!'"&ÿ-&ÿ($%='8ÿ&(!8ÿÿ$%.ÿ!'..ÿ&-($'ÿ.ÿ
                     &,       ÿ..ÿ&#3'I3         )&          !! ÿ
                                                                   *               $$                  %'&  +        $ ( 8
                                                   ÿ7ÿ$%'.9ÿ$%ÿ@.$(ÿ."ÿ7ÿ9.,ÿ,%$ÿÿ.'.ÿ&-($'.ÿ.ÿ'&3ÿ
                      ÿ
      ÿÿ;.3ÿJ+3ÿCDEKECÿBLEMF3BA)-%&'&ÿ"""3Fÿ
ÿ N3ÿÿO.ÿ(.(:ÿ"3:ÿP .ÿ4'&$ÿLML:ÿB6($%*(9:ÿ73ÿLMMF:ÿ--3ÿCLNKNQQ<ÿ'!!')ÿ@3ÿ
      R(($$:ÿ"3:ÿ@%$(G&ÿS'*!:ÿ63ÿMQ:ÿB>+9.&+9:ÿ6R3ÿLMMF:ÿ--3ÿNTKNEN<ÿA",("ÿ;!'.$.ÿ
       AU!!:ÿ@)!!ÿ?()&ÿ#ÿ$%ÿ(!":ÿB>(('&*(:ÿ3ÿLMNF:ÿ-3ÿM<ÿ$ÿ4'+98:ÿ/H%ÿ2'!'$(8ÿ
      V9K?!'9&:1ÿ?)('+.ÿJ'#!).:ÿB?-('!ÿLMQF:ÿ-3ÿN3ÿ?!&:ÿ&ÿ.(!!8:ÿ7.ÿW3ÿ>:ÿ
       "3:ÿR.G&ÿ7.#.$(8ÿ-.&:ÿLMDKMM:ÿB6,ÿX(9ÿLMDF<ÿR+9ÿV,'&:ÿ"3:ÿH%ÿP .ÿ4'&$ÿ
       S9ÿ#ÿ?&&!$ÿ-.&:ÿB6($%*(9:ÿ73ÿLMEF3ÿÿ
ÿ
ÿ 3ÿÿ?($ÿS!$$:ÿ/H)((,G&ÿ@$$K#K$%K?($ÿ@-($'.ÿJ'#!:1ÿP .&ÿYÿ?)):ÿBR!8ÿLMF:ÿÿÿÿÿÿÿ
       -3ÿM<ÿR(($$:ÿ--3ÿNTKNEN<ÿ(.(:ÿ--3ÿCLNKNQQ3ÿ
ÿ
ÿ T3ÿ4.'!ÿ43ÿ2 &(=ÿ."ÿH%)&ÿS36!&.:ÿH%ÿ(!"G&ÿ?&&!$ÿJ'#!&:ÿBW'('.':ÿLEDF:ÿ
       -3ÿ3ÿ
ÿ
ÿ E3ÿÿ@ÿ.(!!8:ÿ?.&ÿV'"!,:ÿ"3:ÿ!ÿ%!G&ÿS'ZÿP .ÿ;$![:ÿBS$:ÿ6R3ÿLMMF<ÿ
       2 &(=ÿ."ÿ6!&.<ÿ><ÿR(($$<ÿ."ÿ(.(3ÿ
ÿ                                            ÿÿÿÿ
ÿ
             123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
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ÿ ÿ !"#ÿ
ÿ
ÿ $ÿ%&"'()*ÿÿ&(+)#,-ÿ.(/(&#(*ÿ0ÿ&(+)#,-ÿ1"23")ÿ0ÿ&(+)#,-ÿ45ÿ678,3"&*ÿÿ&(+)#,-ÿ
      45ÿ9(&:*ÿ0ÿ&(+)#,-ÿ4(&;3ÿ.&(/")*ÿ0ÿ&(+)#,-ÿ4(&;3ÿ<:(;*ÿ$ÿ&(+)#,-ÿ=&()*ÿÿ&(+)#,-ÿ
      )),>/?)"*ÿ,7"+;(7;"2ÿ&"@/,ÿ8&(3"!";#-ÿA&7();*ÿ0ÿ&(+)#,ÿ
ÿ
ÿ BÿÿCÿ)&//>*ÿ6(-ÿ1+,?ÿ)#ÿ4/,()-ÿD'//-ÿE&)&-ÿF&&;;-ÿG"#/5-ÿ)#ÿG5",ÿ
ÿ
ÿHÿ !"#ÿ
ÿ
ÿÿ !"#ÿ
ÿ
ÿIÿ !"#ÿ
ÿ
ÿJÿ !"#ÿ
ÿ
ÿKÿ !"#ÿ
ÿ
ÿÿ !"#ÿ
ÿ
ÿ0ÿÿD'//*ÿ8ÿ$KK-ÿ<"2:>*ÿ8ÿJÿ
ÿ
ÿÿ1+,&?ÿ)#ÿ4/,()*ÿ88ÿLIB-ÿ)#*ÿ,ÿ)&//>*ÿ6(-ÿ)#ÿD'//ÿ
ÿ
ÿ$ÿD'//*ÿ88$KKL$00-ÿ)#*ÿ,ÿ)&//>*ÿE&)&-ÿF&&;;-ÿ)#ÿG"#/5ÿ
ÿ
ÿBÿC*ÿ@(&ÿM78/*ÿE/;&ÿN"2://*ÿOP3ÿ/"):&Q,ÿ%RÿS+),1'")*ÿTF+/>ÿB$0Uÿ8ÿI-ÿ
      F(3)ÿG23+:*ÿOV);7ÿV;;/ÿN"@/,*WÿS+),ÿXÿ%77(*ÿTF)+&>ÿB$U*ÿ8ÿJ-ÿF(3)ÿG23+:*ÿ
      OIIÿD&7ÿ.&!")*WÿS+),ÿXÿ%77(*ÿT1>ÿB0$U*ÿ8ÿ$-ÿF2:G5",*ÿOC(7;3")ÿ45YÿP3ÿ
      %Rÿ")ÿP5);>LP5(*WÿS+)ÿE(&/#*ÿTF+/>ÿB$U*ÿ8ÿJI-ÿN(&ÿ.(7!,*ÿO%ÿ1(,;ÿZ)"[+ÿ
      .&!")*WÿS+)ÿE(&/#*ÿT<27!&ÿB$U*ÿ8ÿI$-ÿS&&>ÿF7,*ÿO1";23//ÿ%&7,ÿ%RLII*Wÿ
      S+),ÿXÿ%77(*ÿT4(?7!&ÿB$U*ÿ8ÿIÿ
ÿ
ÿIHÿCÿ)(;ÿI*ÿ2(//([+>ÿ!;5)ÿC);(&,ÿ<(##ÿ)#ÿ6),)ÿ
ÿ
ÿIÿ !"#ÿ
ÿ
ÿIIÿCÿ)&//>*ÿ!"!/"(&83>ÿ




ÿ                                     ÿÿÿÿ
ÿ
      123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
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                                    !"#$%&ÿ
ÿ
ÿ
'$()*+,ÿ$#-./ÿ#+0*12ÿ$)(+34ÿ#+0*)41ÿ567(8(9ÿ:.;1ÿ<-=ÿ
ÿ
'(,,ÿ$#=ÿ>/ÿ#+0*12ÿ$)(+34ÿ#+0*)41ÿ5?(3@ÿ:..;1ÿA-=ÿ
ÿ
*,,1ÿ$(,=ÿ'(,,ÿ?->/BCDE(,ÿ#+0*12ÿ"84FÿGÿ$))E1ÿ5H3)7(ÿ:.I;1ÿA-<=ÿ
ÿ
*,,1ÿ$(,=ÿ'JE)E((EKLFÿCDE(,+4ÿ#+0*F12ÿ"84FÿGÿ$))E1ÿ5M8*9ÿ:.;1ÿA.-<>1ÿ>.1ÿ>:=ÿ
ÿ
(831ÿ#E7(,=ÿ'J@ÿ$N"ÿ$FF8*,ÿC9F,)12ÿ"84Fÿ?O+41ÿ5CD,)7(ÿ:.;1ÿI>-I:1ÿAP1AI1ÿ
        <>-=ÿ
ÿ
Q*DD1ÿR+*9=ÿ'"(,ÿJE-HEÿR+,@ÿ,@ÿHKEE12ÿJ@ÿ"84ÿH+F,ÿEESÿE0ÿ$FF8*,ÿRDE4F1ÿ
        5:.;1ÿ.P-.>=ÿ
ÿ
QE)7F1ÿ#E(=ÿ'$ÿ?EF,ÿN4+T8ÿQ(7+412ÿ"84ÿRE(*U1ÿ5H3)7(ÿ:.<;1ÿP.-I1ÿA>=ÿ
ÿ
QE)7F1ÿ#E(=ÿ'"*+*ÿ>=P))ÿV,Eÿ#+0*21ÿ"84ÿRE(*U1ÿ5!3,E7(ÿ:.<;1ÿIP-I=ÿ
ÿ
QE)7F1ÿ#E(=ÿ'J@ÿ$W,E),ÿX*F@4+SEWÿ"EFÿ=PP12ÿJ@ÿ"84ÿH+F,ÿEESÿE0ÿ$FF8*,ÿRDE4F1ÿ
        5:.;1ÿ.P-:<=ÿ
ÿ
QE)7F1ÿ#E(=ÿ'J@ÿN4+T8*9ÿN4+T8ÿ6-12ÿJ@ÿ"84ÿH+F,ÿEESÿE0ÿ$FF8*,ÿRDE4F1ÿ5:..;1ÿ
        ..-:<=ÿ
ÿ
'QEES+4ÿ4Uÿ%3S*+4ÿK+,@ÿ%ÿGÿXLFÿ%X:A$I12ÿ"84ÿRE(*U1ÿ5$88F,ÿ:.A;1ÿ.-P/=ÿ
ÿ
HW+F1ÿ#8FF=ÿ'%Wÿ&E8(ÿ$Xÿ4UÿC@EE,ÿ+,1ÿJEE12ÿ"84Fÿ?O+41ÿ567(8(9ÿ:.>;1ÿI:1ÿP-A=ÿ
ÿ
H+3S91ÿ,=ÿ'J@ÿ?+*+,(9ÿEES-$*+SF12ÿ$)(+34ÿ#+0*)41ÿ5$D(+*ÿ:./;1ÿI/-I1ÿ>=ÿ
ÿ
YE*01ÿH+3S=ÿ'%3S*(ÿGÿXE3@LFÿC8D(ÿC)+-$8,E12ÿ$)(+34ÿ#+0*)41ÿ5M84ÿ:.<;1ÿP:-IP1ÿ
        <->=ÿ
ÿ
YO**1ÿYUK(UÿQ*+4,E4=ÿC)**ÿ$()FÿE0ÿ,@ÿRE(*U=ÿ%((+F78([ÿC,3SDE*ÿEESF1ÿ:.I=ÿ
ÿ
'6Vÿ6VQÿ#+0*12ÿ$)(+34ÿ#+0*)415M48(9ÿ:..;1ÿ<.-/=ÿ
ÿ
ÿ
6(8FE41ÿJE)=ÿ'$ÿ%(UÿEESÿ,ÿJ@ÿ$#-./21ÿÿJ@ÿ"84ÿH+F,ÿEESÿE0ÿ$FF8*,ÿRDE4F1ÿ
        5:.;1ÿP-P>=ÿ
ÿ
6(43@1ÿ%EK(U=ÿ'%ÿGÿXLFÿ:))ÿ(3(7+412ÿ"84FÿGÿ$))E1ÿ5VEW)7(ÿ:.I;1ÿAP-AA=ÿ
ÿ
"(44**1ÿH4ÿ$=ÿ'J@ÿ?+,3@**ÿ$X-A>12ÿ"84ÿRE(*U1ÿ5CD,)7(ÿ:.;1ÿA/-A=ÿ
ÿ                                     ÿÿÿÿ
ÿ
      123456ÿ89 ÿ12 4 29 8649ÿ49ÿ62ÿ 345686ÿ4ÿ25689ÿ2 864 86 ÿ12ÿ
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!"#ÿ$ÿ%&'ÿ()*ÿ+,#-.ÿ/-0",.)ÿ12 3&4#ÿ(56)ÿ78975:ÿ
ÿ
!"#ÿ$ÿ%&'ÿ;&<"ÿ(=ÿ>#4-.)*ÿ+,#-.ÿ/-0",.)ÿ1?4#@#Aÿ(556)ÿ=89=5:ÿ
ÿ
&)ÿB.ÿC:)ÿ<:ÿD.EFÿB.0.3#AÿGH&.E:ÿ(59(55:ÿIJÿK&#!LÿD.FEÿ@4"-E'-.ÿ>&,H.A)ÿ
         (5:ÿ
ÿ
@..-@33)ÿ/&4#3ÿG:ÿM'ÿN@""H@HEÿOÿ+##-O<*)ÿ+,#-.ÿ/-0",.)ÿ1;#'ÿ(56)ÿPQ9P7)ÿ
         Q9:ÿ
ÿ
D,E)ÿ?#.!ÿG:ÿM'ÿRH#-.0-"<ÿ+#,&#AÿR+/9P)ÿÿRH-"ÿGH&.Eÿ.<ÿM3-E)ÿ1D@"Aÿ(5(6)ÿ
         =S9=8:ÿ
ÿ
D,E)ÿT##A:ÿ+@E3#-"-.ÿU"+"+ÿ/-0")*ÿT@.Eÿ$ÿ+,,&)ÿ1V,4#ÿ(56)ÿ
ÿ
D,E)ÿT##A:ÿ>'-.Eÿ+%9=ÿ:SSP)*ÿT@.Eÿ$ÿ+,,&)ÿ1+@@E3ÿ(586)ÿ5=958:ÿ
ÿ
D,E)ÿT##A:ÿ;-3'""ÿ+#,Eÿ+%9SS)*ÿT@.Eÿ$ÿ+,,&)ÿ1I&O,4#ÿ(576)ÿS9P)ÿ(:ÿ
ÿ
D,E)ÿT##A:ÿ;-3'""ÿOAÿN##"ÿ+%9=)*ÿT@.Eÿ$ÿ+,,&)ÿ1I&O,4#ÿ(586)ÿ5P95=:ÿ
ÿ
D,E)ÿT##A:ÿM%ÿ>'-.Eÿ;9=Rÿ/-0")*ÿ+,#-.ÿ/-0",.)ÿ1D@"Aÿ(556)ÿ595S:ÿ
ÿ
D,E)ÿT##A:ÿM'ÿR+/9=5ÿ/-0")ÿRH#-.0-"<ÿ+#,&#Aÿ/H#&<@Eÿÿ>"EE-)*ÿT@.Eÿ$ÿ+,,&)ÿ
         1+@@E3ÿ(576)ÿ8=988:ÿ
ÿ
D##33)ÿG-""-,ÿR:)ÿ<:ÿR'&&3#FEÿN-4":ÿI&:ÿ5Q:ÿ!.E!LÿR3&#ÿ@4"-E'-.ÿ>&,H.A)ÿ(55:ÿ
ÿ
%H"E&'.)ÿW,.@":ÿR3A#FEÿRH9+ÿ+XT)*ÿM'ÿT@.ÿV-E3ÿN&&!ÿ&0ÿ+EE@"3ÿGH&.E)ÿ
         1(586)ÿ=79=(:ÿ
ÿ
%#J.)ÿ>'@!:ÿM'ÿ?3'-.ÿ?,E)*ÿT@.ÿG&#"<)ÿ12 3&4#ÿ(556)ÿ59S)ÿ5:ÿ
ÿ
%#J.)ÿ>'@!:ÿM'ÿ/@<ÿ/-0"Eÿ&0ÿRH#-.0-"<ÿ+#,&#A)*ÿT@.ÿG&#"<)ÿ1;#'ÿ(5(6)ÿS98:ÿ
ÿ
%#J.)ÿ>'@!:ÿ-"",3FEÿ+EE@"3ÿ?,-"A)*ÿM'ÿT@.ÿV-E3ÿN&&!ÿ&0ÿ+EE@"3ÿGH&.E)ÿ1(586)ÿ
         Q97:ÿ
ÿ
U'@!)ÿD&'.:ÿ:SSÿW#,ÿ>#4-.)*ÿT@.Eÿ$ÿ+,,&)ÿ1;Aÿ(856)ÿ7598Q:ÿ
ÿ
U'@!)ÿD&'.:ÿN.3,ÿN33"ÿ/-0"E)*ÿT@.Eÿ$ÿ+,,&)ÿ1D.@#Aÿ(56)ÿP89P()ÿ798:ÿ
ÿ
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                       EXHIBIT D
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           103D CoNGRESS }                          {                            REPORT
             2d Session    HOUSE OF REPRESENTATIVES                              103-489




               PUBLIC SAFETY AND RECREATIONAL FIREARMS USE
                              PROTECTION ACT


            MAY 2, 1994.---Committed to the Committee of the Whole House on the State of the
                                    Union and ordered to be printed



                      Mr. BROOKS, from the Committee on the Judiciary,
                                  submitted the following

                                              REPORT
                                              together with

                         SUPPLEMENTAL AND DISSENTING VIEWS
                                         [To accompany H.R. 4296)

                         [Including cost estimate of the Congressional Budget Office)
              The Committee on the Judiciary, to whom was referred the bill
            (H.R. 4296) to make unlawful the transfer or possession of assault
            weapons, having considered the same, report favorably thereon
            with an amendment and recommend that the bill as amended do
            pass.
              The amendment is as follows:
              Strike out all after the enacting clause and insert in lieu thereof
            the following:
            SECftON I. SHORT TITLE.
              This Act may be cited as the "Public Safety and Recreational Firearms Use Pro-
            tection Act".
            SEC. I. RESTRJCftON ON MANUFAcnJRE, TRANSFER, AND POSSESSION OF CERTAIN SEMI•
                      AUTOMATIC ASSAULT WEAPONS.
              (a) REsTR.ICTJON.-Section 922 of title 18, United States Code, is amended by add-
            ing at the end the following:
              "(vXl) It shall be unlawful for a person to manufacture, transfer, or possess a
            semiautomatic assault weapon.
              "(2) Paragraph (1) shall not apply to the possession or transfer of any semiauto-
            matic assault weapon otherwise lawfully possessed on the date of the enactment of
            this subsection.
              "(3) Paragraph ( 1) shall not apply to-
                79-006
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                     "(A) any or the firearms, or replicas or duplicates or the firearms, specified
                  in Appendix A to this aection, as such firearms were manufactured on October
                   1, lffS;
                     "(B) any ftrearm tbat-
                          "(i) is manually Op!nlted by bolt, pump, leverl or slide action;
                          "(ii) has been rendered permanently inoperab e; or
                          "(ill) is an antique firearm;
                     "(C) any semiautomatic rifle that cannot accept a detachable magazine that
                  holds more than 5 rounds or ammunition; or
                     "(D) any semiautomatic shotgun that cannot hold more than 5 rounds of am-
                  munition in a fured or detachable magazine.                           .
             The fact that a firearm is not listed in Appendix A shall not be construed to mean
             that paragraph ( 1) applies to such firearm. No firearm exempted by this subsection
             DUlY be delet.ed from Appendix A so long as this Act is in effect.
                "(4) Paragraph (1) shall not apply to-
                     "(A) the United States or a department or agency of the United States or a
                   State or a department, agency, or political subdivision of a State;
                     "(B) the transfer of a senuautomatic assault weapon by a licensed manufac-
                   turer, licensed importer, or licensed dealer to an entity referred to in subpara-
                  graph (A) or to a law enfon:ement officer authorized by such an entity to pur-
                  chase firearms for official use;
                     "(C) the possession, by an individual who is retired from service with a law
                  enforcement agency and is not otherwise prohibited from receiving a firearm,
                  of a semiautomatic assault weapon transferred to the individual by the agency
                  upon such retirement; or
                     "(D) the manufacture, transfer, or possession of a semiautomatic assault
                  weapon by a licensed manufacturer or licensed importer for the purposes of
                  testing or experimentation authorized by the Secretary.".
                (b) DEFINmON OF SEMIAUTOMA11C Ass.\ULT WEAPON.-Section 921(a) of such title
             is amended by adding at the end the following:
                "(30) The term 'semiautomatic assault weapon' meana-
                     "(A) any or the firearms1, or copies or du_plicates of the firearms, known as-
                          "(i) Norinco, Mitchen, and Poly Technologies Avtomat Kalashnikovs (all
                     models);
                        "(ii) Action Arms Israeli Military Industries UZI and Galil;
                        "(ill) Beretta Ar'TO (SC-70);
                        "(iv) Colt AR-15;
                        "(v) Fabrique National FN/FAL, FN/LAR, and FNC;
                        "(vi) SWD M-10, M-11, M-1119, and M-12;
                        "(vii) Ste_p-_ AUG;
                        "(viii) INTRATEC TEC-9, TEC-DC9 and TEC-22; and
                        "(ix) revolving cylinder shot.guns, such as (or similar to) the Street Sweep-
                     er and Striker 12;
                   •(B) a semiautomatic rifle that has an ability to accept a detachable magazine
                 and has at least 2 of-
                        "(i) a folding or telescoping stock;
                        "(ii) a pistol grip that protrudes conspicuously beneath the action of the
                     wea~n;
                        "(ill) a bayonet mount;
                        "(iv) a flash suppressor or threaded barrel designed to accommodate a
                     flash suppressor; and
                        "(v) a grenade launcher;
                   "(C) a semiautomatic pistol that has an ability to accept a detachable maga-
                 zine and has at least 2 of-
                        "(i) an ammunition magazine that attaches to the pistol outside of the
                     pistol grip;
                        "(ii) a threaded barrel capable of accepting a barrel extender, flash sup-
                     pressor, forward handgrip, or silencer;
                        "(iii) a shroud that is attached to, or partially or completely encircles, the
                     barrel and that permits the shooter to hold the firearm with the nontrigger
                     hand without bemg burned;
                        "(iv) a manufactured weight of 50 ounces or more when the pistol is un-
                     loaded; and
                        "(v) a semiautomatic version of an automatic firearm; and
                   "(D) a semiautomatic shotgun that has at least 2 of-
                        "(i) a folding or telescoping stock;
                        "(ii) a pistol grip that protrudes conspicuously beneath the action of the
                     weapon;
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                      "(iii) a fixed magazine capacity in excess of 5 rounds; and
                      "(iv) an ability to accept a detachable magazine.".
             (c) PENALTIES.-
                   (!) VIOLATION OF SECTION 922(V).--Section 924(a)(l)(B) of such title is amend-
                ed by striking "or (q) of section 922" and inserting "(r), or (v) of section 922".
                   (2) USE OR POSSESSION DURING CRIME OF VIOLENCE OR DRUG TRAFFICKING
                CRIME.--Section 924(c)( 1) of such title is amended in the first sentence by in-
                serting", or semiautomatic assault weapon," after "short-barreled shotgun,".
             (d) IDENTIFICATION MARKINGS FOR SEMIAUTOMATIC AssAULT WEAPONS.--Section
           923(i) of such title is amended by adding at the end the following: "The serial num-
           ber of any semiautomatic assault weapon manufactured after the date of the enact-
           ment of this sentence shall clearly show the date on which the weapon was manu-
           factured.".
           SEC. 3. RECORDKEEPING REQUIREMENTS FOR TRANSFERS OF GRANDFA111ERED FIREARMS.
              (a) OFFENSE.--Section 922 of title 18, United States Code, as amended by section
           2(a) of this Act, is amended by adding at the end the following:
             "(w)(l) It shall be unlawful for a person to sell, ship, or deliver a semiautomatic
           assault weapon to a person who has not completed a form 4473 in connection with
           the transfer of the semiautomatic asaault weapon.
             "(2) It shall be unlawful for a person to receive a semiautomatic assault weapon
           unless the person has completed a form 4473 in connection with the transfer of the
           semiautomatic assault weapon.
             "(3) If a person receives a semiautomatic assault weapon from anyone other than
           a licensed dealer, both the person and the transferor shall retain a copy of the form
           4473 completed in connect.ion with the transfer.                                    ·
             "(4) Within 90 days after the date of the enactment of this subsection, the Sec-
           retary shall prescribe regulations ensuring the availability of form 4473 to owners
           of semiautomatic assault weapons.
             "(5) As used in this subsection, the term 'form 4473' means-
                    "(A) the form which, as of the date of the enactment' of this subsection, is des-
                 ignated by the Secretary as form 4473; or
                    "(B) any other form which-
                         "(i) is required by the Secretary, in lieu of the form described in subpara-
                      graph (A), to be completed in connection with the transfer of a semiauto-
                      matic assault weapon; and
                         "(ii) when completed, contains, at a minimum, the information that, as
                      of the date of the enactment of this subsection, is required to be provided
                      on the form described in subparagraph (A).".
              (b) PENAL1Y.--Section 924(a) of such title is amended by adding at the end the
           following:
             "(6) A person who knowingly violates section 922(w) shall be fined not more than
           $1,000, imprisoned not more than 6 months, or both. Section 3571 shall not apply
           to any offense under this paragraph.".
           SEC. 4. BAN OF IARGE CAPACl1Y AMMUNITION FEEDING DEVICES.
              (a) PROHIBITION.~ction 922 of title 18, United States Code, as amended by sec-
           tions 2 and 3 of this Act, is amended by adding at the end the following:
              "(x)(l) Except as provided in paragraph (2), it shall be unlawful for & person to
           transfer or possess a large capacity ammunition feeding device.
              "(2) Paragraph (1) shall not apply to the possession or transfer of any large capac-
           ity ammunition feeding device otherwise lawfully possessed on the date of the enact-
           ment of this subsection.
              "(3) This subsection shall not apply to--
                    "(A) the United States or a department or agency of the United States or a
                State or a department, agency, or political subdivision of a St.ate;
                    "(B) the transfer of a large capacity ammunition feeding device by a licensed
                 manufacturer, licensed importer, or licensed dealer to an entity referred to in
                 subparagraph (A) or to a law enforcement officer authorized by such an entity
                 to purchase large capacity ammunition feeding devices for official use;
                    "(C) the possession, by an individual who is retired from service with a law
                 enforcement agency and is not otherwise prohibited from receiving ammunition,
                 of a large capacity ammunition feeding device transferred to the individual by
                 the agency upon such retirement; or
                    "(D) the manufacture, transfer, or possession of any large capacity ammuni-
                 tion feeding device by a licensed manufacturer or licensed importer for the pur-
                 poses of testing or experimentation authorized by the Secretary.".
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               (b) DEFINITION OF LARGE CAPACITY AMMuNITION FEEDING DEVICE.-Section
             92l(a) of such title, as amended by section 2(b) of this Act, is amended by adding
             at the end the following:
               "(31) The term 'large capacity ammunition feeding device'-
                     "(A) means-
                          "(i) a magazine, belt, drum, feed strip, or similar device that has a capac-
                       ity of, or that can be readily restored or converted to accept, more than 10
                        rounds of ammunition; and
                          "(ii) any combination of parts from which a device described in clause (i)
                        can be assembled; but
                     "(B) does not include an attached tubular device designed to accept, and capa-
                   ble of operating only with, .22 caliber rimfire ammunition.".
                (c) LARGE CAPACITY AMMllNITION FEEDING DEVICES TREATED AS FIREARMS.-Sec-
             lion 92l(a)(3) of such title is amended in the first sentence by striking "or (D) any
             destructive device.n and inserting "(D) any destructive device; or (E) any large ca-
             pacity ammunition feeding device.".
                (d) PENALTY.-Section 924(a)( l)(B) of such title, as amended by section 2(c) of this
             Act, is amended by striking "or (v)" and inserting "(v), or (x)".
                (e) IDENTIFICATION MARK.l~GS FOR LARGE CAPACITY AMMUNITION FEEDING DE-
             VICES.-Section 923(i) of such title, as amended by section 2(d) of this Act, is amend-
             ed by adding at the end the following: "A large capacity ammunition feeding device
             manufactured after the date of the enactment of this sentence shall be identified
             by a serial number that clearly shows that the device was manufactured or im-
             ported after the effective date of this subsection, and such other identification as the
             Secretary may by regulation prescribe.".
             SEC. 5. snmv BY A1TORNEY GENERAL.
                (a) STUDY.-The Attorney General shall investigate and study the effect of this
             Act and the amendments made by this Act, and in particular shall determine their
             impact, if any, on violent and drug trafficking crime. The study shall be conducted
             over a period of 18 months, commencing 12 months after the date of enactment of
             this Act.
                (b) REPORT.-Not later than 30 months after the date of enactment of this Act,
             the Attorney General shall prepare and submit to the Congress a report setting
             forth in detail the findings and determinations made in the study under subsection
             (a).
             SEC. 8. EFFECTIVE DATE.
               This Act and the amendments made by this Act-
                     ( ll shall take effect on the date of the enactment of this Act; and
                     (2) are repealed effective as of the date that is 10 years after that date.
             SEC. 7. APPENDIX A TO SECTION 922 OF TITI..E 18.
               Section 922 of title 18, United States Code, is amended by adding at the end the
             following appendix:
                                                             "APPENDIX A
                                                Centr.rru-e Rlftes-Aut.oloaden1
             Browning BAR Mark II Safari Semi-Auto Rifle
             Browning BAR Mark II Safari Magnum Rine
             ~~ri~rn1  l~~t PM::f:1 ~~e Rifle
             Iver Jvhn60n M-·l Carbine
             Jver Johnson 50th Anr1ivPrs:uy M-1 Carbine
             ~~::~ ~~:: ~5c~r~i;!rbine
             lu>mington 1',ylon 66 Auto-Loading Rine
             R<,mington MudPI 7400 Auu, Rifle
             Rt-mington Model 7400 Rine
             Remingtor. Mod,1 7400 Sµecuil Purpose Auto Rifle
             Rugrr Mrni-14 Auto!N1d1ng Rifle (wio folding stock I
             Rug,,r Mini Thirty Rifle
                                                   Center<ire Riffe&-uever Ii !'lid~
             Browsing M,>ifol 81 BLR Levor-Artivo Rifle
             Bruwntn!( MoJel 81 Long Actior. BLR
             Browning Model 1886 Lever-Action Carbin•
             Bn,wning Model 1886 High Grade Carbine
             Cirnarrun 1860 H•nry R.,plica
             Cimarron 1866 Winchester Replir,as
             Cim,rmn 1873 Short Rine
             Cimarron 1873 Sporting Rine
             Cimarron 18i3 30" Ez_presa Rine
             Dixie Engraved 1873 Rine
             E.M.F. 1866 Yellowboy Lever Artions
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           BU:    :.:>er;;z:,:~Action Rifle
           Marlin Model 336CS Lever-Action Carbine
           Marlin Model 30AS Lever-Action Carbine
           Marlin Model 4«88 Lever-Action Sport.er
           Marlin Model 1894S Lever-Action Carbine
           Marlin Model 1894CS Carbine
           Marlin Model 1894CL Classic
           Marlin Model 189588 Lever-Action Rifle
           Mitcliell 1858 Henry Replica
           Mitcliell 1866 Winchester Replica
           Mitchell 1873 Winchester Replica
           Navy Arma Military Henry Rifle
           Navy Arma Henry Trapper
           Navy Arma Iron Frame Henry
           Navy Arma Henry Carbine
           Navy Arma 1866 Yellowboy Rifle
           Navy Arma 1873 Winchester-Style Rifle
           Navy Arma 1873 Sl"?rting Rifle
           Remington 7600 Shde Action
           Remington Model 7600 Special Purpose Slide Action
           Roeai M92 SRC Saddle-RinB Carbine
           Roeai M92 SRS Short Carbine
           Savage 99C Lever-Action Rifle
           Uherti Henry Rifle
           Uherti 1866 Sporting Rilfe
           Uherti 1873 Sporting Rifle
           Winchester Model 94 Side Eject Lever-Action Rifle
           Winchester Model 94 Tral)per Side Eject
           Winchester Model 94 Big Bore Side Eject
           Winchester Model 94 Ranger Side Eject Lever-Action Rifle
           Winchester Model 94 Wrangler Side Eject
                                                 Centerflre Rlfl--Bolt Action
           Aleine Bolt-Action Rifle
           A-Square Caesar Bolt-Action Rifle
           A-Square Hannibal Bolt-Action Rifle
           Anschutz 1700D Claaaic Rifles
           Anschutz 1700D Custom Rifles
           Anschutz 1700D Bavarian Bolt-Action Rifle
           Anschutz 1733D Mannlicher Rifle
           Barret Model 90 Bolt-Action Rifle
           Beeman/HW 60J Bolt-Action Rifle
           Blaser RS4 Bolt-Action Rifle
           BRNO 537 Sport.er Bolt-Action Rifle
           BRNO ZKB 527 Fm Bolt-Action Rifle
           BRNO ZICK 600,601,602 Bolt-Action Rifles
           Browning A-Bolt Rifle
           Browning A-Bolt Stainless Stalker
           Browning A-Bolt Left Hand
           Browning A-Bolt Short Action
           Browning Euro-Bolt Rifle
           Browning A-Bolt Gold Medallion
           Browning A-Bolt Micro Medallion
           Century Centurion 14 Sporter
           Century Enfield Sport.er #4
           Century Swedish Sport.er #38
           Century Mauser 98 Sporter
           Cooper Model 38 Centerfire Sport.er
           g::~~= ~~ ~ra=: :t~~: :w:
           Dakota 76 Short Action Rifles
           Dakota 76 Safari Bolt-Action Rifle
           Dakota 416 Rigby African
           E.A.A.ISahatti Rover 870 Bolt-Action Rifle
           Auguste Francotte Bolt-Action Rifles
           Carl Gustaf 2000 Bolt-Action Rifle
           Heym Magnum Express Series Rifle
           Hows Lightning Bolt-Action Rifle
           Hows Realtree Came Rifle
           lnterarms Mark X Viscount Bolt-Action Rifle
           lnterarms Mini-Mark X Rifle
           lnterarms Mark X Whitworth Bolt-Action Rifle
           lnterarms Whitworth Express Rifle
           lmFJK~s~!~ae~ ~~i\~nli~nge Rifle
           Krico Model 600 Bolt-Action Rifle
           Krico Model 700 Bolt-Action Rifles
           Mauser Model 66 Bolt-Action Rifle
           Mauser Model 99 Bolt-Action Rifle
           McMillan Signature Classic Sport.er
           McMillan Signature Super Varminter
           McMillan Signature Alaskan
           McMillan Signature Titanium Mountain Rifle
           McMillan Classic Stainless Sport.er
           McMillan Talon Safari Rifle
           McMillan Talon Sport.er Rifle
           Midland 15005 Survivor Rifle
           Navy Arms TU-33140 Carbine
           Parker-Hale Model 81 Classic Rifle
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                                                              6
             Parker•Hale Model 81 Classic African Rifle
             Parker-Hale Model 1000 Rifle
             Parker•Hale Model 1100M African MBB11um
             Parker•Hale Model llOO Lightweight Rifle
             Parker•Hale Model 1200 Super Rifle
             Parker•Hale Model 1200 Super CliP. Rifle
             Parker•Hale Model 1300C Scout Rifle
             Parker•Hale Model 2100 Midland Rifle
             Parker•Hale Model 2700 L~tweight Rifle
             Parker.Hale Model 2800 Midland Rifle
             Remington Model Seven Bolt•Action Rifle
             Remington Model Seven Youth Rifle
             Remington Model Seven Custom KS
             Remington Model Seven Cuatom MS Rifle
             Remington 700 AOL Bolt•Action Rifle
             Remington 700 BDL Bolt•Action Rifle
             Remington 700 BDL Varmint Special
             Remington 700 BDL European Bolt•Action Rifle
             Remington 700 Varmint Sr.nthetic Rifle
             Remington 700 BDL SS Rifle
             Remington 700 Stainless Synthetic Rifle
             Remington 700 MTRSS Rifle
             Remington 700 BDL Left Hand
             Remington 700 Camo Synthetic Rifle
             Remington 700 Safari
             Remington 700 Mountain Rifle
             Remington 700 Custom KS Mountain Rifle
             Remington 700 Classic Rifle
             Ruger M77 Mark II Rifle
             Ruger M77 Mark II Magnum Rifle
             Ruger M77RL Ultra Light
             Ruger M77 Mark II AJJ.Weather StainleAS Rine
             Ruger M77 RSI International Carbme
             Ruger M77 Mark II E•press Rine
             Ruger M77VI' Target Rifle
             Sako Hunter Rifle
             Sako Fiben:1888 Sporter
             Sako Safari Grade Bolt Act1un
             Sako Hunter Left.Hand Rifle
             Sako CIB88ic Bolt Action
             Sako Hunter LS Rifle
             Sako Deluxe Lightweight
             Sako Super Delu•e Sporter
             Sako Mannlicher•Style Carbine
             Sako Varmint Heavy Barrel
             Sako TRG-S Bolt•Action Rifle
             Sauer 90 Bolt•Action Rifle
             Savage HOG Bolt•Action Rine
             Savage 1 lOCY Youth/Ladies Rifle
             Savage BOWLE One of One TbouBand Limited Edition Rifle
             Savage l 10GXP3 Bolt.Action Rifle
             Savage HOF Bolt•Action Rifle
             Savage ll0FXP3 Bolt•Action Rifle
             Savage llOGV Varmint Rifle
             Savage l 12FV Varmint Rifle
             Savage Model ll2FVS Varmint Rifle
             Savage Model 1128V Heavy Barrel Vannint Rifle
             Savage l 16FSS Bolt•Action Rifle
             Savage Model l 16FSK Kodiak Rifle
             Savage U0FP Police Rifle
             Steyr•Mannlicher Sporter Models SL, L, M, S, SIi'
             Steyr•Mannlicher Lu.us Model L, M, S
             ~~~ltt~~~ ~~:I M Professional Rifle
             Tikka Premium Grade !Mes
             Tikka VarminVContinental Rifle
             Tilli WhitetaiVBattue Rifle
             Ultra Light Arms Model 20 Rifle
             Ultra ~ t Arms Model 28, Model 40 Rifles
             ~:::: MJen lit~t1!'~~·1ir~~n Rifle
             Voere Model 2155, 2150 Bolt-Action Rifles
             Weatherby Mark V O.,luu Bolt-Action Rifle
             Weatherby Lasermark V Rifle
             Weatherby Mark V Crown Custom Rifles
             Weatherby Mark V Sporter Rifle
             Weatherby Mark V Safari Grade Custom Rifles
             Weatherby Weatherman. Rifle
             Weatherby Weatherman. Alsskan Rifle
             Weatherby Classianark No. 1 Rifle
             Weatherby Weatberguard Alaskan Rifle
             Weatherby Vanguard VGX Delu•e Rifle
             Weatherby Vanguard ClaBaic Rifle
             Weatherby Vanguard Claasic No. 1 Rifle
             :kh1f't!~~': Weatherguard Rifle
             Wichita Varmint Rifle
             Winchester Model 70 Sporter
             Winchester Model 70 Sporter Win Tuff'
             Winchester Model 70 SM Sporter
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                                                              7
           Winchester Model 70 SLainless Rifle
           Winchester Model 70 Varmint
           Winchester Model 70 Synthetic Heavy Varmint Rifle
           Winchester Model 70 DBM Rifle
           Winchester Model 70 DBM-S Rifle
           Winchester Model 70 Featherweight
           Winchester Model 70 Featherweight WinTufT
           Winchester Model 70 Featherweight Classic
           Winchester Model 70 Lightweight Rifle
           Winchester Ranger Rifle
           Winchester Model 70 Super Espresa Magnum
           Winchester Model 70 Super Grade
           Winchester Model 70 Custom Sharpshooter
           Winchester Model 70 Custom Sporting Sharpshooter Rifle
                                                Centerflre Ritle&-Slngle Shot
           Armoport 1866 Sharps Rifle, Carbine
           Brown Model One Sinide Shot Rifle
           Browning Model 18851lingle Shot Rifle
           Dakola Single Shot Rifle
           Deoert Industries G--90 Single Shot Rifle
           Harrington & Richardoon tntra Varmint Rifle
           Model 1885 High Wall Rifle
           Navy Arms Rolling Block Buffalo Rifle
           Navy Arma 12 Creedmoor Rifle
           Navy Arma Sharpe Cavalry_ Carbine
           Navy Arma Sharpe Plains Rifle
           New England Firearms Handi-Rifle
           Red Willow Armory Ballard No. 5 Pacific
           Red Willow Armory Ballard No. 1.5 Hunting Rifle
           Red Willow Armory Ballard No. 8 Union Hill Rifle
           Red Willow Armory Ballard No. 4.5 Target Rifle
           Remington-Style Rolling Block Carbine
           Ruger No. IB Single Shot
           Ruger No. IA Light Sporter
           Ruger No. IH Tropical Rifle
           Ruger No. IS Medium Sporter
           Ruger No. I RSI International
           Ruger No. IV Special Varminter
           C. Sharpe Anne New Model 1874 Old Reliable
           C. Sharps Anne New Model 1875 Rifle
           C. Sharpe Anne 1875 Classic Sharps
           C. Sharpe Arma New Model 1875 Target & Long Range
           Shiloh Sharps 1874 Long Range Espreaa
           Shiloh Sharps 1874 Montana Rouprider
           Shiloh Sharps 1874 Military Carbine
           Shiloh Sharps 1874 Bueineaa Rifle
           Shiloh Sharpe 1874 Military Rifle
           Sharps 1874 Old Reliable
           Thompoon/Center Contender Carbine
           Thompoon/Center Stainlese Contender Carbine
           Thompoon/Center Contender Carbine Survival System
           Thompoon/Center Contender Carbine Youth Model
           Thoml'!!'n/Center TCR '87 Single Shot Rifle
           Uberti Rolling Block Baby Carbine
                                          Drilllnp, Combination Guna, Double IWla
           Barella Espresa SSO O'U Double Rifles
           Barette Model 455 &S Espreaa Rifle
           Chapuis RGEspresa Double Rifle
           Auguete Francotte Sidelock Double Rifles
           Auguete Francotte Bostock Double Rifle
           Heym Model 55B 0/U Double Rifle
           Heym Model 55FW O'U Combo Gun
           ~kM~l&8&,~gi:;%'N!de Double Rifle
           KreighofT Teck 0/U Combination Gun
           ~:etg.~~!.fe~i~:lination Gune
           Merkel DrillingB
           Merkel Model 160 Side-by-Side Double Rifles
           Merkel Over/Under Double Rifles
           Savage 24F 0/U Combination Gun
           Savage 24F-12T Turkey Gun
           ~Z.t~eln~2~t8:bi~!C~~n
           Tikka Model 412S Double Fire
           A. Zoli Rifle-Shotgun O/U Combo

                                                  Rimflre Rlfl-Autoloaden
             AMT Lightning 25122 Rifle
             AMT Lightning Small-Game Hunting Rifle II
             AMT Magnum Hunter Auto Rifle
           . Anechutz 525 DeluR Auto
             Armecor Model 20P Auto Rifle
             Browning Auto-22 Rifle
             Browning Auto-22 Grade VI
             Krico Model 260 Auto Rifle
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                                                                     8
             Lakefield Arms Model 64B Auto Rifle
             Marlin Model 60 Self-Loadil!J Rifle
             Marlin Model 60u Self-Loadmg Rifle
             Marlin Model 70 HC Auto
             Marlin Model 9901 Self-Loading Rifle
             Marlin Model 70P Papoc.e
             Marlin Model 922 Ma,inum Self-Loading Rifle
             Marlin Model 995 Self.Loading Rifle
             Norina, Model 22 ATD Rine
             Remington Model 522 Viper Autoloading Rifle
             Remington 552BDL Srec!!naster Rifle
             Ruger 10/22 Autoload1ng Carbine (w/o folding atoclr.)
             Survival Arms AR-7 Explorer Rifle
             Teus Remington Revolving Carbine
             Voere Model 2115 Auto Rifle
                                                 R1mftre Rtne.-Lever A Slide Action
             ~~i~~a~:·Action Rifle
             Marlin Model 39AS Golden Lever-Action Rifle
             Remington 572BDL Fieldma.ster Pump Rifle
             Norina, EM-321 Pump Rifle
             Roeai Model 62 SA Pump Rifle
             Roeai Model 62 SAC Carbine
             Winchester Model 9422 Lever-Action Rifle
             Winchester Model 9422 Magnum Lever-Action Rifle
                                             Rlmftre ~ t Act.Iona & Slnale Shota
             Anschutz Achiever Bolt-Action Rifle
             Anschutz 14161)(1516D Clueic Riffee
             Anachut& 14181)(1518D Mannlicher Riflee
             Anachutz 1700D Claaaic Rifles
             Anachutz 1700D Custom Riflee
             Anachutz 1700 FWT Bolt-Action Rifle
             Anachutz 1700D Graphite Custom Rifle
             Anschutz l 700D Bavarian Bolt-Action Rifle
             Armscor Model 14P Bolt-Action Rifle
             Armaa,r Model 1500 Rifle
             BRNO ZKM-452 Deluxe Bolt-Action Rifle
             BRNO ZKM 452 Deluu
             Beeman/HW 60-J-8T Bolt-Action Rifle
             Browning A-Bolt 22 Bolt-Action Rifle
             g:::;:~t;!;~t ~ : Medallion
             Cabanas Master Bolt-Action Rifle
             Cabanas Eapronoeda IV Bolt-Action Rifle
             Cabanas LeYre Bolt-Action Rifle
             Chipmunk Sinlde Shot Rifle
             Cooper Arms r.lodel 368 Sporter Rifle
             Dakota 22 Sporter Bolt-Action Rifle
             Krim Model 300 Bolt-Action Riffee
             Lakefield Arms Marlr. II Bolt-Action Rine
             Lakefield Arma Marlr. I Bolt-Action Rifle
             Magtech Model MT-22C Bolt-Action Rifle
             Marlin Model 880 Bolt-Action Rifle
             Marlin Model 881 Bolt-Action Rifle
             Marlin Model 882 Bolt-Action Rifle
             Marlin Model 883 Bolt-Action Rifle
             Marlin Model 883SS Bolt-Action Rifle
             Marlin Model 25MN Bolt-Action Rifle
             Marlin Model 25N Bolt-Action Repeater
             Marlin Model 15YN "Little Buclr.aroo"
             Mauser Model 107 Bolt-Action Rifle
             Mauser Model 201 Bolt-Action Rifle
             Navy Arma TU-KKW Training Rifle
             Navy Arma TU-33/40 Carbine
             ~~z!1w]?-~~i~~fu1i;:uner
             Norina, JW-15 Bolt-Action Rifle
             Remington 541-T
             Remington 40-XR Rimfire Custom •l'Orter
             Remington 541-T HB Bolt-Action Rifle
             Remington 581-8 Sportsman Rifle
             Ruger 77/22 Rimfire Bolt-Action Rifle
             Ruger K77f.!2 Varmint Rifle
             Ultra Light Arms Model 20 RF Bolt-Action Rifle
             Winchester Model 52B Sporting Rifle
                                              Competition Riflee-Centerf"u-e & Rlmflre
             Anschutz    ~MS Len Silhouette
             Anschutz    1808D RT Super Match 54 Target
             Anschutz    1827B Biathlon Rifle
             Anschutz    1903D Match Rifle
             Anschut::   1803D Intermediate Match
             Anschutz    1911 Match Rifle
             Anschutz    54.lBMS REP Deluu Silhouette Rifle
             Anschutz    1913 Super Match Rifle
             Anschutz    1907 Match Rifle
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                                                                9
           Amchuta 1910Jlu_per Matcll II
           Anachuta liUBMS SilhauettAt Rifle
           AnlCbuta Super Match 54 Target Model 2013
           Amchuta Super Match 54 Target Model 2007
           Beeman/Fein-rkbau 2600 Target Rifle
           Cooper Arma Model TRP-1 ISU Standard Rille
           E.AA../Weihrauch HW 60 Target Rifle
           E.A.A.IHW 660 Match Rille
           ~!,~!-/e'f  ~~ia~RiRJ~e
           Krico Model 400 Mat.ch Rille
           Krico Model 3608 Biathlon Rifle
           Krico Model 500 Kricotronic Match Rifle
           ~:    t::::l ~ ~~ :tA1:
           Lakefield Arma Model 90B Target Rifle
           Lakefield Arma Model 91T Target Rille
           Lakefield Arma Model 9'lS Silhouette Rifle
           Marlin Model 2000 Target Rifle
           Maueer Model 86-SR S-pecialty Rifle
           :~m::: ~bos~~~.!1:s          50-Caliber Rifle
           :~m:::        ~'if.,
                    ~r~filtr           Range Rille
           McMillan National tfatch Rifle
           McMillan Lon11 Ran_ge Rifle
           Parker-Hale M-a7 Target Rifle
           Parker-Hale M-85 Sniper Rifle
           Remington 40-XB Rangemaater Target Centerfire
           Remingtcn 40-XR KS Rimlire Position Rifle
           Remingtcn 40-XBBR KS
           Remington 40-XC KS National Mat.ch Couree Rifle
           Sako TRG-21 Bolt-Action Rifle
           Steyr-Mannlicher Match SPG-UIT Rifle
           Steyr-Mannlicher SSG P-1 Rifle
           Steyr-Mannlicher SSG P-111 Rifle
           Steyr-Mannlicher SSG P-IV Rifle
           Tanner Standard UIT Rifle
           Tanner 50 Meter Free Rifle
           Tanner 300 Meter Free Rifle
           Wichita Silhouette Rifle
                                                        Sbottrw--Autoloaden
            American Arma/Franchi Black Masi• 4&'AL
            Benelli Super Black Eagle Shotgun
            Benelli Super Black Eagle Slu11 Gun
            Benelli Ml Super 90 Field Auto Shotgun
            Benelli Montefeltrn Super 90 20-Gauge Shotgun
            Benelli Mnntefeltrn Super 90 Shotgun
            Benelli Ml Sporting Special Auto Sbot,run
            Benelli Black Eqle Competition Auto Shotgun
            Beretta A-303 Auto Sbotpn

            t:::: ~~u'f:l~r
            Berette 390 Field Auto Shotgun


            Berette Model 1201F Auto~hotgun
                                            Skeet Shotguna

            Browning BSA 10 Auto Sbolfl\ln
            Browning Bea 10 Stalker Auto Shotgun
            Browning A-liOOR Auto Shotgun
            Browning A-6000 Auto Sbotilun
            Browning A-6000 Sportin11 Cla:,a
            Browning Auto-6 Light 12 and 20
            Browning Auto-6 Stalker
            Browning Auto-5 Magnum 20
            Browning Auto-5 Majnum 12
            Chlll'Cbill Turkey Automatic Shotgun
            Comni Automatic Shotgun
            Maverick Model 60 Auto Shotgun
            MOIBberg Model 5500 Shotgun
            MOllbe,g Model 9200 Regal Semi-Auto Shotgun
            M...tie,j Model 9200 USST Auto Shotgun
            MOl8bers Model 9200 Camo Shotgun
            MOllbe,g Model 6000 Auto Shotgun
            Remington Model 1100 Shotgun
            Remington 11-87 Premier aliotgun
            Remington 11-87 Sporting Claya
            Remington 11-87 Premier SliMt
            Remington 11-87 Premier Trap
            Remington 11-87 Special Putp01e Maanum
            Remington 11-87 SPS-T Camo Auto Shotgun
            Remington 11-87 Specia! Putp01e Deer Gun
            Remington 11-87 SJ>s..BG-Camo Deerfl'urkey Sbolfl\ln
            Remington 11-87 SJ>S.Deer Shotgun
            Remington 11-87 Special Purpooe Synthetic Camo
            Remington SP-10 Magnum-Camo Auto Shotgun
            Remington SP-10 Magnum Auto Shotgun
            Remington SP-10 Magnum Turkey Combo
            Remington 1100 LT-20 Auto
            Remington 1100 S      ' I Field
            Remington 1100 = u p Deer Gun
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                                                                     10
             Remi!IIIOD 1100 LT-20 Tou...-t 81,ea
             Wlncbioter Model 1400 8-1-Aoto Sbatcun
                                                       SboCpm--8Ude Actlnm
             lllvwnlns Model ,1 Pump Sbcqun
             Brownini BPS Pump 81,otcun
             llrownlni BPS 8talbr Pump Sbotgun
             Bruwninc BPS Pigean Grade Pump Sbotcun
             Bruwning BPS Pump Sbot«un (Ladi• and Youth Model)
             Bruwning BPS Game Gun "'l'u~ial
             BruwnUJJ BPS Game Gun Deer          ·
             Ithaca Model 87 Supreme Pump
             ltbace Model 87 Deenla:,er Sbotflun
             Ithaca Deeralayer II Rifled Shotgun
             Ithaca Model 87 Turke)' Gun
             Ithaca Model 87 Oeluze Pump Sbcqun
             Magtecb Model 588-VR Pump Sh<qun
             Maverick Modela 88, 91 Pump Shotguna
             Moeaberg Model 500 llporting Pump
             Moeaberg Model 500 Camo Pump
             Moeaberg Model 500 Mualeloader Combo
             Moaaberg Model 500 Trophy Slugster
             Moaaberg Turkey Model 500 Pump
             Moeaberg Model 500 Bantam Pum_p
             Mosaberg Field Grade Model 835 Pump Shotgun
             Mosaberg Model 835 Regal UIU-Mq Pump
             Remington 870 W I ~
             Remington 870 Ss,ecial Purpoe Deer Gun
             Remington 870 SJ>S...BG-Camo Deerfl'urkey Shotgun
             Remington 870 SPS-Deer Shotgun
             Remington 870 Marine Magnum
             Remington 870 TC Trap
             Remington 870 Soecial Pu'Tm:r,thetic Camo
             Remington 870 Wingmaater          Ge
             Remington 870 Es:i,,- Rifle Sighted  C
             Remington 879 SPS SDecial Purpoe Mapum
                                                       Gun
             Remington 870 SPS-1' Camo Pump 8hcqun
             Remington 870 Special Field
             Remington 870 BzpreN Turke)'
             Remington 870 lfijb Grad.
             Remington 870 EKii-
             Remiagton Model 870 Esp._ Youth Gun
             Wincbmter Model 12 Pump Sbcqun
             Wincbelter Model ,2 Hild, Grade Sbotcun
             W i ~ r Model 1300 Walnut Pum11_
             Wincbelter Model 1300 811111 Hunter Deer Gun
             Winc:beater Model 1300 Rang,er Pump Gun Combo 6 Deer Gun
             Wincbeater Model 1300 TurbJ Gun
             Wincbeeter Model 1300 Reqar Pump Gun
                                                       ~aden
             American Arma/Franchi Falcone& 2000 O'l1
             American Arma Silftl" I O'U
             American Arma Silftl" II Shotgun
             American Arm• Silftl" Skeet MJ
             America.a Arma/Franchi SporUn 2000 O'l1
             American Arma Sil_. Sporting ~
             American Arma SilYer Ti-aD O'lJ
             American Arma WS'OU 1a': TSOU 12 Sluquna
             American Arma WT/OU 10 Shotgun
             Armaport 2700 O'U Gooae Gun
             Armaport 2700 Seri• O'U
             Armaport 2900 Tri-Barrel Shotgun
             &by Bratton Ovmfllnder Shotgun
             Beretta Model 686 Ultralight OU
             Beretta ASE 90 Competition OIU Shotgun
             Beretta OveriUnder Field Shotguns
             Beretta Onyx Hunter Sport O'O Sbc:qun
             Beretta Model 805, SOIi, S09 Sbotguna
             Beretta SporUng Cla7 Sbotguna
             Beretta 687EL l!pOrtmg O'O
             Beretta 682 Super SportilllJ O'U
             Beretta Serieo 682 CompetiUon Over/Undera
             Browning Citori O'U S ~ n
             Browning Superligbt Citon OverlUnder
             Browning !-!llhtning Sporting Clays
             Browning MICl"O Citori Lightning
             Browning Citori Plua Trap Combo
             Browning Citori Plua Trap Gun
             Browning Citori OIU Skeet Models
             Browning Citori OIU Trap Model■
             Browning Special Sporting Clayw
             Browning Cttori GT! Sporting Clays
             Browning 325 SporUng Clays
             Centurion Over/Under Shotgun
             Chapuia Over/Under Shotgun
             Connecticut Valley Claaaica Classic SP'!rter O/U
             Connecticut Valley Claaaica Classic Fteld Waterfowier
             Charles Daly Field Grade O'U
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                                                              11
           Charles Daly Lu:,i Over/Under
           f~i:w                  1
                       t=~?jo~ '8':e~n~~d OIU
           Kassner Grade I OIU Shotgun
           KrieghofT K--M Sporti'!B Clays OIU
           KriejholT K--M Skeet Shotgun
           KriegholT K--M International Skeet
           KriejholT K--M Four-Barrel Skeet Set
           KriegholT K-80'RT Shotguns
           KriejholT K--M 0/U Trap Shotgun
           Laurona Silhouette 300 Sporting Clays
           Laurona Silhouette 300 Trap
           Laurona Super Model Over/Undera
           I.iutic LM~ Deluze 0/U Shotgun
           l'daroccbi Conquista Over/Under Shotgun
           Maroccbi Avanza O/U Shotgun
           Merkel Model 200E O'U Shotgun
           Merkel Model 200E Skeet, Trap Over/Undera
           Merkel Model 203E, 303E Over/Under Shotguns
           Perazzi Mirage Special Sporting 0/U

           ~==l ~f~J';:./;r s':i1
           Perazzi Mir&ll" S~ial Four-Gauge Skeet
                                    0
                                           ns

           ~==: Ov~~~J,;,'1&oSk-:1
           Perazzi ~ a l Skeet~er/Under
                   MX8120
           Perazzi MX9 Single Over/Under ~otguns
           Perazzi MX12 Hunting Over/Under
           Peraui MX28, MX410 GBJDe 0/U Shotguns
           Perazzi MX20 Hunting Over/Under
           Piotti Boas Over/Under Shotgun
           Remington Peerless Over/Under Shotgun
           Ruger Red Label O/U Shotgun
           Ruger Sporting_ Clays 0/U Shotgun
           San Marco 12-Ga. Wildflower Shotgun
           San Marco Field Special 0/U Shotgun
           San Marco 10-Ga. OIU Shotgun
           SKB Model 505 Dehlle Over/Under Shotgun
           SKB Model 685 Over/Under Shotgun
           SKB Model 885 Over/Under Trap, Skeet, Sporting Clays
           Stoeger/JOA Condor I 0/U Shotgun
           StoegerllGA ERA 2000 Over/Under Shotgun
           Techni-Mec Model 610 Over/Under
           Tikka Model 412S Field Grade Over/Under
           Weatherby Athena Grade IV QIU Shotguno
           Weatherby Athena Grade V Classic Field OU
           Weatherby Orion 0/U Sh'!!f!l!ns
           Weatherby II, III Classic Field OIUs
           Weatherby Orion II Classic Sporting Clays O'U
           ::-::f:!..~r ~odei'~~ali'fs~!ys ~
           Winchester Model 1001 Sporting1f:/ays OIU
           Pietro Zanoletti Model 2000 Field QIU
                                                    SbotglUUl-,Slde by Sldea
           American Arms Brittany Shotgun
           American Arms Gentry Double Shotgun
           American Anno Derby Side-by-Side
           American Arms Grulla #2 Double Shotgun
           American Arms WSISS 10
           American Arms TSISS 10 Double Shotgun
           American Arms TSISS 12 Side-by-Side
           Arrieta Sidelock Double Shotguns
           Armsport 1050 Series Double Shotguns
           ~~C:elsf          1 ~~le Shotgun
           AYA Sidelock DouT.e Shotguns
           Beretta Model 452 Sideloci Shotgun
           Beretta Side-b:,-Side Field Shotguns
           Cruoel"l!l!i Hermanoa Model 150 Double
           Chapuis Side-by-Side Shotgun
           E.A.A/Sabatti Saba-Mon Oouble Shotgun
           Charles Daly Model Dss Double
           Ferlib Model F VII Double Shotgun
           Auguste Francotte Bcmlock Shotgun
           Auguste Francotte Sidelock Shotgun
           Gerbi Model 100 Double
           Gerbi Model 101 Side-by-Side
           Gerbi Model 103A, B Side-by-Side
           Garbi Model 200 Side-by-Side
           Bill Hanus Birdgun Doubles
           Hatfield Uplander Sh~n
           Merkell Model 8, 47E Side-by-Side Sllatguno
           Merkel Model 47LSC Spo~in      ·Cl&5!$Double
           Merkel Model 47S, 147S Side, ,Sim
           Parker Reproductions Sid · ,.
            Piotti Kini No. 1 Side-by .
            Piotti Lun1k Side-by-Side·
            Piotti King EJltrs S i d ~
            Piotti Piuma Side-by-5idit
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                                                             12
             Preciaion Sports Model 600 Series Doubles
             Rizzini Bmlock Side-by-Side
             Rizzini Sidelock Side-by-Side
             Stoeger/JGA Uplander Side-by-Side Shotgun
             Ugartechea 10-Ga. Magnum Shotgun

                                                Sllotcu-Bolt Actlom & Slnele Shota
              Armsport Single Barrel Shotgun
              Browning BT-99 Competition Trap Si-ial
              Browning BT-99 Plus Trap Gun
              Browning BT-99 Plus Micro
            • Browning Recoilless Trap Shotgun
              Browning Micro Recoilless Trap Shotgun
              Desert Industries Big Twenty Shotgun
              Harrington & Richardson Topper Model 098
              Harrington & Richardson Topper Classic Youth Shotgun
              Harrington & Richardson N.W.T.F. Turkey Mag
              Harrington & Richardson Topper Deluu Model 098
              KrieghofT KS-5 Trap Gun
              KrieghofT KS-5 Spec;ial
              Kri"!'hofT K-80 Single Barrel Trap Gun
              1.Jutoc Mono Gun Sinide Barrel
              !-,ju tic LTX Super Defuse Mono Gun
             ~~~ifn8:~~j~ ~ ii:.nn ~~ion
             New England Firearms Turkey and Goose Gun
             New England Firearms N.W.T.F. Shotgun
             New England Firearms Tracker Slug Gun
             New England Firearms Standard Pardner
             New England Firearms Survival Gun
             Perani TMl S~al Sin_gle Trs_p
             Remington 90-r Super Single Shotgun
             Snake Channer II Shotgun
             Stoeger/JGA Reuna Sinf,le Bam,J Shotgun
             Thompson/Center TCR 87 Hunter Shotgun.".

                                               SUMMARY AND PuRPOSE
               The purpose of this bill is to create criminal penalties for the
             manufacture, transfer, or possession of certain firearms within the
             category of firearms known as "semiautomatic assault weapons." It
             also creates such penalties for certain ammunition feeding devices,
             as well as any combination of parts from which such a device can
             be assembled.
                In reporting legislation banning certain assault weapons last
             Congress, the Committee on the Judiciary said:
                    The threat posed by criminals and mentally deranged in-
                  dividuals armed with semi-automatic assault weapons has
                  been tragically widespread. I
             Since then, the use of semiautomatic assault weapons by criminal
             gangs, drug-traffickers, and mentally deranged persons continues
             to grow. 2
               H.R. 4296 will restrict the availability of such weapons in the fu.
             ture. The bill protects the rights of persons who lawfully own such
             weapons on its date of enactment by a universal "grandfathering"
             clause and specifically exempts certain firearms traditionally used
             for hunting and other legitimate support. It contains no
             confiscation or registration provisions; however, it does establish
             record-keeping requirements for transfers involving grandfathered
             semiautomatic assault weapons. Such record-keeping is not re-
             quired for transfers of grandfathered ammunition feeding devices
               1 "Omnibus Crime Control Act of 1991," Report of the Committee on the Judiciary,_ House of
             Representatives, on H.R. 3371, 102d Cong, 1st Sess., Rept. 102-242, October 7, 1991, at 202.
               •See, e.g., Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use
             Protection Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime
             and Criminal Justice, April 25, 1994 Firearms; Chief Sylvester Daughtry, President, Inter-
             national Association of Chiefs of Police; Mr. John Pitta, National Executive Director, Federal
             Law Enforcement Officers Association).
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                                                       13
           (or their component parts.) H.R. 4296 expires ("sunsets") on its own
           terms after 10 years.
                                                BACKGROUND
              A series of hearings over the last five years on the subject of
           semiautomatic assault weapons has demonstrated that they are a
           growing menace to our society of proportion to their numbers: a As
           this Committee said in its report to the last Congress:
                  The carnage inflicted on the American people be crimi-
                nals and mentally deranged people armed with Rambo-
                style, semi-automatic assault weapons has been over-
                whelming and continuing. Police and law enforcement
                groups all over the nation have joined together to support
                legislation that would help keep these weapons out of the
                hands of criminals. 4
              Since then, evidence continues to mount that these semiauto-
           matic assault weapons are the weapons of choice among drug deal-
           ers, criminal gangs, hate groups, and mentally deranged persons
           bent on mass murder.
              Use in Crimes. On April 25, 1994, the Director of the Federal Bu-
           reau of Alcohol, Tobacco and Firearms testified that the percentage
           of semiautomatic assault weapons among guns traced because of
           their use in crime is increasing:
                   In 1990, 5.9 percent of firearms traced were assault
                weapons. In 1993, that percentage rose to 8.1 percent.
                Since Justice Department studies have shown that assault
                weapons make up only about 1 percent of the firearms in
                circulation, these percentages strongly suggest that they
                are proportionately more often used in crimes.5
              Law enforcement officials confirm this statistical evidence in ac-
           counts of the rising level of lethality they face from assault weap-
           ons on the street. For example, the representative of a national po-
           lice officers' organization testified:
                   In the past, we used to face criminals armed with a
                cheap Saturday Night Special that could fire off six rounds
                before loading. Now it _is not at all unusual for a cop to
                look down the barrel of a TEC-9 with a 32 round clip. The
                ready availability of and easy access to assault weapons by
                criminals has increased so dramatically that police forces
                across the country are being required to upgrade their
                service weapons merely as a matter of self-defense and
              3 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
           tion Act House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
           Criminal Justice, April 25, 1994; Hearing on Semiautomatic Assault Weapons, House of Rep-
           resentatives, ComDUttee on the Judiciary, Subcommittee on Crime and Cnminal Justice, June
           12, 1991; Hearing on Semiautomatic Assault Weapons, Part Ill House of Representatives, Com-
           mittee on the Judiciary, Subcommittee on Crime and Crimina Justice, July 25, 1991; Hearing
           on H.R. l 190, Semiautomatic Assault Weapons Act of 1989, and related bills, House of Rep-
           resentatives, Committee on the Judiciary, Subcommittee on Crime, April 5 and 6, 1989.
              • "Omnibus Crime Control Act of 1991," Report of tlie Committee on the Judiciary, House of
           Representatives, on H.R. 3371, 102d Cong, ht Sess.,. Rept. 102-242, October 7, 1991, at 203.
              & Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
           tion Act House of-Representatives, Committee on the Judiciary, Subcommittee on Crime and
           Criminal Justice, April 26, 1994 (Statement of Hon. John Magaw, Director, Bureau of Alcohol,
           Tobacco and Fire&1ms).
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                                                          14

                preservation. The six-shot .38 caliber service revolver,
                standard law enforcement issue for years, it just no match
                against a criminal armed with a semi-automatic assault
                weapon.a
              A representative of federal law enforcement officers testified that
            semiautomatic assault weapons "dramatically escalate the fire-
            power or the user" and ..have become the weapon of choice for drug
            runners, hate groups and the mentally unstable." 7
                   The TEC-9 assault pistol i11 the undisputed favorite of
                drug traffickers, gang members and violent criminals.
                Cities across the country confiscate more TEC-9s than any
                other assault pistol. The prototype for the TEC-9 was
                originally designed as a submachine gun for the South Af.
                rican government. Now it comes standard with an ammu-
                nition magazine holding 36 rounds of 9 mm cartridges. It
                also has a threaded barrel to accept a silencer, and a bar-
                rel shroud to cool the barrel during rapid fire. To any real
                sportsman or collector, this firearm is a piece of junk, yet
                is very popular among criminals.a
              The Secretary of Housing and Urban Development testified that
            criminal gangs in Chicago routinely use semiautomatic assault
            weapons to intimidate not only residents but also security guards,
            forcing the latter to remove metal detectors installed to detect
            weapons.9
              Use in Mass Killings and Killings of Law Enforcement Officers.
            Public concern about semiautomatic assault weapons has grown be-
            cause of shootings in which large numbers of innocent people have
            been killed and wounded, and in which law enforcement officers
            have been murdered.
              On April 25, 1994, the Subcommittee on Crime and Criminal
            Justice heard testimony about several incidents representative of
            such killings.
              On February 22, 1994, Los Angeles (CA) Police Department rook-
            ie officer Christy Lynn Hamilton was ambushed and killed by a
               8 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec•
            tion Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
            Criminal Justice, April 25, 1994 (Statement of Tony Loizzo, executive vice president, National
            Association of Police Organizations). See also, Hearing on Semiautomatic Assault Weapons,
            House of Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal
            Justice, June 12, 1991 (Statement of Dewey R Stokes, National President, Fraternal Order of
            Police) (a888ult weapons "pose a grave and immediate threat to the lives of those sworn to up-
            bold our laws"); Hearing on H.R 1190, Semiautomatic Aaaault Weapons Act of 1989, and related
            bills, House of Representatives, Committee on the Judiciary, Subcommittee on Crime, April 5,
            1989 (Testimony of Daniel M. Hartnett, associate director, law enforcement, Bureau of Alcohol,
            Tobacm and Firearms) ("Fifteen years af), police rarely encountered armed drug dealers. Today,
            firearms, especially certain t)1>1:8 of eeDUautomatic weapons, are status symbols and tools of the
            trade for this country's moat Vicious criminals.")
               7 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
            tion Act House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
            Crimin;! Justice, April 25, 1994 (Statement of John Pitta, e:irecutive vice president, Federal Law
            Enforcement Officers Association).
               a Hearing on H.R 4296 and H.R. 3527, Public Safety and recreational Firearms Use Protection
            Act, House of Rerreaentatives, Committee on the Judiciary, Subcommittee on Crime and Crimi-
            nal Justice, Apri 26, 1994 (Statement of John Pitta, aecutive vice president, Federal Law En-
            forcement Officers Association).
               •Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
            tion Act House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
            Crimi;;I Justice, April 25, 1994 (Statement of Hon. Henry Cisneros, Secretary, Department of
            Housing and Urban Development).
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                                                        15
           drug-abusing teenager using a Colt AR-15. The round that killed
           Officer Hamilton penetrated a car door, skirted the armhole of her
           protective vest, and lodged in her chest. The teenager alsc killed
           his father, who had given him the gun, and took his own life as
           well. Officer Hamilton had been voted the most inspirational officer
           in her graduating class only weeks before her murder. Officer
           Hamilton's surviving brother testified about the impact of this mur-
           der.10
             On December 7, 1993, a deranged gunman walked through a
           Long Island Railroad commuter train, shooting commuters. Six
           died and 19 were wounded. The gunman used a Ruger semiauto-
           matic postol. Although the pistol itself would not be classified as
           an assault weapon under this bill, its 15 round ammunition maga-
           zine ("clip") would be banned. The gunman had several of these
           high capacity 15 round magazines and reloaded several times, fir-
           ing between 30 to 50 rounds before he was overpowered while try-
           ing to reload yet again. The parents of one of the murdered victims,
           Amy Locicero Federici, testified ~bout the impact of this murder. 11
             On February 28, 1993, 4 special agents of the Bureau of Alcohol,
           Tobacco and Firearms were killed and 15 were wounded while try-
           ing to serve federal search and arrest warrants at the Branch
           Davidian compound in Waco, Texas. The Branch Davidian arsenal
           included hundreds of assault weapons, including AR-15s, AK-47s,
           Street Sweepers, MACl0s and MAC-lls, along with extremely
           high capacity magazines (up to 260 rounds).12
              Finally, on July 1, 1993, gunman Gian Luigi Ferri Killed 8 peo-
           ple and wounded 6 others in a San Francisco high rise office build-
           ing. Ferri-who took his own lif~used two TEC DC9 assault pis-
           tols with 50 round magazines, purchased from a gun dealer in Las
           Vegas, Nevada. Two witnesses, both of whom lost spouses in the
           slaughter, and one of whom was herself seriously injured, testified
           about this incident.1a
              Numerous other notorious incidents involving semiautomatic as-
           sault wea_pons have occurred. They include the January 25, 1993,
           slaying of 2 CIA employees and wounding of 3 others at McLean,
           VA, (AK-47), and the January 17, 1989 murder in a Stockton, CA,
           schoolyard of 5 small children, and wounding of 29 others (AK-47
           and 75 round magazine, firing 106 rounds in less than 2 minutes).
              Several witnesses who were victims themselves during such inci-
           dents testified in opposition to H.R. 4296/H.R. 3527, and in opposi-
           tion to the banning of any semiautomatic assault weapons or am-
           munition feeding devices.
              Dr. Suzanna Gratia witnessed the brutal murder, in Luby's cafe-
           teria located in Killeen, Texas, of both of her parents who had just
              toffearin_g on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
           tion Act, House of Refresentatives, Committee on the Judiciary, Subcommittee on Crime and
           Criminal Justice, A_pri 25, 1994 (Statement of Ken Brondell, Jr.).
              n Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
           tion Actl House of Rerresentatives, Committee on the Judiciary, Subcommittee OD Crime and
           Crimin&J Justice,_A_pri 25, 1994 (Statements of Jacob Locicero and Arlene Locicero).
              11Hearing on n.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
           tion Act House of Rerresentatives, Committee on the Judiciary, Subcommittee OD Crime and
           Criminal Justice, Apri 25, 1994 (Statement of John Pitta, executive vice president, Federal Law
           Enforcement Officers Aasoc:iation).
              18Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational firearms Use Protec-
           tion Actl House of Rerresentatives, Committee OD the Judiciary, Subcommittee on Crime and
           CrimiD&J Justice, Apri 25, 1994 (Statements of Michelle Scully and Steve Sposato).
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                                                            16
            celebrated their 47 weeding anniversary. Just a few days before,
            she had removed her gun from her purse and left it in her car to
            comply with a Texas law which does not allow concealed carrying
            of a firearm. Dr. Gratia testified:
                    I am mad at my legislators for legislating me out of a
                 right to protect myself and my family. I would much rath-
                 er be sitting in jail with a felony offense on my head and
                 have my parents alive. As far as these so-called assault
                 weapons, you say that they don't have any defense use.
                 You tell that to the guy that I saw on a videotape of the
                 Los Angeles riots standing on his rooftop protecting his
                 property and his life from an entire mob with one of these
                 so-called assault weapons. Tell me that he didn't have a le-
                 gitimate self-defense use.1•
              Ms. Jacquie Miller was shot several times with a semiautomatic
            assault weapon and left for dead at her place of employment with
            the Standard Gravure Printing Company in Louisville, Kentucky,
            when a fellow employee went on a killing spree. Now permanently
            disabled, Ms. Miller testified:
                    It completely enrages me that my tragedy is being used
                 against me to deny me and all the law abiding citizens of
                 this country to the right of the firearm of our choosing. I
                 refuse in return to use my tragedy for retribution against
                 innocent people just to make myself feel better for having
                 this misfortune. Enforce the laws against criminals al-
                 ready on the books. After all, there are already over 20,000
                 of them.15 More won't do a thing for crime control • • •
                 You cannot ban everything in the world that could be used
                 as a weapon because you fear it, don't understand it, or
                 don't agree with it.
                    This is America, not Lithuania or China. Our most cher-
                 ished possession is our Constitution and Bill of Rights.
                 Let's not sell those down the river or we could one day find
                 ourselves in a boat without a paddle against the criminals
                 who think we are easy pickings.1s
               Mr. Phillip Murphy used his lawfully-possessed Colt AR--15 H-
            BAR Sporter semiautomatic rifle-a gun which would be specifi-
            cally banned by H.R. 4296-to capture one of Tucson, Arizona's
            most wanted criminals who was attempting to burglarize the home
            of Mr. Murphy's parents. The 19-year old criminal he captured was
                1<ffearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
             tion Act, House of Representatives, Committee on the Judiciary, Subcommittee on crime and
             Criminal Justice, April 25, 1994 (State of Dr. Suzanna Gratia, Copperas Cove, Teus)
                !&The Committee notes that, under the Gun Control Act of 1968 as amended in 1986, it is
             a Federal felony for a convicted felon to be in possession of any firearm, including an assault
             weapon, under 18 U.S.C. 922(gXl). Violations carry up to five years imprisonment and a
             $250,000 fine. If a criminal-whether previously convicted or not-is carrying an assault weapon
             and is involved in a drug trafficking crime, that criminal is subject to a mandatory minimum
             of 5 years imprisonment and a $250,000 fine under 18 U.S.C. 924(cXl). Any criminal who has
             three prior violent felony and/or serious drug offenses convictions and is in possession of a fire--
             arm is subject to a mandatory minimum of 15 years imprisonment and a $250,000 fine under
             18 U.S.C. 924CeXl).
                18 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
             tion Act House of Rerresentatives, Committee on the Judiciary, Subcommittee on Crime and
             Criminal Justice, Apri 25, 1994 (Statement of Ms. Jacquie Miller, Louisville, Kentucky).
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                                                          17
           a three-time loser with 34 prior convictions who was violating his
           third adult State parole for a knife assault. Mr. Murphy testified:
                    I respectfully urge this Committee and the Congress of
                 the United States to restrain themselves from forcing tens
                 of millions of law-abiding Americans like me to choose be-
                 tween the law and their lives.11
              The Characteristics of Military-Style Semiautomatic Assault
           Weapons. The question of what constitutes an assault weapon has
           been studied by the Congress and the executive branch as the role
           of these guns in criminal violence has grown.
              A Bureau of Alcohol, Tobacco and Firearms working group
           formed under the Bush administration to consider banning foreign
           imports of such semiautomatic assault weapons conducted the most
           recent comprehensive study of military assault weapons and the ci-
           vilian firearms that are modelled after them. 18 The working group
           formulated a definition of the civilian version, and a list of the as-
           sault weapun characteristics that distinguish them from sporting
           guns. That technical work has to a large extent been incorporated
           into H.R. 4296. 19
               The working group settled on the term "semiautomatic assault"
           for the civilian firearms at issue. That term distinguishes the civil-
           ian firearms from the fully automatic military weapons (machine-
           guns)20 after which they are modelled and often simply adapted by
           eliminating the automatic fire feature. The group determined that
           "semiautomatic assault rifles * * * represent a distinctive type of
            rifle distinguished by certain general characteristics which are
           common to the modern military assault rifle." 2 1
               The group elaborated on the nature of those characteristics as
           follows:
                    The modern military assault rifle, such as the U.S. M16,
                 German G3, Belgian FN/FAL, and Soviet AK-4 7, is a
                 weapon designed for killing or disabling the enemy and
                  * * * has characteristics designed to accomplish this pur-
                 pose.
                    We found that the modern military assault rifle contains
                 a variety of physical features and characterii;tics designed
              17 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec•
           tion Act, House of Refresentatives, Committee on the Judiciary, Subcommittee on Crime and
           Criminal Justice, Apri 25, 1994 (Statement of Mr. Phillip Murphy, Tucson, Arizona).
              ,su.s. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Report and
           Recommendation of the ATF Working Group on the Importability of Certain Semiautomatic Ri-
           fles," July, 1989.
              •eThe ultimate question of law upon which the working group was advising the Secretary of
           the Treasury was whether these import firearms met a "sporting purpose" test under 18 U.S.C.
           Code section 925(d). He held that they did not. Although that legal question is not directly posed
           by this bill, the working group's research and analysis on assault weapons is relevant on the
           questions of the purposes underlying the design of assault weapons, the characteristics that dis-
           tinguish them from sporting guns, and the reasons underlying each of the distinguishing fea-
           tures.
              20 An automatic gun fires a continuous stream as long as the trigger is held down, until it
           has fired all of the cartridges ("rounds" or "bullets") in its magazine (or "clip"). Automatic fire-
           arms are also known as machineguns. A semi-automatic ~n fires one round, then loads a new
           round, each time the trigger is pulled until its magazine 1s exhausted. Manually operated guns
           require the shooter to manually operate a bolt, slide, pump, or lever action to extract the fired
           round and load a new round before pulling the trigger.
              21 U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Report and
           Recommendation of the ATF Working Group on the Importability of Certain Semiautomatic Ri-
           fles," July, 1989, p. 6.
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                                                         18
                 for military applications which distinguishes it from tradi-
                 tional sporting rifles. These military features and charac-
                 teristics (other than selective fire) are carried over to the
                 semiautomatic versions of the original military rifle.22
               The "selective fire" feature to which the working group referred
            is the ability of the military versions to switch from fully automatic
            to semiautomatic fire at the option of the user. Since Congress has
            already banned certain civilian transfer or possession of machine-
            guns, 23 the civilian models of these guns are produced with cemi-
            automatic fire capability only. However, testimony was received by
            the Subcommittee on Crime and Criminal Justice that it is a rel-
            atively simple task to convert 24 a semiautomatic weapon to auto-
            matic fire 25 and that semiautomatic weapons can be fired at rates
            of 300 to 500 rounds per minute, making them virtually indistin-
            guishable in practical effect from machineguns. 26
               The 1989 Report's analysis of assault characteristics which dis-
            tinguish such firearms from sporting guns was further explained
            by an AFT representative at a 1991 hearing before the Subcommit-
            tee on Crime and Criminal Justice:
                    We found that the banned rifles represented a distinc-
                 tive type of rifle characterized by certain military features
                  which differentiated them from the traditional sporting ri-
                 fles. These include the ability to accept large capacity de-
                 tachable magazines, bayonets, folding or telescoping
                  stocks, pistol grips, flash suppressors, bipods, grenade
                  launchers and night sights, and the fact that they are
                  semiautomatic versions of military machineguns. 27
               Proponents of these military style semiautomatic assault weap-
            ons oft.en dismiss these combat-designed features as merely "cos-
            metic." The Subcommittee received testimony that, even if these
            characteristics were merely "cosmetic" in effect, it is precisely those
            cosmetics that contribute to their usefulness as tools of intimida-
            tion by criminals.2s
               However, the expert evidence is that the features that character-
             ize a semiautomatic weapon as an assault weapon are not merely
            cosmetic, but do serve specific, combat-functional ends. By facilitat-
               22 U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Report and
            Recommendation of the ATF Working Group on the lmportability of Certain Semiautomatic Ri-
            fles," July, 1989, p. 6.
               23 18 U.S. Code, section 922(0).
               2• The Committee notes that such conversion is a Federal felony that carries penalties of up
            to IO years imprisonment and a $250,000 fine under 26 U.S.C. 5861.
               "Hearing on Semiautomatic Assault Weapons, House of Representatives, Committee on the
            Judiciary, Subcommittee on Crime and Criminal Justice, June 12, 1991 (Statement of Dewey
            R. Stokes, National President, Fraternal order of Police).
               26 Hearing on Semiautomatic Assault Weapons, House of Representatives, Committee on the
            Judiciary, Subcommittee on Crime and Criminal Justice, June 12, 1991 (Statement of Dewey
            R. Stokes, National President, Fraternal order of police).
               27 Hearing on Semiautomatic Assault Weapons, House of Representatives, Committee on the
            Judiciary, Subcommittee on Crime and Criminal Justice, June 12, 1991 \Statement of Richard
            Cook, Chief, Firearms Divisions, Bureau of Alcohol, Tobacco and Firearms) at 268.
               2 s Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms, Use Protec-
            tion Act, House of Refresentatives, Committee on the Judiciary, Subcommittee on Criine and
            Criminal Justice, Apri 25, 1994 (Statements of Hon. Henry Cisneros, Secretary, Department of
            Housing and Urban Development and John Pitta, National Executive Vice President, Federal
            Law Enforcement Officers Association!; Hearing on Semiautomatic Assault Wearons, House of
            Representatives, Committee on the Judiciary, Subcommittee on Crime and Cnminal Justice,
            June 12. 1991 (Statement of Paul J. McNulty, Principal Deputy Director. Office of Policy devel-
            opment, Department of Justice) at 288.
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           ing the deadly "spray fire" of the weapon or enhancing its port-
           ability-a useful attribute in combat but one which serves to en-
           hance the ability to conceal the gun in civilian life.29
             High-capability magazine, for example, make it possible to fire a
           large number of rounds without re-loading, then to reload quickly
           when those rounds are spent.3o Most of the weapons covered by the
           proposed legislation come equipped with magazines that hold 30
           rounds. Even these magazines, however, can be replaced with mag-
           azines that hold 50 or even 100 rounds. Furthermore, expended
           magazines can be quickly replaced, so that a single person with a
           single assault weapon can easily fire literally hundreds of rounds
           within minutes. As noted above, tests demonstrate that semiauto-
           matic guns can be fired at very high rates of fire. In contrast, hunt-
           ing rifles and shotguns typically have much smaller magazine ca-
           pabilities-from 3 to 5.
             Because of the greater enhanced lethality-numbers of rounds
           that can be fired quickly without reloading-H.R. 4296 also con-
           tains a ban on ammunition magazines which hold more than 10
           rounds, as well as any combination of parts from which such a
           magazine can be assembled.
             Barrel shrouds also serve a combat-functional purpose.31 Gun
           barrels become very hot when multiple rounds are fired through
           them quickly. The barrel shroud cools the barrel so that it will not
           overheat, and provides the shooter with a convenient grip espe-
           cially suitable for spray-firing.
             Similar military combat purposes are served by flash suppressors
           (designed to help conceal the point of fire in night combat), bayonet
           mounts, grenade launchers, and pistol grips engrafted on long
           guns.32
             The net effect of these military combat featu res is a capability for
           lethality-more wounds, more serious, in more victims-far beyond

              29 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Fireanns Use Protee·
           tion Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
           Criminal Justice, April 25, 1994 (Statements and testimony of John McGaw, Director, Bureau
           of Alcohol, Tobacco an<I Fireanns, and John Pitta, National Executive Vire President, Feder~!
           Law Enforcement Officers Association); Hearing on Semiautomatic Assault Weapons, House of
           Representatives, Committee on the Judiciary, Subcommittee on Crime and Criminal Justice,
           June 12, 1991 (Statement of Richard Cook, Chief, Fireanns Division, Bureau of Alcohol, Tobacco
           and Fireanns); U.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Re-
           port and Recommendation of the ATF Working Group on the lmpon.ability of Certain Semiauto-
           matic Rifles," July, 1989, p. 6.
              aou.S. Department of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Report and
           Recommendation of the ATF Working Group on the lmportability of Certain Semiautomatic Ri-
           fles," July, 1989, p. 6.
              31 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protee-
           tion Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
           Criminal Justice, April 25, 1994 (Statements and testimony of John McGaw, Director, Bureau
           of Alcohol, Tobacco and Fireanns, and John Pitta, National Executive '.'ice President, Federal
           Law Enforcement Officers Association); U.S. Department of the Treasury, Bureau of Alcohol, To-
           bacco and Firearms, "Report and Recommendation of the ATF Working Group on the
           Im portability of Certain Semiautomatic Rifles," July, 1989, p. 6.
              32 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
           tion Act, House of Representatives, Committee on the Judiciary, Subcommittee on Crime and
           Criminal Justice, April 25, 1994 (Statements and testimony of John McGaw, Director, Bureau
           of Alcohol, Tobacco and Firearms, and John Pitta, National Executive Vice President, Federal
           Law Enforcement Officers Association); U.S. Department of the Treasury, Bureau of Alcohol, To-
           bacco and Firearms, "Report and Recommendation of the ATF Working Group on the
           lmportability of Certain Semiautomatic Rifles," July, 1989, p. 6.
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                                                            20
             that of other firearms in general, including other semiautomatic
             guns.aa
                                     BRIEF EXPLANATION OF H.R. 4296
                H.R. 4296 combines two approaches which have been followed in
             the past in legislation proposed to control semiautomatic assault
             weapons-the so-called "list" approach and the "characteristics" ap-
             proach.
                The bill does not ban any semiautomatic assault weapons nor
             large capacity ammuniHon feeding device (or component parts) oth-
             erwise lawfully possessed on the date of enactment. However,
             records must be kept by both the transferor and the transferee in-
             volved in any transfer of these weapons, but not of the feeding de-
             vices (or combination of parts).
                The bill explicitly exempts all guns with other than semiauto-
             matic actions-Le., bolt, slide, pump, and lever actions. In addition,
             it specifically exempts by make and model 661 long guns most com-
             monly used in hunting and recreational sports,34 making clear that
             these semiautomatic assault weapons are not and cannot be subject
             to any ban.
                Section 2(z) of the bill lists 19 specific semiautomatic assault
             weapons-such as the AK-47, M-10, TEC-9, Uzi, etc.-that are
             banned.35 It also defines other assault weapons by specifically enu-
             merating combat style characteristics and bans those semiauto-
             matic assault weapons that have 2 or more of those characteris-
             tics.36
                The bill makes clear that the list of exempted guns is not exclu-
             sive. The fact that a gun is not on the exempted list may not be
             construed to mean that it is banned. Thus, a gun that is not on the
             list of guns specifically banned by name would only be banned if
             it met the specific characteristics set out in the characteristics test.
             No gun may be removed from the exempted list.
                H.R. 4296 also bans large capacity ammunition feeding devices-
             clips that accept more than 10 rounds of ammunition-as well as
                33 Hearing on H.R. 4296 and H.R. 3527, Public Safety and Recreational Firearms Use Protec-
             tion Act, House of Rerresentatives, Committee on the Judiciary, Subcommittee on Crime and
             Criminal Justice, Apri 25, 1994 (Statement and testimony of Dr. David Milzman, Associate Di-
             rec!nr, Trauma Services, Georgetown University Medical Center, Washington, DC); U.S. Depart-
             ment of the Treasury, Bureau of Alcohol, Tobacco and Firearms, "Report and Recommendation
             of the ATF Working Group on t.he lmportability of Certain Semiautomatic Rifles," July, 1989,
             p. 6.
                •• See H.R. 4296, Appendix A, for the list.
                35 H.R. 4296 bans the following semiautomatic assault weapons by name (as well as any copies
             or duplicates, in any rnhberJ: All AK-47 type; Beretta AR-70; Colt AR-15; DC9, 22; FNC; FN-
             FAULAR; Gali!; MAC 10, MAC ll-type; Steyr AUG; Street Sweeper; Striker 12; TEC-9; Uzi.
                36 While noting that its list is not all-inclusive, the Bureau of Alcohol, Tobacco, and Fireanns
             has listed the following semi-automatic firearms that would be banned based on their general
             characteristics:
                1. Semi-automatic Rifles: AA Arms AR9 semi-automatic rifle; AMT Lightning 25 rifle; Auto
             Ordnance Thomrson Model 1927 carbines (finned barrel versions); Calico Ml00 carbine; Colt
             Sporter Rifle (al variations); Federal XC900 carbine; Federal XC450 carbine; Grendel R3l car-
             bine; Iver Johnson Ml carbine (version w/collapsible stock and bayonet mount); Springfield MlA
             rifle.
                2. Pistols: AA Arms AP9 pistol; Australian Automatic Arms pi.to!; Auto Ordnance Model
             1927A5 pist.ol; American Anns Spectra pistol; Calico Model M950 pist.ol; Calico Model 110 pistol;
             All Claridge Hi-Tee pistol; D Max auto pistol; Grendel P-31 pistol; Heckler & Koch SP89 pistol;
             Wilkinson Linda pistol.
                3. Shotguns: Denelli Ml Super 90 Defense shotgun; Benelli M3 Super 90 shotgun; Franchi
             LAW 12 shotgun; Franchi SPAS 12 shotgun; USAS 12 shotgun.
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           any combination of parts· from which such a device can be assem-
           bled.
             The bill exempts all semiautomatic assault weapons and large
           capacity ammunition feeding devices (as well as any combination
           of parts) that are lawfully possessed on date of enactment. Owners
           of such semiautomatic assault weapons need do nothing under the
           bill unless they wish to transfer the semiautomatic assault weapon.
              H.R. 4296 differs significantly from previously-proposed legisla-
           tion-it is designed to be more tightly focused and more carefully
           crafted to clearly exempt legitimate sporting guns. Most signifi-
           cantly, the ban in the 1991 proposed bill gave the Bureau of Alco-
           hol, Tobacco, and Firearms authority to ban any weapon which
           "embodies the same configuration" as the named list of guns. The
           current bill, H.R. 4296 does not contain any such general authority.
           Instead, it contains a set of specific characteristics that must be
           present in order to ban any additional semiautomatic assault weap-
           ons.
                                     102D CONGRESS

             The Subcommittee on Crime and Criminal Justice held hearings
           on semiautomatic assault weapons on June 12 and July 25, 1991.
           A ban on certain semiautomatic assault weapons was included as
           Subtitle A of Title XX in H.R. 3371, the Omnibus Crime Control
           Act of 1991. A ban on large capacity ammunition feeding devices
           was included in the same bill. The bill was reported out of the Ju-
           diciary Committee on October 7, 1991. The provisions dealing with
           semiautomatic assault weapons and large capacity ammunition
           feeding devices were struck by the House of Representatives by a
           vote of 24 7-177 on October 17, 1991.
                                     103D CONGRESS

             The Subcommittee on Crime and Criminal Justice held hearings
           on H.R. 4296 and its predecessor, H.R. 3527, which ban semiauto-
           matic assault weapons, on April 25, 1994. The Subcommittee re-
           ported favorably on an amendment in the nature of a substitute to
           H.R. 4296 on April 26, 1994, by a recorded vote of 8-5.
                                   COMMI'ITEE ACTION

               The Committee on the Judiciary met on April 28, 1994 to con-
            sider H.R. 4296, as amended. Two amendments were adopted dur-
            ing the Committee's consideration.
               An amendment was offered to provide that the absence of a fire-
            arm from the list of guns specifically exempted from the ban may
            not be construed as evidence that the semiautomatic assault weap-
            on is banned, and that no gun may be removed from the exempt
            list so long as the Act is in effect. This amendment was adopted
            by voice vote.
               An amendment was offered to delete a provision that barred from
            owning any firearms those persons convicted of violating the rec-
            ordkeeping requirements relating to grandfathered weapons. This
            amendment was adopted by voice vote.
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               A reporting quorum being present, the Committee on the Judici-
             ary, by a roll call vote of 20 to 15, ordered H.R. 4296, as amended,
             favorably reported to the House.
                                     SECTION-BY-SECTION ANALYSIS
                                          SECTION !--SHORT TITLE
               This section provides that the Act may be cited as the "Public
             Safety and Recreational Firearms Use Protection Act".
                  SECTION 2-RESTRICTION ON MANUFACTURE, TRANSFER, AND
                  POSSESSION OF CERTAIN SEMIAUTOMATIC ASSAULT WEAPONS
               Subsection 2(a) makes it unlawful for a person to manufacture,
             transfer, or possess a semiautomatic assault weapon (including any
             "copies or duplicates.")
               The ban on transfer and possession does not apply to (1) weapons
             otherwise lawfully possessed on the date of enactment; (2) any of
             the firearms (or their replicas or duplicates) listed in Appendix A;
             (3) any manually operated (bolt, pump, slide, lever action), perma-
             nently inoperable, or antique firearms; (4) semiautomatic rifles
             that cannot accept a detachable magazine that holds more than 5
             rounds; or, a semiautomatic shotgun that cannot hold more than 5
             rounds in a fixed or detachable magazine.
               The fact that a gun is not listed in Appendix A may not be con-
             strued to mean that it is banned. No gun listed in Appendix A may
             be removed from that exempted list so long as the Act is in effect.
                Federal departments and agencies and those of States and their
             subdivisions are exempted. Law enforcement officers authorized to
             purchase firearms for official use are exempted, as are such officers
             presented with covered weapons upon retirement who are not oth-
             erwise prohibited from receiving such a weapon. Finally, weapons
             made, transferred, possessed, or imported for the purposes of test-
             ing or experiments authorized by the Secretary of the Treasury are
             exempted.
                Subsection 2(b) defines semiautomatic assault weapons, both by
             name and by characteristics. It lists by name specific firearms, in-
             cluding "copies or duplicates" of such firearms.3 7 Characteristics of
             covered semiautomatic rifles, pistols, and shotguns are defined by
             separate subsections applicable to each. In the case of rifles and
             pistols, in addition to being semiautomatic, a gun must be able to
             accept a detachable magazine and have at least 2 listed character-
             istics.
                In the case of rifles, those characteristics are: ( 1) folding or tele-
             scoping stock; (2) a pistol grip that protrudes conspicuously be-
             neath the action of the weapon; (3) a bayonet mount; (4) a flash
             suppressor or threaded barrel designed to accommodate a flash
             suppressor; and (5) a grenade launcher.
                In the case of pistols, the characteristics are: ( 1) a magazine that
             attaches to the pistol outside of the pistol grip; (2) a threaded bar-
             rel capable of accepting a barrel extender, flash suppressor, for-
             ward handgrip, or silencer; (3) a barrel shroud that permits the
               37 H.R. 4296 bans the following semiautomatic assault weapons by name (as well as any copies
             or duplicates, in any caliber): All AK-47 type; Beretta AR-70; Colt AR-15; DC9, 22; FNC; FN-
             FAL,LAR; Gali!; MAC 10, MAC I I-type; Steyr AUG; Street Sweeper; Striker 12; TEC-9; Uzi
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           shooter to hold the firearm without being burned; (4) an unloaded
           manufactured weight of 50 ounces or more; and (5) a semiauto-
           matic version of an automatic firearm.
             In the case of shotguns, covered weapons must have at least 2
           of the following four features: ( 1) a folding or telescoping stock; (2)
           a pistol grip that protrudes conspicuously beneath the action of the
           weapon; (3) a fixed magazine capacity in excess of 5 rounds; and
           (4) an ability to accept a detachable magazine.
             The section provides a fine of not more than $5,000, imprison~
           ment for not more than 5 years, or both, for knowingly violating
           the ban on manufacture, transfer and possession. It also adds use
           of a semiautomatic assault weapon to the crimes covered by the
           mandatory minimum of 5 years under 18 USC Section 924(c){l) for
           use in a federal crime of violence or drug trafficking crime.
             Finally, the section requires that semiautomatic assault weapons
           manufactured after the date of enactment must clearly show the
           date on which the weapon was manufactured.
             SECTION 3-RECORDKEEPING REQUIREMENTS FOR TRANSFERS OF
                            GRANDFATHERED FIREARMS
             This section makes it unlawful to transfer a grandfathered semi~
           automatic assault weapon unless both the transferor and the trans-
           feree complete and retain a copy of federal form 4473 (or its succes-
           sor). Within 90 days of enactment, the Secretary of the Treasury
           must issue regulations ensuring the availability of the form to own-
           ers of semiautomatic assault weapons. The Committee expects the
           Secretary to make such forms easily and readily available to such
           gun owners. The Committee further expects the Secretary to main-
           tain the confidentiality of the requester and to ensure the destruc-
           tion of any and all information pertaining to any request for such
           forms immediately upon complying with the request. The Commit-
           tee does not expect the Secretary to release any such information
           to any other Department of the Federal, State or local Govern-
           ments or to use the information in any way other than to comply
           with the requests for the form. The Committee would consider fail-
           ure to comply with these expectations a very serious breach.
              A person who knowingly violates the recordkeeping requirement
           shall be fined not more than $1,000, imprisoned for not more than
           6 months or both.
            SECTION 4-BAN OF LARGE CAPACITY AMMUNITION FEEDING DEVICES
              Subsection 4(a) makes it unlawful for a person to transfer or pos-
           sess a large capacity ammunition feeding device (which is defined
           to include any combination of parts from which such a device can
           be assembled.)
              The ban on transfer and possession does not apply to (1) devices
           (or component parts) otherwise lawfully possessed on the date of
           enactment; (2) Federal departments and agencies and those of
           States and their subdivisions; (3) law enforcement officers author-
           ized to purchase ammunition feeding devices for official use; de-
           vices transferred to such officers upon retirement who are not oth-
           erwise prohibited from receiving them; and (3) devices (or combina-
           tion of parts) made, transferred, possessed, or imported for the pur-
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             pose of testing or experiments authorized by the Secretary of the
             Treasury are exempted.
               Subsection 4(b) defines large capacity ammunition feeding device
             to mean a magazine, belt, drum, feed strip, or similar device that
             has a capacity of more than 10 rounds, or can be readily restored
             or converted to accept more than 10 rounds. It includes any com-
             bination of parts from which such a device can be assembled. It ex-
             empts an attached tubular device designed to accept and capable
             of operating only with .22 caliber rimfire ammunition.
                Subsection 4(c) adds large capacity ammunition feeding devices
             to the definition of "firearm" under 18 US Code section 921(a)(3).
                Subsection 4(d) provides a fine of not more than $5,000, impris-
             onment for not more than 5 years, or both, for knowingly violating
             the ban.
                Subsection 4(e) requires that large capacity ammunition feeding
             devices manufactured after the date of enactment be identified by
             a serial number that clearly shows the device was manufactured
             after the date or imported after the date of enactment, and such
             other identification as the Secretary of the Treasury may by regula-
             tion prescribe.
                          SECTION 5--STUDY BY ATI'ORNEY GENERAL
               This section requries the Attorney General to study and report
             to the Congress no later than 30 months after its enactment the
             effects of the Act, particularly with regard to its impact-if any-
             on violent and drug-trafficking crime.
               The study shall be conducted over a period of 18 months, com-
             mencing 12 months after the date of enactment.
                                 SECTION &-EFFECTIVE DATE
               The Act and the amendment made by the Act take effect on the
             date of enactment and are repealed effective as of the date that is
             10 years after that date.
                     SECTION 7-APPENDIX A TO SECTION 922 OF TITLE 18
               This section adds, as Appendix A, a list of firearms that are spe-
             cifically exempted from the ban on serr.iiautomatic assault weapons.
                              COMMITI'EE OVERSIGHT FINDINGS
                In compliance with clause 2(1)(3)(A) of rule XI of the Rules of the
             House of Representatives, the Committee reports that the findings
             and recommendations of the Committee, based on oversight activi-
             ties under clause 2(b)(l) of rule X of the Rules of the House of Rep-
             resentatives, are incorporated in the descriptive portions of this re-
             port.
               COMMITTEE ON GoVERNMENT OPERATIONS OVERSIGHT FINDINGS
               No findings or recommendations of the Committee on Govern-
             ment Operations were received as referred to in clause 2(1)(3)(0) of
             rule XI of the Rules of the House of Representatives.
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                     NEW BUDGET AUTHORITY AND TAX EXPENDITURES
             Clause 2(1)(3)(B) of House Rule XI is inapplicable because this
           legislation does not provide new budgetary authority or increased
           tax expenditures.
                            INFLATIONARY IMPACT STATEMENT
             Pursuant to clause 2(1)(4) of rule XI of the Rules of the House
           of Representatives, the Committee estimates that H.R. 4296 will
           have no significant inflationary impact on prices and costs in the
           national economy.
                     CONGRESSIONAL BUDGET OFFICE COST ESTIMATE
             In compliance with clause 2(1)(3)(C) of rule XI of the Rules of the
           House of Representatives, the Committee sets forth, with respect to
           the bill H.R. 4296, the following estimate and comparison prepared
           by the Director of the Congressional Budget Office under section
           403 of the Congressional Budget Act of 1974:
                                                   U.S. CONGRESS,
                                        CONGRESSIONAL BUDGET OFFICE.
                                             Washington, DC, May 2, 1994.
           Hon. JACK BROOKS,
           Chairman, Committee on the Judiciary,
           House of Representatives, Washington, DC.
              DEAR MR. CHAIRMAN: The Congressional Budget Office has re-
           viewed H.R. 4296, the Public Safety and Recreational Firearms Use
           Protection Act, as ordered rep_orted by the House Committee on the
           Judiciary on April 28, 1994. We estimate that enactment of the bill
           would result in costs to the federal government over the 1995-1999
           period of less than $500,000 from appropriated amounts. In addi-
           tion, we estimate that enactment of H.R. 4296 would lead to in-
           creases in receipts of less than $10 million a year from new crimi-
           nal fines. Such receipts would be deposited in the Crime Victims
           Fund and spent in the following year. Because the bill could affect
           direct spending and receipts, pay-as-you-go procedures would
           apply. The bill would not affect the budgets of state or local govern-
           ments.
              H.R. 4296 would ban the manufacture, transfer, and possession
           of certain semiautomatic assault weapons not lawfully possessed as
           of the date of the bill's enactment. The bill also would ban the
           transfer and possession of certain large-capacity ammunition feed-
           ing devices not lawfully possessed as of the date of enactment. In
           addition, H.R. 4296 would establish recordkeeping requirements for
           transfers of grandfathered weapons and would direct the Attorney
           General to conduct a study of the bill's impact. Finally, the bill
           would create new federal crimes and associated penalties-prison
           sentences and criminal fines-for violation of its provisions.
              The new recordkeeping requirements and the impact study
           would increase costs to the Department of the Treasury and the
           Department of Justice, respectively, but we estimate that these
           costs would be less than $500,000 over the next several years from
           appropriated amounts. The imposition of new criminal fines in H.R.
           4296 could cause governmental receipts to increase through greater
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            penalty collections. We estimate that any such increase would be
            less than $10 million annually. Criminal fines would be deposited
            in the Crime Victims Fund and would be spent in the following
            year. Thus, direct spending from the fund would match the in-
            crease in revenues with a one-year lag.
              If you wish further details on this estimate, we will be pleased
            to provide them.
                   Sincerely,
                                            ROBERT D. REISCHAUER, Director.

                CHANGES IN EXISTING LAW MADE BY THE BILL, AS REPORTED
               In compliance with clause 3 of rule XIII of the Rules of the House
            of Representatives, changes in existing law made by the bill, as re-
            ported, are shown as follows (existing law proposed to be omitted
            is enclosed in black brackets, new matter is printed in italic, exist-
            ing law in which no change is proposed is shown in roman):
                     CHAPl'ER 44 OF TITLE 18, UNITED STATES CODE
                      *      *       •        *        *        *        *
                                 CHAPTER 44-FIREARMS
            § 921. Definitions
              (a) AB used in this chapter-
              ( 1)   * * *
                      *      *       •        *        *        *        •
              (3) The term "firearm" means (A) any weapon (including a start-
            er gun) which will or is designed to or may readily be converted
            to expel a projectile by the action of an explosive; (B) the frame or
            receiver of any such weapon; (C) any firearm muffler or firearm si-
            lencer; [or (D) any destructive device.] (DJ any destructive device;
            or (E) any large capacity ammunition feeding device. Such term
            does not include an antique firearm.
                      *      *       *        *        *        *
              (30) The term "semiautomatic assault weapon'; means-
                   (A) any of the firearms, or copies or duplicates of the fire-
                arms, known as-
                       (i) Norinco, Mitchell, and Poly Technologies Avtomat
                     Kalashnikovs (all models);
                       (ii) Action Arms Israeli Military Industries UZI and
                     Galil;
                       (iii) Beretta Ar70 (SC-70);
                       (iv) Colt AR,-15;
                       (v) Fabrique National FN I FAL, FN I LAR, and FNC;
                       (vi) SWD M-10, M-11, M-11 I 9, and M-12;
                       (vii) Steyr AUG;
                       (viii) INTRATEC TEC-9, TEC-DC9 and TEC-22; and
                       (ix) revolving cylinder shotguns, such as (or similar to)
                     the Street Sweeper and Striker 12;
                   (BJ a semiautomatic rifl,e that has an ability to accept a de-
                tachable magazine and has at least 2 of-
                       (i) a folding or telescoping stock;
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                       (ii) a pistol grip that protrudes conspicuously beneath the
                     action of the weapon;
                       (iii) a bayonet mount;
                       (iv) a f1,ash suppressor or threaded barrel designed to ac-
                     commodate a f1,ash suppressor; and
                       (v) a grenade launcher;
                  (CJ a semiautomatic pistol !hat has an ability to accept a de-
                tachable magazine and has at least 2 of-
                       (i) an ammunition magazine that attaches to the pistol
                     outside of the pistol grip;
                       (ii) a threaded barrel capable of accepting a barrel ex-
                     tender, f1,ash suppressor, forward handgrip, or silencer;
                       (iii) a shroud that is attached to, or partially or com-
                     pletely encircles, the barrel and that permits the shooter to
                     hold the firearm with the nontrigger hand without being
                     burned;
                       (iv) a manufactured weight of 50 ounces or more when
                     the pistol is unloaded; and
                       (v) a semiautomatic version of an automatic firearm; and
                   (DJ a semiautomatic shotgun that has at least 2 of-
                       (i) a folding or telescoping stock;
                       (ii) a pistol grip that protrudes conspicuously beneath the
                     action of the weapon;
                       (iii) a fixed magazine capacity in excess of 5 rounds; and
                       (iv) an ability to accept a detachable magazine.
              (31) The term "large capacity ammunition feeding device"-
                   (A) means-
                        (i) a magazine, belt, drum, feed strip, or similar device
                     that has a capacity of, or that can be readily restored or
                     converted to accept, more than 10 rounds of ammunition;
                     and
                        (ii) any combination of parts from which a device de-
                     scribed in clause (i) can be assembled; but
                   (BJ does not include an attached tubular device designed to
                accept, and capable of opera.ting only with, .22 caliber rimfire
                ammunition.
            § 922. Unlawful acts
              (a) It shall be unlawful-

                     *      *        *        *        *        *
             (v)(l) It shall be unlawful for a person to manufacture, transfer,
           or possess a semiautomatic assault weapon.
             (2) Paragraph (1) shall not apply to the possession or transfer of
           any semiautomatic assault weapon otherwise lawfully possessed on
           the date of the enactment of this subsection.
             (3) Paragraph (1) shall not apply to--
                  (A) any of the firearms, or replicas or duplicates of the fire-
                arms, specified in Appendix A to this section, as such firearms
                were manufactured on October 1, 1993;
                  (BJ any firearm that-
                       (i) is manually operated by bolt, pump, lever, or slide ac-
                    tion;
                       (ii) has been rendered permanently inoperable; or
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                           (iii) is an antique firearm;
                     (C) any semiautomatic rifl,e that cannot accept a detachable
                  magazine that holds more than 5 rounds of ammunition; or
                     (D) any semiautomatic shotgun that cannot hold more than
                  5 rounds of ammunition in a fixed or detachable magazine.
             The fact that a firearm is not listed in Appendix A shall not be con-
             strued to mean that paragraph (1) applies to such firearm. No fire-
             arm exempted by this subsection may be deleted from Appendix A
             so long as this Act is in effect.
               (4) Paragraph (1) shall not apply to---
                      (A) the United States or a department or agency of the United
                  States or a State or a department, agency, or political subdivi-
                  sion of a State;
                      (B) the transfer of a semiautomatic assault weapon by a li-
                  censed manufacturer, licensed importer, or licensed dealer to an
                  entity referred to in subparagraph (A) or to a law enforcement
                  officer authorized by such an entity to purchase firearms for of-
                  ficial use;
                      (C) the possession, by an individual who is retired from serv-
                  ice with a law enforcement agency and is not otherwise prohib-
                   ited from receiving a firearm, of a semiautomatic assault weap-
                  on transferred to the individual by the agency upon such retire-
                   ment; or
                      (D) the manufacture, transfer, or possession of a semiauto-
                   matic assault weapon by a licensed manufacturer or licensed
                   importer for the purposes of testing or experimentation author-
                   ized by the Secretary.
                (w)(J) It shall be unlawful for a person to sell, ship, or deliver a
             semiautomatic assault weapon to a person who has not completed
             a form 4473 in connection with the transfer of the semiautomatic
             assault weapon.
                (2) It shall be unlawful for a person to receive a semiautomatic
             assault weapon unless the person has completed a form 4473 in con-
             nection with the transfer of the semiautomatic assault weapon.
                (3) If a person receives a semiautomatic assault weapon from n ·,y-
             one other than a licensed dealer, both the person and the tran.'ifr.ror
             shall retain a copy of the form 4473 complet.ed in conneciion u•ith
             the transfer.
                (4) Within 90 days after the date of the enactment of this sub-
             section, the Secretary shall prescribe regulations ensuring the au,1il ·
             ability of form 4473 to owners of semiautomatic assault weapons.
                (5) As used in this subsection, the term "form 4473" means-
                      (A) the form which, as of the date of the enactment of this
                   subsection, is designated by the Secretary as form 4473; or
                      (B) any other form which-
                           (i) is required by the Secretary, in lieu of the form de-
                         scribed in subparagraph (A), to be completed in connection
                         with the transfer of a semiautomatic assault weapon; and
                           (ii) when completed, contains, at a minimum, the infor-
                         mation that, as of the date of the enactment of this sub-
                         section, is required to be provided on the form described in
                         subparagraph (A).
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                                                 29
             (x)(l) Except as provided in paragraph (2J, it shall be unlawful
           for a person to transfer or possess a large capacity ammunition feed-
           ing device.
             (2J Paragraph ( 1) shall not apply to the possession or transfer of
           any large capacity ammunition feeding device otherwise lawfully
           possessed on the date of the enactment of this subsection.
              (3J This subsection shall not apply t<r-
                . (AJ the United States or a department or agency of the United
                 States or a State or a department, agency, or political subdivi-
                 sion of a State;
                    (BJ the transfer of a large capacity ammunition feeding device
                 by a licensed manufacturer, licensed importer, or licensed deal-
                 er to an entity referred to in subparagraph (AJ or to a law en-
                 forcement officer authorized by such an entity to purchase large
                 capacity ammunition feeding devices for of'fi,cial use;
                    (CJ the possession, by an individual who is rctir:.!d from serv-
                 ice with a law enforcement agency and is rw( otherwise prohib-
                 ited from receiving ammunition, of a large cupacity ammuni-
                 tion feeding device transferred to the individual by the agency
                 upon such retirement; or
                    (DJ the manufacture, transfer, or possessi:orz of any large ca-
                 pacity ammunition feeding device by a licensed mcmu/'acturer or
                 licensed importer for the purposes of testing or experimentation
                 authorized by the Secretary.
                                           APPENDIX A
                                    Center/ire Riflea-Autoloaders
            Browning BAR Mark II Safari Semi-Auto Rifl-e
            Browning BAR Mark II Safari Magnum Rifl-e
            Browning High-Power Rifl-e
            Heckler & Koch Model 300 Rifi,e
            Iver Johnson M-1 Carbine
            Iver Johnson 50th Anniversarv M-1 Carbine
            Marlin Model 9 Camp Carbine
            Marlin Model 45 Carbine
            Remington Nylon 66 Auto-Loading Rifl-e
            Remir.gton Model 7400 Auto Rifl-e
            Remington Model 7400 Rifl-e
            Remington Model 7400 Special Purpose Auto Rifl-e
            Ruger Mini-14 Autoloading Rifle (w/o folding stock)
            Ruger Mini Thirty Rifle
                                    Centerfire Rifles-Lever & Slide
            Browning Model Bl BLR Leuer-Action Rifle
            Browning Model Bl Long Action BI.R
            Browning Model 1886 Lever-Action Carbine
            Browning Model 1886 High Grade Carbine
            Cimarron 1860 Henry Replica
            Cimarron 1866 Winchester Replicas
            Cimarron 1873 Short Rifle
            Cimarron 1873 Sporting Rifle
            Cimarron 1873 30" Express Rifle
            Dixie Engraved 1873 Rifle
            E.M.F. 1866 Yellowboy Lever Actions
            E.M.F. 1860 Henry Rifle
            E.M.F. Model 73 Lever-Action Rifle
            Marlin Model 336CS Lever-Action Carbine
            Marlin Model 30AS Lever-Action Carbine
            Marlin Model 444SS Lever-Action Sporter
            Marlin Model 1894S Lever-Action Carbine
            Marlin Model 1894CS Carbine
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                                                       30
            Marlin Model 1894CL Classic
            Marlin Model 1895SS Lever-Action Rifle
            Mitchell 1858 Henry Replica
            Mitchell 1866 Winchester Replica
            Mitchell 1873 Winchester Replica
            Navy Arms Military Henry Rifle
            Navy Arms Henry Trapper
            Navy Arms Iron Frame Henry
            Navy Arms Henry Carbine
            Navy Arms 1866 Y ellowboy Rifle
            Navy Arms 1573 Winchester-Style Rifle
            Navy Arms 1873 Sporting Rifle
            Remington 7600 Slide Action
            Remington Model 7600 Special Purpose Slide Action
            Rossi M92 SRC Saddle-Ring Carbine
            Rossi M92 SRS Short Carbine
            Savage 99C Lei•er-Action Rifle
            Uberti Henry Rifle
            Uberti 1866 Sporting Rifle
            Uberti 1873 Sporting Rifle
            Winchester Model 94 Side Eject Lever-Action Rifle
            Winchester Model 94 Trapper Side Eject
            Winchester Model 94 Big Bore Side Eject
            Winchester Model 94 Ranger Suk Eject Lever-Action Rifle
            Winchester Model 94 Wrangler Side Eject
                                            Center/ire Rifl,ea-Bolt Action
             Alpine Bolt-Action Rifle
             A-Square Caesar Bolt-Action Rifle
             A-Square Han11ibal Bolt-Action Rifle
             Anschutz 1700D Classic Rifles
             Anschutz 1700D Custom Rifles
             Anschutz 1700D Bavarian Bolt-.,\ction Rifle
             Anschutz 1733D Ma11nlicher Rifle
             Barret Model 90 Bolt-Action Rifle
             Bceman/HW 60,T Bolt-Action Rifle
             Blaser R84 Bolt-Action Rifle
             BRNO 537 Sporter Bolt-Action Rifle
             BRNO ZKB 527 Fox Dolt-Action Rifle
             BRNO ZKK 600. 601, 602 Bolt-Action Rifles
             Browning A-Bolt Rifle
             Browning A-Boit Stainless Stalker
             Browning A-Bolt Left Hund
             Browning A-Bolt Short Action
             Browning Euro-Bolt Rifle
             Browning A-Bolt Gold Medallion
             Browning A-Bolt Micro Medallion
             Ceritwy Centurion 14 Sporter
             Century Enfield Sporter #4
             C,·11tury S1redish. Sporter #38
             Century M,wser 98 Sporter
             Cooper Model :18 Centerfire Sporter
             Dakota 22 Sporter Bolt-Action Rifle
             Dakota 76 C/assi,: Bolt-Actior1 Rifle
             Dakota 76 Short Action Rifles
             Uakoto ;'6 Sa{nri Bolt-Action Ri,11<'
             DakC1ta -1/t:i Rigby A(riccn
             £.A.A. _1 Sahatti Rn.r,cr 870 Bolt-Art ion Rifle
             :\11guste Fmnco!le Bo/I-Action Rifles
             Carl Gustn/20()0 Boit-Actwn Rifle
             Heym Magnr,m Exprl'.'S Series Ri,'1':
             lfou•a l.ightninp, Bnlt-!l.ctll;r, Ri/1e
             Ho,,·a Rn1!trec Cnmo Rifle
             [11l,·rnrms Mark X Viscuunt Bolt-Ar/ion Rifie
             /nterarms Mini-Murk X Rt{!,•
             lntt>rcirms Mark X \Vhi/1,·orth Rolt-Artiun !l1/I<'
             lntcrnn•;s Wliillrortli ExprPs:;: R1jlr
              /;•er Johnson Mod,,[ 5 IOOA I /.,vng-Han[?1' H1fle
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                                                 31
           KDF K15 American Bolt-Aetion Rifle
           Krico Model 600 Bolt-Action Rifle
           Krico Model 700 Bolt-Aetion Rifles
           Mauser Model 66 Bolt-Aetion Rifle
           Mauser Model 99 Bolt-Aetion Rifle
           McMillan Signature Classic Sporter
           McMillan Signature Super Varminter
           McMillan Signature Alaskan
           McMillan Signature Titanium Mountain Rifle
           McMillan Classic Stainless Sporter
           McMillan Talon Safari Rifle
           McMillan Talon Sporter Rifle
           Midland 1500S Survivor Rifle
           Navy Arms TU-33 I 40 Carbine
           Parker-Hale Model Bl Classic Rifle
           Parker-Hale Model Bl Classic lifrican Rifle
           Parker-Hale Model 1000 Rifle
           Parker-Hale Model 1100M African Magnum
           Parker-Hale Model 1100 Lightweight Rifle
           Parker-Hale Model 1200 Super Rifle
           Parker-Hale Model 1200 Super Clip Rifle
           Parker-Hale Model 1300C Scout Rifle
           Parker-Hale Model 2100 Midland Rifle
           Parker-Hale Model 2700 Lightweight Rifle
           Parker-Hale Model 2800 Midland Rifle .
           Remington Model Seven Bolt-Action Rifle
           Remington Model Seven Youth Rifle
           Remington Model Seven Custom KS
           Remington Model Seven Custom MS Rifle
           Remington 700 ADL Bolt-Action Rifle
           Remington 700 BDL Bolt-Action Ri~
           Remington 700 BDL Varmint Special
           Remington 700 BDL European Bolt-Action Rifle
           Remington 700 Vannint Synthetic Rifle
           Remington 700 BDL SS Rifle
           Remington 700 Stainless Synthetic Rifle
           Remington 700 MTRSS Rifle
           Remington 700 BDL Left Band
           Remington 700 Camo Synthetic Rifle
           Remington 700 Safari
           Remington 700 Mountain Rifle
           Remington 700 Custom KS Mountain Rifle
           Remington 700 Classic Rifle
           Ruger M77 Mark 11 Rifle
           Ruger M77 Mark 11 Magnum Rifle
           Ruger M77RL Ultra Light
           Ruger M77 Mark 11 Alf-Weather Stainless Rifle
           Ruger M77 RS11nternational Carbine
           Ruger M77 Mark 11 Express Rifle
           Ruger M77VT Target Rifle
           Sako Hunter Rifle
           Sako Fiberclass Sporter
           Sako Safari Grade Bolt Action
           Sako Hunter Left-Hand Rifle
           Sako Classic Bolt Aetion
           Sako Hunter LS Rifle
           Sako Deluu Lightweight
           Sako Super Deluu Sporter
           Sako Mannlicher-Style Carbine
           Sako Vannint Heavy Barrel
           Sako TRG-S Bolt-Action Rifle
           Sauer 90 Bolt-Action Rifle
           SaU<J/le 110G Bolt-Action Rifle
           SaU<J/le 11 0CY Youth I Ladies Rifle
           SaOO/le 11 0WLE One of One Thousand Limited Edition Rifle
           Sauage 110GXP3 Bolt-Aetion Rifle
           Sauage ll0F Bolt-Aetion Rifle
           SaU<J/le 110FXP3 Bolt-Aetion Rifle
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                                                   32
             Savage 1lOGV Varmint Ri/1,e
             Savage I 12FV Varmint Ri/1,e
             Savage Model 112FVS Varmint Ri/1,e
             Savage Model 112BV Heat-y Barrel Varmint Ri/1,e
             Savage 116FSS Bolt-Action Ri/1,e
             Savage Model 116FSK Kodiak Ri/1,e
             Savage 11 0FP Police Ri/1,e
             Steyr-Mannlicher Sporter Models SL, L, M, S. SIT
             Steyr-Mannlicher Lw:us Model L, M, S
             Sreyr-Mannlicher Model M Profes.•ional Ri/1,e
             'i'ikka Bolt-Action Ri/1,e
             Tikka Premium Grade Rifies
             Tikka Varmint I Continental Ri/1,e
             Tikka Whitetail I Battue Ri/1,e
             Ultra Light Arms Model 20 Rifle
             Ultra Light Arms Model 28, Model 40 Ri/1,es
             Voere VEC 91 Lightning Bolt-Action Ri/1,e
             Vcere Model 2165 Bali-Action Rifie
             Voere Model 2155, 2150 Bolt-Action Rifies
             Weatherb_v Mark V Deluxe Bolt-Action Rifle
             Weatherby Laserrnark V Rifle
             Weatherby Mark V Crown Custom Ri/1,es
             Weatherby ,",lark V Sporter Rifle
             Weatherby Mark V Safari Grade Custom Rifies
              Weatherby Weathermark Rifle
             Weatherby Weathermark Alaskan Rifle
             Weatherby Classicmark No. 1 Rifle
              Weatherby Weatherguard Alaskan Rifle
             Weatherby Vanguard VGX Deluxe Rifle
              Weatherby Vanguard Classic Rifie
              Weatherby Vanguard Classic No. 1 Ri/1,e
             Weatherby Vanguard Weatherguard Rifie
             Wichita Classic Rifle
             Wichita Varmint Rifie
              Winchester Model 70 Sporter
              Winchester Model 70 Sporter WinTuff
              Winchester Model 70 SM Sporter
              Winchester Model 70 Stainless Rifie
              WinchP.ster Model 70 Varmint
              Winchester Model 70 Sy11thetic Heavy Varmint Rifle
              Winchester Model 70 DBM Rifle
             Winchester Model 70 DBM-S Rifle
              Winchester Model 70 Featherweight
              Winchester Model 70 Featherweight WinTuff
              Winchester Model 70 Featherweight Classic
              Winchester Model 70 Lightweight Rifie
              Winchester Ranger Rifie
              Winchester Model 70 Super Express Magnum
              Winchester Model 70 Super Grade
              Winchester Model 70 Custom Sharpshooter
              Winchester Model 70 Custom Sporting Sharpshooter Rifie
                                       Centerfire Rifles-Single Shot
             Armsport 1866 Sharps Rifie, Carbine
             Brown Model One Single Shot Rifle
             Bro:vning Model 1885 Single Shot Rifie
             Dakota Single Shot Ri/1,e
             Desert Industries G-90 Single Shot Rifle
             Harrington & Richardson Ultra Varmint Rifie
             Model 1885 High Wall Rifle
             Navy Arms Rolling Block Buffalo Rifle
             Naty Arms #2 Creedmoor Rifle
             Navy Arms Sharps Cavalry Carbine
             Navy Arms Sharps Plain.~ Rifle
             New England Firearms Handi-Rifle
             Red Willow Armory Ballard No. 5 Pacific
             Red Willow Armory Ballard No. 1.5 Hunting Rifie
             Red Willow Armory Ballard No. 8 Union Hill Rifle
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                                                33
           R.ed Willow Armory Ballard No. 4.5 Target Rifle
           &mington-Style Rollinl/ Block Carbine
           Ruger No. IB Sinl/le Shot
           Ruger No. IA Light Sporter
           Ruger No. IH Tropical Rifle
           Ruger No. IS Medium Sporter
           Ruger No. 1 RSI International
           Ruger No. IV Special Varminter
           C. Sharps Arms New Model 1874 Old Reliable
           C. Sharps Arms New Model 1876 Rifle
           C. Sharps Arms 1875 Classic Shan,s
           C. Sharps Arms New Model 1875 Target & Long Range
           Shiloh Sharps 1874 Long Ranae &,,ress
           Shiloh Sharps 1874 Montana "Ilougkrider
           Shiloh Sharps 1874 Military Carbine
           Shiloh Sharps 1874 Business Rifle
           Shiloh Sharps 1874 Military Rifle
           Sharps 1874 Old Reliable
           Thompson I Center Contender Carbine
           Thompson I Center Stainless Contencur Carbine
           Thompson I Center Contender Carbine Survival System
           Thompson/Center Contender Carbine You.th Model
           Tho"'l.'son/Center TCR '87 Single Shot Rifle
           Ubert, Rolling Block Baby Carbine
                              DrUUn,-, Combination Gu-, Double IUfle•
           &retta E,cpress SSO O I U Double Rifles
           &retta Model 455 &cS &,,ress Rifle
           Chapu.is RG&press Double Rifle
           Auguste Fraru:otte Sidelock Double Rifles
           Auguste Francotte &»clock Double Rifle
           He:,m Model 55B O I U Double Rifle
           Heym Model SSFW O I U Combo Gun
           He:,m Model 88b Side-by-Side Double Rifle
           Kodiak Mk. IV Double Rifle
           Kreigho[Eeck O I U Combination Gun
           Kreiaho Trump{ Drill"
           Meriel      r/Under Co':!f,ination Guns
           Merkel Drillings
           Merkel Model 160 Side-by-Side Double Rifles
           Merkel Ouer I Under Double Rifles
           SalKIIJe 24F O I U Combination Gun
           SalKIIJe 24F-12T Turkey Gun
           ~ringfield Inc. M6 Scout Rifle/Shotgun
           Tikka Model 412s Combination Gun
           Tikka Model 412S Double Fire
           A Zoli Rifle-Shotgun O I U Combo
                                      Rim/ire Rifle~loaders
           AMT Liahtning 25/22 Rifle
           AMT Lil/htning Small-Game Hunting Rifle II
           AMT Magnum Hunter Au.to Rifle
           Anschutz 525 Delu.u Au.to
           Armscor Model 20P Au.to Rifle
           Browning Au.to-22 Rifle
           Browning Au.to-22 Grade VI
           Krico Model 260 Au.to Rifle
           Lakefield Arms Model 64B Au.to Rifle
           Marlin Model 60 Self-Loadi,W Rifle
           Marlin Model 60ss Self-Loading Ilifle
           Marlin Model 70 HC Auto
           Marlin Model 9901 Self-Loading Rifle
           Marlin Model 70P Papoose
           Marlin Model 922 M,inu.m Self-Loading Rifle
           Marlin Model 995 Sel -Loading Rifle
           Norinco Model 22 A      Rifle
           Remington Model 522 Viper Au.toloading Rifle
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                                                   34
             Remington 552BDL Speedmaster Rifle
             Ruger 10/22 Autoloading Carbine (w/o folding stock)
             Survival Arms AR-7 Explorer Rifle
             Tems Remington Reuolvi"( Carbine
             Voere Model 2115 Auto Rifle
                                Rimfire Riflea-lAr,er & Slide Action
            Browning 8~22 Lever-Action Rifle
            Marlin 39TDS Carbine
            Marlin Model 39AS Golckn Lever-Action Rifle
            Remington 572BDL Fieldmaster Pump Rifle
            Norinco EM-321 Pump Rifle
            Rossi Model 62 SA Pump Rifle
            Rossi Model 62 SAC Carbine
            Winchester Model 9422 Lever-Action Rifle
            Winchester Model 9422 Magnum Lever-Action Rifle
                             Rim/ire Rifle-8oll Actions & Si1111le Shot•
            Anschutz Achiever Bolt-Action Rifle
            Anschutz 1416D/ 1516D Classic Rifles
            Anschutz 1418D/ 1518D Mannlicher Rifles
            Anschutz 1700D Classic Rifles
            Anschutz 1700D Custom Rifles
            Anschutz 1700 FWT Bolt-Action Rifle
            Anschutz 1700D Graphite Custom Rifle
            Anschutz 1700D Bavarian Boll-Action Rifle
            Armscor Model 14P Bolt-Action Rifle
            Armscor Model 1500 Rifle
            BRNO ZKM-452 Deluxe Bolt-Action Rifle
            BRNO ZKM 452 Deluxe
            Bttman/HW 60-J-ST Bolt-Action Rifle
            Browning A-Bolt 22 Bolt-Action Rifle
            Browning A-Bolt Gold Medallion
            Cabanas Phaser Rifle
            Cabanas Master Bolt-Action Rifle
            Cabanas Espronceda IV Bolt-Action Rifle
            Cabanas Leyre Bolt-Action Rifle
            Chipmunk Single Shot Rifle
            Cooper Arms Model 36S Sporter Rifle
            Dakota 22 Sporter Bolt-Action Rifle
            Krico Model 300 Bolt-Action Rifles
            Lakefield Arms Mark II Bolt-Action Ri·
            Lakefield Arms Mark I Bolt-Acti.on Ri
            Magtech Model MT-22C Bolt-Acti.on ifle
            Marlin Model 880 Bolt-Action Rifle
            Marlin Model 881 Bolt-Action Rifle
            Marlin Model 882 Bolt-Action Rifle
            Marlin Model 883 Bolt-Action Rifle
            Marlin Model 883SS Bolt-Action Rifle
            Marlin Model 25MN Bolt-Action Rifle
            Marlin Model 25N Bolt-Action Repeater
            Marlin Model 15YN "Little Buckaroo"
            Mauser Model 107 Bolt-Action Rifle
            Mauser Model 201 Bolt-Action Rifle
            Navy Arms TU-KKW Training Rifle
            Navy Arms TU-33/40 Carbine
            Navy Arms TU-KKW Sniper Trainer
            Norinco JW-27 Bolt-Action Rifle
            Norinco JW-15 Bolt-Action Rifle
            Remington 541-T
            Remington 40-XR Rim/ire Custom Sporter
            Remington 541-T HB Bolt-Action Rifle
            Remington 581-S Sportsman Rifle
            Ruger 77 /22 Rimfire Bolt-Action Rifle
            Ruger K77 /22 Varmint Rifle
            Ultra Light Arms Model 20 RF Bolt-Action Rifle
            Winchester Model 52B Sporting Rifle
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                                               35
                              Competiffon Rifle•-Centerfire & Rim/ire
           Anschutz 64-MS Left Silhouette
           Anschutz 1808D RT Super Match 54 Target
           Anschutz 1827B Biathlon Rifle
           Anschutz 1903D Match Ri/1,e
           Anschutz 1803D Intermediate Match
           Anschutz 1911 Match Rifle
           Anschutz 54.lBMS REP Deluxe Silhouette Rifle
           Anschutz 1913 Super Match Rifle
           Anschutz 1907 Match Rifle
           Anschutz 1910 Super Match II
           Anschutz 54.lBMS Silhouette Rifle
           Anschutz Super Match 54 Target Model 2013
           Anschutz Super Match 54 Target Model 2007
           Beeman I Feinwerkbau 2600 Target Rifle
           Cooper Arms Model TRP-1 /SU Standard Rifle
           E.A.A I Weihrauch HW 60 Target Ri/1,e
           E.AA I HW 660 Match Rifle
           Finnish Lion Standard Target RifT,e
           Krico Model 360 S2 Biathlon Ri/1,e
           Krico Model 400 Match Rifle
           Krico Model 360S Biathlon Rifle
           Krico Model 500 Kricotronic Match Rifle
           Krico Model 600 Sniper Ri/1,e
           Krico Model 600 Match Rifle
           Lakefield Arms Model 90B Target Rifle
           Lakefield Arms Model 91T Target Ri/1,e
           Lakefield Arms Model 92S Silhouette Ri/1,e
           Marlin Model 2000 Target Rifle
           Mauser Model 86-SR Specialty Rifle
           McMillan M~6 Sniper RifT,e
           McMillan Combo M~7 / M-88 50-Caliber Ri/1,e
           McMillan 300 Phoenix Long Range Rifle
           McMillan M~ Sniper Rifle
           McMillan National Match Ri/1,e
           McMillan Long Range Rifle
           Parker-Hale M~7 Target Ri/1,e
           Parker-Hale M~ Sniper Rifle
           Remington 4~XB Rangemaster Target Centerfire
           Remington 4~XR KS Rimfire Position Ri/1,e
           Remington 4~XBBR KS
           Remington 4~XC KS National Match Course Rifle
           Sako TRG-21 Bolt-Action Rifle
           Steyr-Mannlicher Match SPG-UIT Ri/1,e
           Steyr-Mannlicher SSG P-1 Rifle
           Steyr-Mannlicher SSG P-lll Rifle
           Steyr-Mannlicher SSG P-N Rifle
           Tanner Standard UIT Ri/1,e
           Tanner 50 Meter Free Rifle
           Tanner 300 Meter Free llifle
           Wichita Silhouette Rifle
                                        Slwtgu--.Autoloaden
           American Arms I Franchi Black Magic 48 / AL
           Benelli Super Black Eagle Shotgun
           Benelli Super Black Eagle Slug Gun
           Benelli Ml Su~r 90 Field Auto Shotgun
           Benelli Monte(eltro Super 90 20-Gauge Shotgun
           Benelli Montefeltro Super 90 Shotgun
           Benelli Ml Sporting Special Auto Shotgun
           Benelli Black Eagle Competition Auto Shotgun
           Beretta A-303 Auto Shotgun
           Beretta 390 Field Auto Shotgun
           Beretta 390 Super Trap, Super Skeet Shotguns
           Beretta Vittoria Auto Shotgun
           Beretta Modl!l 1201F Auto Shotgun
           Browning BSA 10 Auto Shotgun
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                                                 36
             Browning Bsa 10 Stalker Auto Shotgun
             Browning A-500R Auto Shotgun
             Browning A-5000 Auto Shotgun
             Browning A-5000 Sporting Clays
             Browning Auto-5 Light 12 and 20
             Browning Auto-5 Stalker
             Browning Auto-5 Magnum 20
             Browning Auto-5 Magnum 12
             Churchill Turkey Automatic Shotgun
             Cosmi Automatic Shotgun
             Maverick Model 60 Auto Shotgun
             Mossberg Model 5500 Shotgun
             Mossberg Model 9200 Reaal Semi-Auto Shotgun
             Mossberg Model 9200 USST Auto Shotgun
             Mossberg Model 9200 Camo Shotgun
             Mossberg Model 6000 Auto Shotgun
             Remington Model 1100 Shotgun
             Remington 11-87 Premier Shotgun
             Remington 11-87 Sporting Clays
             Remington 11-87 Premier Skeet
             Remington 11-87 Premier Trap
             Remington 11-87 Special Purpose Magnum
             Remington 11-87 SPS-T Camo Auto Shotgun
             Remington 11-87 Special Purpose Deer Gun
             Remington 11-87 SPS-BG-Camo Deer/Turkey Shotgun
             Remington 11-87 SPS-Deer Shotgun
             Remington 11-87 Special Purpose Synthetic Camo
             Remington SP-10 Magnum-Como Auto Shotgun
             Remington SP-10 Magnum Auto Shotgun
             Remington SP-10 Magnum Turkey Combo
             Remington 1100 LT-20 Auto
             Remington 1100 Special Field
             Remington 1100 20-Gauge Deer Gun
             Remington 1100 LT-20 Tournament Skeet
             Winchester Model 1400 Semi-Auto Shotgun
                                          Shotguna-Slide Actiona
             Browning Model 42 Pump Shotgun
             Browning BPS Pump Shotgun
             Browning BPS Stalker Pump Shotgun
             Browning BPS Pigeon Grade Pump Shotgun
             Browning BPS Pump Shotgun (Ladies and Youth Model)
             Browning BPS Game Gun Turkey Special
             Browning BPS Game Gun Deer Special
             Ithaca Model 87 Supreme Pump Shotgun
             Ithaca Model 87 Deerslayer Shotgun
             Ithaca Deerslayer II Rifled Shotgun
             Ithaca Model 87 Turkey Gun
             Ithaca Model 87 Deluxe Pump Shotgun
             Magtech Model 586-VR Pump Shotgun
             Maverick Models 88, 91 Pump Shotguns
             Mossberg Model 500 Sporting Pump
             Mossberg Model 500 Camo Pump
             Mossberg Model 500 Muzzleloader Combo
             Mossberg Model 500 Trophy Slugster
             Mossberg Turkey Model 500 Pump
             Mossberg Model 500 Bantam Pump
             Mossberg Field Grade Model 835 Pump Shotgun
             Mossberg Model 835 Regal Ulti-Mag Pump
             Remington 870 Wingmaster
             Remington 870 Special Purpose Deer Gun
             Remington 870 SPS-BG-Camo Deer/Turkey Shotgun
             Remington 870 SPS-Deer Shotgun
             Remington 870 Marine Magnum
             Remington 870 TC Trap
             Remington 870 Special Purpose Synthetic Camo
             Remington 870 Wingmaster Small Gauges
             Remington 870 Express Rifle Sighted Deer Gun
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                                                   37
            Remington 879 SPS Special Purpose Magnum
            Remington 870 SPS-T Camo Pump Shotgun
            Remington 870 Special Fi~ld
            Remington 870 Express Turkey
            Remington 870 High Grades
            Remington 870 Express
            Remington Model 870 Express Youth Gun
            Winchester Model 12 Pump Shotgun
            Winchester Model 42 High Grade Shotgun
            Winchester Model 1300 Walnut Pump
            Winchester Model 1300 Slug Hunter Deer Gun .  _
            Winchester Model 1300 Ranger Pump Gun Combo & Deer Gun
            Winchester Model 1300 Turkey Gun
            Winchester Model 1300 Ranger Pump Gun
                                         Shotgun--Over/Unders
            American Arms I Franchi Falconet 2000 0 I U
            American Arms Siluer I O I U
            American Arms Silver 11 Shotgun
            American Arms Silver Skeet O I U
            American Arms I Franchi Sporting 2000 0 I U
            American Arms Silver Sporting O I U
            American Arms Silver Trap O I U
            American Arms WS/OU 12, TS/OU 12 Shotguns
            American Arms WT I OU 10 Shotgun
            Armsport 2700 0 I U Goose Gun
            Armsport 2700 Series O/U
            Armsport 2900 Tri-Barrel Shotgun
            Baby Bretton Over I Under Shotgun
            Beretta Model 686 Ultralight O I U
            Beretta ASE 90 Competition O I U Shotgun
            Beretta Over I Under Field Shotguns
            Beretta Onyx Hunter Sport O I U Shotgun
            Beretta Model SOS, SO6, SO9 Shotguns
            Beretta Sporting Clay Shotguns
            Beretta 687EL Sporting O/U
            Beretta 682 Super Sporting O I U
            Beretta Series 682 Competition Over I U11ders
            Browning Citori O I U Shotqun
            Browning Superlight Citon Over/Under
            Browning Lightning Sporting Clays
            Browning Micro Citori Lightning
            Browning Citori Plus Trap Combo
            Browning Citori Plus Trap Gun
            Browning Citori O I U Skeet Models
            Browning Citori O I U Trap Models
            Browning Special $JX)rting Clays
            Browning Citori GTI Sporting Clays
            Browning 325 Siurting Clays
            Centurion Ouer Under Shotgun
            Chapuis Over I Under Shotgun
            Connecticut Valley Classics Classic Sporter O I U
            Connecticut Valley Classics Classic Field Waterfowler
            Charles Daly Field Grade O I U
            Charles Daly Lux Over I Under
            EA.A I Sabatti Sporting Clays Pro-Gold O / U
            EAA/ Sabatti Falcon-Mon Ouer I Under
            Kassnar Grade I O I U Shotgun
            Krieghoff K-80 Sporting Clays O I U
            Krieghoff K-80 Skeet Shotgun
            Krieghoff K-80 International Skeet
            Krieghoff K-80 Four-Barrel Skeet Set
            Krieghoff K-80 I RT Shotguns
            Krieghoff K-80 0 I U Trap Shotgun
            Laurona Silhouette 300 $porting Clays
            Laurona Silhouette 300 Trap
            Laurona Super Model Ouer I Unders
            IJutic LM--6 Deluxe O I U Shotgun
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                                                   38
             Marocchi Conquista Over I Under Shotgun
             Marocchi Avanza O I U Shotgun
             Merkel Model 200E O I U Shotgun
             Merkel Model 200E Skeet, Trap Over I Unders
             Merkel Model 203E, 303E Over I Under Shotguns
             Perazzi Mirage Special ~rting O I U
             Perazzi Mirage Special Four-Gauge Skeet
             Perazzi Sporting Classic O I U
             Perazzi MX7 Over/Under Shotguns
             Perazzi Mirage Special Skeet Over/Under
             Perazzi MXB I MXB Special Trap, Skeet
             Perazzi MXB/20 Over/Under Shotgun
             Perazzi MX9 Single Over I Under Shotguns
             Perazzi MX12 Hunting Over/ Under
             Perazzi MX28, MX410 Game 0/U Shotguns
             Perazzi MX20 Hunting Over/ Under
             Piotti Boss Over I Under Shotgun
             Remington Peerless OtJer I Under Shotgun
             Ruger Red Label O I U Shotgun
             Ruger Sporting Clays O I U Shotgun
             San Marco 12-Ga. Wildflower Shotgun
             San Marco Field Special O I U Shotgun
             San Marco 10-Ga. 0 I U Shotgun
             SKB Model 505 Deluxe Over I Under Shotgun
             SKB Model 685 Over I Under Shotgun
             SKB Model 885 Over I Under Trap, Skeet, Sporting Clays
             Stoeger/IGA Condor I O/U Shotgun
             Stoeger I IGA ERA 2000 Over I Under Shotg,m
             Techni-Mec Model 610 Over/ Under
             Tikka Model 412S Field Grade Over/Under
             Weatherby Athena Grade N O I U Shotguns
             Weatherby Athena Grade V Classic Field O I U
             Weatherby Orion 0/ U Shotguns
             Weatherby II, III Classic Field O I Us
             Weatherby Orion II Classic Sporting Clays O I U
             Weatherby Orion II Sporting Clays O I U
             Winchester Model 1001 O/U Shotgun
             Winchester Model 1001 Sporting Clays O I U
             Pietro Zanoletti Model 2000 Field O I U
                                           Shotguna-Suk by Sides
             American Arms Brittany Shotgun
             American Arms Gentry Double Shotgun
             American Arms Derby Side-by-Side
             American Arms Grulla #2 Double Shotgun
             American Arms WS I SS 10
             American Arms TS I SS 10 Double Shotgun
             American Arms TS I SS 12 Side-by-Side
             Arrieta Sidelock Double Shotguns
             Armsport 1050 Series Double Shotguns
             Arizaga Model 31 Double Shotgun
             AYA Boxlock Shotguns
             AYA Sidelock Double Shotguns
             Beretta Model 452 Sidelock Shotgun
             Beretta Side-by-Side Field Shotguns
             Crucelegui Hermanos Model 150 Double
             Chapuis Side-by-Side Shotgun
             E.A.A I Sabatti Saba-Mon Double Shotgun
              Charles Daly Model Dss Double
             Ferlib Model F VII Double Shotgun
             Auguste Francotte Boxlock Shotgun
             Auguste Francotte Sidelock Shotgun
              Garbi Model 100 Double
              Garbi Model 101 Side-by-Side
              Garbi Model 103A, B Side-by-Side
              Garbi Model 200 Side-by-Side
              Bill Hanus Birdgun Doubles
              Hatfield Uplander Shotgun
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                                                  39
           Merkell Mada 8, 41E Side-by-Side Shotguns
           Merltel Mada 41LSC Spartin/I Clay, Double
           Mer11el Mocul 41S, l41S Side-by-Sida
           Parke Reproductions Side-by-Side
           Piotti Ki"ll No. l Side-by-Side
           Piotti Lunik Side-by-Side
           Piotti Ki"ll Extra Side-by-Side
           Piotti Piuma Side-by-Side
           Precision Sports Mocul 600 Series Doubles
           Riaini llo%lock Side-by-Side
           Riaini Sidelock Side-by-Side
           Stoeger I IGA Uplander Side-by-Side Shotgun
           Ugartechea. 10-Ga. MCJBnum Shotgun
                                 Slaotgun.--BoU Actioru & Single Shtm
           Armsport Siflllle Barrel Shotgun
           Browniflll BT~9 Competition Trap Special
           Browni"ll BT~9 Plus Trap Gun
           Browniflll BT~9 Plus Micro
           Browni"ll &coilleBB Trap Shotgun
           Browniflll Micro Recoilless Trap Shotgun
           Desert Industries Big Twenty SMtllun
           Harrington & Richardson Topper Mocul 098
           Harrington & Richardson Topper Classic Youth Shotgun
           Harrington & Richardson N. W. T.F. Turlrey MCJB
           Harrington & Richardson Topper Delu.R Mocul 098
           KrieggKS-6
           KrieghoKS-6      Trap Gun
                            Special
           ~         K-80 Suigle Barrel Trap Gun
           l,Jutic Mono Gun Siflllle Barrel
           I,Jutic LTX. Super Delu.R Mono Gun
           IJutic Recoilless Space Gun Shotgun
           Marlin Mada 55 Gooee Gun Bolt Action
           New Eflllland Firearms Turkey and Gooee Gun
           New Eflllland Firearms N. W. T.F. SMIIIUn
           New Eflllland Firearms Tracker Sl"6 Gun
           New Eflllland Firearma Standard Pardner
           New Eflllland Firearma Suroiual Gun
           Perazzi TM l Special Siflllle Trap
           Remington 90--T Super Siflllle Shotgun
           Snake Charmer II Shotgun
           Stoeger/ IGA Reuna Siflllle Barrel Shotgun
           Thompson/Center TCR '81 Hunter Shotgun.
           § 923.   Licensing
             (a) • • •

                    •         •          •         •      •         •    •
             (i) Licensed importers and licensed manufacturers shall identify
           by means of a serial number engraved or cast on the receiver or
           frame of the weapon, in such manner as the Secretary shall by reg-
           ulations prescribe, each firearm imported or manufactured by such
           importer or manufacturer. The serial number of any semiautomatic
           assault weapon manufactured after the date of the enactment of this
           sentence shall clearly show the date on which the weapon was man-
           ufactured. A large capacity ammunition feeding deuice manufac-
           tured after the date of the enactment of this sentence shall be identi-
           fied by a serial number that clearly shows that the deuice was man-
           ufactured or imported after the effective date of this subsection, and
           such other identification as the Secretary may by regulation pre-
           scribe.
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            § 924.   Penalties
              (a)( 1) Except as otherwise provided in this subsection, subsection
            (b), (c), or (0 of this section, or in section 929, whoever-
                     (A) knowingly makes any false statement or representation
                  with respect to the information required by this chapter to be
                  kept in the records of a person licensed under this chapter or
                  in applying for any license or exemption or relief from disabil-
                  ity under the provisions of this chapter;
                     (B) knowing_ly violates subsection (a)(4), (a}(6), (f), (k), [or (q)
                  of section 922] (r), (v), or (x) of section 922;
                     *       *         *         *         *         *         *
              (6) A person who knowingly violates section 922(w) shall be fined
            not more than $1,000, imprisoned not more than 6 months, or both.
            Section 3571 shall not apply to any offense under this paragraph.
                     *       *         *         *         *         *         *
               (c)(l) Whoever, during and in relation to any crime of violence or
            dru~ trafficking crime (including a crime of violence or drug traf-
            ficking crime which provides for an enhanced punishment if com-
            mitted by the use of a deadly or dangerous weapon or device) for
            which he may be prosecuted in a court of the United States, uses
            or carries a firearm, shall, in addition to the punishment provided
            for such crime of violence or drug trafficking crime, be sentenced
            to imprisonment for five years, and if the firearm is a short-
            barreled rifle, short-barreled shotgun, or semiautomatic assault
            weapon, to imprisonment for ten years, and if the firearm is a ma-
            chinegun, or a destructive device, or is equipped with a firearm si-
            lencer or firearm muffler, to imprisonment for thirty years. In the
            case of his second or subsequent conviction under this subsection,
            such person shall be sentenced to imprisonment for twenty years,
            and if the firearm is a machinegun, or a destructive device, or is
            equipped with a firearm silencer or firearm muffler, to life impris-
            onment without release. Notwithstanding any other provision of
            law, the court shall not place on probation or suspend the sentence
            of any person convicted of a violation of this subsection, nor shall
            the term of imprisonment imposed under this subsection run con-
            currently with any other term of imprisonment including that im-
            posed for the crime of violence or drug trafficking crime in which
            the firearm was used or carried. No person sentenced under this
            subsection shall be eligible for parole during the term of imprison-
            ment imposed herein.
                     *        *        *         *         *         *         *
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                  SUPPLEMENTAL VIEWS OF HON. DAN GLICKMAN
              I supported this bill because it is a narrowly crafted bill focused
           on specific weapons that have no business being on our streets. It
           is aimed at rapid fire weapons that have the sole purpose of killing
           people, and it is aimed at weapons that are more suited for the bat-
           tlefield than the target range.
              I believe that violence in our nation is getting out of hand. It is
           devastating to read that a student killed a student with a semi-
           automatic weapon. But it is equally devastating to hear of students
           killing students with anyone. What we really need to focus on is
           why students are engaging in violence in the first place. F~r this
           reason, I think this legislation must be viewed as part of the effort
           to reduce crime--in conjunction with the comprehensive crime bill
           that increases/enalties, calls for tougher sentencing, provides for
           more jails an police officers, and provides for prevention pro-
           grams.
              But we must not abrogate the Second Amendment rights that
           are provided for in the Constitution. We must be extremely careful
           that in this legislation and in any legislation in the future, that we
           are not taking away guns that truly are used for sports, hunting,
           or self-defense.
              I don't believe that this bill is the first step in a long road to ban-
           ning guns. However, some of my constituents have expressed their
           fear that the Congress is moving slowly toward banning all guns
           for all people. We must be absolutely clear that this narrowly craft-
           ed legislation is not that first step and is not just a precursor to
           further, broader federal gun control and federal gun bans. Sport
           shooters and hunters tell me that they don't want assault weapons
           on the streets and in the hands of gang members any more than
           anyone else. But what they don't want is for Congress to take the
           short step to saying that the hunting rifles are being used on the
           streets, and should be taken away. And then the handguns are
           being used on the streets and should be taken away.
              I want to make sure that what we are doing has a purpose--that
           it gets at the weapons that are being used by gang members and
           others in killing sprees or other random violence. I want to be able
           to assure the hunters, sport shooters and folks who want to be pre-
           pared for self-defense that we're not going to turn around and tell
           these gun owners that their sporting guns are illegal. This is a
           good bill, but let's tread very carefully before going any further.
              Finally, because I want to make sure that there is no mistake
           about which guns are banned and which are exempt, especially
           guns that will be developed in the future, I offered an amendment
           during Committee markup that was accepted by the Committee.
           This amendment clarifies that simply because a gun is not on the
           list of specifically exempted guns, does not mean that that firearm
           is banned. A firearm must meet the specific criteria set out in the
                                              (41)
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             bill, or be specifically named as a banned gun before it can be
             banned. In other words, the exempted gun list is not exhaustive.
                Furthermore, my amendment makes clear that no gun may be
             taken off the list of specifically exempted guns as long as the act
             is in effect. In this way, it is absolutely clear that the intent of Con-
             gress is that exempted guns remain exempted.
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            DISSENTING VJ[EWS OF HON. F. JAMES SENSENBRENNER,
              JR., HON. GEORGE GEKAS, HON. LAMAR S. SMITH, HON.
               BILL McCOLLUM, HON. HOWARD COBLE, HON. STEVE
               SCHIFF, AND HON. BOB GOODLA'ITE
               We strongly oppose H.R. 4296 which would ban a variety of guns.
            The primary problem with this bill is that it targets law abiding
            citizens. If this bill r.asses, simply possessing a shotgun or rifle
            could land you in jai. You don't have to shoot anybody. You don't
            have to threaten anyone, just leaving it in the hall closet is enough
            to land you in jail. Even if you use the gun for self-defense, you
            can go to jail.
               It is already a federal crime for convicted criminals to possess
            these weapons, or any other gun for that matter. The laws aimed
            at these criminals should be fully enforced before we start going
            into the homes of law-abiding citizens and arresting them.
               Another problem with this legislation is that simple, cosmetic
            changes to certain guns would turn those guns from being illegal
            to, all of a sudden being legal. For example, simply by removing a
            pistol grip, or a bayonet mount from a rifle saves the owner from
            going to jail, but leaves the gun's performance unaffected.
               Finally, the problem of these guns has been greatly exaggerated.
            Although semiautomatic weapons are used in the most high profile
            killings that make it on the nightly news, in fact, more than 99
            percent of killers eschew assault rifles and use more prosaic de-
            vices. According to statistics from the Justice Department and re-
            ports from local law enforcement, five times as many people are
            kicked or beaten to death than are killed with assault rifles.
               Passing this legislation is an excuse to avoid the real issues of
            violent crime, and threatens the rights of law-abiding citizens.
            Therefore, we oppose H.R. 4296.
                                                 F. JAMES SENSENBRENNER, Jr.
                                                 GEORGE W. GEKAS.
                                                 LAMAR SMITH.
                                               BILL MCCOLLUM.
                                               HOWARD COBLE.
                                               STEVE SCHIFF.
                                               Boe   GooDI..ATTE.




                                             (43)
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                       DISSENTING VIEWS OF HON. JACK BROOKS
                 I am strongly opposed to H.R. 4296, the Public Safety and Rec-
              reational Firearms Use Protection Act, because it misidentifies the
              causes of violent crime in the United States; diverts national prior-
              ities away from meaningful solutions to the problem of violent
              crime; punishes honest American gun owners who buy and use fire-
              arms for legitimate, lawful purposes such as, but not necessarily
              limited to, self-defense, target shooting, hunting, and firearms col-
              lection; fails to focus the punitive powers of government upon
              criminals. Most fundamentally, a prohibition on firearms violates
              the right of individual Americans to keep and bear arms, protected
              by the Second Amendment to the Constitution of the United
              States-a stark fact of constitutional life that the proponents of
              H.R. 4296 conveniently overlook in their zeal to abridge the rights
              of law-abiding citizens.
                 Reasons claimed to justify a prohibition on the firearms that
              would be affected by H.R. 4296 include the assertion that those
              particular firearms are used often in the commission of violent
              crimes. Data on the use of the firearms H.R. 4296 labels as "as-
              sault weapons" is not comprehensive, but such data as do exist con-
              sistently show that "assault weapons" are involved in a small per-
              centage of violent crimes.
                 Most of the firearms labelled as "assault weapons" in H.R. 4296
              are rifles-yet rifles are the general category of firearms used least
              often in the commission of violent crimes. The FBI Uniform Crime
              Reports, 1992, the most recent comprehensive data available,
              shows that rifles of any description are used in 3.1 percent of homi-
              cides, for example, while knives are used in 14.5 percent, fists and
              feet are used in 5 percent, and blunt objects are used in another
              5 percent.
                 Professor Gary Kleck, of Florida State University, the 1993 recip-
              ient of the American Society of Criminology's Hindelang Award, es-
              timates that one-half of 1 percent of violent crimes are committed
              with "assault weapons." University of Texas criminologist Sheldon
              Ekland-Olson estimates that one-quarter of rifle-related homicides
              may involve rifles chambered for military cartridges, which would
              include not only so-called "assault" type semi-automatic rifles, but
              non-semiautomatic rifles as well.
                 Since 1980, rifle-related homicides have declined by more than a
              third. According to the Metropolitan Police of Washington, D.C.,
              the city which has the highest per capita rate of homicides of any
              major city in the United States, between 1980-1993 there occurred
              only 4 rifle-related homicides out of a total of more than 4,200
              homicides in the period. The last rifle homicide during the period
              was recorded in 1984. Other data from D.C. police show that rifles
              are used in about one-tenth of 1 percent of robberies and assaults.
                                              (44)
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             The California Department of Justice surveyed law enforcement
           agencies in the state in 1990, as the state's legislature addressed
           "assault weapon" ban legislation there. The California Department
           of Justice found that only 3. 7 percent of the firearms that are used
           in homicides and assaults were "assault weapons," defined there to
           include even more firearms than are defined as "assault weapons"
           in H.R. 4296.
              Connecticut State Police report that less than 2 percent of fire-
           arms seized by police in the state are "assault weapons"; the Mas-
           sachusetts State Police report that "assault" type rifles were used
           in one-half of 1 percent of homicides between 19851991.
              I believe the proponents of H.R. 4296 are in error in claiming
           that the Bureau of Alcohol, Tobacco and Firearms (BATF) has
           traced a large number of "assault weapons" to crime. This claim
           has been effectively contradicted by both the BATF itself and the
           Congressional Research Service's (CRS) report on the BATF fire-
           arms tracing system. The BATF has stated that it "does not always
           know if a firearm being traced has been used in a crime." For in-
           stance, sometimes a firearm is traced simply to determine the
           rightful owner after it is found by a law enforcement officer.
              Each year, the BATF traces about 50,000 firearms, yet only
           about 1 percent of these traces relate to "assault weapons" that
           have been seized by police in the course of investigations of violent
           crimes. Most "assault weapons" traced relate not to violent crime
           but to property violations, such as stolen guns being traced so that
           they may be returned to their lawful owners, violations of the Gun
           Control Act, and other non-violent circumstances.
              As noted by BATF and by CRS in its report to Congress entitled
           "Assault Weapons: Military-Style Semiautomatic Firearms Facts
           and Issues" (1992) that firearms traces are not intended to "trace
           guns to crime," that few "assault weapons" traced relative to vio-
           lent crime investigations, and that available state and local law en-
           forcement agency data shows relatively little use of "assault weap-
           ons" are used frequently in violent crimes.
              "Assault weapons" function in the same manner as any other
           semi-automatic firearm. They fire once with each pull of the trig-
           ger, like most firearms. They use the same ammunition as other
           firearms, both semi-automatic and not. Therefore, "assault weap-
           ons" are useful for target shooting, self-defense, hunting, and other
           legitimate purposes, just as other firearms are.
              H.R. 4296 would prohibit rifles that are commonly used for com-
           petitive shooting, such as the Springfield NIA and the Colt "AR-
           15."
              Accessories found on some models of "assault weapons," such as
           folding stocks, flash suppressors, pistol grips, bayonet lugs, and de-
           tachable magazines may look menacing to persons unfamiliar with
           firearms, but there is absolutely no evidence that any of these ac-
           cessories provide any advantage to a criminal. As has been dem-
           onstrated on many occasions, firearms which H.R. 4296 specifically
           exempts from its prohibition, firearms not equipped with those ac-
           cessories, can be fired at the same rate, with the same accuracy,
           and with the same power as "assault weapons."
              Time and again, supporters of H.R. 4296 have claimed that "as-
           sault weapons" can be "spray-fired from the hip"; but this is simply
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             not true. The firearms targeted in H.R. 4296 are not machineguns.
             Machineguns are restricted under the National Firearms Act of
             1934. H.R. 4296's guns are semi-automatic, and fire only one shot
             at a time.
               H.R. 4296's limitation on the capacity of ammunition feeding de-
             vices would do nothing to reduce the number of rounds available
             to a criminal. It has been demonstrated frequently that such de-
             vices can be switched in less than a second, so a criminal deter-
             mined to have available a number of rounds greater than H.R.
             4296 would permit in a single magazine would need only to possess
             additional smaller magazines. However, police have reportedly con-
             sistently that when criminals fire shots, they rarely discharge more
             than 2-5 rounds, well below the number of rounds H.R. 4296 would
             permit in a single magazine.
               Most fundamentally, to impinge upon the constitutionally-pro-
             tected rights of honest, law-abiding Americans on the basis of
             myth, misinformation, and newspaper headlines is a crime in and
             of itself. To protect against such a mockery of our Constitution and
             the infliction of such harm upon our citizens, I intend to oppose
             H.R. 4296 vigorously on the House floor in the hope that careful
             reflection will permit cooler heads and the light of reason to pre-
             vail.
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                        EXHIBIT E
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I




                           DEPARTMENT OF
                           THE TREASURY
                           STUDY ON
                           THE SPORTING
                           SUITABILITY
                           OF MODIFIED
                           SEMIAUTOMATIC
                           ASSAULT RIFLES


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J        State Fish and Game Commission Review

    9.   Appendix: Summary of Externally Gathered Information
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                                         EXECUTIVE SUMMARY

   On November 14, 1997, the President and the Secretary of the Treasury ordered a review
   of the importation of certain modified versions of semiautomatic assault rifles into the
   United States. 1 The decision to conduct this review stemmed in part from concerns
   expressed by members of Congress and others that the rifles being imported were
   essentially the same as semiautomatic assault rifles previously determined to be
   nonimportable in a 1989 decision by the Bureau of Alcohol, Tobacco and Firearms
   (A TF). The decision also stemmed from the fact that nearly 10 years had passed since
   the last comprehensive review of the importation of rifles, and many new rifles had been
   developed during this time.

   Under 18 U.S.C. section 925(d)(3), the Secretary shall approve applications for
   importation only when the firearms are generally recognized as particularly suitable for
   or readily adaptable to sporting purposes (the "sporting purposes test"). In 1989, A TF
   denied applications to import a series of semiautomatic versions of automatic-fire
   military assault rifles. When ATF examined these semiautomatic assault rifles, it found
   that the rifles, while no longer machineguns, still had a military configuration that was
   designed for killing and disabling the enemy and that distinguished the rifles from
   traditional sporting rifles. This distinctively military configuration served as the basis for
   ATF's finding that the rifles were not considered sporting rifles under the statute.

   The military configuration identified by ATF incorporated eight physical features:
   ability to accept a detachable magazine, folding/telescoping stocks, separate pistol grips,
   ability to accept a bayonet, flash suppressors, bipods, grenade launchers, and night sights.
   In 1989, ATF took the position that any of these military configuration features, other
   than the ability to accept a detachable magazine, would make a semiautomatic rifle not
   importable.

   Subsequent to the 1989 decision, certain semiautomatic assault rifles that failed the
   1989 sporting purposes test were modified to remove all of the military configuration
   features other than the ability to accept a detachable magazine. Significantly, most of
   these modified rifles not only still had the ability to accept a detachable magazine but,
   more specifically, still had the ability to accept a detachable large capacity magazine that


      The President and the Secretary directed that all pending and future applications for importation of
      these rifles not be acted upon until completion of the review. They also ordered that outstanding
      permits for importation of the rifles be suspended for the duration of the review period. The existence
      of applications to import I million new rifles and outstanding permits for nearly 600,000 other rifles
      threatened to defeat the purpose of the expedited review unless the Department of the Treasury
      deferred action on additional applications and temporarily suspended the outstanding permits. (See
      exhibit 1 for a copy of the November 14, 1997, memorandum directing this review.)

      The rifles that are the subject of this review are referred to in this report as "study rifles."
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    was originally designed and produced for the military assault rifles from which they were
    derived. These magazines are referred to in this report as "large capacity military
    magazines." Study rifles with the ability to accept such magazines are referred to in this
    report as "large capacity military magazine rifles," or "LCMM rifles." It appears that
    only one study rifle, the VEPR caliber .308 (an AK47 variant), is not an LCMM rifle.
    Based on the standard developed in 1989, these modified rifles were found to meet the
    sporting purposes test. Accordingly, the study rifles were approved for import into the
    United States.

    These modified rifles are the subject of the present review. Like the rifles banned in
    1989, the study rifles are semiautomatic rifles based on AK47, FN-FAL, HK91 and 93,
    Uzi, and SIG SG550 military assault rifles. While there are at least 59 specific model
    designations of the study rifles, they all fall within the basic designs listed above. There
    are at least 39 models based on the AK4 7 design, 8 on the FN-F AL design, 7 on the
    HK91 and 93 designs, 3 on the Uzi design, and 2 on the SIG SG550 design (see exhibit 2
    for a list of the models). Illustrations of some of the study rifles are included in exhibit 3
    of this report.

    This review takes another look at the entire matter to determine whether the modified
    rifles approved for importation since 1989 are generally recognized as particularly
    suitable for or readily adaptable to sporting purposes. 2 We have explored the statutory
    history of the sporting purposes test and prior administrative and judicial interpretations;
    reexamined the basic tenets of the 1989 decision; analyzed the physical features of the
    study rifles, as well as information from a wide variety of sources relating to the rifles'
    use and suitability for sporting purposes; and assessed changes in law that might have
    bearing on the treatment of the rifles.

    This review has led us to conclude that the basic finding of the 1989 decision remains
    valid and that military-style semiautomatic rifles are not importable under the sporting
    purposes standard. Accordingly, we believe that the Department of the Treasury
    correctly has been denying the importation of rifles that had any of the distinctly military
    configuration features identified in 1989, other than the ability to accept a detachable
    magazine. Our review, however, did result in a finding that the ability to accept a
    detachable large capacity magazine originally designed and produced for a military
    assault weapon should be added to the list of disqualifying military configuration features
    identified in 1989.

    Several important changes have occurred since 1989 that have led us to reevaluate the
    importance of this feature in the sporting purposes test. Most significantly, by passing
    the 1994 bans on semiautomatic assault weapons and large capacity ammunition feeding

    2   The study was carried out by a working group composed of ATF and Treasury representatives. The
        working group's activities and findings were overseen by a steering committee composed of ATF and
        Treasury officials.
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        devices, Congress sent a strong signal that firearms with the ability to expel large
        amounts of ammunition quickly are not sporting; rather, firearms with this ability have
        military purposes and are a crime problem. Specifically, Congress found that these
        magazines served "combat-functional ends" and were attractive to criminals because they
        ·'make it possible to fire a large number of rounds without reloading, then to reload
        quickly when those rounds are spent."3 Moreover, we did not find any evidence that the
        ability to accept a detachable large capacity military magazine serves any sporting
        purpose. Accordingly, we found that the ability to accept such a magazine is a critical
        factor in the sporting purposes test, which must be given the same weight as the other
        military configuration features identified in 1989.

        In addition, the information we collected on the use and suitability of LCMM rifles for
        hunting and organized competitive target shooting demonstrated that the rifles are not
        especially suitable for sporting purposes. Although our review of this information
        indicated that, with certain exceptions, the LCMM rifles sometimes are used for hunting,
        their actual use in hunting is limited. There are even some general restrictions and
        prohibitions on the use of semiautomatic rifles for hunting game. Similarly, although the
        LCMM rifles usually may be used, with certain exceptions, and sometimes are used for
        organized competitive target shooting, their suitability for this activity is limited. In fact,
        there are some restrictions and prohibitions on their use.

        Furthermore, the information we gathered demonstrated that the LCMM rifles are
        attractive to certain criminals. We identified specific examples of the LCMM rifles'
        being used in violent crime and gun trafficking. In addition, we found some disturbing
        trends involving the LCMM rifles, including a rapid and continuing increase in crime gun
        trace requests after 1991 and a rapid "time to crime." Their ability to accept large
        capacity military magazines likely plays a role in their appeal to these criminals.

        After weighing all the information collected, we found that the LCMM rifles are not
        generally recognized as particularly suitable for or readily adaptable to sporting purposes
        and are therefore not importable. However, this decision will in no way preclude the
        importation of true sporting firearms.




            H. Rep. No. 103-489, at 18-19.
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                                                  BACKGROUND

    Importation of Firearms Under the Gun Control Act

    The Gun Control Act of 1968 (GCA)4 generally prohibits the importation of firearms into
    the United States. 5 However, the GCA creates four narrow categories of firearms that the
    Secretary of the Treasury shall authorize for importation. The category that is relevant to
    this study is found at 18 U.S.C. section 925(d)(3).

              The Secretary shall authorize a firearm ... to be imported or brought into the
              United States ... if the firearm ...

                       (3) is of a type that does not fall within the definition of a
                       firearm as defined in section 5845(a) of the Internal
                       Revenue Code of 1954 and is generally recognized as
                       particularly suitable for or readily adaptable to sporting
                       purposes, excluding surplus military firearms, except in any
                       case where the Secretary has not authorized the importation
                       of the firearm pursuant to this paragraph, it shall be
                       unlawful to import any frame, receiver, or barrel of such
                       firearm which would be prohibited if assembled. (Emphasis
                       added)

    This provision originally was enacted, in a slightly different form, by Title IV of the
    Omnibus Crime Control and Safe Streets Act of 19686 and also was contained in Title I of
    the GCA, which amended Title IV later that year.

    The GCA was enacted in large part "to assist law enforcement authorities in the States and
    their subdivisions in combating the increasing prevalence of crime in the
    United States." However, the Senate Report to the act also made clear that Congress did
    not intend the GCA to place any undue or unnecessary restrictions or burdens on
    responsible, law-abiding citizens with respect to acquiring, possessing, transporting, or
    using firearms for lawful activities. 7




        Pub. L. No. 90-618.

        18 U.S.C. section 922(1).

    6   Pub. L. No. 90-351.

    7   S. Rep. No. 150 I, 90 th Cong. 2d Sess. 22 (1968).
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    Consistent with this general approach, legislative history indicates that Congress intended
    the importation standard provided in section 925(d)(3) to exclude military-type weapons
    from importation to prevent such weapons from being used in crime, while allowing the
    importation of high-quality sporting rifles. According to the Senate Report, section
    925(d)(3) was intended to "curb the flow of surplus military weapons and other firearms
    being brought into the United States which are not particularly suitable for target shooting
    or hunting. "8 The report goes on to explain that "[t]he importation ofcertain foreign-
    made and military surplus nonsporting firearms has an important bearing on the problem
    which this title is designed to alleviate [crime]. Thus, the import provisions of this title
    seem entirely justified. "9 Indeed, during debate on the bill, Senator Dodd, the sponsor of
    the legislation, stated that "Title IV prohibits importation of arms which the Secretary
    determines are not suitable for ... sport .... The entire intent of the importation section
    is to get those kinds of weapons that are used by criminals and have no sporting
    purpose." 10

    The Senate Report, however, also makes it clear that the importation standards "are
    designed and intended to provide for the importation of quality made, sporting firearms,
    including ... rifles such as those manufactured and imported by Browning and other such
    manufacturers and importers of firearms." 11 (The rifles being imported by Browning at
    that time were semiautomatic and manually operated traditional sporting rifles of high
    quality.) Similarly, the report states that the importation prohibition "would not interfere
    with the bringing in of currently produced firearms, such as rifles ... of recognized quality
    which are used for hunting and for recreational purposes." 12 The reference to recreational
    purposes is not inconsistent with the expressed purpose of restricting importation to
    firearms particularly suitable for target shooting or hunting, because firearms particularly
    suitable for these purposes also can be used for other purposes such as recreational
    shooting.

    During debate on the bill, there was discussion about the meaning of the term "sporting
    purposes." Senator Dodd stated:


             [h ]ere again I would have to say that if a military weapon is used in a

    8    S. Rep. No. 1501, 90 th Cong. 2d Sess. 22 (1968).

         S. Rep. No. 1501, 90 th Cong. 2d Sess. 24 ( 1968).

    10   114 Cong. Rec. S 5556, 5582, 5585 ( 1968).

    11   S. Rep. No. 1501, 90 th Cong. 2d. Sess. 38 (1968).

    12   S. Rep. No. 1501, 90 th Cong. 2d. Sess. 22 (1968).
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               special sporting event, it does not become a sporting weapon. It is a
               military weapon used in a special sporting event .... As I said previously
               the language says no firearms will be admitted into this country unless they
               are genuine sporting weapons. 13

    Legislative history also shows that the determination of a weapon's suitability for sporting
    purposes is the direct responsibility of the Secretary of the Treasury. The Secretary was
    given this discretion largely because Congress recognized that section 925(d)(3) was a
    difficult provision to implement. Immediately after discussing the large role cheap
    imported .22 caliber revolvers were playing in crime, the Senate Report stated:

               [t)he difficulty of defining weapons characteristics to meet this target
               without discriminating against sporting quality firearms, was a major
               reason why the Secretary of the Treasury has been given fairly broad
               discretion in defining and administering the import prohibition. 14

    Indeed, Congress granted this discretion to the Secretary even though some expressed
    concern with its breadth:

              [t]he proposed import restrictions of Title IV would give the Secretary of
              the Treasury unusually broad discretion to decide whether a particular type
              of firearm is generally recognized as particularly suitable for, or readily
              adaptable to, sporting purposes. If this authority means anything, it
              permits Federal officials to differ with the judgment of sportsmen expressed
              through consumer preference in the marketplace .... 15

    Section 925(d)(3) provides that the Secretary shall authorize the importation of a firearm
    if it is of a "type" that is generally recognized as particularly suitable for or readily
    adaptable to sporting purposes. The legislative history also makes it clear that the
    Secretary shall scrutinize types of firearms in exercising his authority under section 925(d).
     Specifically, the Senate Report to the GCA states that section 925(d) "gives the

    Secretary authority to permit the importation of ammunition and certain types of
    firearms." 16

    13   114 Cong. Rec. 27461-462 (1968).

    14   S. Rep. No. 1501, 90 th Cong. 2d Sess. 38 (1968).

    15   S. Rep. No. I 097, 90 th Cong. 2d. Sess. 2155 ( I 968) (views of Senators Dirksen, Hruska, Thurmond, and
         Burdick). In Gun South. Inc. v. Brady. F.2d 858, 863 (11 th Cir. 1989), the court, based on legislative
         history, found that the GCA gives the Secretary "unusually broad discretion in applying section 925(d)(3)."

    16   S. Rep. No. I 501, 90 th Cong. 2d. Sess. 38 (1968).
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    The Senate Report to the GCA also recommended that the Secretary establish a council
    that would provide him with guidance and assistance in determining which firearms meet
    the criteria for importation into the United States. 17 Accordingly, following the enactment
    of the GCA, the Secretary established the Firearms Evaluation Panel (FEP) (also known as
    the Firearms Advisory Panel) to provide guidelines for implementation of the "sporting
    purposes" test. This panel was composed of representatives from the military, the law
    enforcement community, and the firearms industry. At the initial meeting of the FEP, it
    was understood that the panel's role would be advisory only. 18 The panel focused its
    attention on handguns and recommended the adoption of factoring criteria to evaluate the
    various types of handguns. These factoring criteria are based upon such considerations as
    overall length of the firearm, caliber, safety features, and frame construction. ATF
    thereafter developed an evaluation sheet (ATF Form 4590) that was put into use for
    evaluating handguns pursuant to section 925(d)(3). (See exhibit 4.)

    The FEP did not propose criteria for evaluating rifles and shotguns under section
    925(d)(3). Other than surplus military firearms, which Congress addressed separately, the
    rifles and shotguns being imported prior to I 968 were generally conventional rifles and
    shotguns specifically intended for sporting purposes. Therefore, in I 968, there was no
    cause to develop criteria for evaluating the sporting purposes of rifles and shotguns.

    1984 Application of the Sporting Purposes Test

    The first time that A TF undertook a meaningful analysis of rifles or shotguns under the
    sporting purposes test was in 1984. At that time, A TF was faced with a new breed of
    imported shotgun, and it became clear that the historical assumption that all shotguns were
    sporting was no longer viable. Specifically, A TF was asked to determine whether the
    Striker- I 2 shotgun was suitable for sporting purposes. This shotgun is a military/law
    enforcement weapon initially designed and manufactured in South Africa for riot control.
    When the importer was asked to submit evidence of the weapon's sporting purposes, it
    provided information that the weapon was suitable for police/combat-style competitions.
    ATF determined that this type of competition did not constitute a sporting purpose

    under the statute, and that the shotgun was not suitable for the traditional shotgun sports
    of hunting, and trap and skeet shooting.




    17   S. Rep. No. 1501, 90th Cong. 2d Sess. 38 (1968).

    18   Gilbert Eguipment Co. v. Higgins, 709 F. Supp. I 071, I 083, n. 7 (S.D. Ala. 1989), affd without op., 894
         F.2d 412 (I I th Cir. 1990).
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    1986 Firearms Owners Protection Act

    On May 19, 1986, Congress passed the Firearms Owners Protection Act, 19 which
    amended section 925(d)(3) to provide that the Secretary "shall" (instead of "may")
    authorize the importation of a firearm that is of a type that is generally recognized as
    particularly suitable for or readily adaptable to sporting purposes. The Senate Report to
    the law stated "it is anticipated that in the vast majority of cases, [the substitution of 'shall'
    for 'may' in the authorization section] will not result in any change in current practices." 20
    As the courts have found, "[r]egardless of the changes made [by the 1986 law], the
    firearm must meet the sporting purposes test and it remains the Secretary's obligation to
    determine whether specific firearms satisfy this test." 21

    1986 Application of the Sporting Purposes Test

    In 1986, ATF again had to determine whether a shotgun met the sporting purposes test,
    when the Gilbert Equipment Company requested that the USAS-12 shotgun be classified
    as a sporting firearm under section 925( d)(3). Again, A TF refused to recognize
    police/combat-style competitions as a sporting purpose. After examining and testing the
    weapon, ATF determined its weight, size, bulk, designed magazine capacity,
    configuration, and other factors prevented it from being classified as particularly suitable
    for or readily adaptable to the traditional shotgun sports of hunting, and trap and skeet
    shooting. Accordingly, its importation was denied.

    When this decision was challenged in Federal court, ATF argued, in part, that large
    magazine capacity and rapid reloading ability are military features. The court accepted
    this argument, finding "the overall appearance and design of the weapon (especially the
    detachable box magazine ... ) is that of a combat weapon and not a sporting weapon." 22
    In reaching this decision, the court was not persuaded by the importer's argument that box
    magazines can be lengthened or shortened depending on desired shell capacity. 23 The
    court also agreed with ATF's conclusion that police/combat-style competitions were not
    considered sporting purposes.




    19   Pub. L. No. 99-308.

    20   S. Rep. No. 98-583, 98 th Cong. 1st Sess. 27 ( 1984).

    21   Gilbert Equipment Co., 709 F. Supp. at 1083.

    22   lg. at I089.

    23   lg. at I 087, n. 20 and I 089.
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    1989 Report on the Importability of Semiautomatic Assault Rifles

    In 1989, after five children were killed in a California schoolyard by a gunman with a
    semiautomatic copy of an AK47, ATF decided to reexamine whether certain
    semiautomatic assault-type rifles met the sporting purposes test. This decision was
    reached after consultation with the Director of the Office of National Drug Control Policy.
     In March and April 1989, A TF announced that it was suspending the importation of
    certain "assault-type rifles." For the purposes of this suspension, assault-type rifles were
    those rifles that generally met the following criteria: (1) military appearance; (2) large
    magazine capacity; and (3) semiautomatic version of a machinegun. An ATF working
    group was established to reevaluate the importability of these assault-type rifles. On July
    6, 1989, the group issued its Report and Recommendation of the ATF Working Group on
    the Im portability of Certain Semiautomatic Rifles (hereinafter 1989 report).

    In the 1989 report, the working group first discussed whether the assault-type rifles under
    review fell within a "type" of firearm for the purposes of section 925(d)(3). The working
    group concluded that most of the assault-type rifles under review represented "a
    distinctive type of rifle [which it called the "semiautomatic assault rifle"] distinguished by
    certain general characteristics which are common to the modem military assault rifle." 24
    The working group explained that the modem military assault rifle is a weapon designed
    for killing or disabling the enemy and has characteristics designed to accomplish this
    purpose. Moreover, it found that these characteristics distinguish modem military assault
    rifles from traditional sporting rifles.

    The characteristics of the modem military assault rifle that the working group identified
    were as follows: (1) military configuration (which included: ability to accept a detachable
    magazine, folding/telescoping stocks, separate pistol grips, ability to accept a bayonet,
    flash suppressors, bipods, grenade launchers, and night sights) (see exhibit 5 for a
    thorough discussion of each of these features); (2) ability to fire automatically (i.e., as a
    machinegun); and (3) chambered to accept a centerfire cartridge case having a length of
    2.25 inches or less. 25 In regards to the ability to accept a detachable magazine, the
    working group explained that:


              [v]irtually all modem military firearms are designed to accept large,
              detachable magazines. This provides the soldier with a fairly large
              ammunition supply and the ability to rapidly reload. Thus, large capacity
              magazines are indicative of military firearms. While detachable

    24   1989 report at 6.

    25   1989 report at 6.
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                  magazines are not limited to military firearms, most traditional
                  semiautomatic sporting firearms, designed to accommodate a detachable
                  magazine, have a relatively small magazine capacity.2 6

    The working group emphasized that these characteristics had to be looked at as a whole to
    determine whether the overall configuration of each of the assault-type rifles under review
    placed the rifle fairly within the semiautomatic assault rifle type. The semiautomatic
    assault rifles shared all the above military assault rifle characteristics other than being
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    The working group also addressed the scope of the term "sporting purposes." It
    concluded that the term should be given a narrow interpretation that focuses on the
    traditional sports of hunting and organized competitive target shooting. The working
    group made this determination by looking to the statute, its legislative history, applicable
    case law, the work of the FEP, and prior interpretations by ATF. In addition, the working
    group found that the reference to sporting purposes was intended to stand in contrast to
    military and law enforcement applications. Consequently, it determined that
    police/combat-type competitions should not be treated as sporting activities. 28

    The working group then evaluated whether the semiautomatic assault rifle type of firearm
    is generally recognized as particularly suitable for or readily adaptable to traditional
    sporting applications. This examination took into account technical and marketing data,
    expert opinions, the recommended uses of the firearms, and information on the actual uses
    for which the weapons are employed in this country. The working group, however, did
    not consider criminal use as a factor in its analysis of the importability of this type of
    firearm.

    After analyzing this information, the working group concluded that semiautomatic assault
    rifles are not a type of firearm generally recognized as particularly suitable for or readily
    adaptable to sporting purposes. Accordingly, the working group concluded that semi-
    automatic assault rifles should not be authorized for importation under section 925(d)(3).
    However, the working group found that some of the assault-type rifles under review (the
    Valmet Hunter and .22 rimfire caliber rifles), did not fall within the semiautomatic assault
    rifle type. In the case of the Valmet Hunter, the working group found that although it was
    based on the operating mechanism of the AK47 assault rifle, it had been substantially



    26   J   989 report at 6 (footnote omitted).

    17   The semiautomatic assault rifles were semiautomatic versions of machineguns.

    28   1989 report at 9-11.
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    changed so that it was similar to a traditional sporting rifle. 29 Specifically, it did not have
    any of the military configuration features identified by the working group, except for the
    ability to accept a detachable magazine.

    Following the 1989 study, A TF took the position that a semiautomatic rifle with any of
    the eight military configuration features identified in the 1989 report, other than the
    ability to accept a detachable magazine, failed the sporting purposes test and, therefore,
    was not importable.

    Gun South, Inc. v. Brady

    Concurrent with its work on the 1989 report, A TF was involved in litigation with Gun
    South, Inc. (GSI). In October 1988 and February 1989, A TF had granted GSI pennits to
    import AUG-SA rifles. As mentioned previously, in March and April of 1989, ATF
    imposed a temporary suspension on the importation of rifles being reviewed in the 1989
    study, which included the AUG-SA rifle. GSI filed suit in Federal court, seeking to
    prohibit the Government from interfering with the delivery of fireanns imported under
    pennits issued prior to the temporary suspension.

    The court of appeals found that the Government had the authority to suspend temporarily
    the importation of GSI's AUG-SA rifles because the GCA "impliedly authorizes" such
    action. 30 In addition, the court rejected GSI's contention that the suspension was arbitrary
    and capricious because the AUG-SA rifle had not physically changed, explaining the
    argument "places too much emphasis on the rifle's structure for detennining whether a
    fireann falls within the sporting purpose exception. While the Bureau must consider the
    rifle's physical structure, the [GCA] requires the Bureau to equally consider the rifle's
    use." 31 In addition, the court found that A TF adequately had considered sufficient
    evidence before imposing the temporary suspension, citing evidence ATF had considered


    demonstrating that semiautomatic assault-type rifles were being used with increasing
    frequency in crime. 32


    29   This finding reflects the fact that the operating mechanism of the AK47 assault rifle is similar to the
         operating mechanism used in many traditional sporting rifles.

    30   Gun South. Inc. v. Brady. 877 F.2d 858 ( I Ith Cir. I 989). The court of appeals issued its ruling just days
         before the 1989 report was issued. However, the report was complete before the ruling was issued.

    31   J..g_,

    32   Id.
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    Although GS! sued ATF on the temporary suspension of its import permits, once the I 989
    report was issued, no one pursued a lawsuit challenging ATF's determination that the
    semiautomatic assault rifles banned from importation did not meet the sporting purposes
    test. 33

    Violent Crime Control and Law Enforcement Act of 1994

    On September I 3, 1994, Congress passed the Violent Crime Control and Law
    Enforcement Act of I 994, 34 which made it unlawful, with certain exceptions, to
    manufacture, transfer, or possess semiautomatic assault weapons as defined by the
    statute. 35 The statute defined semiautomatic assault weapons to include 19 named models
    of fireanns (or copies or duplicates of the firearms in any caliber);36 semiauto-matic rifles
    that have the ability to accept detachable magazines and have at least two of five features
    specified in the law; semiautomatic pistols that have the ability to accept detachable
    magazines and have at least two of five features specified in the law; and semiautomatic
    shotguns that have at least two of four features specified in the law. 37 However, Congress


    33   After the 1989 report was issued, Mitchell Anns, Inc. asserted takings claims against the Government
         based upon the suspension and revocation of four penn its allowing for the importation of semiautomatic
         assault rifles and A TF's temporary moratorium on import pennits for other rifles. The court found for the
         Government, holding the injury complained of was not redressable as a taking because Mitchell Anns did
         not hold a property interest within the meaning of the Just Compensation Clause of the Fifth Amendment.
         Mitchell Anns v. United States, 26 Cl. Ct. I (1992), aff'd, 7 F.3d 212 (Fed. Cir. 1993), cert. denied, 511
         U.S. I 106 (1994).

    34   Pub. L. No. I 03-22. Title XI, Subtitle A of this act may be cited as the "Public Safety and Recreational
         Firearn1s Use Protection Act."

    35   18 U.S.C. section 922(v).

    36   Chapter 18 U.S.C. section 921 (a)(30)(A) states that the tenn "semiautomatic assault weapon" means "any
         of the fireanns, or copies or duplicates of the fireanns in any caliber, known as-," followed by a list of
         named fireanns. Even though section 921(a)(3) defines "fireann" as used in chapter 18 to mean, in part.
         "the frame or receiver of any such weapon," the use of"fireann" in section 921(a)(30)(A) has not been
         interpreted to mean a frame or receiver of any of the named weapons, except when the frame or receiver
         actually is incorporated in one of the named weapons.

         Any other interpretation would be contrary to Congress' intent in enacting the assault weapon ban. In the
         House Report to the assault weapon ban, Congress emphasized that the ban was to be interpreted narrowly.
          For example, the report explained that the present bill was more tightly focused than earlier drafts which
         gave ATF authority to ban any weapon which "embodies the same configuration" as the named list of guns
         in section 921 (a)(30)(A); instead, the present bill "contains a set of specific characteristics that must be
         present in order to ban any additional semiautomatic assault weapons [beyond the listed weapons]." H.
         Rep. I 03-489 at 21.

    37   18 U.S.C. section 921(a)(30).
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    exempted from the assault weapon ban any semiautomatic rifle that cannot accept a
    detachable magazine that holds more than five rounds of ammunition and any
    semiautomatic shotgun that cannot hold more than five rounds of ammunition in a fixed or
    detachable magazine. 38

    Although the 1994 law was not directly addressing the sporting purposes test in section
    925( d)(3), section 925( d)(3) had a strong influence on the law's content. The technical
    work of ATF's 1989 report was, to a large extent, incorporated into the 1994 law. The
    House Report to the 1994 law explained that although the legal question of whether
    semiautomatic assault weapons met section 925( d)(3)'s sporting purposes test "is not
    directly posed by [the 1994 law], the working group's research and analysis on assault
    weapons is relevant on the questions of the purposes underlying the design of assault
    weapons, the characteristics that distinguish them from sporting guns, and the reasons
    underlying each of the distinguishing features." 39 As in the 1989 study, Congress focused
    on the external features of firearms, rather than on their semiautomatic operating
    mechanism.

    The 1994 law also made it unlawful to possess and transfer large capacity ammunition
    feeding devices manufactured after September 13, 1994. 40 A large capacity ammunition
    feeding device was generally defined as a magazine, belt, drum, feed strip, or similar
    device that has the capacity of, or that can be readily restored or converted to accept,
    more than IO rounds of ammunition. 41

    Congress passed these provisions of the 1994 law in response to the use of semiautomatic
    assault weapons and large capacity ammunition feeding devices in crime. Congress had
    been presented with much evidence demonstrating that these weapons were "the weapons
    of choice among drug dealers, criminal gangs, hate groups, and mentally deranged persons
    bent on mass murder." 42 The House Report to the 1994 law recounts numerous
    crimes that had occurred involving semiautomatic assault weapons and large capacity
    magazines that were originally designed and produced for military assault rifles. 43



    38   18 U.S.C. sections 922(v)(3)(C)&(D).

    39   H. Rep. No. I 03-489, at 17, n. 19.

    40   18 U.S.C. section 922(w).

    41   18 U.S.C. section 921 (a)(3 I).

    42   H. Rep. No. 103-489, at 13.

    4J   H. Rep. No. I 03-489, at 14-15.
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                                                             14


    In enacting the semiautomatic assault weapon and large capacity ammunition feeding
    device bans, Congress emphasized that it was not preventing the possession of sporting
    firearms. The House Report, for example, stated that the bill differed from earlier bills in
    that "it is designed to be more tightly focused and more carefully crafted to clearly exempt
    legitimate sporting guns. "44 In addition, Congress specifically exempted 661 long guns
    from the assault weapon ban which are "most commonly used in hunting and recreational
    sports. "45

    Both the 1994 law and its legislative history demonstrate that Congress recognized that
    ammunition capacity is a factor in determining whether a firearm is a sporting firearm. For
    example, large capacity ammunition feeding devices were banned, while rifles and
    shotguns with small ammunition capacities were exempted from the assault weapon ban.
    Moreover, the House Report specifically states that the ability to accept a large capacity
    magazine was a military configuration feature which was not "merely cosmetic," but
    "serve[ d] specific, combat-functional ends." 46 The House Report also explains that, while
    "[m]ost of the weapons covered by the [ban] come equipped with magazines that hold
    30 rounds [and can be replaced with magazines that hold 50 or even 100 rounds], ... [i]n
    contrast, hunting rifles and shotguns typically have much smaller magazine capabilities--
    from 3-5."47

    Finally, it must be emphasized that the semiautomatic assault weapon ban of section
    922(v) is distinct from the sporting purposes test governing imports of section 925(d)(3).
    Clearly, any weapon banned under section 922(v) cannot be imported into the
    United States because its possession in the United States would be illegal. However, it is
    possible that a weapon not defined as a semiautomatic assault weapon under section
    922(v) still would not be importable under section 925(d)(3). In order to be importable,
    the firearm must be of a type generally recognized as particularly suitable for or readily
    adaptable to sporting purposes regardless of its categorization under section 922(v). The

    Secretary's discretion under section 925(d)(3) remains intact for all weapons not banned
    by the 1994 statute.

    The Present Review

    Prior to the November 14, 1997, decision to conduct this review, certain members of

    44   H. Rep. No. I 03-489, at 21.

    45   H. Rep. No. I 03-489, at 20. None of these 66 I guns are study rifles.
    46
               H. Rep. No. I 03-489, at I 8.

    47   H. Rep. No. I 03-489, at 19 (footnote omitted).
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    Congress strongly urged that it was necessary to review the manner in which the Treasury
    Department is applying the sporting purposes test to the study rifles, in order to ensure
    that the present practice is consistent with section 925(d)(3) and current patterns of gun
    use. The fact that it had been nearly 10 years since the last comprehensive review of the
    importation of rifles (with many new rifles being developed during this time) also
    contributed to the decision to conduct this review.
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                    DEFINING THE TYPE OF WEAPON UNDER REVIEW

    Section 925 (d) (3) provides that the Secretary shall authorize the importation of a firearm
    if it is of a "type" that meets the sporting purposes test. Given this statutory mandate, we
    had to determine whether the study rifles suspended from importation fell within one type
    of firearm. Our review of the study rifles demonstrated that all were derived from
    semiautomatic assault rifles that failed to meet the sporting purposes test in 1989 but were
    later found to be importable when certain military features were removed.

    Within this group, we determined that virtually all of the study rifles shared another
    important feature: The ability to accept a detachable large capacity magazine (e.g., more
    than 10 rounds) that was originally designed and produced for one of the following
    military assault rifles: AK47, FN-FAL, HK91 or 93, SIG SG550, or Uzi. (This is the only
    military configuration feature cited in the 1989 study that remains with any of the study
    rifles).

    We determined that all of the study rifles that shared both of these characteristics fell
    within a type of firearm which, for the purposes of this report, we call "large capacity
    military magazine rifles" or "LCMM rifles." It appears that only one study rifle, the
    VEPR caliber .308--which is based on the AK47 design--does not fall within this type
    because it does not have the ability to accept a large capacity military magazine.

                              SCOPE OF "SPORTING PURPOSES"

    As in the 1989 study, we had to determine the scope of "sporting purposes" as used in
    section 925(d)(3). Looking to the statute, its legislative history, the work of the Firearms
    Evaluation Panel (see exhibit 6), and prior A TF interpretations, we determined sporting
    purposes should be given a narrow reading, incorporating only the traditional sports of
    hunting and organized competitive target shooting (rather than a broader interpretation
    that could include virtually any lawful activity or competition.)

    In terms of the statute itself, the structure of the importation provisions suggests a
    somewhat narrow interpretation. Firearms are prohibited from importation (section
    922(1)), with four specific exceptions (section 925( d)). A broad interpretation permitting
    a firearm to be imported because someone may wish to use it in some lawful shooting
    activity would render the general prohibition of section 922(1) meaningless.

    Similarly, as discussed in the "Background" section, the legislative history of the GCA
    indicates that the term sporting purposes narrowly refers to the traditional sports of
    hunting and organized competitive target shooting. There is nothing in the history to
    indicate that it was intended to recognize every conceivable type of activity or competition
    that might employ a firearm.
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    In addition, the FEP specifically addressed the infonnal shooting activity of "plinking"
    (shooting at randomly selected targets such as bottles and cans) and detennined that it was
    not a legitimate sporting purpose under the statute. The panel found that, "while many
    persons participate in this type of activity and much ammunition was expended in such
    endeavors, it was primarily a pastime and could not be considered a sport for the purposes
    of importation .... " (See exhibit 6.)

    Finally, the 1989 report determined that the term sporting purposes should be given a
    narrow reading incorporating the traditional rifle sports of hunting and organized
    competitive target shooting. In addition, the report determined that the statute's reference
    to sporting purposes was intended to stand in contrast with military and law enforcement
    applications. This is consistent with ATF's interpretation in the context of the Striker-12
    shotgun and the USAS-12 shotgun. It is also supported by the court's decision in Gilbert
    Equipment Co. v. Higgins.

    We received some comments urging us to find "practical shooting" is a sport for the
    purposes of section 925( d)(3 ). 48 Further, we received information showing that practical
    shooting is gaining in popularity in the United States and is governed by an organization
    that has sponsored national events since 1989. It also has an international organization.

    While some may consider practical shooting a sport, by its very nature it is closer to
    police/combat-style competition and is not comparable to the more traditional types of
    sports, such as hunting and organized competitive target shooting. Therefore, we are not
    convinced that practical shooting does, in fact, constitute a sporting purpose under section
    925( d)(3 ). 49 However, even if we were to assume for the sake of argument that practical
    shooting is a sport for the purposes of the statute, we still would have to decide whether a
    firearm that could be used in practical shooting meets the sporting purposes test. In other
    words, it still would need to be determined whether the firearm is of a type that is
    generally recognized as particularly suitable for or readily adaptable to practical shooting
    and other sporting purposes. 50 Moreover, the legislative history makes clear that the use
    of a military weapon in a practical shooting competition would not make that weapon

    48   Practical shooting involves moving, identifying, and engaging multiple targets and delivering a num ber of
         shots rapidly. In doing this, practical shooting participants test their defensive skills as they encounter
         props, including walls and barricades, with full or partial targets, "no-shoots," steel reaction targets,
         movers, and others to challenge them.

    49   As noted earlier, ATF has taken the position that police/combat-style competitions do not constitute a
         "sporting purpose." This position was upheld in Gilbert Equipment Co., 709 F. Supp. at I 077.

    50   Our findings on the use and suitability of the LCMM rifles in practical shooting competitions are contained
         in the "'Suitability for Sporting Purposes" section of this report.
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    sporting: ''if a military weapon is used in a special sporting event, it does not become a
    sporting weapon. It is a military weapon used in a special sporting event." 51 While none
    of the LCMM rifles are military weapons, they still retain the military feature of the ability
    to accept a large capacity military magazine.




    51
         114 Cong. Rec. 27461-462 (1968) (Sen. Dodd).
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                                              METHOD OF STUDY

 As explained in the "Executive Summary" section of this report, the purpose of this study is to
 review whether modified semiautomatic assault rifles are properly importable under
 18 U.S.C. section 925(d)(3). More specifically, we reexamined the conclusions of the
 1989 report as applied today to determine whether we are correct to allow importation of the
 study rifles that have been modified by having certain military features removed. To determine
 whether such rifles are generally recognized as particularly suitable for or readily adaptable to
 sporting purposes, the Secretary must consider both the physical features of the rifles and the
 actual uses of the rifles. 52 Because it appears that all of the study rifles that have been imported
 to date have the ability to accept a large capacity military magazine, 53 all of the information
 collected on the study rifles' physical features and actual uses applies only to the LCMM rifles.

 Physical features:

 The discussion of the LCMM rifles' physical features are contained in the "Suitability for
 Sporting Purposes" section of this report.

 Use:

 We collected relevant information on the use of the LCMM rifles. Although the 1989 study did
 not consider the criminal use of firearms in its importability analysis, legislative history
 demonstrates and the courts have found that criminal use is a factor that can be considered in
 determining whether a firearm meets the requirements of section 925(d)(3).54 Accordingly, we
 decided to consider the criminal use of the LCMM rifles in the present analysis.

 The term "generally recognized" in section 925(d)(3) indicates that the Secretary should base his
 evaluation of whether a firearm is of a type that is particularly suitable for or readily adaptable to
 sporting purposes, in part, on a "community standard" of the firearm's use. 55 The community
 standard "may change over time even though the firearm remains the same. Thus, a changing
 pattern of use may significantly affect whether a firearm is generally recognized as particularly
 suitable for or readily adaptable to a sporting purpose." 56 Therefore, to assist the Secretary in
 determining whether the LCMM rifles presently are of a type generally recognized as
 particularly suitable for or readily adaptable to sporting purposes, we gathered information from
 the relevant "community." The relevant community was defined as persons and groups who are

 52   Gun South, Inc., 877 F.2d at 866.

 53   The VEPR caliber .308 discussed on page 16 has not yet been imported.
 54
      114 Cong. Rec. S 5556, 5582, 5585 (1968)("[t)he entire intent of the importation section [of the sporting
      purposes test] is to get those kinds of weapons that are used by criminals and have no sporting purposes") (Sen.
      Dodd); Gun South, Inc., 877 F.2d at 866.

 55   Gun South, Inc., 877 F.2d at 866.

 56   !f!.
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 knowledgeable about the uses of these firearms or have relevant information about whether these
 firearms are particularly suitable for sporting purposes. We identified more than 2,000 persons
 or groups we believed would be able to provide relevant, factual information on these issues.
 The individuals and groups were selected to obtain a broad range of perspectives on the issues.
 We conducted surveys to obtain specific information from hunting guides, editors of hunting and
 shooting magazines, organized competitive shooting groups, State game commissions, and law
 enforcement agencies and organizations. Additionally, we asked industry members, trade
 associations, and various interest and information groups to provide relevant information. 57 A
 detailed presentation of the surveys and responses is included as an appendix to this report.

 We also reviewed numerous advertisements and publications, both those submitted by the editors
 of hunting and shooting magazines and those collected internally, in our search for material
 discussing the uses of the LCMM rifles. Further, we collected importation data, tracing data, and
 case studies. 58

 Our findings on use are contained in the "Suitability for Sporting Purposes" section of this
 report.



 57
      Hunting guides: Guides were asked about specific types of firearms used by their clients. The guides were an
      easily definable group, versus the entire universe of hunters. We obtained the names of the hunting guides
      surveyed from the States.

      Editors of hunting and shooting magazines: Editors were surveyed to determine whether they recommended
      the LCMM rifles for hunting or organized competitive target shooting and whether they had written any articles
      on the subject. The list of editors we surveyed was obtained from a directory of firearms-related organizations.

      Organized competitive shooting groups: Organized groups were asked whether they sponsored competitive
      events with high-power semiautomatic rifles and whether the LCMM rifles were allowed in those competitions.
      We felt it was significant to query those who are involved with organized events rather than unofficial activities
      with no specific rules or guidelines. As with the editors above, the list of groups was obtained from a directory
      of firearms-related organizations.

      State game commissions: State officials were surveyed to determine whether the use of the LCMM rifles was
      prohibited or restricted for hunting in each State.

      Law enforcement agencies and organizations: Specific national organizations and a sampling of26 police
      departments across the country were contacted about their knowledge of the LCMM rifles' use in crime. The
      national organizations were surveyed with the intent that they would gather input from the wide range of law
      enforcement agencies that they represent or that they would have access to national studies on the subject.

      Industry members and trade associations: These groups were included because of their knowledge on the
      issue.

      Interest and information groups: These organizations were included because of their wide range of
      perspectives on the issue.

 58   To assist us with our review of the crime-related information we collected, we obtained the services of Garen J.
      Wintemute, MD, M.P.H. Director of the Violence Prevention Research Program, University of California,
      Davis, and Anthony A. Braga, Ph.D., J.F.K. School of Government, Harvard University.
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                               SUITABILITY FOR SPORTING PURPOSES

    The next step in our review was to evaluate whether the LCMM rifles, as a type, are
    generally recognized as particularly suitable for or readily adaptable to hunting and
    organized competitive target shooting. 59 The standard applied in making this
    determination is high. It requires more than a showing that the LCMM rifles may be used
    or even are sometimes used for hunting and organized competitive target shooting; if this
    were the standard, the statute would be meaningless. Rather, the standard requires a
    showing that the LCMM rifles are especially suitable for use in hunting and organized
    competitive target shooting.

    As discussed in the "Method of Study" section, we considered both the physical features
    of the LCMM rifles and the actual uses of the LCMM rifles in making this determination.

    Physical Features

    The ability to accept a detachable large capacity magazine that was originally
    designed and produced for one of the following military assault rifles: AK47, FN-
    FAL, HK91 or 93, SIG SG550, or Uzi.

    Although the LCMM rifles have been stripped of many of their military features, they all
    still have the ability to accept a detachable large capacity magazine that was originally
    designed and produced for one of the following military assault rifles: AK47, FN-FAL,
    HK91 and 93, SIG SG550, or Uzi; in other words, they still have a feature that was
    designed for killing or disabling an enemy. As the 1989 report explains:

             Virtually all modem military firearms are designed to accept large,
             detachable magazines. This provides the soldier with a fairly large
             ammunition supply and the ability to rapidly reload. Thus, large capacity
             magazines are indicative of military firearms. While detachable
             magazines are not limited to military firearms, most traditional




    59   One commenter suggests that the Secretary has been improperly applying the "readily adaptable to
         sporting purposes" provision of the statute. Historically, the Secretary has considered the "particularly
         suitable for or readily adaptable to" provisions as one standard. The broader interpretation urged by the
         commenter would make the standard virtually unenforceable. If the Secretary allowed the importation of a
         firearm which is readily adaptable to sporting purposes, without requiring it actually to be adapted prior to
         importation, the Secretary would have no control over whether the adaptation actually would occur
         following the importation.
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              semiautomatic sporting firearms, designed to accommodate a detachable
              magazine, have a relatively small magazine capacity. 60

    Thus, the 1989 report found the ability to accept a detachable large capacity magazine
    originally designed and produced for a military assault rifle was a military, not a sporting,
    feature. Nevertheless, in 1989 it was decided that the ability to accept such a large
    capacity magazine, in the absence of other military configuration features, would not be
    viewed as disqualifying for the purposes of the sporting purposes test. However, several
    important developments, which are discussed below, have led us to reevaluate the weight
    that should be given to the ability to accept a detachable large capacity military magazine
    in the sporting purposes test.

    Most significantly, we must reevaluate the significance of this military feature because of a
    major amendment that was made to the GCA since the 1989 report was issued. In 1994,
    as discussed in the "Background" section of this report, Congress passed a ban on large
    capacity ammunition feeding devices and semiautomatic assault weapons. 61 In enacting
    these bans, Congress made it clear that it was not preventing the possession of sporting
    firearms. 62 Although the 1994 law was not directly addressing the sporting purposes test,
    section 925(d)(3) had a strong influence on the law's content. As discussed previously,
    the technical work of A TF's 1989 report was, to a large extent, incorporated into the 1994
    law.

    Both the 1994 law and its legislative history demonstrate that Congress found that
    ammunition capacity is a factor in whether a firearm is a sporting firearm. For example,
    large capacity ammunition feeding devices were banned, while rifles and shotguns with
    small ammunition capacities were exempted from the assault weapon ban. In other words,
    Congress found magazine capacity to be such an important factor that a semiautomatic
    rifle that cannot accept a detachable magazine that holds more than five rounds of
    ammunition will not be banned, even if it contains all five of the assault



    60   1989 report at 6 (footnote omitted). This was not the first time that ATF considered magazine capacity to
         be a relevant factor in deciding whether a firearm met the sporting purposes test. See Gilbert Equipment
         Co., 709 F. Supp. at 1089 ("the overall appearance and design of the weapon (especially the detachable box
         magazine ... ) is that of a combat weapon and not a sporting weapon."

    61   The ban on large capacity ammunition feeding devices does not include any such device manufactured on
         or before September 13, 1994. Accordingly, there are vast numbers of large capacity magazines originally
         designed and produced for military assault weapons that are legal to transfer and possess ("grandfathered"
         large capacity military magazines). Presently these grandfathered large capacity military magazines fit the
         LCMM rifles.

    62   See, for example, H. Rep. No. I 03-489, at 21.
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    weapon features listed in the law. Moreover, unlike the assault weapon ban in which a
    detachable magazine and at least two physical features are required to ban a rifle, a large
    capacity magazine in and of itself is banned.

    In addition, the House Report specifically states that the ability to accept a large capacity
    magazine is a military configuration characteristic that is not "merely cosmetic," but
    "serve[s] specific, combat-functional ends." 63 The House Report also explains that large
    capacity magazines

               make it possible to fire a large number of rounds without re-loading, then
               to reload quickly when those rounds are spent. Most of the weapons
               covered by the proposed legislation come equipped with magazines that
               hold 30 rounds. Even these magazines, however, can be replaced with
               magazines that hold 50 or even I 00 rounds. Furthermore, expended
               magazines can be quickly replaced, so that a single person with a single
               assault weapon can easily fire literally hundreds of rounds within minutes ..
               . . In contrast, hunting rifles and shotguns typically have much smaller
               magazine capabilities--from 3-5.64

    Congress specifically exempted 661 long guns from the assault weapon ban that are "most
    commonly used in hunting and recreational sports." 65 The vast majority of these long
    guns do not use large capacity magazines. Although a small number of the exempted long
    guns have the ability to accept large capacity magazines, only four of these exempted long
    guns were designed to accept large capacity military magazines. 66

    The 1994 law also demonstrates Congress' concern about the role large capacity
    magazines and firearms with the ability to accept these large capacity magazines play in



    63   H. Rep. No. I 03-489, at 18.

    64   H. Rep. No. I 03-489, at 19 (footnote omitted). The fact that 12 States place a limit on the magazine
         capacity allowed for hunting, usually 5 or 6 rounds, is consistent with this analysis. (See exhibit 7).

    65   H. Rep. I 03-489, at 20.

    66   These four firearms are the Iver Johnson M-1 carbine, the Iver Johnson 50th Anniversary M-1 carbine, the
         Ruger Mini-14 autoloading rifle (without folding stock), and the Ruger Mini Thirty rifle. All of these
         weapons are manufactured in the United States and are not the subject of this study. In this regard, it should
         also be noted that Congress can distinguish between domestic firearms and foreign firearms and impose
         different requirements on the importation of firearms. For example, Congress may ban the importation of
         certain firearms although similar firearms may be produced domestically. See, for example, B-West
         Imports v. United States, 75 F.3d 633 (Fed. Cir. 1996).
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    crime. The House Report for the bill makes reference to numerous crimes involving these
    magazines and weapons, including the following: 67

              The 1989 Stockton, California, schoolyard shooting in which a gunman with a
              semiautomatic copy of an AK47 and 75-round magazines fired 106 rounds in less
              than 2 minutes. Five children were killed and twenty-nine adults and children were
              injured.

              The 1993 shooting in a San Francisco, California, office building in which a
              gunman using 2 TEC DC9 assault pistols with 50-round magazines killed
              8 people and wounded 6 others.

              A 1993 shooting on the Long Island Railroad that killed 6 people and wounded 19
              others. The gunman had a Ruger semiautomatic pistol, which he reloaded several
              times with 15-round magazines, firing between 30 to 50 rounds before he was
              overpowered.

    The House Report also includes testimony from a representative of a national police
    officers' organization, which reflects the congressional concern with criminals' access to
    firearms that can quickly expel large amounts of ammunition:

              In the past, we used to face criminals armed with a cheap Saturday Night Special
              that could fire off six rounds before [re ]loading. Now it is not at all unusual for a
              cop to look down the barrel of a TEC-9 with a 32 round clip. The ready
              availability of and easy access to assault weapons by criminals has increased so
              dramatically that police forces across the country are being required to upgrade
              their service weapons merely as a matter of self-defense and preservation. The six-
              shot .38 caliber service revolver, standard law enforcement issue for years, is just
              no match against a criminal armed with a semiautomatic assault weapon. 68

    Accordingly, by passing the 1994 law, Congress signaled that firearms with the ability to
    accept detachable large capacity magazines are not particularly suitable for sporting
    purposes. Although in 1989 we found the ability to accept a detachable large capacity
    military magazine was a military configuration feature, we must give it more weight, given
    this clear signal from Congress.

    The passage of the 1994 ban on large capacity magazines has had another effect. Under
    the 1994 ban, it generally is unlawful to transfer or possess a large capacity magazine


    67   H. Rep. No. 103-489, at 15 (two of these examples involve handguns).

    68   H. Rep. I 03-489, at 13-14 (footnote omitted).
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        manufactured after September 13, 1994. Therefore, ifwe require the LCMM rifles to be
        modified so that they do not accept a large capacity military magazine in order to be
        importable, a person will not be able to acquire a newly manufactured large capacity
        magazine to fit the modified rifle. Thus, the modified rifle neither will be able to accept a
        grandfathered large capacity military magazine, nor can a new large capacity magazine be
        manufactured to fit it. Accordingly, today, making the ability to accept a large capacity
        military magazine disqualifying for importation will prevent the importation of firearms
        which have the ability to expel large amounts of ammunition quickly without reloading.

        This was not the case in 1989 or prior to the 1994 ban.

        It is important to note that even though Congress reduced the supply of large capacity
        military magazines by passing the 1994 ban, there are still vast numbers of grandfathered
        large capacity military magazines available that can be legally possessed and transferred.
        These magazines currently fit in the LCMM rifles. Therefore, the 1994 law did not
        eliminate the need to take further measures to prevent firearms imported into the United
        States from having the ability to accept large capacity military magazines, a nonsporting
        factor.

        Another impetus for reevaluating the existing standard is the development of modified
        weapons. The 1989 report caused 43 different models of semiautomatic assault rifles to
        be banned from being imported into the United States. The effect of that determination
        was that nearly all semiautomatic rifles with the ability to accept detachable large capacity
        military magazines were denied importation. Accordingly, at the time, there was no need
        for the ability to accept such a magazine to be a determining factor in the sporting
        purposes test. This is no longer the case. As discussed earlier, manufacturers have
        modified the semiautomatic assault rifles disallowed from importation in 1989 by
        removing all of their military configuration features, except for the ability to accept a
        detachable magazine. As a result, semiautomatic rifles with the ability to accept
        detachable large capacity military magazines (and therefore quickly expel large amounts of
        ammunition) legally have been entering the United States in significant numbers.
        Accordingly, the development of these modified weapons necessitates reevaluating our
        existing standards.

        Thus, in order to address Congress' concern with firearms that have the ability to expel
        large amounts of ammunition quickly, particularly in light of the resumption of these
        weapons coming into the United States, the ability to accept a detachable large capacity
        military magazine must be given greater weight in the sporting purposes analysis of the
        LCMM rifles than it presently receives. 69

        69   A fireann that can be easily modified to accept a detachable large capacity military magazine with only
             minor adjustments to the firearm or the magazine is considered to be a firearm with the ability to accept
             these magazines. The ROMAK4 is an example of such a fireann: With minor modifications to either the
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    Derived from semiautomatic assault rifles that failed to meet the sporting purposes
    test in 1989 but were later found importable when certain military features were
    removed.

    All rifles that failed to meet the sporting purposes test in 1989 were found to represent a
    distinctive type of rifle distinguished by certain general characteristics that are common to
    the modem military assault rifle. Although the LCMM rifles are based on rifle designs
    excluded from importation under the 1989 standard, they all were approved for import
    when certain military features were removed. However, the LCMM rifles all still maintain
    some characteristics common to the modern military assault rifle. Because the outward
    appearance of most of the LCMM rifles continues to resemble the military assault rifles
    from which they are derived, we have examined the issue of outward appearance carefully.
     Some might prefer the rugged, utilitarian look of these rifles to more traditional sporting
    guns. Others might recoil from using these rifles for sport because of their nontraditional
    appearance. In the end, we concluded that appearance alone does not affect the LCMM
    rifles' suitability for sporting purposes. Available information leads us to believe that the
    determining factor for their use in crime is the ability to accept a detachable large capacity
    military magazine.

    Use

    In the 1989 study, ATF found that all rifles fairly typed as semiautomatic assault rifles
    should be treated the same. Accordingly, the report stated "[t]he fact that there may be
    some evidence that a particular rifle of this type is used or recommended for sporting
    purposes should not control its importability. Rather, all findings as to suitability of these
    rifles as a whole should govern each rifle within this type." 70 We adopt the same approach
    for the present study.

    Use for hunting:

    The information we collected on the actual use of the LCMM rifles for hunting medium or
    larger game suggests that, with certain exceptions, the LCMM rifles sometimes are used
    for hunting; however, their actual use in hunting is limited. 71 In fact, there are some

         fireann or a large capacity magazine that was originally designed and produced for a semiautomatic assault
         rifle based on the AK47 design, the ROMAK4 has the ability to accept the magazine.

    70    1989 report at 11.

    71   We targeted the surveys toward the hunting of medium and larger game (e.g., turkey and deer) because the
         LCMM rifles chamber centerfire cartridges and therefore likely would be most suitable for hunting this
         type of game. We also learned that the LCMM rifles were used to shoot certain varmints (e.g., coyotes and
         groundhogs), which are generally considered to be pests, not game. Many commented that the LCMM
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                                                           27


    general restrictions and prohibitions on the use of any semiautomatic rifle for hunting
    game. Almost half of the States place restrictions on the use of semiautomatic rifles in
    hunting, mostly involving magazine capacity (5-6 rounds) and what can be hunted with the
    rifles (see exhibit 7).

    Of the 198 hunting guides who responded to our survey, only 26 stated that they had
    clients who used the LCMM rifles on hunting trips during the past 2 hunting seasons and
    only 10 indicated that they recommend the LCMM rifles for hunting. In contrast, the vast
    majority of the guides (152) indicated that none of their clients used the LCMM rifles on
    hunting trips during the past 2 hunting seasons. In addition, the hunting guides indicated
    that the most common semiautomatic rifles used by their clients were those made by
    Browning and Remington. 72 We found significant the comments of the hunting guides
    indicating that the LCMM rifles were not widely used for hunting.

    Of the 13 editors of hunting and shooting magazines who responded to our survey, only
    2 stated that their publications recommend specific types of centerfire semiautomatic rifles
    for use in hunting medium or larger game. These two respondents stated that they
    recommend all rifles that are safe and of appropriate caliber for hunting, including the
    LCMM rifles. However, they did not recommend the LCMM rifles based on the Uzi
    design for hunting big game; these rifles use a 9mm cartridge, which is not an appropriate
    caliber for this type of game, according to the editors. It is important to note that the
    LCMM rifles use different cartridges. The LCMM rifles based on the FN-F AL, SIG
    SG550, and HK9 l and 93 designs are chambered for either the .308 Winchester cartridge
    or the .223 Remington cartridge, depending on the specific model; the LCMM rifles based
    on the Uzi design are chambered for the 9mm Parabellum cartridge; and the majority of
    the LCMM rifles based on the AK47 design are chambered for the 7.62 x 39mm cartridge
    (some are chambered for the .223 Remington cartridge).

    Of the five interest and information groups that responded to our survey, three supported
    the use of the LCMM rifles for hunting. However, one of these groups stated that the




         rifles were particularly useful on fanns and ranches because of their ruggedness, utilitarian design, and
         reliability.

    72
         According to a 1996 study conducted for the Fish and Wildlife Service, only 2 percent of big game hunters
         surveyed used licensed hunting guides. Therefore, it should be noted that the infonnation provided by the
         guides we surveyed may not be representative of all hunters. However, we believe that the hunting guides'
         infonnation is reliable and instructive because of their high degree of experience with and knowledge of
         hunting.
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    ammunition used by the LCMM rifle models based on the Uzi design were inadequate for
    shooting at long distances (i.e., more than I 00 yards).

    Out of the 70 published articles reviewed from various shooting magazines, only
    5 contained relevant information. One of these five articles stated that, in the appropriate
    calibers, the LCMM rifles could make "excellent" hunting rifles. Two of the articles
    stated that the 7.62 x 39mm cartridge (used in LCMM rifles based on the AK47 design)
    could be an effective hunting cartridge. One of the articles that recommended the rifles
    also recommended modifications needed to improve their performance in hunting. None
    of the articles suggested that LCMM rifles based on the Uzi design were good hunting
    rifles. Thus, although the LCMM rifles could be used in hunting, the articles provided
    limited recommendations for their use as hunting weapons.

    In their usage guides, ammunition manufacturers recommend the .308 and the 7.62 x
    39mm cartridges (used in LCMM rifles based on the FN-FAL and HK 91 designs, and the
    AK47 design respectively) for medium game hunting. However, the usage guides do not
    identify the 9mm cartridge (used in the Uzi design rifles) as being suitable for hunting.

    A majority of the importers who provided information said that the LCMM rifles they
    import are used for hunting deer and similar animals. However, they provided little
    evidence that the rifles were especially suitable for hunting these animals. Two of the
    importers who responded also provided input from citizens in the form of letters
    supporting this position. The letters show a wide variety of uses for the LCMM rifles,
    including deer hunting, plinking, target shooting, home defense, and competitive shooting.

    Our review of all of this information indicates that while these rifles are used for hunting
    medium and larger game, as well as for shooting varmints, the evidence was not
    persuasive that there was widespread use for hunting. We did not find any evidence that
    the ability to accept a large capacity military magazine serves any hunting purpose.
    Traditional hunting rifles have much smaller magazine capabilities. Furthermore, the mere
    fact that the LCMM rifles are used for hunting does not mean that they are particularly
    suitable for hunting or meet the test for importation.

    Use for organized competitive target shooting:

    Of the 31 competitive shooting groups we surveyed that stated they have events using
    high-power semiautomatic rifles, 18 groups stated that they permit the use of the LCMM
    rifles for all competitions. However, 13 respondents stated that they restrict or prohibit
    the LCMM rifles for some competitions, and one group stated that it prohibits the LCMM
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    rifles for all competitions. These restrictions and prohibitions generally were enacted for
    the following reasons:

    I.     High-power rifle competitions generally require accuracy at ranges beyond the
         capabilities of the 9mm cartridge, which is used by the LCMM rifles based on the Uzi
         design.

    2. The models based on the AK47 design are limited to competitions of 200 yards or less
       because the 7.62 x 39mm cartridge, which is used by these models, generally has an
       effective range only between 300 and 500 yards.

    3. Certain matches require U.S. military service rifles, and none of the LCMM rifles fall
       into this category.

    The LCMM rifles are permitted in all United States Practical Shooting Association
    (USPSA) rifle competitions. The USPSA Practical Shooting Handbook, Glossary of
    Terms, states that "[y]ou can use any safe firearm meeting the minimum caliber (9mm/.38)
    and power factor (l 25PF) requirements." The USPSA has stated that "rifles with designs
    based on the AR15, AK47, FN-FAL, HK91, HK93, and others are allowed
    and must be used to be competitive." Moreover, we received some information indicating
    that the LCMM rifles actually are used in practical shooting competitions. 73 However, we
    did not receive any information demonstrating that an LCMM rifle's ability to accept large
    capacity military magazines was necessary for its use in practical shooting competitions.

    A couple of the interest groups recommended the LCMM rifles for organized competitive
    target shooting.

    None of the 70 published articles read mentioned the use of the LCMM rifles in organized
    competitive target shooting.

    All of the major ammunition manufacturers produce .308 Winchester ammunition (which
    is used in the LCMM rifle models based on the HK 91 and FN-FAL designs) and .223
    Remington ammunition (which is used in the HK 93, the SIG SG550, and some of the
    study rifle models based on the AK47 design) specifically for competitive shooting for
    rifles. The major manufacturers and advertisers of 9mm ammunition (which is used in the
    LCMM rifles based on the Uzi design) identify it as being suitable for pistol target
    shooting and self-defense.




    73   Merely because a rifle is used in a sporting competition, the rifle does not become a sporting rifle. 114
         Cong. Rec. 27461-462 ( 1968).
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        A majority of the importers who provided information stated that the LCMM rifles they
        import are permitted in and suitable for organized competitive target shooting. Two of
        the importers who responded also provided input from citizens in the form of letters and
        petitions supporting this position. However, the importers provided little evidence that
        the rifles were especially suitable for organized competitive target shooting.

        The information collected on the actual use of the LCMM rifles for organized competitive
        target shooting suggests that, with certain exceptions, the LCMM rifles usually may be
        used and sometimes are used for organized competitive target shooting; however, their
        suitability for this activity is limited. In fact, there are some restrictions and prohibitions
        on their use. The use of the rifles in competitive target shooting appears more widespread
        than for hunting and their use for practical shooting was the most significant. Although
        we are not convinced that practical shooting does in fact constitute a sporting purpose
        under section 925(d), we note that there was no information demonstrating that rifles with
        the ability to accept detachable large capacity military magazines were necessary for use in
        practical shooting. Once again, the presence of this military feature on LCMM rifles
        suggests that they are not generally recognized as particularly suitable for or readily
        adaptable to sporting purposes.

        Use in crime:

        To fully understand how the LCMM rifles are used, we also examined information
        available to us on their use in crime. Some disturbing trends can be identified, and it is
        clear the LCMM rifles are attractive to criminals.

        The use of LCMM rifles in violent crime and firearms trafficking is reflected in the cases
        cited below. It should be noted that the vast majority of LCMM rifles imported during the
        period 1991-1997 were AK 4 7 variants, which explains their prevalence in the cited cases.

        North Philadelphia, Pennsylvania

        From April 1995 to November 1996, a convicted felon used a straw purchaser to acquire
        at least 55 rifles, including a number of MAK90s. The rifles were then trafficked by the
        prohibited subject to individuals in areas known for their high crime rates. In one case, the
        rifles were sold from the parking lot of a local elementary school.
        Oakland, California

        On July 8, 1995, a 32-year-old Oakland police officer assisted a fellow officer with a
        vehicle stop in a residential area. As the first officer searched the rear compartment of the
        stopped vehicle, a subject from a nearby residence used a Norinco model NMH 90 to
        shoot the 32-year old officer in the back. The officer later died from the wound.
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          El Paso, Texas

          On April 15, 1996, after receiving information from the National Tracing Center, A TF
          initiated an undercover investigation of a suspected firearms trafficker who had purchased
          326 MAK90 semiautomatic rifles during a 6-month period. The individual was found to
          be responsible for illegally diverting more than 1,000 firearms over the past several years.
          One of the MAK90 rifles that the subject had purchased was recovered from the scene of
          a 1996 shootout in Guadalajara, Mexico, between suspected drug traffickers and Mexican
          authorities. Another MAK90 was recovered in 1997 from the residence of a former
          Mexican drug kingpin following his arrest for drug-related activities.

          Charlotte, North Carolina

          On May 24, 1996, four armed subjects-one with a MAK90 rifle-carried out a home
          invasion robbery during which they killed the resident with a 9mm pistol. All four
          suspects were arrested.

          Dallas, Texas

          In September 1997, an investigation was initiated on individuals distributing crack cocaine
          from a federally subsidized housing community. During repeated undercover purchases of
          the narcotics, law enforcement officials noticed that the suspects had firearms in their
          possession. A search warrant resulted in the seizure of crack cocaine, a shotgun, and a
          North China Industries model 320 rifle.

          Chesterfield, Virginia

          In November 1997, a MAK90 rifle was used to kill two individuals and wound three
          others at a party in Chesterfield, Virginia.

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,iP
          Orange, California

          In December 1997, a man armed with an AKS 762 rifle and two other guns drove to
          where he was previously employed and opened fire on former coworkers, killing four and
          injuring three, including a police officer.

          Baltimore, Maryland

          In December 1997, a search warrant was served on a homicide suspect who was armed at
          the time with three pistols and a MAK90 rifle.
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    We also studied import and trace information to learn whether the LCMM rifles are used
    in crime.

    Between 1991 and 1997, there were 425,114 LCMM rifles imported into the United
    States. This represents 7.6 percent of the approximately 5 million rifles imported during
    this period. The breakdown of the specific variants of LCMM rifles imported follows:

              AK-47 variants:   377,934
              FN-F AL variants: 37,534
              HK variants:        6,495
              Uzi variants:       3,141
              SIG SG550 variants:    10

    During this same time period, A TF traced 632,802 firearms. 74 This included 8 I ,842 rifles
    of which approximately 3,176 were LCMM rifles. 75 While this number is relatively
    low compared to the number of total traces, it must be viewed in light of the small
    number of LCMM rifles imported during this time period and the total number of rifles,
    both imported domestic, that were available in the United States. A more significant trend
    is reflected in figure 1.




    74
         A TF traces crime guns recovered and submitted by law enforcement officials. A crime gun is defined, for
         purposes of firearms tracing, as any firearm that is illegally possessed, used in a crime, or suspected by law
         enforcement of being used in a crime. Trace information is used to establish links between criminals and
         firearms, to investigate illegal firearm trafficking, and to identify patterns of crime gun traces by
         jurisdiction. A substantial number of firearms used in crime are not recovered by law enforcement
         agencies and therefore not traced. In addition, not all recovered crime guns are traced. Therefore, trace
         requests substantially underestimate the number of firearms involved in crimes, and trace numbers contain
         unknown statistical biases. These problems are being reduced as more law enforcement agencies institute
         policies of comprehensive crime gun tracing.

    75   The vast majority of LCMM rifles traced during this time period were AK47 variants. Specifically, AK47
         variants comprised 95.6 percent of the LCMM rifles traced. This must be viewed within the context that
         88 percent of the LCMM rifles imported during this period were AK47 variants.
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                                                 Firearms Traces 1991-1997

                                  Total Firearms              Total Rifles            Total Assauit7 6          Total LCMM
           Year                      Traced                    Traced                  Rifles Traced            Rifles Traced
           1991                      42,442                     6,196                       656                         7
           1992                      45,134                     6,659                       663                       39
           1993                      54,945                     7,690                       852                      182
           1994                      83,137                     9,201                       735                      596
           1995                      76,847                     9,988                       717                      528
           1996                     136,062                    17,475                     1,075                      800
           1997                     194,235                    24,633                     1,518                    1,024
         Cumulative Total           632,802                    81,842                     6,216                    3,176

                                                                   Figure I


         The figures in this table show that between 1991 and 1994, trace requests involving
         LCMM rifles increased rapidly, from 7 to 596. During the same period, trace requests for
         assault rifles increased at a slower rate, from 656 to 735. The years 1991 to 1994 are
         significant because they cover a period between when the ban on the importation of
         semiautomatic assault rifles was imposed and before the September 13, 1994, ban on
         semiautomatic assault weapons was enacted. Thus, during the years leading up to the
         1994 ban, traces of LCMM rifles were increasing much more rapidly than the traces of the
         rifles that had been the focus of the 1989 ban, as well as the rifles that were the focus of
         the 1994 congressional action.

         We also compared patterns of importation with trace requests to assess the association of
         LCMM rifles with criminal involvement. The comparison shows that importation of
         LCMM rifles in the early 1990s was followed immediately by a rapid rise in the number of
         trace requests involving LCMM rifles. This is shown in figures 2 and 3.
rt




         76   For purposes of this table, assault rifles include (I) semiautomatic assault rifles banned from importation
              in 1989 but still available domestically because they had been imported into the        United States prior to
              the ban, (2) domestically produced rifles that would not have qualified for importation after 1989, and (3)
              semiautomatic assault rifles that were banned in 1994.
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                                        LCMM Rifles Imported, 1991-1997
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                -
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                 1/)     'C
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                .0
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                 :,              0
                z                     1991      1992    1993         1994    1995   1996   1997

                                                         Figure 2




                                            LCMM Rifles Traced, 1991-1997

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                 :,
                z          0
                                     1991      1992    1993         1994    1995    1996   1997


                                                         Figure 3


    Two aspects of the relationship between importation and trace request patterns are
    significant. First, the rapid rise in traces following importation indicates that, at least in
    some cases, very little time elapsed between a particular LCMM rifle's importation and its
    recovery by law enforcement. This time lapse is known as "time to crime." A short time
    to crime can be an indicator of illegal trafficking. Therefore, trace patterns suggest what
    the case examples show: LCMM rifles have been associated with illegal trafficking.
    Second, while LCMM rifles have not been imported in large numbers since 1994, 77 the
    number of trace requests for LCMM rifles continues to rise. This reflects a sustained and

    77
            One reason is that there has been an embargo on the importation offireanns from China since
         May 1994.
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           continuing pattern of criminal association for LCMM rifles despite the fact that there were
           fewer new LCMM rifles available. 78 Moreover, it is reasonable to conclude that if the
           importation of LCMM rifles resumes, the new rifles would contribute to the continuing
            . .m trace requests "1or them. 19
           nse

           All of the LCMM rifles have the ability to accept a detachable large capacity military
           magazine. Thus, they all have the ability to expend large amounts of ammunition quickly.
            In passing the 1994 ban on semiautomatic assault rifles and large capacity ammunition
           feeding devices, Congress found that weapons with this ability are attractive to criminals. 80
             Thus, we can infer that the LCMM rifles may be attractive to criminals because in some
           ways they remain akin to military assault rifles, particularly in their ability to accept a
           detachable large capacity military magazine.




           78
                 The increase in trace requests also reflects the fact that law enforcement officials were making trace
                requests for all types of fireanns much more frequently beginning in 1996. There were 76,847 trace
                requests in 1995, 136,062 trace requests in 1996, and 194,235 trace requests in 1997. Traces for assault
                rifles were increasing by approximately the same percentage as traces for LCMM rifles during these years.

           79
                In addition to looking at case studies and tracing and import information, we attempted to get infonnation
1!fu
iJ/             on the use of the LCMM rifles in crime by surveying national law enforcement agencies and organizations,
                as well as metropolitan police departments. Twenty-three national law enforcement agencies and
                organizations were surveyed and five responded. Three of the respondents stated they had no infonnation.
                 The other two provided infonnation that was either outdated or not specific enough to identify the LCMM
                rifles.

                The 26 metropolitan police departments surveyed provided the following infonnation:

                17 departments had no infonnation to provide.
                5 departments stated that the LCMM rifles were viewed as crime guns.
                1 department stated that the LCMM rifles were nonsporting.
                2 departments stated that the LCMM rifles were used to hunt coyotes in their areas.
                I department stated that the LCMM rifles were used for silhouette target shooting.

           80
                H. Rep. No. 103-489, at 13, 18, 19.
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                                        DETERMINATION

    In 1989, A TF determined that the type of rifle defined as a semiautomatic assault rifle
    was not generally recognized as particularly suitable for or readily adaptable to sporting
    purposes. Accordingly, ATF found that semiautomatic assault rifles were not importable
    into the United States. This finding was based, in large part, on ATF's determination that
    semiautomatic assault rifles contain certain general characteristics that are common to the
    modern military assault rifle. These characteristics were designed for killing and
    disabling the enemy and distinguish the rifles from traditional sporting rifles. One of
    these characteristics is a military configuration, which incorporates eight physical
    features: Ability to accept a detachable magazine, folding/telescoping stocks, separate
    pistol grips, ability to accept a bayonet, flash suppressors, bipods, grenade launchers, and
    night sights. In 1989, ATF decided that any of these military configuration features,
    other than the ability to accept a detachable magazine, would make a semiautomatic
    assault rifle not importable.

    Certain semiautomatic assault rifles that failed the 1989 sporting purposes test were
    modified to remove all of the military configuration features, except for the ability to
    accept a detachable magazine. Significantly, most of these modified rifles not only still
    have the ability to accept a detachable magazine but, more specifically, still have the
    ability to accept a large capacity military magazine. It appears that only one of the
    current study rifles, the VEPR caliber .308 (an AK47 variant), does not have the ability to
    accept a large capacity military magazine and, therefore, is not an LCMM rifle. Based on
    the standard developed in 1989, these modified rifles were found not to fall within the
    semiautomatic assault rifle type and were found to meet the sporting purposes test.
    Accordingly, these rifles were approved for import into the United States.

    Members of Congress and others have expressed concerns that these modified
    semiautomatic assault rifles are essentially the same as the semiautomatic assault rifles
    determined to be not importable in 1989. In response to such concerns, the present study
    reviewed the current application of the sporting purposes test to the study rifles to
    determine whether the statute is being applied correctly and to ensure that the current use
    of the study rifles is consistent with the statute's criteria for importability.

    Our review took another look at the entire matter. We reexamined the basic tenets of the
    1989 study, conducted a new analysis of the physical features of the rifles, surveyed a
    wide variety of sources to acquire updated information relating to use and suitability, and
    assessed changes in law that might have bearing on the treatment of the study rifles.

    This review has led us to conclude that the basic finding of the 1989 decision remains
    valid and that military-style semiautomatic rifles are not importable under the sporting
    purposes standard. Accordingly, we believe that the Department of the Treasury
    correctly has been denying the importation of rifles that had any of the distinctly military
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        configuration features identified in 1989, other than the ability to accept a detachable
        magazine. Our review, however, did result in a finding that the ability to accept a
        detachable large capacity magazine originally designed and produced for a military
        assault weapon should be added to the list of disqualifying military configuration features
        identified in 1989.

        Several important changes have occurred since 1989 that have led us to reevaluate the
        importance of this feature in the sporting purposes test. Most significantly, by passing
        the 1994 bans on semiautomatic assault weapons and large capacity ammunition feeding
        devices, Congress sent a strong signal that firearms with the ability to expel large
        amounts of ammunition quickly are not sporting; rather, firearms with this ability have
        military purposes and are a crime problem. The House Report to the 1994 law
        emphasizes that the abilii to accept a large capacity magazine "serve[s] specific,
        combat-functional ends." 1 Moreover, this ability plays a role in increasing a firearm's
        "capability for lethality," creating "more wounds, more serious, in more victims." 82
        Furthermore, the House Report noted semiautomatic assault weapons with this ability are
        the "weapons of choice among drug dealers, criminal gangs, hate groups, and mentally
        deranged persons bent on mass murder." 83

        Moreover, we did not find any evidence that the ability to accept a detachable large
        capacity military magazine serves any sporting purpose. The House Report to the 1994
        law notes that, while most of the weapons covered by the assault weapon ban come
        equipped with detachable large capacity magazines, hunting rifles and shotguns typically
        have much smaller magazine capabilities, from 3 to 5 rounds. 84 Similarly, we found that
        a number of States limit magazine capacity for hunting to 5 to 6 rounds. We simply
        found no information showing that the ability to accept a detachable large capacity
        military magazine has any purpose in hunting or organized competitive target shooting.

        Accordingly, we find that the ability to accept a detachable large capacity military
        magazine is a critical factor in the sporting purposes test that must be given the same
        weight as the other military configuration features identified in 1989.

        The information we collected on the use and suitability of the LCMM rifles for hunting
        and organized competitive target shooting demonstrated that the rifles are not especially
        suitable for sporting purposes. Although our study found that the LCMM rifles, as a
        type, may sometimes be used for hunting, we found no evidence that they are commonly
        used for hunting. In fact, some of the rifles are unsuitable for certain types of hunting.

        81   H. Rep. No. 103-489, at 18.

        82   H. Rep. No. 103-489, at 19.

        83   H. Rep. No. 103-489, at 13.

        84   H. Rep. No. 103-489, at 19 ( footnote omitted).
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        The information we collected also demonstrated that although the LCMM rifles, as a
        type, may be used for organized competitive target shooting, their suitability for these
        competitions is limited. There are even some restrictions or prohibitions on their use for
        certain types of competitions. In addition, we believe that all rifles which are fairly
        typed as LCMM rifles should be treated the same. Therefore, the fact that there may be
        some evidence that a particular rifle of this type is used or recommended for sporting
        purposes should not control its importability. Rather, all findings as to suitability of
        LCMM rifles as a whole should govern each rifle within this type. The findings as a
        whole simply did not satisfy the standard set forth in section 925( d)(3).
I
        Finally, the information we gathered demonstrates that the LCMM rifles are attractive to
        certain criminals. We find that the LCMM rifles' ability to accept a detachable large
        capacity military magazine likely plays a role in their appeal to these criminals. In
        enacting the 1994 bans on semiautomatic assault weapons and large capacity ammunition
        feeding devices, Congress recognized the appeal large magazine capacity has to the
        criminal element.

        Weighing all this information, the LCMM rifles, as a type, are not generally recognized
        as particularly suitable for or readily adaptable to sporting purposes. As ATF found in
        conducting its 1989 study, although some of the issues we confronted were difficult to
        resolve, in the end we believe the ultimate conclusion is clear and compelling. The
        ability of all of the LCMM rifles to accept a detachable large capacity military magazine
        gives them the capability to expel large amounts of ammunition quickly; this serves a
        function in combat and crime, but serves no sporting purpose. Given the high standard
        set forth in section 925( d)(3) and the Secretary's discretion in applying the sporting
        purposes test, this conclusion was clear.

        This decision will in no way preclude the importation of true sporting firearms. It will
        prevent only the importation of firearms that cannot fairly be characterized as sporting
        rifles.

        Individual importers with existing permits for, and applications to import involving, the
        LCMM rifles will be notified of this determination in writing. Each of these importers
        will be given an opportunity to respond and present additional information and
        arguments. Final action will be taken on permits and applications only after an affected
        importer has an opportunity to makes its case.
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                                      THE: WHITE HOUSE
                                         WASHINGTON



                                       November 14, 1997




            MEMORANDUM FOR THE SECRETARY OF THE TRSAS'UR.Y
            SUBJECT:          Importation of Modified Semiautoma.cic
                              Assault-Type Rifles

            The Gun Control Act of 19GB restricts the i=portation of
            firearms unless they are determined to be particularly suitable
            for or readily adaptable to sporting purpoaee. In 1989, the
            Deparcmenc of the Treasury (the Department) conducted a review
            of exiscing criteria for applying the sta~utory ~est based on
            changing patterns of gun use. As a result of that review,
            43 assault-type rifles were specifically banned from impor-
            tation. However. manufacturers bave modified many of those
            weapons banned in 1989 to remove certain military features
            without changing their essential ope~ational mechanism.
            Examples of such weapons are the Galil and the Uzi.
             In recent weeks.Members of Congress have scrongly urged that it
             is again necessary to review the manner in which the Oepartment
             is app1ying the eporcing purposes teat, in order to ensure that
             the agency's practice is consistent with the statute and current
             patterns of gun use. A letter signed by 30 Senators strongly
             urged that modified assault-cype weapons are not properly
             importable under the statute and ~bat I should use my authority
             to suspend cemporarily their importation while the Department
             conducts an incensive, expedited review. A recenc letter from
             Senator Dianne Feinstein emphasized again thac ~eapons of this
             type a.re designed not for sporting purposes buc for the com-
             mission of crime. In addition, 34 Memb~~a of the ~ouse of
             Representatives signed a letter to Israeli Prime Minister
             Binyamin Netanyahu requesting that he intervene to scop all
             sales of Galils and Uzis inco the United States. These
             concerns have caused the Government of Israel to announce ·
             a temporary moratorium on the exportation of Galils and U:is
             so that the United Staces can. review the importa.bility of
              these weapons under the Gun Concrol Act.
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                                              2

         The number of weapons at issue underscores the potential chreat
         tot.he public health and safety that necessitates immediate
         action. Firea:rt1\S importers have obt:ained permits co import
         nearly 600,000 modified assault-type rifles.     In addition. there
         are pending before the Departmenc applications to import more
         than l million additional such weapons. The number of rifles
         covered by outstanding permits is comparable to chac which
         existed in 'J.989 when the Bush Administration temporarily
         suspended imporc permits for assault-type rifles. The number
         of weapons for which permits for importation are being sought
         through pending applications is approximately 10 times greater
         than in 1989. The number of such firearms for \ofhich import
         applications have been filed has skyrocketed from 10.000 on
         occober 9, 1997, to more than l million today.
         My Administration is coauuitted to enforcing the statutory
         reetrietions on importation of firearms that do not meet the
          sporting pu.rpoaes tesc. It is necessary that we ensure that the
          atatuce is being correct1y applied and ch.at the current use of
          these modified weapons is consistent with che statute's criteria
          for importability. This review should be conducted at onea on.
          an expedited basis. The review is directed to weapons such as
          che Uzi and Galil chat failed to meet ~he sporting purposes teet
          in 1989, but were later found importable when certain military
          feacures were removed. The results of this review should be
          applied to all pending and future applications.
          The existence of outstanding permits for nearly 6O0,000,modified
          aaaault-type rifles threacens to defeat the purpose of the
          expedited review unlese, as in 1989, the nepartmenc temporarily
          suspends such permit.a. Importers typically obtain authorizacion
          to import firearms in tar greater numbers than are actually
          imported into t.he United St.ates. However. gun importers could
          effectively negate the impact of any Department determinacion by
          simply importing weapons to the maximum amount allowed by their
          permits. The public health and safety require that the only
          firearms allowed into che United States are those that meet the
          criteria of the gtatute.
          Accordingly. as we discussed, you will:
               1) Conduct. an immediate expedited review not to exceed
          140 daya in lengch to determine whether mo~ified semiaucomatie
          aesauit-type rifles are properly importable under the statutory
          spotting purposes tesc. The results o~ this review will govern
          action on pending and future applications for import permits,
          which shall not be acted upon until che completion of this
          review.
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                                          3

           2_) Suspend outstanding pert11ics for importation of
     modified semiautomatic assault-type rifles for the duration
     of Che 120-day revie~ period. The temporary suspension does
     not consti~u~e a permanent revocation of any license. Permits
     wil.l be revoked only if and to the extent:. t:hat you determine
     chat a particular weapon does not satisfy the statutory teat
     for importation, and only after an affected importer has an
     opportunity to make its case to the Depa.r,:.me.nc.
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                                                                            Exhibit 2

                                     STUDY RIFLE MODELS


    AK47 Variants:                                         FN-FAL Variants:

    MAK90*          SA2000             Saiga rifle         L l Al Sporter
    314*            ARM                Galil Sporter       FAL Sporter
    56V*            MISR               Haddar              FZSA
    89*             MISTR              Haddar II           SAR4800
    EXP56A*         SA85M              WUMI                XFAL
    SLG74           Mini PSL           WUM2                C3
    NHM90*          ROMAK I            SLR95               C3A
    NHM90-2*        ROMAK 2            SLR96               LAR Sporter
    NHM91 *         ROMAK4             SLR97
    SA85M           Hunter rifle       SLG94
    SA93            386S               SLG95
    A93             PS/K               SLG96
    AKS 762         VEPR caliber
    VEPR              7.62 x 39mm
     caliber .308


    HK Variants:                Uzi Variants:              SIG SG550 Variants:

    BT96                        Officers 9*                SG550-l
    Centurian 2000              320 carbine*               SG550-2
    SR9                         Uzi Sporter
    PSGI
    MSG90
    G3SA
    SAR8

•     These models were manufactured in China and have not been imported since the 1994
      embargo on the importation of firearms from China.
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                                                                                 Exhibit 3


                                        STUDY RIFLES

 The study rifles are semiautomatic firearms based on the AK47, FN-FAL, HK 91 and 93, Uzi,
 and SIG SG550 designs. Each of the study rifles is derived from a semiautomatic assault rifle.
 The following are some examples of specific study rifle models grouped by design type. In each
 instance, a semiautomatic assault rifle is shown above the study rifles for comparison.

 AK47 Variants




                                     AK47 semiautomatic assault rifle




               MISR                                                     ARM




              MAK90                                             WUMI
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                                                                       Exhibit 3
 FN-FAL Variants




                           FN-FAL semiautomatic assault rifle




    LI A I Sporter                                      SAR 4800




 HK 91 and 93 Variants




                                HK91 semiautomatic assault rifle




                     SR9                                        SAR8
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I



                                                                                         Exhibit 3


     Uzi Variants




                                               Uzi semiautomatic assault rifle




                                    V  ~ -·· ·· o, •' ··


                                      ..
                                                ·.:. '. .:··




                                                        320 carbine




     SIG SG550 Variants

     The following illustration depicts the configuration of a semiautomatic assault rifle based on the
     SIG SG550 design. No illustrations of modified semiautomatic versions are available.




                                  SIG SG550 semiautomatic assault rifle
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                                                                                                                                      Exhibit .'..

                                                                   :, EPAfHMl:.NT O F TH £ TAtA S UR Y
                                                             BUREAU Or' A1. C OHOI.., TOBACCO ANO fl REARM:.


                                                             FACTOIUNG CRITERIA FOR WEAl'ONS

NOTE: The llu,cuu of Alcohol, Tob;icco and Virc:;i1ms rcscn-cs the: fll!hl 10 pccclude impoctauon 01 •OY rcsol,_< r m pi;tol whicll achicvu ui appucnl
      qu,lilying 1ca1e uut l.lueli not adllc:cc 10 the pcorn1on, ofscc11on 925(d)(3) of Amc:nac:d Ctup1cr ·H . ·1 i1lc I!!. U.S .C.

                                       PISTOL                                                                               f< EVOLVER


                               P IU::JU:QU !SITES                                                                       l'IZl. lZEQUISl'fES

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   1hc heisht (right inKIC mc.,urcmcnt 10 burcl w,111out m•g:ull\c:                      d~11onil-l) ot' 4'ii'" nunimum .
   01 o;tcn>1on) bc:i11i; ., 1<.,1 4" an<l the length being•• k;isl       o"          3. Musi h;ivc a barrel lc11~1h ut'     , l k~lil   3".


                                                                    POINT POINT                                                                                  POINT         POINT
           INOIVIOUAL CHARACTERISTICS                                      SU6•                  INDIVIDUAL CHARACTERISTICS                                                    SUB,
                                                                    VALUE TOTAL                                                                                  \IAi.UE       TOTAL
OVERALL LENGTH

    F OR EACH 1/4"" OVER 6"                                                               L.£SS THAN 4"                                                             0


 FRAME CONSTRUCTION                                                                        FOR EACH 1/4" OVER 4 ' "                                                 l/2
    INVESTMENT CAST OR FORGEO STEEi..                                                  FRAME CONSHlUCTION

     INVESTMENT CAST OR FOR GEO HTS AL.L.OY                              20                INVESTMENT CAST OR F O RGED STEEL.                                      u
 WEAPON WEIGHT W/MAGAllNE /Vu/ouJtJ/                                                       INVESTMENT CAST OR t'O fl GE O HTS                                I     20
                                                                                           AL.L..OV
     PER OUNCE
                                                                                       WEAPON WEIGHT {U,./u ;ufru/
 CALIBER
                                                                                           P£R OUNCE                                                                   l
     .22 SHORT AND .25 AUTO                                               0
                                                                                       CALIBER

     . 22 LR ANO 7 .65mm TO .3110 AUTO                                    J                .22 SHORT TO .2S ACP                                                      0


     9mm PARABELL.UM ANO OVER                                            10                ,22 LR ANO . 30 TO . 3 11 S&w                                                l

  SA FETY FEATURES
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      l.OCKEO BREECH MECHANISM
                                                                                           .3~7 MAG AND OVER

      LOAOEO CHAM8E R INDICATOR
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      GRIP SAFETY                                                             J
                                                                                            (Drif1 ur Cllt:k)
                                                                                                                                                                        5


      MAGAZINE SAFETY                                                         5             TARGET GRIPS                                                                   5


       FIRING PIN 61..0CK OR L.OCK                                        10                TARGET HAMMER ANO TARGET TRIGGER                                               I

   MISCELLANEOUS EOUlt'Mt:NT
                                                                                                             SAFETY TEST
       EXTERNAi.. HAMMER                                                      2
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                                                                                         feature which •utomat,c:.Jly ( o r 111 a Sioi:lc Ac1ion
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                                                                                         icJI upon 11\c primer o f th< c.rm<l~e . 1·11c ,~fcty
       DRIFT ADJUSTABI..E TARGET SIGHT                                                   dcvi~ mu.,1 witt\stanu the unp•~1 uf a we igh& equal
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       CL.ICK   A □ JUSTA81..E     TARGET SIGHT                           lO             the rear of the hammec spur, . 101 . 1 ul 5 time,.


       TARGET G;Hrs                                                  '            5


       TARGET TRIGG E R

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                                                                               Exhibit 5


                                  MILITARY CONFIGURATION

 I.   Ability to accept a detachable magazine. Virtually all modem military firearms are
      designed to accept large, detachable magazines. This provides the soldier with a fairly large
      ammunition supply and the ability to rapidly reload. Thus, large capacity magazines are
      indicative of military firearms. While detachable magazines are not limited to military
      firearms, most traditional semiautomatic sporting firearms, designed to accommodate a
      detachable magazine, have a relatively small magazine capacity. Additionally, some States
      have a limit on the magazine capacity allowed for hunting, usually five or six rounds.

 2.   Folding/telescoping stock. Many military firearms incorporate folding or telescoping
      stocks. The main advantage of this item is portability, especially for airborne troops. These
      stocks allow the firearm to be fired from the folded position, yet it cannot be fired nearly as
      accurately as with an open stock. With respect to possible sporting uses of this feature, the
      folding stock makes it easier to carry the firearm when hiking or backpacking. However, its
      predominant advantage is for military purposes, and it is normally not found on the
      traditional sporting rifle.

 3.   Pistol grips. The vast majority of military firearms employ a well-defined separate pistol
      grip that protrudes conspicuously beneath the action of the weapon. In most cases, the
      ''straight line design" of the military weapon dictates a grip of this type so that the shooter
      can hold and fire the weapon. Further, a pistol grip can be an aid in one-handed firing of the
      weapon in a combat situation. Further, such grips were designed to assist in controlling
      machineguns during automatic fire. On the other hand, the vast majority of sporting
      firearms employ a more traditional pistol grip built into the wrist of the stock of the firearm
      since one-handed shooting is not usually employed in hunting or organized competitive
      target competitions.

 4.   Ability to accept a bayonet. A bayonet has distinct military purposes. First, it has a
      psychological effect on the enemy. Second, it enables soldiers to fight in close quarters with
      a knife attached to their rifles. No traditional sporting use could be identified for a bayonet.

 5.   Flash suppressor. A flash suppressor generally serves one or two functions. First, in
      military firearms it disperses the muzzle flash when the firearm is fired to help conceal the
      shooter's position, especially at night. A second purpose of some flash suppressors is to
      assist in controlling the "muzzle climb" of the rifle, particularly when fired as a fully
      automatic weapon. From the standpoint of a traditional sporting firearm, there is no
      particular benefit in suppressing muzzle flash. Flash suppressors that also serve to dampen
      muzzle climb have a limited benefit in sporting uses by allowing the shooter to reacquire
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                                                                                    Exhibit 5


      the target for a second shot. However, the barrel of a sporting rifle can be modified by
      "magna-porting" to achieve the same result. There are also muzzle attachments for sporting
      firearms to assist in the reduction of muzzle climb. In the case of military-style weapons
      that have flash suppressors incorporated in their design, the mere removal of the flash
      suppressor may have an adverse impact on the accuracy of the firearm.

 6.   Bipods. The majority of military firearms have bipods as an integral part of the firearm or
      contain specific mounting points to which bipods may be attached. The military utility of
      the bipod is primarily to provide stability and support for the weapon when fired from the
      prone position, especially when fired as a fully automatic weapon. Bipods are available
      accessory items for sporting rifles and are used primarily in long-range shooting to enhance
      stability. However, traditional sporting rifles generally do not come equipped with bipods,
      nor are they specifically designed to accommodate them. Instead, bipods for sporting
      firearms are generally designed to attach to a detachable "slingswivel mount" or simply
      clamp onto the firearm.

 7.   Grenade launcher. Grenade launchers are incorporated in the majority of military firearms as
      a device to facilitate the launching of explosive grenades. Such launchers are generally of
      two types. The first type is a flash suppressor designed to function as a grenade launcher.
      The second type attaches to the barrel of the rifle by either screws or clamps. No traditional
      sporting application could be identified for a grenade launcher.

 8.   Night sights. Many military firearms are equipped with luminous sights to facilitate sight
      alignment and target acquisition in poor light or darkness. Their uses are generally for
      military and law enforcement purposes and are not usually found on sporting firearms since
      it is generally not legal to hunt at night.
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                                                                                    Exhibit 6


  [This document has been retyped for clarity.]

                                   MEMORANDUM TO FILE

                                 FIREARMS ADVISORY PANEL

      The initial meeting of the Firearms Advisory Panel was held in Room 3313, Internal
 Revenue Building, on December 10, 1968, with all panel members present. Internal Revenue
 Service personnel in attendance at the meeting were the Director, Alcohol and Tobacco Tax
 Division, Harold Serr; Chief, Enforcement Branch, Thomas Casey; Chief, Operations
 Coordination Section, Cecil M. Wolfe, and Firearms Enforcement Officer, Paul Westenberger.
 Deputy Assistant Commissioner Compliance, Leon Green, visited the meeting several times
 during the day.

      The Director convened the meeting at I 0:00 a.m. by welcoming the members and outlining
 the need for such an advisory body. He then introduced the Commissioner of Internal Revenue,
 Mr. Sheldon Cohen, to each panel member.

      Mr. Cohen spoke to the panel for approximately fifteen minutes. He thanked the members
 for their willingness to serve on the panel, explained the role of the panel and some of the
 background which led to the enactment of the Gun Control Act of 1968. Commissioner Cohen
 explained to the panel members the conflict of interest provisions of regulations pertaining to
 persons employed by the Federal Government and requested that if any member had any
 personal interest in any matter that came under discussion or consideration, he should make such
 interest known and request to be excused during consideration of the matter.

      Mr. Seer then explained to the panel the areas in which the Division would seek the advice
 of the panel and emphasized that the role of the panel would be advisory only, and that it was the
 responsibility of the Service to make final decisions. He then turned the meeting over to the
 moderator, Mr. Wolfe.

      Mr. Wolfe explained the responsibility of the Service under the import provisions of the
 Gun Control Act and under the Mutual Security Act. The import provisions were read and
 discussed.

      The panel was asked to assist in defining Asporting purposes= as used in the Act. It was
 generally agreed that firearms designed and intended for hunting and all types of organized
 competitive target shooting would fall within the sporting purpose category. A discussion was
 held on the so-called sport of Aplinking:::. It was the consensus that, while many persons
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•
                                                                                        Exhibit 6


     participated in the type of activity and much ammunition was expended in such endeavors, it was
     primarily a pastime and could not be considered a sport for the purposes of importation since any
     firearm that could expel a projectile could be used for this purpose without having any
     characteristics generally associated with target guns.

          The point system that had been developed by the Division and another point system formula
     suggested and furnished by the Southern Gun Distributors through Attorney Michael Desalle,
     was explained and demonstrated to the panel by Paul Westenberger. Each panel member was
     given copies of the formulas and requested to study them and endeavor to develop a formula he
     believed would be equitable and could be applied to all firearms sought to be imported.

          A model BM59 Beretta, 7.62 mm, NATO Caliber Sporter Version Rifle was presented to
     the panel and their advice sought as to their suitability for sporting purposes. It was the
     consensus that these rifles do have a particular use in target shooting and hunting. Accordingly,
     it was recommended that importation of this rifle together with the SIG-AMT 7.62mm NATO
     Caliber Sporting Rifle and the Cetme 7.62mm NATO Caliber Sporting Rifle be authorized for
     importation. Importation, however, should include the restriction that these weapons must not
     possess combination flash suppressors/grenade adaptors with outside diameters greater than
     20mm (.22 mm is the universal grade adaptor size).

          The subject of ammunition was next discussed. Panel members agreed that incendiary and
     tracer small arms ammunition have no use for sporting purposes. Accordingly, the Internal
     Revenue Service will not authorize these types of small arms ammunition importation. All other
     conventional small arms ammunition for pistols, revolvers, rifles and shotguns will be
     authorized.

         The meeting was adjourned at 4:00 p.m.




                                                  C.M. Wolfe
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                                                                                  Exhibit 7

                         ST A TE FISH AND GAME COMMISSION REVIEW


       STA TE RESTRICTION      RIFLE RESTRICTION             MAGAZINE RESTRICTION

       Alabama                 Not for turkey

       Alaska

       Arizona                                               Not more than five rounds

       Arkansas                Not for turkey

       California

       Colorado                                              Not more than six rounds

       Connecticut*            No rifles on public land

       Delaware                No rifles

       Florida                                               Not more than five rounds

       Georgia                 Not for turkey

       Hawaii

       Idaho                   Not for turkey

       Illinois                Not for deer or turkey

       Indiana*                Not for deer or turkey
:,,
       Iowa                    Not for deer or turkey
                               No restrictions on coyote or fox
       Kansas

       Kentucky

       Louisiana               Not for turkey

       Maine*                  Not for turkey

       Maryland*
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                                                                           Exhibit 7


     STA TE RESTRICTION      RIFLE RESTRICTION        MAGAZINE RESTRICTION



     Massachusetts           Not for deer or turkey

     Michigan                Not for turkey           Not more than six rounds

     Minnesota

     Mississippi             Not for turkey

     Missouri                Not for turkey           Chamber and magazine not more
                                                      than 11 rounds

     Montana

     Nebraska                                         Not more than six rounds

     Nevada                  Not for turkey

     New Hampshire*          Not for turkey           Not more than five rounds

     New Jersey              No rifles

     New Mexico              Not for turkey

     New York*                                        Not more than six rounds

     North Carolina          Not for turkey

~    North Dakota            Not for turkey

     Ohio                    Not for deer or turkey

     Oklahoma                                         Not more than seven rounds for
                                                      .22 caliber
     Oregon*                                          Not more than five rounds

     Pennsylvania*           No semiautomatics
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                                                                                           Exhibit 7


     ST ATE RESTRICTION             RIFLE RESTRICTION              MAGAZINE RESTRICTION

     Rhode Island                   Prohibited except for
                                    woodchuck in summer

     South Carolina                 Not for turkey

     South Dakota                                                  Not more than five rounds

     Tennessee                      Not for turkey

     Texas

     Utah                           Not for turkey

     Vermont                                                       Not more than six rounds

     Virginia*

     Washington                     Not for turkey

     West Virginia

     Wisconsin

     Wyoming


     * Limited restrictions (e.g., specified areas, county restrictions, populated areas, time of day).


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t


                            DEPARTMENT OF THE TREASURY
                        BUREAU OF ALCOHOL. TOBACCO ANO FIREARMS
                                    WASHINGTON, O .C . 20226

    0IRECTOR


                                                                  O:F:S:DMS
                                                                  3310




               Dear Sir or Madam:

               On November 14, 1997, the President and the Secretary
               of the Treasury decided to conduct a review to
               determine whether modified semiautomatic assault rifles
               are properly importable under Federal law.   Under
               18 U.S.C. section 925(d) (3), firearms may be imported
               into the United States only if they are determined to
               be of a type generally recognized as particularly
               suitable for or readily adaptable to sporting purposes.
               The firearms in question are semiautomatic rifles based
               on the AK47, FN-FAL, HK91, HK93, SIG SGSS0-1, and Uzi
               designs.
               As part of the review, the Bureau of Alcohol, Tobacco
               and Firearms (ATF) is interested in receiving
               information that shows whether any or all of the above
               types of semiautomatic rifles are particularly suitable
               for or readily adaptable to hunting or organized
               competitive target shooting. We are asking that you
               voluntarily complete the enclosed survey to assist us
               in gathering this information. We anticipate that the
               survey will take approximately 15 minutes to complete.
               Responses must be received no later than January 9,
               1998; those received after that date cannot be included
               in the review. Responses should be forwarded to the
               Bureau of Alcohol, Tobacco and Firearms, Department HG,
               P.O. Box 50860, Washington, DC 20091. We appreciate
               any information you care to provide.
                                     Sincerely yours,



                               ~hn~:Ma!!~   Director
                Enclosure
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                                                                                   1)MB No. 1512-0542


                             ATF SURVEY OF HUNTING GUIDES
                                    FOR RIFLE USAGE
                                               Page I of2

   Please report only on those clients who hunted medium game (for example, turkey) or larger
   game (for example, deer) with a rifle.

    For the purposes ofthis survey, please count only individual clients and NOT the number of trips
    taken by a client. For example, ifyou took the same client on more than one trip, count the client
    only once.

    1. What is the approximate nwnber of your clients who have ever used manually operated rifles
    during the past two hunting seasons of 1995 and 1996?


    - - - - -number of clients.
    2. What is the approximate number of your clients who have ever used semiautomatic rifles
    during .the past two hunting seasons of 1995 and 1996?


    - - - - -number of clients.
    3. What is the approximate number of your clients who have ever used semiautomatic rifles
    whose design is based on the AK 47, FN-FAL, HK91, HK93, SIG 550-1, or Uzi during the past
    two hunting seasons of 1995 and 1996?

    - - - - -number of clients.
    4. From your knowledge, for your clients who use semiautomatic rifles, please list the three
    most commonly used rifles.
         Make                        Model                                   Caliber




     5. Do you recommend the use of any specific rifles by your clients?

            _ _Yes (Continue to #6)           _ _No (You are finished with the survey. Thank you.)




     An agency may not conduct or sponsor, and a person is not required to respond to, the collection
     of information unless it displays a currently valid 0MB control number.
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                                                                                    0MB No. 1512-0542

                             A. TF SURVEY OF HUNTING GUIDES
                                         FOR RIFLE USAGE
                                                 Page 2 of2

    6. If your answer to item 5 is "Yes", please identify the specific rifles you recommend.
         Make                          Model                                        Caliber




    7. Do you recommend the use of any semiautomatic rifles whose design is based on the AK 47,
    FN-F AL, HK.91, HK93, SIG 550-1, or Uzi?

                  Yes (Continue to #8)        _ _No (You are finished with the survey. Thank you.)

    8. If your answer to item 7 is "Yes", please identify the specific rifles whose design is based on
    the AK 47, FN-FAL, HK91, HK93, SIG 550-1, or Uzi that you recommend.
        Make                             Model                                    Caliber




     An agency may not conduct or sponsor, and a person is not required to respond to, the collection
     of information unless it displays a currently valid 0MB control nwnber.
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                      Number of clients Using               Recommend
        case      Manual    Semiauto AK47 et.al.           Any   AK4 7 et.al. -
        A       1        28          0          0          No
        A       2       100         10          0          Yes       No
        A       3        18          0           0         No
        A       4       120         40           0         Yes       No
        A       5        12          0           0         Yes       No
        A       6        80         40             0       No
        A        7      275         25             0       No
        A        8
        A        9         0         0             0
        A       10         0
        A       11         2         5             0       Yes        Yes
        A       12        12         0             0       Yes        No
        A       13        10         6             0       No         No
        A       14         5         7             0       No
        A       15         0         0             0
        A       16        20         0             0        No         No
        A       17
        A       18         0         0             0       No
        A       19        17          6            0       No
        A       20        30          8            0       No
        A       21       117          7            0       Yes         No
        A       22       160          0            0       Yes         No
        A       23        23          1            0       Yes         No
        A       24       100          5            0       Yes         No
        A       25       210         10            0       Yes         No
        A        26       12          4            1       Yes         Yes
         A       27       24          3            0       Yes         No
         A       28       20         15            0       Yes         No
         A       29        4          0            0        No         No
         A       30        4          0            0       Yes         No
         A       31      100             5         0        No         No
         A       32           1          0         0        No         No
         A       33                                0        No          No
         A      34       142          1            0        No
         A      35        78          2            0       Yes          No
            A   36       600        200                     No
            A   37        20         13                1    No
            A   38        45         15                0    No
            A   39       100         10                0    No
            A   40        80             6             2    Yes         No
            A   41       250         25                0    Yes         No
            A   42         4          0                0    No
            A   43        14          2                0    No          No
            A    44      171         15                0    Yes         No
            A    45        54             6            0    Yes         No
            A    46        10             6            0     No
            A    47         0             0            0     No          No
            A    48        24             0            0     No
            A    49       180             2            0    Yes          No
            A    50
            A    51
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                          Number of clients Using               Recommend
        case          Manual  Semiauto AK47 et.al.             Any    AK47 et.al.
        A        52         24         16           0          No
        A        53        600        100          12          No
        A        54         18          6           0          No
        A        55          0          0           0          No
         A       56          0          0              0       No
         A       57         40          4              0       No
         A       58
         A       59          40        10              0       No         No
         A       60          60         2              0       No         No
         A       61          63         4              0       Yes        No
         A       62          40         4              0       No
         A       63           8         0              0       Yes        No
         A       64          27          1             0       Yes        No
         A       65          50          9             0       Yes        No
         A       66          35          2             0       No
         A       67           6          0             0       Yes         No
         A       68           6          3                      No
         A       69          50         20             0        No
         A       70                      0             0       Yes         No
         A       71          27          1             0       Yes
         A       72          85          0             0       Yes         No
         A       73          56         24             0       Yes         No
         A       74          25         25             0       Yes         No
         A       75         100         20             0        No
         A       76          50         15             3        No
         A       77          15          4             0        No
         A 76                12          0             0       Yes         No
         A 79                75          0             0        No
         A 80
         A 81                 0          0             0        No
         A 82                 0          0                 0    No
         A 83                 12         4                 0    No         No
         A        84          40         0                 0    Yes        No
         A        85          24            0              0    No
         A        86          17            0              0    No          No
         A        87          16          3                0    Yes         No
         A        88          45         10                0    No
          A       89          11            7              7    Yes        Yes
          A       90          35            1              0    Yes        No
          A       91          25          2                0    Yes        No
          A       92              0       0                0
          A       93          75         40                0    Yes         No
          A       94          60             2             0    Yes         No
          A       95          26             0             0    No
          A       96          20             0                  No          No
          A       97          65         11                0    Yes         No
          A       98          40             5             0    Yes         No
          A       99          26             5             0     No
             A 100            13             2             0     No
             A 101
             A   102          45             6             0     No         No
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                   Number of clients Using              Recommend
        case   Manual      Semiauto AK47 et.al.        Any   AK47 et.al.
        A 103        120           4           0       No
        A 104                                          Yes
        A 105        150          50            0      No         No
        A 106          80         20            0      Yes        No
        A 107          40           0           0      No         No
        A 108          10           0           0      No
        A 109         160         40            0      Yes        No
        A 110          10         10            0      No         No
        A 111            6          0           0      No
        A 112
        A 113         150        150        100        Yes        Yes
        A 114          50         25            0      No         No
        A 115          19           0           0      Yes        No
         A 116         80           3           0       No
         A 117         40          10           0      Yes        No
         A 118
         A 119         50           0           0      Yes        No
         A 120           0          0           0       No
         A 121           0          0            0
         A 122        120          15            0     Yes        No
         A 123          10           0           0     Yes        No
         A 124          22           0           0     Yes        No
         A 125          40         40         20        No
         A 126          50         10            0     Yes         No
         A 127          60         20            0     Yes         No
         A 128          14           0           0       No        No
         A 129          13         16 ·          4      ·No
         A 130          80           4           0      Yes        No
         A 131          12           2           0      Yes        No
         A 132                       4           0      Yes        No
         A 133          50         26             7     No         No
         A 134          12           0            0     No
         A 135            2         10            3     No
         A 136            2           1           1     Yes        No
         A 137          28           0             0    Yes        No
         A  138         45          10                  No
         A  139         46          59             0    Yes        No
         A  140                                    0    Yes        No
         A  141          40         10             0    No         No
          A 142          70         20             0    Yes        No
          A 143          50          3             0    No         No
          A 144          60          6             0    Yes        No
          A 145         140          0             0    Yes        No
          A 146          20          4             1    Yes        No
          A 147          10           1            0    Yes        No
          A 148           0          0             0     No        No
          A 149          37           0            0    Yes        No
          A 150                                    0    Yes        No
          A 151           6          10            0     No         No
          A 152         110           5            0     No
          A 153          15          17                 Yes         No
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                       Number of clients Using                Recommend
             case Manual   Semiauto AK47 et.al.              Any    AK47 et.al.
             A 154         18      4                 0       No
             A 155         25      3                 0       Yes        No
             A 156         60       6                3       No
             A 157         20       0                0       No
             A 158         88     46                 0       No         No
             A 159         68     19                 3       Yes       Yes
             A 160         25      5                 0       No
             A 161         15      0                 0       No
             A 162         75      10                0       No
             B    1                                          No
             C    1        25       0                0       Yes        No
             C    2        55      10                6       Yes        Yes
             C    3        60      30             0          No
             C    4        80      20             0          No
             C    5        10       0             0          No         No
             C    6        25       6             0          No
             C     7       66      10             1          No
             C     8       24       0             0          Yes        No
             C     9       10      15            15           No
             C    10       35      15                9       Yes        Yes
             C    11                                 0        No
             C    12                                                    No
             C    13       25      10                0        No
             C    14       60      20                0       Yes         No
             C    15       20       0                0       Yes         No
             C    16       14       0                0        No
             C    17                0                0       Yes         No
             C    18        18     25                5       Yes        Yes
             C    19       125     50                5       Yes         No
             C    20       20       5                2        No
             C    21                0                0       Yes         No
             C    22        30      0                0        No         No
             C    23       150     20                0        Yes        No
             C    24        60          0            0        No
             C    25        16      7                6        Yes       Yes
             C    26       300    650            400          No
              C   27        20     15                 8       Yes        Yes
              C   28         3          5             2       No
              C   29        45          6                0    Yes        No
              C   30                                          No
              C   31        30          0                0    Yes        No
              C   32                                     0    Yes        No
              C   33        35          4                0    Yes        No
              C   34        25          5                0    Yes        No
              C   35                                          Yes        No




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                                 04. Three most commonly used rifles
    case       Make         Other Make         Model           Caliber
    A    1
    A    2
    A    3
    A    4     Browning                        BAR               300
    A    5
    A    6     Remington                       742               30.06
    A    7     Browning                        BAR               30.06, .270. 7MM, 300 Mag
    A 8
    A 9
    A 10
    A 11       Remington                       740-7400          20,30
    A 12
    A 13       Remington                       700                7mmmag
    A 14       Remington                       7400               270
    A 15
    A 16
    A 17
    A 18
    A 19       Browning                                           30.06
    A 20       Remington                        742               30.06
    A 21
    A 22
    A 23       Browning                         ?                 300mag
    A 24       Remington                                          30.06
    A 25       Remington                                          30.06
    A 26       Browning                         BAR               30.06
    A 27       Remington                                          30.06
     A 28                    ?                  ?                 06
     A   29
     A   30
     A 31      Browning                         automatics
     A 32
     A 33
     A 34       Remington                                         .3006
     A 35       Browning                                          7mm
     A 36       Browning                                          30.06
     A 37       Browning                        BAR               30.06
     A 38       Browning                         br               7 mm, 300win, 30.06
        A 39    Remington                        7600              .270 win, .30-06, .280 rem
        A 40    Browning                         Bar marl< II     300win mag
        A 41    Remington
        A 42
        A 43    Remington                        7600              243-7 mm mag
        A 44                                                       30.06, 300 winmag, .338, 270
        A 45    Browning                         BAR Automatic     30.06



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                        Q4. Three most commonly used rifles
 A 46    Browning                     BAR             7 mm, 30.06
 A 47
 A 48
 A 49
 A 50
 A 51
 A 52    Browning                     BAR               7 mm mag/30.06
 A 53    Browning                     BAR               30.06, 300 wm
 A 54    Browning                     BAR               30.06
 A 55
 A 56
 A 57    Browning                     semi-auto          300 mag
 A 58
 A 59
 A 60
 A 61    Browning                                        30.06
 A 62    Browning                                        7mm
 A 63    Browning                     BAR                .270 - 300 win mag
 A 64    Browning                     BAR                30.06
 A 65    Browning                     semi-auto          .308
 A 66    Browning
  A 67
  A 68   Remington                    7400               30.06
  A 69   Browning
  A 70
  A 71   Browning                     Not sure
  A 72
  A 73   Browning                     BARR               30.06
  A 74   Browning                     BAR                300
  A 75   Remington                    7400 old 752       270 and 30.06
  A 76   Browning                     BAR                308, 30.06, 300win, 338 win
  A 77   Remington                                       308
  A 78   Browning                                        300, 270, 30.06
  A 79
  A 80
  A 81
  A 82
  A 83                                                    30 caliber or biaaer for elk
  A 84
  A 85
  A 86
  A 87    Browning                                        30.06 and 7 mm
  A 88    Browning                     BAR                7 mm, .300, .270
  A 89    Other      Russian           SKS                7.62
  A 90    Browning                                        1 or 2 in over 50 years
  A 91    Browning                                        300win mag



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                         04. Three most commonly used rifles
A 92
A 93
A 94    Browning                         BAR
A 95
A 96
A 97    Browning                         BAR               300-06-270
A 98    Browning                                           300, 30.06
A   99 Other       Savage                                  7mm
A   100 Browning                         ?                 7 mm mag
A   101
A   102 Browning   Only 1 I recall       BAR               30.06
A   103
A 104
A 105
A 106 Browning                           BAR               300win mag
A 107
A 108
A 109 Browning                                              30.06
A 110 Remington                          700                30.06, 270, 7 mm
A 111
A 112
A 113 Other       Weatherby                                 300 mag
A 114 Browning                                              7mmag
A 115
A 116
A 117 Browning
A 118
A 119
A 120
A 121
A 122 Browning                            U/K               .338 mag
A 123
 A 124
 A 125
 A 126 Remington                             742            243, 30.06
 A 127 Winchester                            ?              30.06
 A 128 Winchester                                           270,306
 A 129 Browning                              BAR            7 mm and 243
 A 130 Browning                                             30.06
 A 131 Browning                              BAR            .7mmmag
 A 132 Remington                                            30.06
 A 133                                       AK47           223
 A 134
 A 135 Remington                                             270
 A 136 Browning                              BAR
    A 137



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                             Q4. Three most commonly used rifles
     A  138 Winchester                                     30.06
     A  139 Browning                       BAR             270, 7 mm
     A  140 Browning                                       7mm
     A  141
     A  142 Browning                                      7mmmag
     A  143
     A  144 Browning                                      30.06
     A  145
     A  146 Browning                       BDL            7mg
     A  147 Browning                       BAR            308
     A  148
     A  149
     A  150 Remington
     A  151 Browning                       BAR            308
     A  152 Remington                                     various 270 - 338
     A  153 Browning                                      30
     A  154 Browning                       BAR            7mmmag
      A 155                                               30.06
      A  156 Other     BAR
      A  157
      A  158 Remington                     280             280
      A  159 Browning                                      7mmmag
      A 160 Remington                      Semiauto        30.06
      A 161
      A 162 Browning                                       30.06
      B 1                                                  .308, 30-06, .270
      C   1
      C   2   Other       AK-47            Antelope Hunter 30
      C   3   Browning                     Auto            30.06
      C   4   Browning                     Bar             7mm
      C   5
      C   6
      C 7     Browning                                     30.06
      C 8
      C 9     Other       FN-FAL                           308
      C 10    Remington                     742            30.06
      C 11    Browning                                     306
      C 12
      C 13    Remington                                     .06- 7mm
      C 14    Browning                      BAR             7mm
      C 15
      C 16
      C 17
      C 18    Ruger                         Ranch Rifle     223
      C 19    Other       AK47
       C 20   Browning                      BAR             300win mag


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                                 04. Three most commonly used rifles
    C 21      Other        Bolt-action or pump
    C 22
    C 23      Browning                                          30.06
    C 24
    C 25      Other        AK47                                 7.62-39
    C 26      Other        HK                   93              .308
    C 27      Browning                        • BAR             7mm
    C    28   Other        Norinco             SKS Type 56      7.62X39
    C    29   Browning                         BAR              30.06 -.300
    C    30
    C    31
    C    32   Browning                                          3.06- 7mm
    C    33 Remington                                           30.06
    C    34   Remington                        741              .270- 30.06
    C    35   Remington                                         .270
    A    1
     A2
     A 3
     A 4      Remington                         7400            30.06
     A 5
     A 6      Browning                                          30.06
     A 7      Remington                         700             30.03, 270, 7 mm
     A8
     A 9
     A   10
     A   11   Winchester                        100             30
     A   12
     A   13   Winchester                        70               300mag
     A   14   Remington                         7400             30.06
     A 15
     A 16
     A 17
     A 18
     A 19      Remington                        7400             30.06
     A 20      Browning                                          7mmmag
     A 21
     A 22
     A 23
     A 24      Browning                                          30.06
     A 25      Browning                                          30.03 to 300 mag
     A 26      Remington                         Fieldmaster     30.06
     A 27
     A 28
     A 29
     A 30
     A 31      Remington                         automatics



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                           04. Three most commonly used rifles
 A 32
 A 33
 A 34
 A 35
 A 36      Remington                                      270 - 30.06
 A 37      Remington                     7400             30.06
 A 38
 A 39      Browning                       BAR             .270 win, 7 mm mag
 A 40      Remington                      7400            30.06
 A 41      Browning
 A 42
 A 43      Browning                       BAR             243- 7 mm mag
 A 44
 A 45
 A 46      Remington                      1100            12 gauge
 A 47
 A 48
 A 49
  A   50
  A   51
  A   52   Remington                      7400            30.06
  A   53   Remington                      14oon42         30.06
  A   54
  A   55
  A 56
  A 57     Remington                      semi-auto        30.06
  A 58
  A 59
  A 60
  A 61     Other     Savage                                7mmmag
  A 62     Remington                                       30.06
  A 63     Remington                      742              .270- 30.06
  A 64
  A 65 Winchester                          semi-auto       .308
  A 66     Remington
  A 67
  A 68      Remington                      7400            .308
  A 69      Remington
  A 70
  A 71      Remington                      742             30.06
  A 72
  A   73    Remington                                      30.06
  A   74    Remington                      ?600            30.06
  A   75    Browning                       BAR             270/338 and 30.06
  A   76    Other       AK-47                              30
  A   77    Remington                                      30.06


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                         04. Three most commonly used rifles
A 78     Remington                      ?                300, 270. 30.06
A 79
A 80
A 81
A 82
A 83
A 84
A 85
A 86
A 87     Remington                                       30.06
A   88   Remington                      742. 7400        30.06.. 270
A   89   Other       Heckler-Koch       HK91             308
A   90   Remington
A   91   Remington                                       30.06
A   92
A   93
A   94
A   95
A   96
A   97
A   98Remington                          760              .300, 30.06, 270
A 99 Browning                                             7mm
A 100 Remington                          742              30.06
A 101
A  102
A  103
A  104
A  105
A  106
 A 107
 A 108
 A 109 Winchester                                         308
 A 110
 A 111
 A 112
 A 113 Remington                            700            7mmmag
 A 114 Remington                            742 Wlngmaster 30.06
 A 115
 A 116
 A 117 Remington
 A 118
 A 119
 A 120
 A 121
 A 122
 A 123



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                      04. Three most commonly used rifles
A  124
A  125
A  126 Ruger                        22
A  127 Martin                       ?               .308
A  128 Remington                                    7m
A 129
A 130
A 131 Browning                      BAR             30.06
A 132
A 133 Ruger                         Mini 14          223
A 134
A 135 Remington                                      243
A  136 Other      HK91
A 137
A 138 Browning                                       308
A 139 Remington                      742             30.06-6 mm
A 140 Remington                                      30.06
A 141
A 142 Browning                                       300win mag
A 143
A 144 Browning                                        7 mm mag
A 145
A 146 Browning                       BDL              300
A 147
 A 148
 A 149
 A 150 Winchester
 A 151 Remington                     742              30.06
 A 152 Ruger                                          various 270 - 338
 A 153 Winchester                                     30
 A 154 Browning                       BAR              30.06
 A 155
 A 156 Other      AK-47
 A 157
 A 158 Winchester                                      338
 A 159 Remington                                       30.06
 A 160
 A 161
 A 162 Remington                      742              30.06, 270
 B 1
  C 1
    C 2
    C 3   Winchester                    Auto            30.06
    C 4   Browning                      Bar             338
    C 5
    C 6


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                          04. Three most commonly used rifles
C 7      Remington                                      30.06
C 8
C 9      Other        Uzi                                 9mm
C 10     Other        AK-47            Hunter             7.62x39
C 11     Other        Weatherby                           300
C 12
C 13     Winchester                                       .06- 7mm
C 14     Browning                                         300
C 15
C 16
C 17
C 18     Other        AK-47
C 19     SigArms                        550-1
C 20     Ruger                          Mini 14           .223
C 21
C 22
C 23     Remington                      742               30.06
C 24
C 25     Other        MAK-90                              7.62-39
C 26     Other        HK                91                0.223
C 27     Remington                      7400 Series       30.06
 C 28    Remington                      7600              30.06
 C 29    Remington                      742               .308 - 3.06
 C 30
 C 31
 C 32    Remington                                        30.06 • 7mm
 C 33    Browning                                         300win
 C 34    Browning                                         .270 - 30.06
 C 35    Browning                                         300
 A 1
 A 2
 A 3
 A 4     Ruger                          Mini 14            223
 A 5
 A 6      Other       Savage                               270
 A 7
 A 8
 A 9
 A 10
  A 11
  A 12
  A 13    Browning                       A-bolt            270
  A 14
  A 15
  A 16
 A 17



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                      04. Three most commonly used rifles
 A 18
 A 19
 A 20
 A 21
 A 22
 A 23
 A 24
 A 25
 A 26 Other      China              SKS              7.62x37
 A 27
 A 28
 A 29
 A 30
 A 31
 A 32
 A 33
 A 34
 A 35
 A 36 Winchester                                     270 - 30.06
  A 37
  A 38
  A 39
  A 40 Ruger                                         44mag
  A 41
  A 42
  A 43 Ruger                                          223 - 30.06
  A 44
  A 45
  A 46
  A 47
  A 48
  A 49
  A 50
  A 51
  A 52
  A   53   Ruger                       Mini-14             .223
  A   54
  A   55
  A   56
  A 57     Ruger                       semi-auto           35cal
  A   58
  A   59
  A   60
  A   61
  A 62     Ruger                        Mini 14            223
  A 63



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                     Q4. Three most commonly used rifles
A 64
A 65
A 66
A 67
A 68
A 69
A 70
A 71
A 72
A 73
A 74 Browning                         BAR           30.06
A 75
A 76 Remington                                      30.06, 270
A 77 Browning                                       300
A 78
A 79
A 80
A 81
A 82
A 83
A 84
A 85
A 86
A 87
 A 88
 A 89 Other      Springfield Armory   FNG            308
 A 90
 A 91
 A 92
 A 93
 A 94
 A 95
A 96
A    97
A    98
A    99
A    100
A    101
 A   102
 A   103
 A   104
 A   105
 A   106
 A   107
 A    108
 A    109


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                          04. Three most commonly used rifles
     A 110
     A 111
     A 112
     A 113 Other     All                                30.06
     A 114 Remington                    721             270
     A 115
     A 116
     A 117
     A 118
     A 119
     A 120
     A 121
     A  122
     A 123
     A 124
     A 125
     A 126 Browning  Remington           Shotguns        12 gauge
     A 127 Remington                                     .308 or 30.06
     A 128 Other     Savage                              308
     A 129
     A 130
     A 131
     A 132
     A 133 Srowning                      BAR              7mm
     A 134
     A 135 Browning                      742              30.06
     A 136 Other      AK47
     A 137
     A 138
     A 139 Other      Weathert>y                          300m
     A 140
     A 141
      A 142
      A 143
      A 144
      A 145
      A 146 Ruger                         #1               7mag
      A 147
      A 148
      A 149
      A 150 Browning
      A 151
      A 152 Browning                                       various 270 - 338
      A 153
      A 154 Browning                       BAR             8mmmag
      A 155



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                           Q4. Three most commonly used rifles
A 156 Other         Uzi
A 157
A 158 Browning                                            300
A 159
A 160
A 161
A 162
B 1
C 1
C 2
C 3     Browning                          Auto            270
C 4     Browning                          Bar             300
C 5
C 6
C 7
C 8
C 9     Other       HK91
C 10    Browning                          BAR             30.06
C 11
C 12
C 13    Browning                                          300
C 14
C 15
C 16
C 17
C 18
C 19
C 20    Other        AK47                                  7.62   X   39
C 21
C 22
C 23    Remington                         742              308,270
C 24
C 25                 M1-A1                                 .223
C 26
 C 27   Winchester Various                 M1 Garand       30.06
C 28
 C 29                                      M1A1            30.06
 C 30
 C 31
 C 32
 C 33
 C 34
 C 35




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                                         Q 6. Rifles recommended for clients
case     Make          Other Make                Model          Caliber
A 1
A 2      Ruger                                                  30.06
A 3'
A 4      Other         Weatherby                 MarkV          300
A 5                                                             30.06
A 6
A 7
A   8
A   9
A   10
A   11
A   12
A   13
A   14
A   15
A 16
A 17
A 18
A 19
A 20
A 21     Winchester                                             30.06, .270
A 22     Remington                               700            7 mm or larger
A 23     Winchester                              70             25 to 30
A 24     Remington                               710            30.06
A 25                Any make                     Bolt action    Does not recommend
A 26     Winchester                              70             30.06 or larger
A 27     Other      Weatherby                                    300
A 28     Other      bolt action                                  270 and up
A 29
A 30                   hunter's choice                           .270
A 31
A 32
A 33
 A 34
 A 35     Winchester                              70             300win mag
 A 36
 A 37
 A 38
 A 39
 A 40     Remington                                              30.06- 300 win mag
 A 41
 A 42
 A 43
 A 44                                                            30.06, 300winmag, 338, 270
 A 45     Browning                                Bolt Action    25.06 - 328


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                                     Q 6. Rifles recommended for clients
case       Make         Other Make            Model      Caliber
A 46
A 47
A 48
A 49       Other        Weatherby                            300 mag
A 50
A 51
A 52
A 53
A 54
A 55
A 56
A 57
A 58
A 59
A 60
A 61       Remington                           Bolt Action   300 mag
A    62
A    63
     Other      bolt action repeating rifles                 30.06 to .338 winmag
A 64 Winchester                                70            338
A 65 Remington                                 bolt action   308,25-06,243, 7 mm mag,30.06,22-250,300 mag all
A 66
A 67 Ruger                                     #1            7 mm, 30.06, 7 mm mag
A 68
A 69
A 70 Other                                     Bolt Action   30.06
A 71                                                         300 mag
A 72 Other      My make                        Any model     7 mm, 270, 30.06, 25.06
A 73
A 74 Browning                                  BAR           300win mag
A 75
A 76
A 77
 A   78     Browning                           Bolt action
 A   79
 A   80
 A   81
 A   82
 A   83
 A 84
 A    85
 A    86
 A    87    Remington                           700           30.06, 7 mm, 270
 A    88
 A    89    Other        Russian                SKS           7.62
 A    90    Other        Weatherby                            7mmmag



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                                             Q 6. Rifles recommended for clients
    case       Make        Other Make                 Model      Caliber
    A   91     Remington                              700        ?mag
    A   92
    A   93     Winchester                            70           300 mag
    A   94     Other      Any bolt action                         270 or larger
    A   95
    A   96
    A 97 Other             Any bolt action                         30 or larger. on semiauto same
    A 98
    A 99
I   A 100
    A 101
    A 102
    A 103
    A    104
    A 105
    A 106 Other     Weatherby                                      300 magnum
    A 107
    A 108
    A 109 Remington                                  70            7mm
    A 110
    A 111
    A 112
    A 113
    A 114
    A 115
    A 116
    A 117                                                          magnum
    A 118
    A 119 Remington                                   700          7mm
    A 120
    A 121
    A 122
    A 123
     A 124
     A 125
     A 126                                                          300 mag, 338 mag, 30 .06
     A 127
     A 128
     A 129
     A 130 Remington                                  700           7mmmagnum
     A 131
     A 132 Other            Weatherby                               300mag
     A 133
     A 134
     A 135


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                                          Q 6. Rifles recommended for clients
case       Make         Other Make                   Model         Caliber
A 136
A 137      Remington                                 700           7mm
A 138
A 139      Browning                                  BAR           7 m or 270
A 140
A 141
A 142                                                              30.06
A 143
A 144    Browning                                                  from 7 mm mag to 338 mag for deer and elk
A 145    Winchester                                                30.06
A 146    Browning                                    BDL           7mag
A    147 Remington                                   700 BDL       7mm
A    148
A    149
A    150 Browning                                    Bolt action
A    151
A    152
A    153 Remington                                   700           30
A    154
A    155 Other          Weatherby                                  300
A    156
A 157
A 158
A 159      Browning     Ruger                                       243, 30.06, 7 mm mag, 340 weather•. 338
A 160
A 161
A 162
B 1                                                                 7.62   X   39
C 1        Other         Manually operated
C 2        Ruger                                      77            300
C 3
C 4
C 5
C 6
C 7
C 8         Remington                                 700           270
C 9
C 10        Other        HK                           91            .308
C 11
C 12
C 13
C 14        Other        Bolt-action w/ belted mag                  Calibers, make and model mean nothing
C 15        Other        Bolt-action                                30.06-7rnm
 C 16
    C 17    Other        Bolt-action



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                                        Q 6. Rifles recommended for clients
case      Make          Other Make               Model       !Caliber
C 18      Ruger                                  Ranch Rifle I 223
C 19                                                           .243 and larger
C 20
C 21
C 22
C 23      Other         Bott-action                           7mm mag
C 24
C 25      Other         Savage                                7mm mag
C 26
C 27      Winchester                            70            30.06
C 28
C 29      Winchester                            70             30.06 - .338
C 30
C 31      Winchester                            Manual, bolt 300
C 32      Remington                             All          270- 7mm
C 33      Winchester                            70           30.06 - .300 win
C 34      Other      Bolt-action                             270 or larger for elk and deer
C 35      Other      Bolt-action or semiautos                .270 or larger
A 1
A 2       Remington                                            7mm
A 3
A 4       Winchester                             70            300
A 5
A 6
A 7
A 8
A 9
A 10
A 11
A 12
A 13
 A 14
 A   15
 A   16
 A   17
 A   18
 A   19
 A   20
 A   21    Remington                             70             30.06
 A   22    Winchester                            70             7 mm or larger
 A   23    Remington                             700            25 to 30
 A   24    Remington                                            300 Mag
 A   25
 A   26    Browning                               A bolt        30.06 or larger
 A   27                                                         300 win mag, 30.06 or 270



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                                            Q 6. Rifles recommended for clients
case       Make         Other Make                   Model      Caliber
A   28
A   29
A 30                    hunter's choice -                          .308
A 31
A 32
A 33
A 34
A 35       Remington                               700 BDL         7mm
A 36
A 37
A 38
A 39
A 40       Winchester                                              30.06 - 300 win mag
A 41
A 42
A 43
A 44
A 45       Remington                                Bolt Action    25.06 - 328
A 46
A 47
A 48
A 49
A 50
A 51
A 52
A 53
A 54
A 55
A 56
A 57
A 58
 A 59
 A 60
 A    61    Other        Savage                     Bolt Action     7mmmag
 A    62
 A    63
 A    64    Remington                                700            300win mag
 A    65    Other        Weatherby
 A    66
 A    67    Remington                                Bolt Action    7 mm, 30.06, 7 mm mag
 A    68
 A    69
 A    70                                             Pump           30.06
    A 71                                                            7mmmag
    A 72


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                                       Q 6. Rifles recommended for clients
case   Make             Other Make              Model      Caliber
A 73
A 74   Winchester                             7C             300 win mag
A 75
A 76
A 77
A 78       Remington                           Bolt Action
A 79
A 80
A 81
A 82
A 83
A 84
A 85
A 86
A 87       Browning                                          308. 7 mm. 30.06
A 88
A 89       Other        Heckler-Koch           HK-91         308
A 90
A 91       Winchester                          70            300 mag
A 92
A 93       Browning                            Mark II       300 mag, 280-270-25.06
A 94
A 95
A 96
A 97       Other        Semi-auto                            30 cal or larger
A    98
A    99
A    100
A    101
 A   102
 A   103
 A   104
 A   105
 A 106 Remington                                700           300win mag
 A 107
 A 108
 A 109 Winchester                                             300 mag, 30 .06
 A 110
 A 111                                                                                . -~·
 A 112                                                                                 ...
 A 113
 A 114
 A 115
 A 116
 A 117


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                                    Q 6. Rifles recommended for clients
    case Make         Other Make           Model           Caliber
    A 118
    A 119 Other       Weatherby                            300
    A 120
    A 121
    A 122
    A 123
    A 124
    A 125
    A 126
    A 127
    A 128
    A 129
    A 130
    A 131
    A 132 Other       Weatherby                            700 mag
     A 133
     A 134
     A 135
     A 136
     A 137 Other      Weatherby                            300
     A 138
     A 139 Remington                        742            30.06 or6 mm
     A 140
     A 141
     A 142                                                 7 mm recommended for deer and elk
     A 143
     A 144 Other       Weatherby                           from 7 mm mag to 338 for deer
     A 145 Other       Weatherby                           300
     A 146 Browning                          BOC           300
     A 147
     A 148
     A 149
     A 150 Winchester                        Bolt Action
     A 151
     A 152
     A 153 Remington                         700            7mm
     A   154
     A   155 Other      Weatherby                           7mm
     A   156
     A   157
     A   156
     A   159 Winchester Remington                           340 Weather - .338 mag
     A   160
     A   161
     A   162


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                                     Q 6. Rifles recommended for clients
case      Make          Other Make            Model      Caliber
B 1
C 1
C 2       Browning                                          300
C 3
C 4
C 5
C 6
C 7
C 8       Remington                          700            280
C 9
C 10      Winchester                         70             .270
C 11
C 12
C 13
C 14
C 15
C 16
C 17      Other         Pump
C 18      Other         AK-47
C 19                                                        6mm
C 20
C 21
C 22
C 23 Other     Bott-action                                  .30
C 24
C 25 Other     Bolt-action                                  30.06
C 26
C 27 Ruger                                    77            .300win mag
C 28
C 29 Remington                                700           30.06-.338
C 30
C 31 Remington                                Manual bolt   300
C 32 Browning                                 All           .270-7mm
C 33 Ruger                                    77            30.06- .300 win
C 34
C 35
 A 1
 A 2       Winchester                                        375
 A 3
 A    4    Winchester                         70             270
 A    5
 A    6
 A    7
 A    8
 A    9



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                                         Q 6. Rifles recommended for clients
    case   Make        Other Make                 Model      Caliber
    A 10
    A 11
    A 12
    A 13
    A 14
    A 15
    A 16
    A 17
    A 18
    A 19
    A 20
    A 21 Remington                               70             .270
    A 22
     A 23 Other       Ally bolt action           1-5 shotmag 25 to 30
     A 24 Other       Weatherby                              300 mag
     A 25
     A 26
     A 27
     A 28
     A 29
     A 30
     A 31
     A 32
     A 33
     A 34
     A 35
     A 36
     A 37
     A 38
     A 39
      A 40 Ruger                                                30.06 - 300 win mag
      A 41
      A 42
      A 43
      A 44
      A 45 Winchester                             Bolt Action   25.06-328
      A 46
      A 47
      A 48
      A 49
      A 50
      A 51
      A 52
      A 53
      A 54



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                                        Q 6. Rifles recommended for clients
case      Make       Other Make                  Model      Caliber                  .
A 55
A 56
A   57
A   58
A   59
A   60
A   61    Other       Weatherby                 Bolt Action   338 mag
A 62
A 63
A 64      Other      Weatherby Mark V                         300Wea Mag
A 65      Winchester Browning
A 66
A 67      Winchester Bolt Action
A 68
A 69
A 70                                            Bolt Action   7mm
A 71
A 72
A 73
A 74      Browning                              A Bolt        300win mag
A 75
A 76
A 77
A 78
A 79
A 80
A 81
A 82
A 83
A 84
A 85
 A 86
 A 87     Other       Weatherby                                300, 7 mm, 338
 A 88
 A   89   Other        Springfield Armory        FNG           308
 A   90
 A   91    Ruger                                 77            300 mag
 A   92
 A   93    Ruger                                 MTT           270, 26-06, 300 mag
 A   94
 A   95
 A   96
 A   97
 A   98
 A   99


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                              Q 6. Rifles recommended for clients
case Make        Other Make          Model         Caliber
A 100
A 101
A 102
A 103
A 104
A 105
A 106 Browning                        1895         45-70 govt
A 107
A 108
A 109
A 110
A 111
A 112
A 113
 A 114
 A 115
 A 116
 A 117
 A 118
 A 119 Other      Savage                            270 or 30.06
 A 120
 A 121
 A 122
 A 123
 A 124
 A 125
 A 126
 A 127
 A 128
 A 129
 A 130
 A 131
 A 132
  A 133
  A 134
  A 135
  A 136
  A 137
  A 138
  A 139
  A 140
  A 141
  A 142                                              300 winmag recommended
  A 143
  A 144 Remington Weatherby                          from 270 to 338 for deer and elk



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                                    Q 6. Rifles recommended for clients
case   Make            Other Make            Model      Caliber
A 145 Remington                                         270
A 146 Ruger                                  #1         7mag
A 147
A 148
A 149
A 150                                                    All bolt action with a round nose point
A 151
A 152
A 153
A 154
A 155
 A 156
 A 157
 A 158
 A 159                                                    300mag,416Rigby ,375mag,270 mag,500 nitroxpress
 A 160
 A 161
 A 162
 B 1
 C 1
 C 2   Other           Sako                               300
C 3
C 4
C 5
C 6
C 7
C 8
C 9
C 10      Winchester                         100          .308
 C 11
 C 12
 C 13
 C 14
 C   15
 C   16
 C   17   Other         Weatherby                         243 to 300
 C   18
 C   19
 C 20
 C 21
 C 22
 C 23
 C 24
 C 25
 C 26


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                                    a 6. Rifles recommended for clients
case     Make          Other Make          Model         Caliber
C 27     Springfield                       M Garard      30.06 • 308
C   28
C   29 Browning                            Abolt         30.06- .338
C   30
C   31
C   32   Ruger                              All          .270- 7 mm
C   33   Browning                           Abolt        30.06 - 300 win
C   34
C   35




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                                   Q 8. Recommended rifles based on AK47 et.al.
          case     Make    Other Make       Model                                        Caliber
     A        26 AK47                                                                          7.62x37
     A        89 Other     Russian           SKS                                                 7.62
      A      113 FN-FAL
      A      159 AK47
      C          2 AK47                      Antelope and Vam,ints and Target Shooters           30
      C        10 AK47                                                                        7.62x39
      C        18 AK47
      C        25 AK47                                                                           7.62
      C        27 FN-FAL                                                                         308

•     A
      A
      A
               26
               89 HK91
             113
                           SKS

                           HK99
                                                                                               7.62x37
                                                                                                 308

      C          2 AK47                      Antelope and Varmints and Target Shooters          243
      C        10 HK91                                                                          308
      C        25          MAK90                                                                7.62
      C        27          Century            L1A1                                              308
      A        89 Other    Springfield Armory FNG                                               308
      A       113 HK93
      C        10 HK93                                                                           223
      C        25          M-15                                                                  223
      C         27 HK91    And clones                                                            308




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                         Additional Comments by Hunting Guides

  Additional comments:

   (8)   The respondent answered questions 1, 2, 3, and 5 with "None of your
         business." He then stated in question 4: "It's none of your business what
         kind, make, model or how many guns law abiding citizens of the U.S. own,
         prefer to shoot:"

   (9)   The respondent wrote that he was no longer in business but that he had
         owned a waterfowl operation and upland bird operation (shotguns only). He
         added that assault rifles were not true sporting rifles and that they
         should be limited to use by the military and law enforcement agencies.
         However, he felt that true sporting weapons that can be modified into some
         ~quasi-assault weapons" should not be restricted.  He stated that he
         supported the effort to get military weapons off the streets but did not
         want the rights of true sportsmen to be affected.

   (10) Although licensed, the respondent did not guide anyone during the past
        year.

   (11) The respondent stated in question 6 that he recommends any legal caliber
        rifle that client is comfortable with and that is capable of killing the
        desired game.

   (12) For question 6, the respondent replied that he didn't recommend any
        specific make or model, other than whatever his clients are most
        comfortable using so long as the weapons are legal for the. particular
        game.

    (15) The respondent stated that his organization was solely recreational
         wildlife watching and photography.

    (17) The respondent did not answer the questions but informed us that it is
         illegal in Hawaii to hunt turkey with a rifle.

    (23) The respondent stated that the study rifles were more suitable for
         militants than sportsmen. He added, ~rf they want to use these weapons
         let them go back to the service and use them to defend our country, not
         against it."

    (25) The respondent stated that, in his 35 years of conducting big game hunts,
         he had never seen any of the study rifles used for hunting. He suggested
         that the rifles are made to kill people, not big game.

    (26) The respondent recommended bolt-action rifles for his clients but stated
         that he doesn't demand that they use such rifles.  The respondent
         recommended the study rifles in close-range situations in which there are
         multiple targets that may pose a danger to the hunter (e.g., coyotes,
         foxes, mountain lions, and bears).

    (27) The respondent stated that he recormnended the study rifles for hunting but
         not any specific make.




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•
       (32)     The respondent said that most of his clients are bow or pistol hunters.
                He said that there is little if any use for the study rifles in his
                outfitting service because it focuses on hunts of mountain lions and
                bighorn sheep.  However, he did recommend the study rifles on target
                ranges and in competitive shooting situations and cited his right to bear
                arms.

       (35)     The respondent recommended bolt-action rifles for his clients.

       (40)     The respondent stated that semiautomatic rifles (such as the AK47) and
                others are useful for predator hunting.

       (41)     The respondent said that he recommended only ranges of calibers deemed
                suitable but not makes and models of specific rifles.

        (44)    The respondent recommended the following calibers for hunting without any
                specific makes or models: 30.06, 300 Win mag, 338, and 270.

        (47)    The respondent stated: "You are asking questions about certain makes of
                assault rifles, but you are going to end up going after ALL semiautomatic
                guns.  I've spent about 21 years HUNTING with shotguns and I've used
                semiautomatic models.  If you go down the list of times that one new law
                didn't end up being a whole sloe [sic] of other laws I would be surprised.
                Maybe some face-to-face with these .,,,eapons would be a good thing for
                politicians.  If they see how they are used in 'the Real World' then they
                may make better amendments."

        (49)    The respondent specifically recommended the study rifles only for grizzly
                bears or moose.

        (SO)    The respondent stated that his business involved waterfowl hunting, which
                uses only shotguns.

        (51)    The respondent replied: "It is my opinion this is a one sided survey, and
                does not tell the real meaning and purpose of the survey. And that is to
                ban all sporting arms in the future.  The way this survey is presented is
                out of line. n

        (53)    The respondent stated: "I recommend to all my hunters that they join the
                NRA, vote Republican, and buy a good semi-auto for personal defense."

        (57)     The respondent stated that most of his clients use bolt-action rifles. He
                 suggested that semiautomatics are not as accurate as bolt-action rifles.

        (58)     The respondent stated that the survey did not pertain to his waterfowl
                 hunting business since only shotguns are used.  He added that he did not
                 believe semiautomatics in general present any more threat to the public
                 than other weapons or firearms. However, he suggested that cheaply made
                 assault-type rifles imported from China and other countries are inaccurate
                 and not suitable for hunting.

         (59)    The respondent stated that he had no knowledge of the semiautomatic rifles
                 beyond 30.06 or similar calibers for hunting.  He added that he did not
                 have a use for •automatic• weapons.




                                                   2
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 (64)     The respondent stated: "We need to look at weapons .and determine what the
          designer's intent was for the weapon. We r e a l l y ~ need combat weapons
          in the hunting environment.  I personally would refuse to guide for anyone
          carrying such a weapon."

  (65)    The respondent recommended the following calibers for hunting: 7mm, 30.06,
          .308, .708, 25.06, .243, 22.250, and 300 mag.  However, he stated that the
          study rifles are of no use to the sporting or hunting community
          whatsoever.

  (71)    The respondent stated that he mainly hunts elk but did not recommend any
          additional information about specific firearms except for using 300 mag
          and 7 mm mag calibers.

  (73)    The respondent recommended any bolt-action or semiautomatic in the 30 or
          7mm calibers. However, he stated that he doesn't allow his clients to use
          any models based on assault rifles:  ~They are not needed for hunting. A
          good hunter does not have these."

  (78)    The respondent recommended bolt-action rifles for hunting, particularly
          Browning and Remington.

  (80)    Although the respondent stated that he does not conduct guides, he did not
          see a reason to allow any rifles other those manufactured specifically for
          hunting and sport shooting:   "All assault rifles are for fighting war and
          killing humans."

  (82)    The respondent stated that he used shotguns only.

  (84)    The respondent said that he did not allow semiautomatic or automatic
          rifles in his business. He specifically recommended manually operated
          rifles.

   (90)   The respondent stated that all the semiautomatics like AK47s are
          absolutely worthless and that he found no redeeming hunting value in any
          AK47 type of rifle. He further explained that the purpose of hunting is
          to use the minimum number of shells, not the maximum:  "I have only known
          1 (person] in so years to use an AK47. He shot the deer about 30 times.
          That wasn't hunting, it was murder.w He suggested that he would be
          willing to testify in Congress against such weapons.

   (92)    The respondent stated that he had been contacted in error, as he was not
           in the hunting guide business.

   (98)    The respondent recommended any rifle that a client can shoot the best.

   (101) The respondent wrote a letter saying that his business was too new to
         provide us with useful information about client use; however, he stated
         that the Chinese AK47 does a proficient job on deer and similar sizes of
         game and may be the only rifle that some poor people could afford. He
         said that he is willing to testify to Congress about the outrageous price
         of certain weapons.

   (102) The respondent did not recommend rifles but recommended calibers .270,
         30.06, .JOO, and 7mm.




                                             3
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   (103) The respondent stated that he had clients who used semiautomatic rifles,
         but he didn't know which makes or models.

   (104)     The respondent recommended any legal weapons capable of killing game,
             "including the types mentioned under the 2nd amendment."

   (105)     The respondent stated that the semiautomatic rifles used by his clients
             were Remingtons.

   (112)     The respondent stated that he could not provide any useful information
             because his business was too new.

   (113)     The respondent recommended whatever is available to knock down an elk.
             He recommended specific calibers: 30.06, 300, or 338.

   (115)     The respondent questioned why anyone would use a semiautomatic firearm to
             hunt game: ~Anyone using such horrible arms should be shot with one
             themselves. Any big game animal does not have a chance with a rifle and
             now you say people can use semiautomatic rifles."

    (116)    The respondent had had three clients who used semiautomatics with 30.06
             and 270-caliber ammunition; however, he didn't know the makes or models.

    (118)    The survey questions were not answered, but the respondent wrote: ~This
             is a stupid survey. No one contends they hunt much for big game with an
             AK47. The debate is over the right to own one, which the 2nd amendment
             says we can."

    (119)    The respondent recommended bolt-action rifles for hunting.

    (121)    The respondent stated that he uses only shotguns in his operation.

    (122)    The respondent recommended rifles with the calibers of .270 - 30.06 or
             larger to the .300 mag or .338 mag. However, he said that anything other
             than a standard semiautomatic sporting rifle is illegal in Colorado,
             where his business is conducted.

    (123)    The respondent, who is a bighorn sheep outfitter, stated that the
             semiautomatic rifles have no place in big game hunting. He recorranended
             basic hunting rifles with calibers of 270 or 30.06.

    (124)     The respondent, who hunts mainly deer and elk, recommended calibers 270,
              30.06, 300 mag, 7mm, 8mm, or 338.

    (125)     The respondent said that his clients did use semiautomatics, but he
              didn't have any specific information about which ones.

    (126)     The respondent stated that the study rifles should remain in one's home
              or on private property. He would like to have some for personal use but
              would not recommend them for hunting. He further expressed his
              displeasure with the Brady bill and stated that criminals need to be held
              accountable for their actions.

     (127)    The respondent, who hunts mostly elk and deer, said that the AK47 is not
              powerful enough to hunt elk; however, it may be ideal for smaller game,
              like deer or antelope. He recommended any rifles of 30.06 caliber or
              larger for hunting.


                                               4
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  (131)     The respondent recommended bolt-action rifles for his clients with
            calibers .24, .25, 7 mm, or .30. He cited his preference because of
            fewer moving parts, their ease to fix, and their lack of sensitivity to
            weather conditions in the field.  He added, however, that he had seen the
            study rifles used with good success.

  (132)     The respondent stated that the study rifles are not worth anything in
            cold weather.

  (133)     The respondent recommended handguns for hunting in calibers 41 or 44 mag.

  (136)     The respondent did not recommend any rifles by make, but he did recommend
            a caliber of .308 or larger for elk.

   (140)    The   respondent recommended any good bolt or semiautomatic in 270 caliber
            and   up.  He added: ~I feel the government is too involved in our lives
            and   seek too much control over the people of our country.   I am 65 yrs
            old   and see more of our freedom lost every day.  I believe in our country
            but   I have little faith in (organizations] like the A.T.F."

   (145)    The responded stated: noon't send these guns out west.    Thanksln

   (148)    The respondent did not hunt turkey or deer and had no additional
            information to provide.

   (149)    The respondent said that he recommends specific rifles to his clients if
            they ask, usually 270 to 7mm caliber big game rifles.

   (150)    The respondent recommended Winchester, Remington, or any other
            autoloading hunting rifle.

   (152)    The respondent said that he recommended caliber sizes but not specific
            rifles.

   (159)    The respondent recommended any gun with which a client can hit a target.
            He stated that the AK47 could be used for hunting and target shooting.

   (174)    The respondent recommended bolt-action rifles to his clients.

   (175)    The respondent said that most of his deer-hunting clients use bolt-action
            rifles, such as Rugers and Remingtons, in calibers of 30.06, 270, or 243.
            In his duck guide service, only shotguns are used.

   (180)     The respondent wrote: "We agree people should not be allowed to have
             semiautomatics and automatics. This does not mean that you silly
             bastards in Washington need to push complete or all gun control.w

   (182)     The respondent felt that the survey is biased because it didn't ask about
             hunting varmints. He stated that many of the study rifles are suitable
             for such activity.

    (184)    The respondent did not recommend single shots or automatics and only
             allows bolt action or pumps for use by his clients.




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•
       ( 188)    The respondent wrote that the study guns are good for small game hunting:
                 "I have very good luck with them as they are small, easy to handle, fast-
                 shooting and flat firing guns."

        ( 192)   The respondent submitted a letter with the survey: "I do not recommend
                 the use of semiautomatic weapons for hunting in my area. Most of these
                 weapons are prone to be unreliable because the owner does not know how to
                 properly care for them in adverse weather. The FN-FAL, HK91, HK93, and
                 SIG SGSS0-1 are excellent and expensive weapons very much suited to
                 competition shooting.

                 "Have you surveyed the criminal element on their choice of weapons? I
                 suspect the criminal use of the six weapons you mentioned do law-abiding
                 citizens compare a very small percentage to the same weapon used.   I
                 realize that even one wrongful death is too many but now can you justify
                 the over 300,000 deaths per year from government supported tobacco?

                 ~oun control does not work - it never has and it never will.  What we
                 need are police that capture criminals and a court system with the
                 fortitude to punish them for their crimes.w

        (198)    The respondent stated that this was his first year in and that it was
                 mainly a bow-hunting business.




                                                   6
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                           DEPARTMENT OF THE TREASURY
                     BUREAU OF ALCOHOL, TOBACCO AND FIREARMS
                               WASHINGTON, O.C . 20226

 DIRECTOR



                                    DEC I O 1997               O:F:S:DMS
                                                               3310




            Dear Sir or Madam:

            On November 14, 1997, . the President and the Secretary
            of the Treasury decided to conduct a review to
            determine whether modified semiautomatic assault rifles
            are properly importable under Federal law . Under
            18 U.S.C. section 925(d) (3), firearms may be imported
            into the United States only if they are determined to
            be of a type generally recognized as particularly
            suitable for or readily adaptable to sporting purposes.
            The firearms in question are semiautomatic rifles based
            on the AK47, FN - FAL, HK91, HK93, SIG SGSS0-1, and Uzi
            designs.

            As part of the review, the Bureau of Alcohol, Tobacco
            and Firearms (ATF) is interested in receiving
            information that shows whether any or all of the above
            types of semiautomatic rifles are particularly suitable
            for or readily adaptable to hunting or organized
            competitive target shooting. We are asking that your
            organization voluntarily complete the enclosed survey
            to assist us in gathering this information. We
            anticipate that the survey will take approximately
            15 minutes to complete.

            Responses   must be received no later than 30 days
            following   the date of this letter; those received after
            that date   cannot be included in the review. Responses
            should be   forwarded to the Bureau of Alcohol, Tobacco
            and Firearms, Department HSE, P.O. Box 50860,
            Washington, DC 20091.     We appreciate any information
            you care to provide.

                                 Sincerely yours,




                            ~o~~-~     Director
            Enclosure
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•                                                                                        0MB No. 1512-0542

                       ATF SURVEY OF HUNTING/SHOOTING EDITORS
                                   FOR RIFLE USAGE
                                                    Page I of2

       1. Does your publication recommend specific types of centerfire semiautomatic rifles for use in
          hunting medium game (for example, turkey) or larger game (for example, deer)?

       _ _ Yes (Continue) _ _No (Skip to #3)

       2. If your answer to item I is "Yes", please identify the specific centerfire semiautomatic rifles
       you recommend.
       Make                            Model                                      Caliber




       3. Does your publication recommend against the use of any semiautomatic rifles whose design is
       based on the AK 47, FN-FAL, HK91, HK93, SIG 550-1, or Uzi for use in hunting medium
       game (for example, turkey) or larger game (for example, deer)?

       _ _Yes (Continue) _ _No (Skip to #5)

       _ _Yes, in certain circumstances. Please explain _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Continue)

       4. If your answer to item 3 is "Yes" or "Yes, in certain circumstances", please identify the
       specific rifles that you recommend against using for hunting medium game ( for example,
       turkey) or larger game (for example, deer)?

       Make                           Model                                      Caliber




        5. Does your publication recommend specific types of centerfire semiautomatic rifles for use in
        high-power rifle competition?

        _ _Yes (Continue)           _ _No (Skip to #7)
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        of information unless it displays a currently valid 0MB control number.
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                                                                                     0MB No. 1512--0542

                   ATF SURVEY OF HUNTING/SHOOTING EDITORS
                               FOR RIFLE USAGE
                                                Page 2 of2
   6. If your answer to item 5 is "Yes", please identify the specific centerfire semiautomatic rifles
   you recommend.
   Make                            Model                                      Caliber




    7. Does your publication recommend against the use of any semiautomatic rifles whose design is
    based on the AK 47, FN-FAL, HK91, HK93, SIG 550-1, or Uzi for use in high-power rifle
    competition?

    _ _ Yes (Continue) _ _No (Skip to #9)

    _ _Yes, in certain circumstances. Please explain _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


    ------------------------------(Continue)
    8. If your answer to item 7 is "Yes" or "Yes, in certain circumstances", please identify the
    specific rifles your publication recommends against using for high-power rifle competition.
    Make                            Model                                    Caliber




    9. Have you or any other author who contributes to your publication written any articles since
    1989 concerning the use of semiautomatic rifles and their suitability for use in hunting or
    organized competitive shooting? (Exclude Letters to the Editor.)

    _ _Yes (Continue)           _ _No (You are .finished with the survey. Thank you.)

    10. If your answer to item 9 is "Yes", please submit a copy of the applicable article(s). Any
    material you are able to provide will be very beneficial to our study. Please indicate the
    publication, issue date and page for each article.



    An agency may not conduct or sponsor, and a person is not required to respond to, the collection
    of information unless it displays a currently valid 0MB control number.
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                                          Editors


  Comments:

  2.   If your answer to item 1 is "Yes,• please identify the specific centerfire
       rifles you recommend:

         (Bl     Anything except Uzis.

         (9)     All study rifles except Uzi.

        (12)     See attached ~rticles.

  3.   Please explain circumstances to question 3: Does your publication recommend
       against the use of any semiautomatic rifles whose design is based on the AK
       47, FN-FAL, HK91, HK93, SIG 550-1, or Uzi for use in hunting medium game
       (for example, turkey) or larger game (for example, deer)?

        (12)     When the caliber is inappropriate or illegal for the specific game
                 species.


  4.   Other rifle make recommendations in response to question 4: If your answer
       to item 3 is "Yes" or "Yes, in certain circumstances,w please identify the
       specific rifles that you recommend against using for hunting medium game
       (for example, turkey) or larger game (for example, deer)?

         (12) See attached articles.

       The following two items are for the responses to question 6: If your answer
       to item 5 is "Yes,• please identify the specific centerfire semiautomatic
       rifles you recommend:

         Model

         (5)     Springfield MlA and Colt AR-15.

         Caliber

         (5)     7.62m (MlA) and .223 (Colt).

       The following items are for questions 9 and 10 on articles written and the
       submission of these articles with the survey.

       Article 1

         (8)     No articles enclosed.

         (9)     Semiautomatic Takes Tubb to HP Title.

        (10)     No articles attached.

       Article 2

         (9)     AR-15 Spaceguns Invading Match.
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                          DEPARTMENT OF THE TREASURY
                     BUREAU OF ALCOHOL, TOBACCO AND FIREARMS
                               WASHINGTON, D.C. 202.26

 DIRECTOR


                                     DEC I O 1997              O:F:S:DMS
                                                               3310




            Dear Sir or Madam:

            On November 14, 1997, the President and the Secretary
            of the Treasury decided to conduct a review to
            determine whether modified semiautomatic assault rifles
            are properly importable under Federal law. Under
            18 U.S.C. section 92S(d) (3), firearms may be imported
            into the United States only if they are determined to
            be of a type generally recognized as particularly
            suitable for or readily adaptable to sporting purposes .
            The firearms in question are semiautomatic rifles based
            on the AK47, FN-FAL, HK91, HK93, SIG SGSS0-1, and Uzi
            designs.

            As part of the review, the Bureau of Alcohol, Tobacco
            and Firearms (ATF) is interested in receiving
            information that shows whether any or all or the above
            types of semiautomatic rifles are particularly suitable
            for or readily adaptable to hunting or organized
            competitive target shooting. We are asking that your
            organization voluntarily complete the enclosed survey
            to assist us in gathering this information. We
            anticipate that the survey will take approximately
            15 minutes to complete .
            Responses must be received no later than 30 days
            following the date of this letter; those received after
            that date cannot be included in the review. Responses
            should be forwarded to the Bureau of Alcohol, Tobacco
            and Firearms, Department FG, P.O. Box 50860,
            Washington, DC 20091. We appreciate any information
            you care to provide.
                                 Sincerely yours,



                          ~Jo~•w . ~
                                      Director
            Enclosure
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                                                                                     0MB No. 1512-0542

              ATF SURVEY OF STATE FISH AND GAME COMMISSIONS
                              FOR RIFLE USAGE
                                                 Page I of2


   State:
            -----------
   1. Do the laws in your state place any prohibitions or restrictions (other than seasonal) on the use
   of high-power rifles for hunting medium game (for example, turkey) or larger game (for
   example, deer)?

            _ _Yes (Continue)           _ _No (Skip to #2)

            la. If"Yes", please cite law(s) and briefly describe the restrictions.




   2. Do the laws in your state place any prohibitions or restrictions (other than seasonal) on the use
   of semiautomatic rifles for hunting medium game (for example, turkey) or larger game (for
   example, deer)?

            _ _Yes (Continue)            _ _No (Skip to #3)

            2a. lf"Yes", please cite law(s) and briefly describe the restrictions.




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    of information unless it displays a currently valid 0MB control nwnber.
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•                                                                                        0MB No. 1512-0542

                  ATF SURVEY OF STATE FISH AND GAfvffi COMMISSIONS
                                  FOR RIFLE USAGE
                                                    Page 2 of2


              _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _(Continue)
       3. What, if any, is the minimwn caliber or cartridge dimensions that may be used for hunting
       medium game (for example, turkey) or larger game (for example, deer)?

       Caliber: - - - - - - - - - - - - - OR Dimensions: - - - - - - - - - - - - -

       _ _There is no minimwn.

        4. Does your commission or state collect any data on the types of rifles used in your state for
        hunting medium game ( for example, turkey) or larger game (for example, deer)?

        ___Yes (Continue)             _ _No (You are finished with the survey. Thank you.)

               4a. If "Yes", please provide hard copies of any such available data for the past two
               hunting seasons of 1995 and 1996. Any data that you provide will be most beneficial to
               our study.

               If you would like us to contact you regarding the data, please provide your name and
               phone nwnber.

               Name:- - - - - - - - - - - - - - - - - -Phone:- - - - - - - - - -




         An agency may not conduct or sponsor, and a person is not required to respond to, the collection
         of information unless it displays a currently valid 0MB control number.
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•
                           Survey Fish and Game Commissions for Rifle Usage
                         Restrictions              Minimum Caliber or Cartridge
        STATE          01         02                  03                     04            05
                      HiPwr Semiauto           Minimum Caliber       Minimum Cartridge Collect Data
       Alabama         Yes       Yes   Any center fire rifle        None                    No
        Alaska         Yes        No    No Centerfire for big game                          No
        Arizona        No        Yes    .22 mag or larger                                   No
       Arkansas        Yes        No   None                         None                    No
       California      No         No    See Question 1a             See Question 1a         No
       Colorado        Yes       Yes    0.24                                                No
      Connecticut      Yes       Yes
       Delaware        Yes       Yes
        Florida        Yes        Yes   No rimfire for deer                                 No
        Georgia        Yes        No    .22 Centerfire or larger                            No
         Hawaii         No        No
         Idaho         Yes        Yes   .22 rimfire                                         No
         Illinois      Yes        Yes   None                         None                   No
        Indiana        Yes        Yes   None                                                No
          Iowa         Yes        Yes   not provided                                        No
        Kansas         Yes        Yes    .23 caliber or larger                              No
       Kentucky         No        No
       Louisiana       Yes         No    .22 Centerflre                                     No
         Maine         Yes         No    .22 mag or larger                                  No
       Maryland        Yes        Yes
     Massachusetts     Yes         No    None                        None                   Yes
        Michigan       Yes        Yes    .23 or larger                                      No
       Minnesota       Yes         No    0.23                        1.285"                 No
       Mississippi     Yes         No    None                        None                   No
        Missouri       Yes        Yes    None                        None                   No
        Montana         No         No    None                                               No
       Nebraska         No         No
        Nevada          No         No                                                        No
     New Hampshire     Yes        Yes                                above .22 rimfire       No
      New Jersey       Yes        Yes    None                        None                    No
      New Mexico       Yes         No    .24 centerflre or larger                            No
       New York        Yes        Yes    Must be centerflre                                  No
     North Carolina     Yes        No     None                        None                   No
      North Dakota      Yes       Yes     .22 Centerflre or larger                           No
           Ohio         Yes        No     None                        None                   No
       Oklahoma         Yes       Yes     .22 magnum                                         No
         Oregon        Yes      Yes     .22 or .24 or larger                                No
     Pennsylvania      Yes      Yes     None                        None                    No
      Rhode Island     Yes      Yes                                 .229 maximum            No
     South Csrolina    Yes      No      Must be larger than .22                             No
     South Dakota      Yes      No      None                        None                    No
       Tennessee       Yes      Yes     .24 or larger caliber                               No
         Texas         Yes       No     None                        None                    No
          Utah         Yes       No                                 None                    No
        Vermont        Yes       No                                                         No
        Virginia       Yes      Yes     .23 caliber for deer                                No
       Washington      Yes      Yes     .240 or larger for coyote                           No
      West Virginia     No       No                                 Any centerflre          No
       Wisconsin       Yes       No     .22 caliber or larger                               No
        Wyoming        Yes       No                                 23/100 bullet dia.      No
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                           State Fish and Game Commissions

  Restrictions for High Powered Rifles

  la. Please cite law{s) and briefly describe the restrictions.

  Alabama
  (19) No automatic weapons, no silenced weapons.

  Alaska
  (23) Bison hunters must use a caliber capable of firing a 200-grain bullet
       having 2,000 pounds of energy at 100 yards.

  Arkansas
  (11) No rifles for turkey.

  California
  (22) Centerfire for big game, 10 gauge or smaller for resident small game.

  Colorado
  (10) Semiautomatic rifle may not hold more than 6 rounds.

  Connecticut
  (39) Shotgun only on public lands.     Can use any type of rifle on private land.

  Delaware
  (40) No rifles - shotguns/muzzle loaders only.

  Florida
  (25) Machine guns and silencers not permitted for any hunting.

  Georgia
   {29) No hi-power rifles allowed for turkey hunting.

  Hawaii
   (49) Must have discharge of 1200 foot pounds .

  .I..d..ahQ
   (30) No hi-power rifles allowed for hunting turkey.

  Illinois
   (12) Turkey or deer may not be hunted with rifle. Deer may not be hunted with
        muzzle loading rifle. No restriction on rifles for coyote, fox, and
        woodchuck, etc.

   Indiana
   (34) No hi-power rifles allowed for deer or turkey hunting.    Limited
        restrictions for specified areas.

   ~
   (26) Cannot use rifles for turkey or deer, only shotgun or bow and arrow. No
        difference if public or private lands. For coyote or fox, there is no
        restriction on rifles, magazine size, or caliber.

   Kansas
   (33) Must use ammunition specifically designed for hunting.



                                             1
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•
      )Jouisiana
       (6)     No rifles for turkey hunting.   Rifles for deer hunting must be no smaller
               than .22 centerfire.

      Milne
       (32) No hi-power rifles for turkey and water fowl.      Some limited restrictions
            for specific areas.

       Maryland
       (42) Some restrictions based on county. They are allowed in western and
            southern Maryland. Shotguns only in and around Baltimore and
            Washington, D.C.

       Massachusetts
       (14) Rifles not permitted for hunting deer and turkey.

       Michigan
       (27) No turkey hunting with hi-power rifle. No night hunting with hi-power
            rifle. Deer hunting with hi-power rifle allowed only in lower southern
            peninsula. Limited restrictions for specific areas.

       Minnesota
       (13) Caliber must be at least .23. Ammunition must have a case length of at
            least 1.285" . . 30 caliber Ml carbine cartridge may not be used.

       Mississippi
       (15) Restricts turkey hunting to shotguns.       However quadriplegics may hunt
            turkey with a rifle.

       Missouri
       (5)     Rifles not permitted for turkey. Self loading firearms for deer may not
               have a combined magazine+ chamber capacity of more than 11 cartridges.

       Nebraska
        (43) Allowed and frequently used, but magazine capacity maximum is six rounds.

       Nevada
       {1)     Answer to #3 refers to NAS 501.150 and NAS 503.142.    Not for turkey.

       New Hampshire
        (7)    Magazine capacity no more than s rounds.  Prohibits full metal jacket
               bullets for hunting.   Prohibits deer hunting with rifles in certain towns.

       New Jersey
        (17)   No rifles.

       New Mexico
        (31) No hi-power rifles allowed for hunting turkey.

       New York
        (24) No semiautomatics with a magazine capacity of greater than 6 rounds;
                machineguns and silencers not permitted for any hunting.   Limited
                restrictions for specific areas.

       North Carolina
        (20) Centerfire rifles not permitted for turkey hunting.


                                                    2
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  North Dakota
  (28) No hi-power rifles for turkey hunting.

  QluQ
  ( 3)   Prohibits high power rifles for turkey, deer and migratory birds.         High
         power rifles can be used on all other legal game animals.

  Oklahoma
  (8)    Centerfire rifles only for large game.         Magazines for .22 centerfire rifles
         may not hold more than 7 rounds.

  Oregon
  (2)    OAR 635-65-700(1) must be .24 caliber or larger center fire rifle, no full
         automatic; OAR 635-65-700(2) hunters shall only use centerfire rifle .22
         caliber; OAR-65-700(5) no military or full jacket bullets in original or
         altered form.  Limited restrictions for specific areas.

  Pennsylvania
  (16) Rifles not permitted in Philadelphia        &    Pittsburgh areas.

  Rhode Island
  (44)   .22 center fire during the summer for woodchucks.

  south Carolina
   (18) No rifle for turkey, rifle for deer must be larger than .22 caliber

  south Dakota
   (50) Magazine not more than five rounds.

  Tennessee
   (37) No hi-power rifles allowed for turkey hunting.

  Tex.il
  (21) Rimfire ammunition not permitted for hunting deer, antelope, and bighorn
        sheep; machine guns and silencers not permitted for hunting any game
        animals.

  llt.ah
   (9) No rifles for turkey hunting.

  Vermont
   (47) Turkey size less than 10 gauge.    Deer/moose/beer, no restriction on
        caliber.

   Virginia
   (48) 23 caliber or larger for deer and bear. No restrictions for turkey. No
        magazine restrictions, shotgun limited to 3 shells. Restrictions vary from
        county to county - approximately 90 different rifle restrictions in the
        State of Virginia based on the county restrictions.  sawed-off firearms are
        illegal to own unless with a permit, if barrel less than 16 inches for
        rifle, and 18 inches for shotgun.

   Washington
    (46) Hunting turkey limited to shotguns.           Small game limited to shotguns.



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     Wisconsin
      (36) No .22 rimfire rifles for deer hunting.

     Wyoming
      (4)   Big game and trophy animals,   firearm must have a bore diameter of at least
            23/100 of an inch.


     Restrictions for Semiautomatic Rifles

      2a. Please cite law(s) and briefly describe the restrictions.

     Alabama
      (19) Turkey may not be hunted with a centerfire rifle or rimfire rifle.
           semiautomatic rifles of proper caliber are legal for all types of hunting.
           No restrictions on magazine capacity, except wildlife management areas
           where centerfire rifles are restricted to 10 round max.

      Arizona
      (38) Magazine cannot hold more than 5 rounds.

      Colorado
      (10) Semiautomatic rifle may not hold more than 6 rounds.

      Connecticut
      (39) Shotgun only on public lands.     Any type of rifle can be used on private
           land.

      Delaware
      (40} No rifles - shotguns/muzzle loaders only.

      Florida
      (25} No semiautomatic centerfire rifles having a magazine capacity greater than
           5 rounds .

      .Imlho
       (30) No hi-power rifles   (including semiautomatic) allowed for turkey hunting.

      Illinois
       (12) See #1.

      Indiana
       (34) No hi-power rifles allowed for turkey hunting.

      ~
       (26} Cannot use rifles for turkey or deer, only shotgun or bow and arrow. No
            difference in public or private land.  For coyote or fox, there is no
            restriction on rifle, magazine size, or caliber.

       Kansas
       (33) Must use ammunition specifically designed for hunting.




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 Maryland
  (42) Some restrictions.   Based on county.       Shotguns only in and around Baltimore
       and Washington, D.C.

 Michigan
  (27) Unlawful to hunt with semiautomatic rifles capable of holding more than 6
       rounds in magazine and barrel. Rimfire (.22 cal) rifles excluded from
       restrictions.

  Missouri
  (5)   Combined magazine+ chamber capacity may not be more than 11 cartridges.

  New Hampshire
  (7)   Turkey may not be hunted with rifles.       Rifles may not have magazine
        capacity of more than 5 cartridges.

  New Jersey
  (17) No rifles.

  New York
  (24) No semiautomatics with a magazine capacity of greater than 6 rounds.

  North Dakota
  (28) No hi-power rifles (including semiautomatics) may be used for hunting
       turkey.

  Oklahoma
  (8)   See #1.

  Oregon
  (2)   OAR 635-65-700(1) and (2) limits magazine capacity to no more than 5
        cartridges.

  Pennsylvania
   (16) Semiautomatic rifles are not lawful for hunting in Pennsylvania.

  Rhode Island
   (44) Cannot use semiautomatic during the winter, only during the summer months
        for woodchucks (during daylight from April 1 to September 30).

  Tennessee
   (37) No hi-power rifles, including semiautomatics, allowed for turkey hunting.

  Vermont
   (47} Semiautomatic 5 rounds or less.

  Virginia
   (48) Semiautomatics are legal wherever rifles can be used.  23 caliber or larger
        for deer and bear. No restrictions for turkey. No magazine restrictions,
        shotgun limited to 3 shells. Restrictions vary from county to county -
        approximately 90 different rifle restrictions in the State of Virginia
        based on the county restrictions. Sawed-off firearms are illegal to own
        unless with a permit, if barrel less than 16 inches for rifle, and 18
        inches for shotgun. Striker 12 - drums holds 12 or more rounds and is
        illegal.




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  washington
  (46) Cannot use fully automatic for hunting.

  west Virginia.
  (45) cannot use fully automatic firearms for hunting.




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                             Comments Provided by Law Enforcement Agencies

           (1)    No research.

           (2)    No research.

           (3)    NOBLE and others forwarded information to a U.S. Senator on
                  circumstances concerning police officers killed or injured by
                  these weapons. No data was provided.

           (4)    No research.

           (7)    The organization stated: ~Most of the data available on guns and
                  crime does not provide the detail needed to identify the types of
                  guns listed.        we have conducted several surveys that refer
                  to assault rifles generically, including the Survey of Inmates in
                  State Correctional Facilities 1991, Survey of Inmates in Local
                  Jails 1995, and the survey of Adults on Probation 1995. The data
                  on assault weapons has not been analyzed in the recently released
                  Survey of Adults on Probation 1995 or in the yet to be released
                  Survey of Inmates in Local Jails 1995.

                  "Our report Guns Used in Crime includes the results of an
                  analysis of the stolen data from the FBI's National Crime
                  Information Center database. Our analysis was limited to general
                  categories of guns and calibers of handguns. The recent
                  evaluation of the assault weapons ban funded by the National
                  Institute of Justice analyzed a more recent set of the same data
                  with an emphasis on assault weapons. The results of this
                  evaluation were reported in Impact Evaluation of the Public
                  safety and Recreational Firearms use Protection Act of 1994."
                  ~BJS [Bureau of Justice Statistics] supports the Firearms
                  Research Information System (FARIS). .       This database
                  contains firearms-related information from surveys, research,
                  evaluations, and statistical reports . . . . we queried this
                  database for any research on assault weapons. The results of the
                  query include both the reports listed above, as well as several
                  others. Please note that in BJS's report Guns Used in Crime
                  refers to the report Assault Weapons and Homicide in New York
                  ~ prepared by one of our grantees.      While the data are from
                  1993, the report provides interesting insights into the use of
                  assault weapons and homicide. Another source of data on assault
                  weapons and crime is the FBI's Law Enforcement Officers Killed
                  and Assaulted series, which records the type of gun used in
                  killings of police officers. Several of the reports listed in
                  the FARIS query used these data, including COJ;? Killers; Assault
                  weapons Attacks on America's Police, and cops under Fire; Law
                  Enforcement Officers Killed with Assault Weapons or Guns with
                  High capacity Magazines."
            (9)   Guns in America; National survey on Private ownership and use of
                  Firearms (May 1997) states: The 1994 NSPOF (National survey of
                  Private Ownership of Firearms) estimates for the total number of
                  privately owned firearms is 192 million: 65 million handguns, 70
                  million rifles, 49 million shotguns, and 8 million other long
                  guns.
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                           DEPARTMENT OF THE TREASURY
                     BUREAU OF ALCOHOL, TOBACCO AND FIREARMS
                               WASHINGTON, O.C. 20226

   DIRECTOR

                                    DEC 1 0 1997               O:F:S:DMS
                                                               3310




          Dear Sir or Madam:
          On November 14, 1997, the President and the Secretary
          of the Treasury decided to conduct a review to
          determine whether modified semiautomatic assault rifles
          are properly importable under Federal law. Under
          18 U.S.C. section 925{d) (3), firearms may be imported
          into the United States only if they are determined to
          be of a type generally recognized as particularly
          suitable for or readily adaptable to sporting purposes.
          The firearms in question are semiautomatic rifles based
          on the AK47, FN-FAL, HK91, HK93, SIG SGSS0-1, and Uzi
          designs.
          As part of the review, the Bureau of Alcohol, Tobacco
          and Firearms (ATF) is interested in receiving
          information that shows whether any or all of the above
          types of semiautomatic rifles are particularly suitable
          for or readily adaptable to hunting or organized
          competitive target shooting.
          Although ATF is not required to seek public comment on
          this study, the agency would appreciate any factual,
          relevant information concerning the sporting use
          suitability of the rifles in question.
          Your voluntary response must be received no later than
          30 days from the date of this letter; those received
          after that date cannot be included in the review.
          Please forward your responses to the Bureau of Alcohol,
          Tobacco and Firearms, Department TA, P.O. Box 50860,
          Washington, DC 20091.
                                 Sincerely yours,



                           ~o~.M:!fw~ Director
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                    Comments Provided by Industry Members and Trade Associations

       (12)   The respondent felt that definitions and usage should be subject
              to rulemaking. The respondent stated that limits on "sporting"
              use do not take into account firearms technology and its
              derivative uses among millions of disparate consumers. Millions
              of gun owners currently engage in informal target competition.

              The respondent stated that the firearms are suitable for sporting
              purposes and that ATF's practice of making "ad hoc" revisions to
              import criteria disrupts legitimate commerce. The respondent
              recommends that all changes to criteria should be subject to
              rulemaking.

       (19)   The respondent submitted a brochure and a statement supported by
              seven letters from FFL's who sell the SLR-95 and 97 and ROMAK 1
              and 2.  The respondent and all the supporting letters attest to
              the suitability of these guns for hunting because (1) they are
              excellent for deer or varmint hunting; (2) they are used by many
              for target shooting; (3) their ammunition is readily available
              and affordable; and (4) they are excellent for young/new hunters
              because of low recoil, an inexpensive purchase price, durability,
              and light weight, as well as being designed only for
              semiautomatic fire.

       (20)   One respondent submitted results of its independently conducted
              survey, which consisted of 30 questions. The results of the
              survey suggest that 36 percent of those queried actually use
              AK47-type rifles for hunting or competition, 38 percent use LlAl-
              type rifles for hunting or competition, and 38 percent use G3-
              type rifles for hunting or competition. Other uses include home
              defense, noncompetitive target shooting, and plinking. Of those
              queried who do not currently own these types of rifles, 35
              percent would use AK-type rifles for hunting or competition, 36
              percent would use LlAl-type rifles for hunting or competition,
              and 37 percent would use G3-type rifles for hunting or
              competition.

       (22)   The respondent claims that the majority of the study rifles'
              length and calibers can be used only for sporting purposes. The
              respondent asserts that the only technical detail remaining after
              the 1989 decision that is similar to a military rifle is the
              locking system.     After 1989, the imported rifles have no physical
              features of military assault rifles. All have features which can
              be found on any semiautomatic sporting/hunting rifle.

              However, the respondent writes that the Uzi-type carbines are
              unot suitable for any kind of sporting events other than law
              enforcement and military competitions because the caliber and
              locking system do not allow precise shooting over long
              distances."




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       (23)    One respondent, who imports the SAR-8 and SAR-4800 that are
               chambered for .308 Winchester ammunition, states that neither
               rifle possesses any of the characteristics of either the 1989
               determination or the 1994 law. The respondent states that both
               are permitted in match rifle and other competitions. The
               respondent states that only two questions should be considered to
               determine hunting suitability of a rifle: Whether the caliber is
               adequate to take one or more game species and whether the gun is
               safe and reliable. The respondent states that there is no
               factual or legal basis to conclude that the rifles are not
               "particularly suitable" for sporting purposes.

       (24)    The respondent writes: ~The particular firearms differ from
               other guns that are universally acceptable only in cosmetic ways.
               There is no functional difference between semiautomatic firearms
               based on the external features that have been keyed on in an
               attempt to implement the import restrictions of the 1994 Crime
               Bill. As further attempts to differentiate functionally
               identical firearms by these features for the purposes of culling
               out those that might be politically suitable for an
               administrative import ban is wrong."

       (25)    The respondent writes that the SLG95 was developed exclusively
               for hunting and competitive shooting. The respondent points out
               that it is capable of single firing only and cannot be
               reassembled for use as an automatic weapon. It is made for
               endurance and accuracy to 300 meters.

       (26)    The respondent recommends AK47 variants specifically, but
               believes all study rifles are suitable or adaptable for sporting.
               The respondent states that a Galil-chambered .308/.223 with a
               two-position rear sight, adjustable front sight, or scope mount
               channel, are reliable, durable, accurate, and suitable for
               hunting and organized competitive shooting. The respondent
               states that the Uzi, which chambers 9mm and 40 S&W, two-position
               rear sight, and an adjustable front sight is suitable for
               organized competitive target shooting.

        (27)   The respondent states that the SIG-SGSS0-1, in its original
               configuration, never possessed assault rifle features. The
               respondent states that is was built as a semiautomatic, not a
               fully automatic that was converted or modified to semiautomatic.
                It does have protruding pistol grip, and its ergonomics are
                geared toward its original design of goal-precision shooting.
                The respondent says that the name "Sniper" was a marketing
                decision, and it is extremely popular in .223 competitions. Its
                price isolates the gun to the competitor/collector.




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          (28)    Letters from H&K users were submitted in support of their
                  continued importation and use as sporting arms. Specifically,
                  the SR9 and PSGl were said to be clearly suitable and utilized
                  daily for hunting and target shooting. The respondent states
                  that sport is defined as "an active pastime, diversion,
                  recreation" and that the use of these is all the justification
                  needed to allow their importation. The PSGl has been imported
                  since 1974, and the SR9 since 1990. The semiautomatic feature
                  dates to turn of the century.

                  The respondent states that the cost would dissuade criminals from
                  using them. The respondent refers to ATF's reports ~crime Gun
                  Analysis (17 Communities)" and "Trace Reports 1993-1996" to show
e                 that the H&K SR9 and PSGl are not used in crime.   In the 4-year
                  period covered by the reports, not one was traced.

           (29)   The respondent faults the 1989 report both for not sufficiently
                  addressing the issue of ready adaptability, as well as for the
                  limited definition of sporting purposes. The respondent states
                  that sport is defined as "that which diverts, and makes mirth;
                  pastime, diversion." The respondent says that the NRA sponsors
                  many matches, and personally attests to the FN-FAL and HK91 as
                  being perfectly suitable for such matches. The respondent states
                  that the rifles are also used for hunting deer, rabbits, and
                  varmints.  Further, the respondent remarks that the use of these
                  rifles in crime is minuscule.


                                   Importer/Individual Letters

           On January 15, 1998, the study group received a second submission from
           Heckler and Koch, dated January 14, 1998.  It transmitted 69 letters
           from individuals who appeared to be answering an advertisement placed
           in Shotgun News by Heckler and Koch. The study group obtained a copy
           of the advertisement, which requested that past and current owners of
           certain H&K rifles provide written accounts of how they use or used
           these firearms. The advertisement stated that the firearms in
           question, the SR9 and the PSGl, were used for sporting purposes such as
           hunting, target shooting, competition, collecting, and informal
           plinking. The advertisement also referred to the 120-day study and the
           temporary ban on importation, indicating that certain firearms may be
           banned in the future.

           synopses of Letters:
           1.     The writer used his SR9 to hunt deer (photo included).

           2.     The writer used his SR9 to hunt deer (photo included).

           3.     The writer used his SR9 for informal target shooting and plinking.

           4.     The writer used his SR9 for target practice and recreation.

           5.     The writer (a police officer) used SR9 to hunt.   Said that it's too
                  heavy and expensive for criminals.



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      6.     The writer used his SR9 for competition.

      7.     The writer used H&K rifles such as these around the farm to control
             wild dog packs.

      8.     The writer used his SR9 to hunt deer.

      9.     The writer used his SR9 to hunt, participate in target practice,
             and compete.

      10.    The writer used his H&K rifles for informal target shooting.

      11.    The writer used his SR9 to hunt elk because it's rugged, and to
             shoot targets.

       12.   The writer used his SR9 to target practice.

       13.   The writer used his HK91 to hunt varmints and compete in military
             rifle matches.

       14.   The writer does not use the firearms but is familiar with their use
             for target shooting, hunting, and competition.

       15.   The writer uses HK firearms for DCM marksmanship competition.

       16.   The writer used his HK93 for 100-yard club matches and NRA-high
             power rifle matches.

       17.   The writer does not own the firearms but enjoys shooting sports and
             collecting.

       18.   The writer used his HK91 to hunt deer, boar, and mountain goat and
             in high-power match competitions.

       19.   The writer used his SR9 to shoot targets and for competitions.

       20.   The writer used his HK91 to shoot varmints, hunt small and big
             game, and shoot long-range silhouettes.

       21.   The writer used his SR8 to hunt deer, target shoot, and plink.

       22.   The writer used his HK93 to shoot in club competitions.

       23.   The writer used his SR9 to shoot targets because the recoil does
             not impact his arthritis.

       24.    The writer (a police officer) does not own the firearm but never
              sees HKs used in crime.

       25.    The writer used his HKs for target shooting, competition, and
              collection.

       26.    The writer does not own the firearms but likes recreational target
              shooting.

       27.    Writer does not own the firearms but states, "Don't ban."



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      28.    The writer used his SR9 for hunting deer, varmints, and groundhogs;
             for target shooting; and for occasional competitions.

      29.    The writer used his SR9 to hunt deer because it's accurate, rugged,
             and reliable.

      30.    The writer used his SR9 to hunt deer and elk.

      31.    The writer used his SR9 to target shoot.

      32.    The writer used his SR9 to hunt deer and target shoot.

      33.    The writer used his HK91 to shoot military rifle 100-yard
             competitions.

      34.    The writer used his SR9 for hunting varmints and coyotes, for
             target shooting, and for competitions.

      35.    The writer used his SR9 to hunt deer and target shoot.

      36.    The writer (a former FBI employee) used his SR9 for hunting
             varmints and for precision and target shooting.

      37.    The writer used his HK for target shooting and competition.

      38.    The writer used his SR9 for informal target shooting and plinking
             and his HK91 for bowling pin matches, high-power rifle
             competitions, informal target shooting, and plinking.

      39.    The writer used his SR9 to plink and shoot targets, saying it's too
             heavy for hunting.

      40.    The writer has an HK91 as part of his military collection and
             indicates it may be used for hunting.

      41.    The writer used his SR9 to target shoot.

      42.    The writer used his SR9 to hunt deer and target shoot.

       43.   The writer does not own the firearms but says, "Don't ban."

       44.   The writer used his SR9 and HK93 for hunting deer, for target
             shooting, and for home defense.

       45.    The writer states, "Don't ban."

       46.    Writer states,   "Don't ban."

       47.    Writer states,   "Don't ban."

       48.    The writer owns an SR9; no use was reported.

       49.    Writer used his SR9 to compete in club matches and "backyard
              competitions."

       so.    The writer used his HK to hunt boar and antelope.



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      51.    The writer states, "Don't ban."

      52.    The writer (a police officer} does not own the firearms but states
             that the are not used by criminals.

      53.    The writer used his HK91 to hunt deer.

      54.    The writer (a police trainer) says that the PSGl is used for police
             sniping and competitive shooting because it's accurate. He says
             that it's too heavy to hunt with and has attached an article on the
             PSGl.

       55.   The writer used her two PSGls for target shooting and fun.

       56.   The writer used his SR9 and PSGl to hunt and target shoot.

       57.   The writer used his two PSGls to hunt and target shoot.

       58.   The writer provides an opinion that the SR9 is used to hunt and
             target shoot.

       59.   The writer used his PSGl for hunting deer and informal target
             shooting.

       60.   The writer used his PSGl to target shoot and plink.

       61.   The writer states,   11
                                       Don 1 t ban.   11




       62.   The writer used his HK91 to target shoot.

       63.   The writer used his HK91 to target shoot.

       64.   The writer (a U.S. deputy marshall) used his SR9 to shoot at the
             range.

       65.   The writer used his SR9 to hunt deer and coyotes.

       66.   The writer used his SR9 to competitively target shoot.

       67.   The writer used his SR9 to hunt deer and bear.

       68.   The writer uses military-type rifles like these for predator
             control on the farm.

       69.   The writer used his SR9 to target shoot, plink, and compete in DCM
             matches.




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                              Comments Provided by Interest Groups

       (7)   Impact Evaluation of the Public Safety and Recreational Firearms
             Use Protection Act of 1994, Final Report. March 13, 1997.

       (8)   Identical comments were received from five members of the JPFO.
             They are against any form of gun control or restriction regardless
             of the type of firearm.  References are made comparing gun control
             to Nazi Germany.

       (9)   The respondent contends that police/military-style competitions,
             "plinking,H and informal target shooting should be considered
             sporting. Note: The narrative was provided in addition to survey
             that Century Arms put on the Internet.

             The respondent questions ATF's definition of "sporting" purposes.
             The respondent contends that neither the Bill of Rights nor the
             Second Amendment places restrictions on firearms based on use.

      (13)   Citing the 1989 report, the respondent states that the drafters of
             the report determined what should be acceptable sports, thus
             excluding "plinking."

             The respondent states that appearance (e.g., military looking) is
             not a factor in determining firearms' suitability for sporting
             purposes.   It is their function or action that should determine a
             gun's suitability. Over 50 percent of those engaged in Practical
             Rifle Shooting use Kalashnikov variants.   Further, citing U.S. ys.
             Smith (1973), the "readily adaptable" determination would fit all
             these firearms.

      (14)   The respondent states that the vast majority of competitive
             marksmen shoot either domestic or foreign service rifles. Only 2-3
             participants at any of 12 matches fire bolt-action match rifles.
             If service rifles have been modified, they are permitted under NRA
             rule 3. 3. 1.

             The respondent says that attempts to ban these rifles "is a joke."

      (15)   The respondent states that these firearms are used by men and women
             alike throughout Nebraska. All of the named firearms are used a
             lot all over the State for hunting. The AK47 has the same basic
             power of a 30/30 Winchester. All of these firearms function the
             same as a Browning BAR or a Remington 7400.             Because of their
             design features, they provide excellent performance.

      (16)   The respondent states that the Bill of Rights does not show the
             second amendment connected to "sporting purposes." The respondent
             says that all of the firearms in question are "service rifles," all
             can be used in highpower rifle competition (some better than
             others), but under no circumstances should "sporting use" be used
             as a test to determine whether they can be sold to the American
             public. The respondent states that "sporting use• is a totally
             bogus question.




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          (17)    The respondent's basic concern is that the scope of our survey is
                  significantly too narrow (i.e., not responsive to the Presidential
                  directive, too narrow to address the problem, and inadequate to the
                  task).  The respondent states, "We do not indicate that our
                  determination will impact modifications made to skirt law. We rely
                  on the opinions of the •gun press.' At a minimum, the Bureau
                  should deny importation of: any semiautomatic capable of accepting
                  with a capacity of more than 10 rounds, and any semiautomatic rifle
                  with a capacity to accept more rounds than permitted by the State
                  with the lowest number of permitted rounds. Deny any semiautomatic
                  that incorporates cosmetically altered 'rule-beating•
                  characteristics. Deny any semiautomatic that can be converted by
                  using parts available domestically to any of the 1994 banned
                  guns/characteristics. Deny any semiautomatic manufactured by any

•                 entity controlled by a foreign government. OR manufactured by a
                  foreign entity that also manufactures, assembles or exports
                  assault-type weapons. Deny any semiautomatic that contains a part
                  that is a material component of any assault type weapon made,
                  assembled, or exported by the foreign entity which is the source of
                  the firearm proposed to be imported."

                  "A material component of any assault type weapon, assembled or
                  exported by the foreign entity, which is, the source of the
                  firearms proposed to be imported. The gun press has fabricated
                  'sporting' events to justify these weapons. The manner in which we
                  are proceeding is a serious disservice to the American people."

                  Attachments:  That was Then. This is Now; Assault Weapons;
                  Analysis. New Research, and Legislation, Assault weapons and
                  Accessories in America; and Cop Killers. All authored by the
                  Violence Policy Center.

          (30)    The respondent states, nAt least for handguns, and among young
                  adult purchasers who have a prior criminal history, the purchase of
                  an assault-type firearm is an independent risk factor for later
                  criminal activity on the part of the purchaser."

                  NOTE: The above study was for assault-type handguns used in
                  criminal activity versus other handguns. The study involved only
                  young adults, and caution should be used in extending these results
                  to other adults and purchasers of rifles.  However, the respondent
                  states, it is plausible that findings for one class of firearms may
t                 pertain to another closely related class.

           (31)   The 1996 National survey of Fishing. Hunting and Wildlife-
                  Associatea Recreation. The publication outlines 1996 expenditures
                   for guide use and percentage of hunters using guides for both big
                   game and small game hunting.




                                                  2
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•
         (32)   In a memo from the Center to Prevent Handgun Violence the sections
                are Legal Background, History of Bureau Application of the
                "Sporting Purposes" Test, The Modified Assault Rifles under Import
                Suspension Should Be Permanently Barred from Importation, [The
                Galils and Uzis Should Be Barred from Importation Because They Are
                Banned by the Federal Assault Weapon Statute, and All the Modified
                Assault Rifles Should Be Barred from Importation Because They Fail
                the Sporting Purposes Test]. The conclusion states:   "The modified
                assault rifles currently under suspended permits should be
                permanently barred from importation because they do not meet the
                sporting purposes test for importation under the Gun Control Act of
                1968 and because certain of the rifles [Galils·and Uzis] also are
                banned by the 1994 Federal assault weapon law."




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                            Comments Provided by Individuals

   (10)   The respondent does not recommend the Uzi, but he highly recommends the
          others for small game and varmints. He feels that the calibers of these
          are not the caliber of choice for medium or large game; however, he
          believes that the SIG and H&K are the best-built semiautomatics available.

          He can not and will not defend the Uzi, referring to it as a "piece of
          junk."

          The respondent feels that because of their expense and their being hard to
          find, the study rifles (excluding the Uzi) would not be weapons of choice
          for illegal activities.

   (11) The respondent questions ATF's definition of "sporting" and "organized
        shooting." He feels that ATF's definition is too narrow and based on
        "political pressure."

          The respondent feels   that the firearms are especially suitable for
          competitive shooting   and hunting and that the restrictions on caliber and
          number of cartridges   should be left to the individual States. He has shot
          competitively for 25   years.

   (18)   The respondent specifically recommends the MAK90 for hunting because its
          shorter length makes for easier movement through covered areas, it allows
          for quicker follow-up shots, its open sights allow one to come up upon a
          target more quickly, and it provides a quicker determination of whether a
          clear shot exists through the brush than with telescopic sighting.

   (21)   The respondent states that the second amendment discusses "arms," not
          "sporting arms." The respondent further states that taxpayer money was
          spent on this survey and ATF has an agenda. A gun's original intent
          (military) has nothing to do with how it is used now.  ~The solution to
          today's crime is much the same as it always has been, proper enforcement
          of existing laws, not the imposition of new freedom-restricting laws on
          honest people."
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                           Information on Articles Reviewed


  (1)   Describes limited availability of Uzi Model B sporter with thumbhole stock.

  (2)   Describes rifle and makes political statement concerning 1989 ban.

  (3)   Describes Chinese copy of Uzi with thumbhole stock.

  (4)   Quality sporting firearms from Russia.

  (5)   Short descriptions of rifles and shotguns available. Lead-in paragraph
        mentions hunting. Does not specifically recommend any of the listed
        weapons for hunting.

  (6)   Geared to retail gun dealers, provides list of available products. States
        LlAl Sporter is pinpoint accurate and powerful enough for most North
        American big game hunting.

  (7)   Discusses the use of the rifle for hunting bear, sheep, and coyotes.
        Describes accuracy and ruggedness. NOTE: The rifle is a pre-1989 ban
        assault rifle.

  (8)   Deals primarily with performance of the cartridge. Makes statement that
        AK 47-type rifle is adequate for deer hunting at woods ranges.

  (9)   Discusses gun ownership in the United States. Highlighted text (not by
        writers) includes the National Survey of Private Ownership of Firearms that
        was conducted by Chilton Research Services of Drexel Hill, Pennsylvania
        during November and December 1994: 70 million rifles are privately held,
        including 28 million semiautomatics.

   (10) Discusses pre-1989 ban configuration. Describes use in hunting, and makes
        the statement that "in the appropriate calibers, the military style
        autoloaders can indeed make excellent rifles, and that their ugly
        configuration probably gives them better handling qualities than more
        conventional sporters as the military discovered a long time ago."

   (15) Not article - letter from Editor of Gun World magazine discussing "sport"
        and various competitions. Note: Attached submitted by Century Arms.

   (16) Letter addressed to "To Whom It May Concern" indicating HK91 (not mentioned
        but illustrated in photos) is suitable for hunting and accurate enough for
        competition.   Note: Submitted by Century Arms.
   (17) Describes a competition developed to test a hunter's skill.   Does not
        mention any of the rifles at issue.

   (18) Not on point - deals with AR 15.

   (19) Describes function, makes political statement.

   (20) Discusses function and disassembly of rifle.

   (21) Not on point - deals with AR 15 rifle.




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     (22) Discusses competition started to show sporting use of rifles banned for
          sale in California. Unknown if weapons in study were banned in California
          in 1990.

     (23) Not on point - deals with national matches.

      (24) Not on point - deals with various surplus military rifles.

      (25) Deals with 7.62x39mm ammunition as suitable for deer hunting and mentions
           the use in SKS rifles, which is a military style semiautomatic but not a
           part of the study.

      (26) Not on point - deals with reloading.

      (27) Not on point - deals with reloading.

      (28) Not on point   deals with AR15 rifles in competition.

      (29) Not on point - deals with the SKS rifle.

      (30) Not on point - deals with national matches.

      (31) Not on point - deals with national matches.

      (32) Not on point - deals with national matches.

      (33) Not on point - deals with national matches at Camp Perry.

      (34) Not on point - deals with national matches at Camp Perry.

      (35) Not on point - deals with 1989 national matches at Camp Perry.

      (36) Not on point - deals with Browning BAR sporting semiautomatic rifles.

      (38) Not on point - deals with ARlS, mentions rifle in caliber 7.62 x 39.

      (39) Not on point - deals with bullet types.

      (40) Not on point - deals with reloading.

      (41) Discusses tracking in snow.   Rifles mentioned do not include any rifles in
           study.

      (42) Deals with deer hunting in general.

      (43) Deals with rifles for varmint hunting.     Does not mention rifles in study.
      (44) Not on point - deals with hunting pronghorn antelope.

       (45) Deals with various deer rifles.

       (46) Not on point - deals with two Browning rifles' recoil reducing system.

       (47) Not on point - deals with bolt-action rifles.

       (48) Not on point - deals with ammunition.



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  (49) Deals with modifications to AR15 trigger for target shooting.

  (50) Not on point - deals with Ml Garand as a target rifle.

  (51) Not on point - deals with reloading.

  (52) Deals with impact of banning semiautomatic rifles would have on competitors
       at Camp Perry.

  (53) Deals with economic impact in areas near Camp Perry if semiautomatic rifles
       banned. Reprint from Akron Beacon Journal.

  (54) Deals with training new competitive shooters - mentions sporting use of
       assault rifles, i.e., AR15.

  ( 55) Not on point   -   article about Nelson Shew.

  ( 56) Not on point   -   deals with reloading.

  (57) Not on point    -   deals with shooting the AR15.

  (58) Not on point - article about ARlS as target rifle.

  ( 59) Not on point   -   article about well known competitive shooter.

  (67) Not on point - deals with reloading.

  (68) Discusses semiautomatic versions of M14.

  (69) Discusses gas operation.

  (70) Discusses right adjustment on Ml and MlA rifles.

  (71) Discusses MlA and AR15-type rifles modified to remove them from assault
       weapon definition, and their use in competition.

  (72) Deals with AR15 type rifle.

   (73) Not on point - deals with AR15.

   (74) Not on point - deals with target rifle based on AR15/M16.

   (75) Not on point - deals with SKS rifle.

   (76) Not on point - deals with reloading 7.62x39mm cartridge.

   (77) Not on point - deals with reloading.           Mentions 7.62x39mm.

   (78) Not on point - deals with ammunition performance.

   (79) Deals with .223 Remington caliber ammunition as a hunting cartridge.

   (80} Describes MlA {semiautomatic copy of M14) as a target rifle.

   (81) Not on point - deals with bullet design.

   (82) Not on point - deals with ammunition performance.


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•
                              Information on Advertisements Reviewed


       (11)   Indicates rifles are rugged, reliable and accurate.

       (12) Describes rifles,   lists price.

       (13) Sporting versions of AK 47 and FAL.

       (14) Sporting version of AK 47, reliable, accurate.

       (61) Catalog of ammunition - lists uses for 7.62x39mm ammunition.

       (62) Catalog of ammunition - lists uses for 7.62x39mm ammunition.

       (63) Catalog of ammunition - lists uses for 7.62x39mm ammunition.

       (64) Catalog of ammunition - lists uses for 9mm ammunition.

        (65) Catalog of ammunition - lists uses for 9mm ammunition.

        (66) Catalog of ammunition - lists recommended uses for 9mm ammunition.
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                        EXHIBIT F
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U.S. Department of Justice

Bureau of Alcohol, Tobacco, Firearms and Explosives




ATF
Study on the lmportability of Certain
Shotguns




                             Firearms and Explosives Industry Division




                                                                                  January 2011
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                                       Study on the Importability of Certain Shotguns

                                                           Executive Summary

The purpose of this study is to establish criteria that the Bureau of Alcohol, Tobacco, Firearms
and Explosives (ATF) will use to determine the importability of certain shotguns under the
provisions of the Gun Control Act of 1968 (GCA).

The Gun Control Act of 1968 (GCA) generally prohibits the importation of firearms into the
United States. 1 However, pursuant to 18 U.S.C. § 925(d), the GCA creates four narrow
categories of firearms that the Attorney General must authorize for importation. Under one such
category, subsection 925(d)(3), the Attorney General shall approve applications for importation
when the firearms are generally recognized as particularly suitable for or readily adaptable to
sporting purposes (the “sporting purposes test”).

After passage of the GCA in 1968, a panel was convened to provide input on the sporting
suitability standards which resulted in factoring criteria for handgun importations. Then in 1989,
and again in 1998, the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) conducted
studies to determine the sporting suitability and importability of certain firearms under section
925(d)(3). However, these studies focused mainly on a type of firearm described as
“semiautomatic assault weapons.” The 1989 study determined that assault rifles contained a
variety of physical features that distinguished them from traditional sporting rifles. The study
concluded that there were three characteristics that defined semiautomatic assault rifles. 2

The 1998 study concurred with the conclusions of the 1989 study, but included a finding that
“the ability to accept a detachable large capacity magazine originally designed and produced for
a military assault weapon should be added to the list of disqualifying military configuration
features identified in 1989.” 3 Further, both studies concluded that the scope of “sporting
purposes” did not include all lawful activity, but was limited to traditional sports such as hunting,
skeet shooting, and trap shooting. This effectively narrowed the universe of firearms considered
by each study because a larger number of firearms are “particularly suitable for or readily
adaptable to a sporting purpose” if plinking 4 and police or military-style practical shooting
competitions are also included as a “sporting purpose.” 5

Although these studies provided effective guidelines for determining the sporting purposes of
rifles, ATF recognized that no similar studies had been completed to determine the sporting

1
  Chapter 44, Title 18, United States Code (U.S.C.), at 18 U.S.C. § 922(l).
2
  These characteristics were: (a) a military configuration (ability to accept a detachable magazine, folding/telescoping stocks, pistol grips, ability
to accept a bayonet, flash suppressors, bipods, grenade launchers, and night sights); (b) a semiautomatic version of a machinegun; and
(c) chambered to accept a centerfire cartridge case having a length of 2.25 inches or less. 1989 Report and Recommendation on the Importability
of Certain Semiautomatic Rifles (1989 Study) at 6-9.
3
  1998 Department of the Treasury Study on the Sporting Suitability of Modified Semiautomatic Rifles (1998 Study) at 2.
4
  “Plinking” is shooting at random targets such as bottles and cans. 1989 Report at 10.
5
  1989 Report at 8-9; 1998 Study at 18-19.
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suitability of shotguns. A shotgun study working group (working group) was assigned to
perform a shotgun study under the § 925(d)(3) sporting purposes test. The working group
considered the 1989 and 1998 studies, but neither adopted nor entirely accepted findings from
those studies as conclusive as to shotguns.

Sporting Purpose

Determination of whether a firearm is generally accepted for use in sporting purposes is the
responsibility of the Attorney General (formerly the Secretary of the Treasury). As in the
previous studies, the working group considered the historical context of “sporting purpose” and
that Congress originally intended a narrow interpretation of sporting purpose under § 925(d)(3).

While the 1989 and 1998 studies considered all rifles in making their recommendations, these
studies first identified firearm features and subsequently identified those activities believed to
constitute a legitimate “sporting purpose.” However, in reviewing the previous studies, the
working group believes that it is appropriate to first consider the current meaning of “sporting
purpose” as this may impact the “sporting” classification of any shotgun or shotgun features. For
example, military shotguns, or shotguns with common military features that are unsuitable for
traditional shooting sports, may be considered “particularly suitable for or readily adaptable to
sporting purposes” if military shooting competitions are considered a generally recognized
sporting purpose. Therefore, in determining the contemporary meaning of sporting purposes, the
working group examined not only the traditional sports of hunting and organized competitive
target shooting, but also made an effort to consider other shooting activities.

In particular, the working group examined participation in and popularity of practical shooting
events as governed by formal rules, such as those of the United States Practical Shooting
Association (USPSA) and International Practical Shooting Confederation (IPSC), to determine
whether it was appropriate to consider these events a “sporting purpose” under § 925(d)(3).
While the number of members reported for USPSA is similar to the membership for other
shotgun shooting organizations, 6 the working group ultimately determined that it was not
appropriate to use this shotgun study to determine whether practical shooting is “sporting” under
§ 925(d)(3). A change in ATF’s position on practical shooting has potential implications for rifle
and handgun classifications as well. Therefore, the working group believes that a more thorough
and complete assessment is necessary before ATF can consider practical shooting as a generally
recognized sporting purpose.

The working group agreed with the previous studies in that the activity known as “plinking” is
“primarily a pastime” and could not be considered a recognized sport for the purposes of


6
  Organization websites report these membership numbers: for the United States Practical Shooting Association, approx. 19,000; Amateur
Trapshooting Association, over 35,000 active members; National Skeet Shooting Association, nearly 20,000 members; National Sporting Clays
Association, over 22,000 members; Single Action Shooting Society, over 75,000 members.
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importation. 7 Because almost any firearm can be used in that activity, such a broad reading of
“sporting purpose” would be contrary to the congressional intent in enacting section 925(d)(3).
For these reasons, the working group recommends that plinking not be considered a sporting
purpose. However, consistent with past court decisions and Congressional intent, the working
group recognized hunting and other more generally recognized or formalized competitive events
similar to the traditional shooting sports of trap, skeet, and clays.

Firearm Features

In reviewing the shotguns used for those activities classified as sporting purposes, the working
group examined State hunting laws, rules, and guidelines for shooting competitions and shooting
organizations; industry advertisements and literature; scholarly and historical publications; and
statistics on participation in the respective shooting sports. Following this review, the working
group determined that certain shotgun features are not particularly suitable or readily adaptable
for sporting purposes. These features include:

             (1) Folding, telescoping, or collapsible stocks;
             (2) bayonet lugs;
             (3) flash suppressors;
             (4) magazines over 5 rounds, or a drum magazine;
             (5) grenade-launcher mounts;
             (6) integrated rail systems (other than on top of the receiver or barrel);
             (7) light enhancing devices;
             (8) excessive weight (greater than 10 pounds for 12 gauge or smaller);
             (9) excessive bulk (greater than 3 inches in width and/or greater than 4 inches in depth);
             (10) forward pistol grips or other protruding parts designed or used for gripping the
             shotgun with the shooter’s extended hand.

Although the features listed above do not represent an exhaustive list of possible shotgun
features, designs or characteristics, the working group determined that shotguns with any one of
these features are most appropriate for military or law enforcement use. Therefore, shotguns
containing any of these features are not particularly suitable for nor readily adaptable to
generally recognized sporting purposes such as hunting, trap, sporting clay, and skeet shooting.
Each of these features and an analysis of each of the determinations are included within the main
body of the report.




7
    1989 Study at 10; 1998 Study at 17.
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                                    Study on the Importability of Certain Shotguns

The purpose of this study is to establish criteria that the Bureau of Alcohol, Tobacco, Firearms
and Explosives (ATF) will use to determine the importability of certain shotguns under the
provisions of the Gun Control Act of 1968 (GCA).

                                              Background on Shotguns

A shotgun is defined by the GCA as “a weapon designed or redesigned, made or remade, and
intended to be fired from the shoulder and designed or redesigned and made or remade to use the
energy of an explosive to fire through a smooth bore either a number of ball shot or a single
projectile for each single pull of the trigger.” 8

Shotguns are traditional hunting firearms and, in the past, have been referred to as bird guns or
“fowling” pieces. They were designed to propel multiple pellets of shot in a particular pattern
that is capable of killing the game that is being hunted. This design and type of ammunition
limits the maximum effective long distance range of shotguns, but increases their effectiveness
for small moving targets such as birds in flight at a close range. Additionally, shotguns have
been used to fire slugs. A shotgun slug is a single metal projectile that is fired from the barrel.
Slugs have been utilized extensively in areas where State laws have restricted the use of rifles for
hunting. Additionally, many States have specific shotgun seasons for deer hunting and, with the
reintroduction of wild turkey in many States, shotguns and slugs have found additional sporting
application.

Shotguns are measured by gauge in the United States. The gauge number refers to the “number
of equal-size balls cast from one pound of lead that would pass through the bore of a specific
diameter.” 9 The largest commonly available gauge is 10 gauge (.0775 in. bore diameter).
Therefore, a 10 gauge shotgun will have an inside diameter equal to that of a sphere made from
one-tenth of a pound of lead. By far, the most common gauges are 12 (0.729 in. diameter) and
20 (0.614 in. diameter). The smallest shotgun that is readily available is known as a “.410,”
which is the diameter of its bore measured in inches. Technically, a .410 is a 67 gauge shotgun.

                                         Background on Sporting Suitability

The GCA generally prohibits the importation of firearms into the United States. 10 However, the
statute exempts four narrow categories of firearms that the Attorney General shall authorize for
importation. Originally enacted by Title IV of the Omnibus Crime Control and Safe Streets Act
of 1968, 11 and amended by Title I of the GCA 12 enacted that same year, this section provides, in
pertinent part:

8
  18 U.S.C. § 921(a)(5).
9
  The Shotgun Encyclopedia at 106.
10
   18 U.S.C. § 922(l).
11
   Pub. Law 90-351 (June 19, 1968).
12
   Pub. Law 90-618 (October 22, 1968).
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           the Attorney General shall authorize a firearm . . . to be imported or brought into
           the United States . . . if the firearm . . . (3) is of a type that does not fall within the
           definition of a firearm as defined in section 5845(a) of the Internal Revenue Code
           of 1954 and is generally recognized as particularly suitable for or readily
           adaptable to sporting purposes, excluding surplus military firearms, except in
           any case where the Secretary has not authorized the importation of the firearm
           pursuant to this paragraph, it shall be unlawful to import any frame, receiver, or
           barrel of such firearm which would be prohibited if assembled. 13 (Emphasis
           added)

This section addresses Congress’ concern that the United States had become a “dumping ground
of the castoff surplus military weapons of other nations,” 14 in that it exempted only firearms with
a generally recognized sporting purpose. In recognizing the difficulty in implementing this
section, Congress gave the Secretary of the Treasury (now the Attorney General) the discretion
to determine a weapon’s suitability for sporting purposes. This authority was ultimately
delegated to what is now ATF. Immediately after discussing the large role cheap imported .22
caliber revolvers were playing in crime, the Senate Report stated:

           [t]he difficulty of defining weapons characteristics to meet this target without
           discriminating against sporting quality firearms, was a major reason why the
           Secretary of the Treasury has been given fairly broad discretion in defining and
           administering the import prohibition. 15

Indeed, Congress granted this discretion to the Secretary even though some expressed
concern with its breadth:

           [t]he proposed import restrictions of Title IV would give the Secretary of
           the Treasury unusually broad discretion to decide whether a particular type of
           firearm is generally recognized as particularly suitable for, or readily adaptable
           to, sporting purposes. If this authority means anything, it permits Federal officials
           to differ with the judgment of sportsmen expressed through consumer preference
           in the marketplace…. 16

Since that time, ATF has been responsible for determining whether firearms are generally
recognized as particularly suitable for or readily adaptable to sporting purposes under the statute.


13
   18 U.S.C. § 925(d)(3). In pertinent part, 26 U.S.C. § 5845(a) includes “a shotgun having a barrel or barrels of less than 18 inches in length.”
14
   90 P.L. 351 (1968).
15
   S. Rep. No. 1501, 90th Cong. 2d Sess. 38 (1968).
16
   S. Rep. No. 1097, 90th Cong. 2d. Sess. 2155 (1968) (views of Senators Dirksen, Hruska, Thurmond, and Burdick). In Gun South, Inc. v.
Brady, 877 F.2d 858, 863 (11th Cir. 1989), the court, based on legislative history, found that the GCA gives the Secretary “unusually broad
discretion in applying section 925(d)(3).”
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On December 10, 1968, the Alcohol and Tobacco Tax Division of the Internal Revenue Service
(predecessor to ATF) convened a “Firearm Advisory Panel” to assist with defining “sporting
purposes” as utilized in the GCA. This panel was composed of representatives from the
military, law enforcement, and the firearms industry. The panel generally agreed that firearms
designed and intended for hunting and organized competitive target shooting would fall into the
sporting purpose criteria. It was also the consensus that the activity of “plinking” was primarily
a pastime and therefore would not qualify. Additionally, the panel looked at criteria for
handguns and briefly discussed rifles. However, no discussion took place on shotguns given
that, at the time, all shotguns were considered inherently sporting because they were utilized for
hunting or organized competitive target competitions.

Then, in 1984, ATF organized the first large scale study aimed at analyzing the sporting
suitability of certain firearms. Specifically, ATF addressed the sporting purposes of the Striker-
12 and Streetsweeper shotguns. These particular shotguns were developed in South Africa as
law enforcement, security and anti-terrorist weapons. These firearms are nearly identical 12-
gauge shotguns, each with 12-round capacity and spring-driven revolving magazines. All 12
rounds can be fired from the shotguns within 3 seconds.

In the 1984 study, ATF ruled that the Striker-12 and the Streetsweeper were not eligible for
importation under 925(d)(3) because they were not “particularly suitable for sporting purposes.”
In doing this, ATF reversed an earlier opinion and specifically rejected the proposition that
police or combat competitive shooting events were a generally accepted “sporting purpose.”
This 1984 study adopted a narrow interpretation of organized competitive target shooting
competitions to include the traditional target events such as trap and skeet. ATF ultimately
concluded that the size, weight and bulk of the shotguns made them difficult to maneuver in
traditional shooting sports and, therefore, these shotguns were not particularly suitable for or
readily adaptable to these sporting purposes. At the same time, however, ATF allowed
importation of a SPAS-12 variant shotgun because its size, weight, bulk and modified
configuration were such that it was particularly suitable for traditional shooting sports. 17 The
Striker-12 and Streetsweeper were later classified as “destructive devices” pursuant to the
National Firearms Act. 18

In 1989, and again in 1998, ATF conducted studies to determine whether certain rifles could be
imported under section 925(d)(3). The respective studies focused primarily on the application of
the sporting purposes test to a type of firearm described as a “semiautomatic assault weapon.” In
both 1989 and 1998, ATF was concerned that certain semiautomatic assault weapons had been
approved for importation even though they did not satisfy the sporting purposes test.



17
     Private letter Ruling of August 9, 1989 from Bruce L. Weininger, Chief, Firearms and Explosives Division.
18
     See ATF Rulings 94-1 and 94-2.
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1989 Study

In 1989, ATF announced that it was suspending the importation of several semiautomatic assault
rifles pending a decision on whether they satisfied the sporting criteria under section 925(d)(3).
The 1989 study determined that assault rifles were a “type” of rifle that contained a variety of
physical features that distinguished them from traditional sporting rifles. The study concluded
that there were three characteristics that defined semiautomatic assault rifles:

     (1) a military configuration (ability to accept a detachable magazine, folding/telescoping
         stocks, pistol grips, ability to accept a bayonet, flash suppressors, bipods, grenade
         launchers, and night sights);
     (2) semiautomatic version of a machinegun;
     (3) chambered to accept a centerfire cartridge case having a length of 2.25 inches or less.19

The 1989 study then examined the scope of “sporting purposes“ as used in the statute. 20 The
study noted that “[t]he broadest interpretation could take in virtually any lawful activity or
competition which any person or groups of persons might undertake. Under this interpretation,
any rifle could meet the “sporting purposes” test.21 The 1989 study concluded that a broad
interpretation would render the statute useless. The study therefore concluded that neither
plinking nor “police/combat-type” competitions would be considered sporting activities under
the statute. 22

The 1989 study concluded that semiautomatic assault rifles were “designed and intended to be
particularly suitable for combat rather than sporting applications.” 23 With this, the study
determined that they were not suitable for sporting purposes and should not be authorized for
importation under section 925(d)(3).

1998 Study

The 1998 study was conducted after “members of Congress and others expressed concern that
rifles being imported were essentially the same as semiautomatic assault rifles previously
determined to be nonimportable” under the 1989 study. 24 Specifically, many firearms found to
be nonimportable under the 1989 study were later modified to meet the standards outlined in the
study. These firearms were then legally imported into the country under section 925(d)(3). ATF
commissioned the 1998 study on the sporting suitability of semiautomatic rifles to address
concerns regarding these modified firearms.

19
   1989 Report and Recommendation on the ATF Working Group on the Importability of Certain Semiautomatic Rifles (1989 Study).
20
   Id. at 8.
21
   Id.
22
   Id. At 9.
23
   Id. At 12.
24
   1998 Study at 1.
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The 1998 study identified the firearms in question and determined that the rifles shared an
important feature—the ability to accept a large capacity magazine that was originally designed
for military firearms. The report then referred to such rifles as Large Capacity Military
Magazine rifles or “LCMM rifles.” 25

The study noted that after 1989, ATF refused to allow importation of firearms that had any of the
identified non-sporting features, but made an exception for firearms that possessed only a
detachable magazine. Relying on the 1994 Assault Weapons Ban, the 1998 study noted that
Congress “sent a strong signal that firearms with the ability to expel large amounts of
ammunition quickly are not sporting.” 26 The study concluded by adopting the standards set forth
in the 1989 study and by reiterating the previous determination that large capacity magazines are
a military feature that bar firearms from importation under section 925(d)(3). 27

Present Study

While ATF conducted the above mentioned studies on the sporting suitability of rifles, to date,
no study has been conducted to address the sporting purposes and importability of shotguns.
This study was commissioned for that purpose and to ensure that ATF complies with it statutory
mandate under section 925(d)(3).

                                                              Methodology

To conduct this study, the working group reviewed current shooting sports and the sporting
suitability of common shotguns and shotgun features. At the outset, the working group
recognized the importance of acknowledging the inherent differences between rifles, handguns
and shotguns. These firearms have distinct characteristics that result in specific applications of
each weapon. Therefore, in conducting the study, the working group generally considered
shotguns without regard to technical similarities or differences that exist in rifles or handguns.

The 1989 and 1998 studies examined particular features and made sporting suitability
determinations based on the generally accepted sporting purposes of rifles. These studies served
as useful references because, in recent years, manufacturers have produced shotguns with
features traditionally found only on rifles. These features are typically used by military or law
enforcement personnel and provide little or no advantage to sportsmen.

Following a review of the 1989 and 1998 studies, the working group believed that it was
necessary to first identify those activities that are considered legitimate “sporting purposes” in
the modern era. While the previous studies determined that only “the traditional sports of
hunting and organized competitive target shooting” would be considered “sporting,” 28 the
working group recognized that sporting purposes may evolve over time. The working group felt

25
   1998 Study at 16.
26
   1998 Study at 3.
27
   The 1994 Assault Weapons Ban expired Sept. 13, 2004, as part of the law's sunset provision.
28
   1998 Study at 16
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                                                                     ‐6‐


that the statutory language supported this because the term “generally recognized” modifies, not
only firearms used for shooting activities, but also the shooting activities themselves. This is to
say that an activity is considered “sporting” under section 925(d)(3) if it is generally recognized
as such. 29 Therefore, activities that were “generally recognized” as legitimate “sporting
purposes” in previous studies are not necessarily the same as those activities that are “generally
recognized” as sporting purposes in the modern era. As stated above, Congress recognized the
difficulty in legislating a fixed meaning and therefore gave the Attorney General the
responsibility to make such determinations. As a result, the working group did not simply accept
the proposition that sporting events were limited to hunting and traditional trap and skeet target
shooting. In determining whether an activity is now generally accepted as a sporting purpose,
the working group considered a broad range of shooting activities.

Once the working group determined those activities that are generally recognized as a “sporting
purpose” under section 925(d)(3), it examined numerous shotguns with diverse features in an
effort to determine whether any particular firearm was particularly suitable for or readily
adaptable to those sports. In coming to a determination, the working group recognized that a
shotgun cannot be classified as sporting merely because it may be used for a sporting purpose.
During debate on the original bill, there was discussion about the meaning of the term "sporting
purposes." Senator Dodd stated:

           Here again I would have to say that if a military weapon is used in a special
           sporting event, it does not become a sporting weapon. It is a military weapon used in a
           special sporting event . . . . As I said previously the language says no firearms will be
           admitted into this country unless they are genuine sporting weapons. 30

In making a determination on any particular feature, the working group considered State hunting
laws, currently available products, scholarly and historical publications, industry marketing, and
rules and regulations of organization such as the National Skeet Shooting Association, Amateur
Trapshooting Association, National Sporting Clays Association, Single Action Shooting Society,
International Practical Shooting Confederation (IPSC), and the United States Practical Shooting
Association (USPSA). Analysis of these sources as well as a variety of shotguns led the working
group to conclude that certain shotguns were of a type that did not meet the requirements of
section 925(d)(3), and therefore, could not lawfully be imported.




29
   ATF previously argued this very point in Gilbert Equipment Company , Inc. v. Higgins, 709 F.Supp. 1071, 1075 (S.D. Ala. 1989). The court
agreed, noting, “according to Mr. Drake, the bureau takes the position…that an event has attained general recognition as being a sport before
those uses and/or events can be ‘sporting purposes’ or ‘sports’ under section 925(d)(3). See also Declaration of William T. Drake, Deputy
Director, Bureau of Alcohol, Tobacco and Firearms.
30
   114 Cong. Rec. 27461-462 (1968).
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                                            Analysis

A. Scope of Sporting Purposes

In conducting the sporting purposes test on behalf of the Attorney General, ATF examines the
physical and technical characteristics of a shotgun and determines whether those characteristics
meet this statutory requirement. A shotgun’s suitability for a particular sport depends upon the
nature and requirements inherent to that sport. Therefore, determining a “sporting purpose” was
the first step in this analysis under section 925(d)(3) and is a critical step of the process.

A broad interpretation of “sporting purposes” may include any lawful activity in which a shooter
might participate and could include any organized or individual shooting event or pastime. A
narrow interpretation of “sporting purposes” would clearly result in a more selective standard
governing the importation of shotguns.

Consistent with previous ATF decisions and case law, the working group recognized that a sport
or event must “have attained general recognition as being a ‘sport,’ before those uses and/or
events can be ‘sporting purposes’ or ‘sports’ under Section 925(d)(3).” 31 The statutory language
limits ATF’s authority to recognize a particular shooting activity as a “sporting purpose,” and
therefore requires a narrow interpretation of this term. As stated however, the working group
recognized that sporting purposes may change over time, and that certain shooting activities may
become “generally recognized” as such.

At the present time, the working group continues to believe that the activity known as “plinking”
is not a generally recognized sporting purpose. There is nothing in the legislative history of the
GCA to indicate that section 925(d)(3) was meant to recognize every conceivable type of activity
or competition that might employ a firearm. Recognition of plinking as a sporting purpose
would effectively nullify section 925(d)(3) because it may be argued that any shotgun is
particularly suitable for or readily adaptable to this activity.

The working group also considered “practical shooting” competitions. Practical shooting events
generally measure a shooter’s accuracy and speed in identifying and hitting targets while
negotiating obstacle-laden shooting courses. In these competitions, the targets are generally
stationary and the shooter is mobile, as opposed to clay target shooting where the targets are
moving at high speeds mimicking birds in flight. Practical shooting consist of rifle, shotgun and
handgun competitions, as well as “3-Gun” competitions utilizing all three types of firearm on
one course. The events are often organized by local or national shooting organizations and
attempt to categorize shooters by skill level in order to ensure competitiveness within the
respective divisions. The working group examined participation in and popularity of practical
shooting events as governed under formal rules such as those of the United States Practical
Shooting Association (USPSA) and International Practical Shooting Confederation (IPSC) to see

31
     Gilbert at 1085.
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                                                                   ‐8‐


if it is appropriate to consider these events a legitimate “sporting purpose” under section
925(d)(3).

The USPSA currently reports approximately 19,000 members that participate in shooting events
throughout the United States. 32 While USPSA’s reported membership is within the range of
members for some other shotgun shooting organizations, 33 organizations involved in shotgun
hunting of particular game such as ducks, pheasants and quail indicate significantly more
members than any of the target shooting organizations. 34 Because a determination on the
sporting purpose of practical shooting events should be made only after an in-depth study of
those events, the working group determined that it was not appropriate to use this shotgun study
to make a definitive conclusion as to whether practical shooting events are “sporting” for
purposes of section 925(d)(3). Any such study must include rifles, shotguns and handguns
because practical shooting events use all of these firearms, and a change in position by ATF on
practical shooting or “police/combat-type” competitions may have an impact on the sporting
suitability of rifles and handguns. Further, while it is clear that shotguns are used at certain
practical shooting events, it is unclear whether shotgun use is so prevalent that it is “generally
recognized” as a sporting purpose. If shotgun use is not sufficiently popular at such events,
practical shooting would have no effect on any sporting suitability determination of shotguns.
Therefore, it would be impractical to make a determination based upon one component or aspect
of the practical shooting competitions.

As a result, the working group based the following sporting suitability criteria on the traditional
sports of hunting, trap and skeet target shooting.

B. Suitability for Sporting Purposes

The final step in our review involved an evaluation of shotguns to determine a “type” of firearm
that is “generally recognized as particularly suitable or readily adaptable to sporting purposes.”
Whereas the 1989 and 1998 studies were conducted in response to Congressional interest
pertaining to a certain “type” of firearm, the current study did not benefit from a mandate to
focus upon and review a particular type of firearm. Therefore, the current working group
determined that it was necessary to consider a broad sampling of shotguns and shotgun features
that may constitute a “type.”

Whereas rifles vary greatly in size, function, caliber and design, historically, there is less
variation in shotgun design. However, in the past several years, ATF has witnessed increasingly
diverse shotgun design. Much of this is due to the fact that some manufacturers are now
applying rifle designs and features to shotguns. This has resulted in a type of shotgun that has
32
     See www.uspsa.org.
33
   Organization websites report these membership numbers: for the United States Practical Shooting Association, approx. 19,000; Amateur
Trapshooting Association, over 35,000 active members; National Skeet Shooting Association, nearly 20,000 members; National Sporting Clays
Association, over 22,000 members; Single Action Shooting Society, over 75,000 members.
34
   Organization websites report these membership numbers: Ducks Unlimited, U.S adult 604,902 (Jan. 1, 2010); Pheasants/Quail Forever, over
130,000 North American members (2010) http://www.pheasantfest.org/page/1/PressReleaseViewer.jsp?pressReleaseId=12406.
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features or characteristics that are based on tactical and military firearms. Following a review of
numerous shotguns, literature, and industry advertisements, the working group determined that
the following shotgun features and design characteristics are particularly suitable for the military
or law enforcement, and therefore, offer little or no advantage to the sportsman. Therefore, we
recognized that any shotgun with one or more of these features represent a “type” of firearm that
is not “generally recognized as particularly suitable or readily adaptable to sporting purposes”
and may not be imported under section 925(d)(3).

(1) Folding, telescoping or collapsible stock.

Shotgun stocks vary in style, but sporting stocks have largely resembled the traditional design. 35
Many military firearms incorporate folding or telescoping stocks. The main advantage of this
feature is portability, especially for airborne troops. These stocks allow the firearm to be fired
from the folded or retracted position, yet it is difficult to fire as accurately as can be done with an
open or fully extended stock. While a folding stock or telescoping stock makes it easier to carry
the firearm, its predominant advantage is for military and tactical purposes. A folding or
telescoping stock is therefore not found on the traditional sporting shotgun. Note that certain
shotguns may utilize adjustable butt plates, adjustable combs, or other designs intended only to
allow a shooter to make small custom modifications to a shotgun. These are not intended to
make a shotgun more portable, but are instead meant to improve the overall “fit” of the shotgun
to a particular shooter. These types of adjustable stocks are sporting and are, therefore,
acceptable for importation.

(2) Bayonet Lug.

A bayonet lug is generally a metal mount that allows the installation of a bayonet onto the end of
a firearm. While commonly found on rifles, bayonets have a distinct military purpose.
Publications have indicated that this may be a feature on military shotguns as well. 36 It enables
soldiers to fight in close quarters with a knife attached to their firearm. The working group
discovered no generally recognized sporting application for a bayonet on a shotgun.

(3) Flash Suppressor.

Flash suppressors are generally used on military firearms to disperse the muzzle flash in order to
help conceal the shooter’s position, especially at night. Compensators are used on military and
commercial firearms to assist in controlling recoil and the “muzzle climb” of the shotgun.
Traditional sporting shotguns do not have flash suppressors or compensators. However, while
compensators have a limited benefit for shooting sports because they allow the shooter to quickly
reacquire the target for a second shot, there is no particular benefit in suppressing muzzle flash in

35
     Exhibit 1.
36
     A Collector’s Guide to United States Combat Shotguns at 156.
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sporting shotguns. Therefore, the working group finds that flash suppressors are not a sporting
characteristic, while compensators are a sporting feature. However, compensators that, in the
opinion of ATF, actually function as flash suppressors are neither particularly suitable nor
readily adaptable to sporting purposes.

(4) Magazine over 5 rounds, or a Drum Magazine.

A magazine is an ammunition storage and feeding device that delivers a round into the chamber
of the firearm during automatic or semiautomatic firing. 37 A magazine is either integral (tube
magazine) to the firearm or is removable (box magazine). A drum magazine is a large circular
magazine that is generally detachable and is designed to hold a large amount of ammunition.

The 1989 Study recognized that virtually all modern military firearms are designed to accept
large, detachable magazines. The 1989 Study noted that this feature provides soldiers with a
large ammunition supply and the ability to reload rapidly. The 1998 Study concurred with this
and found that, for rifles, the ability to accept a detachable large capacity magazine was not a
sporting feature. The majority of shotguns on the market today contain an integral “tube”
magazine. However, certain shotguns utilize removable box magazine like those commonly
used for rifles. 38

In regard to sporting purposes, the working group found no appreciable difference between
integral tube magazines and removable box magazines. Each type allowed for rapid loading,
reloading, and firing of ammunition. For example, “speed loaders” are available for shotguns
with tube-type magazines. These speed loaders are designed to be preloaded with shotgun shells
and can reload a shotgun with a tube-type magazine in less time than it takes to change a
detachable magazine.

However, the working group determined that magazines capable of holding large amounts of
ammunition, regardless of type, are particularly designed and most suitable for military and law
enforcement applications. The majority of state hunting laws restrict shotguns to no more than 5
rounds. 39 This is justifiable because those engaged in sports shooting events are not engaging in
potentially hostile or confrontational situations, and therefore do not require the large amount of
immediately available ammunition, as do military service members and police officers.

Finally, drum magazines are substantially wider and have considerably more bulk than standard
clip-type magazines. They are cumbersome and, when attached to the shotgun, make it more
difficult for a hunter to engage multiple small moving targets. Further, drum magazines are
generally designed to contain more than 5 rounds. Some contain as many as 20 or more


37
   Steindler’s New Firearms Dictionary at 164.
38
   See Collector’s Guide to United States Combat Shotguns at 156-7, noting that early combat shotguns were criticized because of their limited
magazine capacity and time consuming loading methods.
39
   Exhibit 2.
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                                                            ‐ 11 ‐


rounds. 40 While such magazines may have a military or law enforcement application, the
working group determined that they are not useful for any generally recognized sporting purpose.
These types of magazines are unlawful to use for hunting in most states, and their possession and
manufacture are even prohibited or restricted in some states. 41

(5) Grenade Launcher Mount.

Grenade launchers are incorporated into military firearms to facilitate the launching of explosive
grenades. Such launchers are generally of two types. The first type is a flash suppressor
designed to function as a grenade launcher. The second type attaches to the barrel of the firearm
either by screws or clamps. Grenade launchers have a particular military application and are not
currently used for sporting purposes.

(6) Integrated Rail Systems. 42

This refers to a mounting rail system for small arms upon which firearm accessories and features
may be attached. This includes scopes, sights, and other features, but may also include
accessories or features with no sporting purpose, including flashlights, foregrips, and bipods.
Rails on the sides and underside of shotguns—including any accessory mount—facilitate
installation of certain features lacking any sporting purpose. However, receiver rails that are
installed on the top of the receiver and barrel are readily adaptable to sporting purposes because
this facilitates installation of optical or other sights.

(7) Light Enhancing Devices.

Shotguns are generally configured with either bead sights, iron sights or optical sights,
depending on whether a particular sporting purpose requires the shotgun to be pointed or
aimed. 43 Bead sights allow a shooter to “point” at and engage moving targets at a short distance
with numerous small projectiles, including birds, trap, skeet and sporting clays. Iron and optical
sights are used when a shooter, firing a slug, must “aim” a shotgun at a target, including deer,
bear and turkeys. 44 Conversely, many military firearms are equipped with sighting devices that
utilize available light to facilitate night vision capabilities. Devices or optics that allow
illumination of a target in low-light conditions are generally for military and law enforcement
purposes and are not typically found on sporting shotguns because it is generally illegal to hunt
at night.



40
   Exhibit 3.
41
   See, e.g., Cal Pen Code § 12020; N.J. Stat. § 2C:39-9.
42
   Exhibit 4.
43
   NRA Firearms Sourcebook at 178.
44
   Id.
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(8) Excessive Weight. 45

Sporting shotguns, 12 gauge and smaller, are lightweight (generally less than 10 pounds fully
assembled), 46 and are balanced and maneuverable. This aids sportsmen by allowing them to
carry the firearm over long distances and rapidly engage a target. Unlike sporting shotguns,
military firearms are larger, heavier, and generally more rugged. This design allows the
shotguns to withstand more abuse in combat situations.

(9) Excessive Bulk. 47

Sporting shotguns are generally no more than 3 inches in width or more than 4 inches in depth.
This size allows sporting shotguns to be sufficiently maneuverable in allowing hunters to rapidly
engage targets. Certain combat shotguns may be larger for increased durability or to withstand
the stress of automatic fire. The bulk refers to the fully assembled shotgun, but does not include
magazines or accessories such as scopes or sights that are used on the shotgun. For both width
and depth, shotguns are measured at the widest points of the action or housing on a line that is
perpendicular to the center line of the bore. Depth refers to the distance from the top plane of the
shotgun to the bottom plane of the shotgun. Width refers to the length of the top or bottom plane
of the firearm and measures the distance between the sides of the shotgun. Neither measurement
includes the shoulder stock on traditional sporting shotgun designs.

(10) Forward Pistol Grip or Other Protruding Part Designed or Used for Gripping the Shotgun
with the Shooter’s Extended Hand. 48

While sporting shotguns differ in the style of shoulder stock, they are remarkably similar in fore-
end design. 49 Generally, sporting shotguns have a foregrip with which the shooter’s forward
hand steadies and aims the shotgun. Recently, however, some shooters have started attaching
forward pistol grips to shotguns. These forward pistol grips are often used on tactical firearms
and are attached to those firearms using the integrated rail system. The ergonomic design allows
for continued accuracy during sustained shooting over long periods of time. This feature offers
little advantage to the sportsman. Note, however, that the working group believes that pistol
grips for the trigger hand are prevalent on shotguns and are therefore generally recognized as
particularly suitable for sporting purposes. 50

While the features listed above are the most common non-sporting shotgun features, the working
group recognizes that other features, designs, or characteristics may exist. Prior to importation,
ATF will classify these shotguns based upon the requirements of section 925(d)(3). The working
45
   See generally Gilbert.
46
   Shotgun Encyclopedia 2001 at 264.
47
   Exhibit 5.
48
   Exhibit 6.
49
   See Exhibit 1. See generally NRA Firearms Sourcebook at 121-2.
50
   See Exhibit 1.
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                                               ‐ 13 ‐


group expects the continued application of unique features and designs to shotguns that may
include features or designs based upon traditional police or military tactical rifles. However,
even if a shotgun does not have one of the features listed above, it may be considered “sporting”
only if it meets the statutory requirements under section 925(d)(3). Further, the simple fact that
a military firearm or feature may be used for a generally recognized sporting purposes is not
sufficient to support a determination that it is sporting under 925(d)(3). Therefore, as required
by section 925(d)(3), in future sporting classifications for shotguns, ATF will classify the
shotgun as sporting only if there is evidence that its features or design characteristics are
generally recognized as particularly suitable for or readily adaptable to generally recognized
sporting purposes.

The fact that a firearm or feature was initially designed for military or tactical applications,
including offensive or defensive combat, may indicate that it is not a sporting firearm. This may
be overcome by evidence that the particular shotgun or feature has been so regularly used by
sportsmen that it is generally recognized as particularly suitable for or readily adaptable to
sporting purposes. Such evidence may include marketing, industry literature and consumer
articles, scholarly and historical publications, military publications, the existence of State and
local statutes and regulations limiting use of the shotgun or features for sporting purposes, and
the overall use and the popularity of such features or designs for sporting purposes according to
hunting guides, shooting magazines, State game commissioners, organized competitive hunting
and shooting groups, law enforcement agencies or organizations, industry members and trade
associations, and interest and information groups. Conversely, a determination that the shotgun
or feature was originally designed as an improvement or innovation to an existing sporting
shotgun design or feature will serve as evidence that the shotgun is sporting under section
925(d)(3). However, any new design or feature must still satisfy the sporting suitability test
under section 925(d)(3) as outlined above.

The Attorney General and ATF are not limited to these factors and therefore may consider any
other factor determined to be relevant in making this determination. The working group
recognizes the difficulty in applying this standard but acknowledges that Congress specifically
intended that the Attorney General perform this function. Therefore, the working group
recommends that sporting determinations for shotguns not specifically addressed by this study be
reviewed by a panel pursuant to ATF orders, policies and procedures, as appropriate.

                                           Conclusion

The purpose of section 925(d)(3) is to provide a limited exception to the general prohibition on
the importation of firearms without placing “any undue or unnecessary Federal restrictions or
burdens on law-abiding citizens with respect to the acquisition, possession, or use of
firearms….” 51 Our determinations will in no way preclude the importation of true sporting
shotguns. While it will certainly prevent the importation of certain shotguns, we believe that
51
     90 P.L. 351 (1968).
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those shotguns containing the enumerated features cannot be fairly characterized as “sporting”
shotguns under the statute. Therefore, it is the recommendation of the working group that
shotguns with any of the characteristics or features listed above not be authorized for
importation.
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                                   Shotgun Stock Style Comparison
                                                                          Exhibit 1


“Straight” or “English” style stock (Ruger Red Label):




“Pistol grip” style stock (Browning Citori):




“Pistol grip” style stock (Mossberg 935 Magnum Turkey):




“Thumbhole” style stock (Remington SP-10):




Stock with Separate Pistol Grip
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                                                                   Hunting Statutes by State                                              Exhibit 2


State         Gauge                                        Mag Restriction / plugged         Attachments              Semi-Auto   Other
                                                           with one piece filler requiring
                                                           disassembly of gun for
                                                           removal
Alabama       10 gauge or smaller;                         (Species specific) 3 shells                                            1




Alaska        10 gauge or smaller

Arizona       10 gauge or smaller                          5 shells


Arkansas      ≤ 10 gauge; some zones ≥ .410; ≥ 20 gauge    (Species specific) 3 shells
              for bear

California    ≤ 10 gauge; Up to 12 gauge in some areas     (Species specific) 3 shells



Colorado      ≥ 20 gauge; Game Mammals ≤ 10 gauge          3 shells


Connecticut   ≤ 10-gauge                                   (Species specific) 3 shells       telescopic sights




Delaware      20, 16, 12, 10 gauge                         3 shells                          Muzzleloaders may be                 2
                                                                                             equipped with scopes


Florida       Muzzleloading firing ≥ 2 balls ≥ 20-gauge;   (Species specific) 3 shells
              Migratory birds ≤ 10-gauge; opossums -
              single-shot .41 -gauge shotguns

Georgia       ≥ 20-gauge; Waterfowl ≤ 10-gauge             5 shells                          Scopes are legal
Hawaii        ≤ 10 gauge                                   (Species specific) 3 shells
Idaho                                                                                        some scopes allowed                  3


Illinois      20 - 10 gauge; no .410 or 28 gauge allowed   3 shells


Indiana                                                    (Species specific) 3 shells       Laser sights are legal
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                                                                   Hunting Statutes by State                                                                Exhibit 2


Iowa            10-, 12-, 16-, and 20-gauge


Kansas          ≥ 20 gauge; ≤ 10 gauge,                     (Species specific) 3 shells
Kentucky        up to and including 10-gauge, includes      (Species specific) 3 shells   Telescopic sights (scopes)
                .410-

Louisiana       ≤ 10 gauge                                  3 shells                      Nuisance Animals; infrared,
                                                                                          laser sighting devices, or night
                                                                                          vision devices
Maine           10 - 20 gauge                               (Species specific) 3 shells   may have any type of sights,       Auto-loading illegal if hold
                                                                                          including scopes                   more than 6 cartridges

Maryland        Muzzle loading ≥ 10 gauge ; Shotgun ≤ 10-   (Species specific) 3 shells   may use a telescopic sight on
                gauge                                                                     muzzle loading firearm

Massachusetts   ≤ 10 gauge                                  (Species specific) 3 shells
Michigan        any gauge                                   (Species specific) 3 shells                                      Illegal: semi-automatic
                                                                                                                             holding > 6 shells in barrel
                                                                                                                             and magazine combined


Minnesota       ≤ 10 gauge                                  (Species specific) 3 shells
Mississippi     any gauge                                   (Species specific) 3 shells   Scopes allowed on primitive
                                                                                          weapons
Missouri        ≤ 10 gauge                                  (Species specific) 3 shells
Montana         ≤ 10 gauge                                  (Species specific) 3 shells
Nebraska        ≥ 20 gauge                                  (Species specific) 3 shells                                      Illegal: semi-automatic
                                                                                                                             holding > 6 shells in barrel
                                                                                                                             and magazine combined
Nevada          ≤ 10 gauge; ≥ 20 gauge                      (Species specific) 3 shells




New             10 - 20 gauge                               (Species specific) 3 shells
Hampshire
New Jersey      ≤ 10 gauge; ≥ 20 gauge; or .410 caliber     (Species specific) 3 shells   Require adjustable open iron,
                                                                                          peep sight or scope affixed if
                                                                                          hunting with slugs. Telescopic
                                                                                          sights Permitted
New Mexico      ≥ 28 gauge, ≤ 10 gauge                      (Species specific) 3 shells
New York        Big game ≥ 20 gauge                                                       scopes allowed                     No semi-automatic
                                                                                                                             firearm with a capacity to
                                                                                                                             hold more than 6 rounds
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                                                                         Hunting Statutes by State                                                            Exhibit 2


North Carolina   ≤ 10 gauge                                       (Species specific) 3 shells
North Dakota     ≥ 410 gauge; no ≤ 10 gauge                       3 shells (repealed for
                                                                  migratory birds)
Ohio             ≤ 10 gauge                                       (Species specific) 3 shells
Oklahoma         ≤ 10 gauge                                       (Species specific) 3 shells
Oregon           ≤ 10 gauge; ≥ 20 gauge                           (Species specific) 3 shells   Scopes (permanent and
                                                                                                detachable), and sights
                                                                                                allowed for visually impaired
Pennsylvania     ≤ 10 gauge; ≥ 12 gauge                           (Species specific) 3 shells
Rhode Island     10, 12, 16, or 20-gauge                          5 shells
South Carolina                                                    (Species specific) 3 shells
South Dakota     (Species specific) ≤ 10 gauge                    5 shells                                                      No auto-loading firearm
                                                                                                                                holding > 6 cartridges
Tennessee        Turkey: ≥ 28 gauge                               (Species specific) 3 shells   May be equipped with sighting
                                                                                                devices
Texas            ≤ 10 gauge                                       (Species specific) 3 shells   scoping or laser sighting
                                                                                                devices used by disabled
                                                                                                hunters
Utah             ≤ 10 gauge; ≥ 20 gauge                           (Species specific) 3 shells
Vermont          ≥ 12 gauge                                       (Species specific) 3 shells
Virginia         ≤ 10 gauge                                       (Species specific) 3 shells
Washington       ≤ 10 gauge                                       (Species specific) 3 shells
West Virginia
Wisconsin        10, 12, 16, 20 and 28 gauge; no .410             (Species specific) 3 shells
                 shotgun for deer/bear

Wyoming                                                                                                                                                   4

1                Shotgun/rifle combinations (drilling)
                 permitted
2                large game training course - Students in
                 optional proficiency qualification bring their
                 own pre-zeroed, ≥ .243 , scoped shotgun
3                no firearm that, in combination with a
                 scope, sling and/or any attachments,
                 weighs more than 16 pounds



4                no relevant restrictive laws concerning
                 shotguns
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                                                         General Firearm Statutes by State                                                                Exhibit 2


State         Source                                     Semi-Auto              Attachments           Prohibited* (in addition to possession of short-barrel or sawed-off
                                                         Restrictions                                 shotguns by non-authorized persons, e.g., law enforcment officers
                                                                                                      for official duty purposes)
Alabama       Alabama Code, title 13:


Alaska        Alaska Statutes 11.61.200.(h)

Arizona       Arizona Rev. Statutes 13-3101.8.           single shot            silencer prohibited


Arkansas      Arkansas Code Title 5, Chapter 73.
California    California Penal Code, Part 4.12276. and   San Diego includes                           "Assault weapons": Franchi SPAS 12 and LAW 12; Striker 12;
              San Diego Municipal Code 53.31.            under "assault                               Streetsweeper type S/S Inc. ; semiautomatic shotguns having both a
                                                         weapon," any                                 folding or telescoping stock and a pistol grip protruding conspicuously
                                                         shotgun with a                               beneath the action of the weapon, thumbhole stock, or vertical handgrip;
                                                         magazine capacity of                         semiautomatic shotguns capable of accepting a detachable magazine; or
                                                         more than 6 rounds                           shotguns with a revolving cylinder.



Colorado      2 CCR 406-203


Connecticut   Connecticut Gen. Statutes 53-202a.                                                      "Assault weapons": Steyr AUG; Street Sweeper and Striker 12 revolving
                                                                                                      cylinder shotguns

D.C           7-2501.01.
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                                                       General Firearm Statutes by State                                                                  Exhibit 2

Delaware   7.I.§ 711.                                                                               7.I.§ 711. Hunting with automatic-loading gun prohibited; penalty
                                                                                                    (a) No person shall hunt for game birds or game animals in this State,
                                                                                                    except as authorized by state-sanctioned federal depredation/conservation
                                                                                                    orders for selected waterfowl species, with or by means of any automatic-
                                                                                                    loading or hand-operated repeating shotgun capable of holding more than
                                                                                                    3 shells, the magazine of which has not been cut off or plugged with a filler
                                                                                                    incapable of removal through the loading end thereof, so as to reduce the
                                                                                                    capacity of said gun to not more than 3 shells at 1 time, in the magazine
                                                                                                    and chamber combined.
                                                                                                    (b) Whoever violates this section shall be guilty of a class C environmental
                                                                                                    misdemeanor.
                                                                                                    (c) Having in one's possession, while in the act of hunting game birds or
                                                                                                    game animals, a gun that will hold more than 3 shells at one time in the
                                                                                                    magazine and chamber combined, except as authorized in subsection (a)
                                                                                                    of this section, shall be prima facie evidence of violation of this section.




Florida    Florida statutes, Title XLVI.790.001.


Georgia


Hawaii     Hawaii Rev. Statutes, Title 10., 134-8.                            silencer prohibited


Idaho      Idaho Code, 18-3318.


Illinois   Code of Ordinances, City of Aurora 29-43.   Aurora includes                              "Assault weapons": Street Sweeper and Striker 12 revolving cylinder
                                                       under "assault                               shotguns or semiautomatic shotguns with either a fixed magazine with a
                                                       weapon," any                                 capacity over 5 rounds or an ability to accept a detachable magazine and
                                                       shotgun with a                               has at least a folding / telescoping stock or a pistol grip that protrudes
                                                       magazine capacity of                         beneath the action of firearm and which is separate and apart from stock
                                                       more than 5 rounds
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                                                     General Firearm Statutes by State                                                               Exhibit 2

Indiana     Indiana Code 35-47-1-10. and Municipal                     South Bend under          South Bend includes under "assault weapon," any shotgun with a
            Code of the City of South Bend 13-95.                      "assault weapon"          magazine capacity of more than 9 rounds
                                                                       firearms which have
                                                                       threads, lugs, or other
                                                                       characteristics
                                                                       designed for direct
                                                                       attachment of a
                                                                       silencer, bayonet,
                                                                       flash suppressor, or
                                                                       folding stock; as well
                                                                       as any detachable
                                                                       magazine, drum, belt,
                                                                       feed strip, or similar
                                                                       device which can be
                                                                       readily made to accept
                                                                       more than 15. rounds




Iowa        Iowa Code, Title XVI. 724.1.                                                         Includes as an offensive weapon, "a firearm which shoots or is designed
                                                                                                 to shoot more than one shot, without manual reloading, by a single
                                                                                                 function of the trigger"

Kansas


Kentucky    Kentucky Revised Statutes- 150.360


Louisiana   Louisiana RS 56:116.1


Maine       Maine Revised Statutes
            12.13.4.915.4.§11214. F.

Maryland    Maryland Code 5-101.                                                                 "Assault weapons": F.I.E./Franchi LAW 12 and SPAS 12 assault shotgun;
                                                                                                 Steyr-AUG-SA semi-auto; Holmes model 88 shotgun; Mossberg model
                                                                                                 500 Bullpup assault shotgun; Street sweeper assault type shotgun; Striker
                                                                                                 12 assault shotgun in all formats; Daewoo USAS 12 semi-auto shotgun
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                                                           General Firearm Statutes by State                                                                Exhibit 2

Massachusetts   Massachusetts Gen L. 140.121.              under "assault                               "Assault weapons": revolving cylinder shotguns, e.g., Street Sweeper and
                                                           weapon": any                                 Striker 12; also "Large capacity weapon" includes any semiautomatic
                                                           shotgun with (fixed                          shotgun fixed with large capacity feeding device (or capable of accepting
                                                           or detachable)                               such), that uses a rotating cylinder capable of accepting more than 5
                                                           magazine capacity of                         shells
                                                           more than 5 rounds




Michigan        II.2.1. (2)


Minnesota       Minnesota Statutes 624.711                                                              "Assault weapons": Street Sweeper and Striker-12 revolving cylinder
                                                                                                        shotgun types as well as USAS-12 semiautomatic shotgun type



Mississippi     Mississippi Code 97-37-1.                                         silencer prohibited


Missouri        Code of State Regulations 10-7.410(1)(G)


Montana


Nebraska        Nebraska Administrative Code Title 163
                Chapter 4 001.

Nevada          Nevada Revised Statutes 503.150 1.


New Hampshire


New Jersey      New Jersey Statutes 23:4-13. and 23:4-     magazine capacity                            "Assault weapons": any shotgun with a revolving cylinder, e.g. "Street
                44. and New Jersey Rev. Statutes 2C39-     of no more than 5                            Sweeper" or "Striker 12" Franchi SPAS 12 and LAW 12 shotguns or USAS
                1.w.                                       rounds                                       12 semi-automatic type shotgun; also any semi-automatic shotgun with
                                                                                                        either a magazine capacity exceeding 6 rounds, a pistol grip, or a folding
                                                                                                        stock


New Mexico      New Mexico Administrative Code
                19.31.6.7H., 19.31.11.10N. ,
                19.31.13.10M. and 19.31.17.10N.
                   Case: 1:22-cv-04774 Document #: 87-5 Filed: 03/13/23 Page 251 of 261 PageID #:2190
                                                          General Firearm Statutes by State                                                                      Exhibit 2

New York         New York Consolidated Laws 265.00. 22.   magazine capacity   sighting device making      "Assault weapons": Any semiautomatic shotgun with at least two of the
                 and Code of the City of Buffalo 1801B.   of no more than 5   a target visible at night   following:folding or telescoping stock;pistol grip that protrudes
                                                          rounds              may classify a shotgun      conspicuously beneath the action of the weapon;fixed magazine capacity
                                                                              as an assault weapon        in excess of five rounds;an ability to accept a detachable magazine; or any
                                                                                                          revolving cylinder shotguns, e.g., Street Sweeper and Striker 12; Buffalo
                                                                                                          1801B. Assault Weapon:(2) A center-fire rifle or shotgun which employs
                                                                                                          the force of expanding gases from a discharging cartridge to chamber a
                                                                                                          fresh round after each single pull of the trigger, and which has:(a) A flash
                                                                                                          suppressor attached to the weapon reducing muzzle flash;(c) A sighting
                                                                                                          device making a target visible at night;(d) A barrel jacket surrounding all or
                                                                                                          a portion of the barrel, to dissipate heat therefrom; or(e) A multi-burst
                                                                                                          trigger activator.(3) Any stockless pistol grip shotgun.




North Carolina   North Carolina Gen. Statutes 14-288.8                        silencer prohibited


North Dakota     North Dakota Century Code 20.1-01-09.
                 Section 20.1-04-10, SHOTGUN SHELL-
                 HOLDING CAPACITY RESTRICTION,
                 repealed/eliminated

Ohio             Ohio Rev. Code 2923.11. and Columbus     magazine capacity                               semiautomatic shotgun that was originally designed with or has a fixed
                 City Codes 2323.11.                      of no more than 5                               magazine or detachable magazine with a capacity of more than five
                                                          rounds                                          rounds. Columbus includes under "Assault weapon" any semi-automatic
                                                                                                          shotgun with two or more of the following: pistol grip that protrudes
                                                                                                          conspicuously beneath the receiver of the weapon; folding, telescoping or
                                                                                                          thumbhole stock; fixed magazine capacity in excess of 5 standard 2-3/4,
                                                                                                          or longer, rounds; or ability to accept a detachable magazine; also any
                                                                                                          shotgun with revolving cylinder




Oklahoma


Oregon           Oregon Rev. Statutes 166.272.                                silencer prohibited


Pennsylvania     Title 34 Sec. 2308. (a)(4) and (b)(1)


Rhode Island     Rule 7, Part III, 3.3 and 3.4
South Carolina   SECTION 50-11-310. (E) and ARTICLE 3.
                 SUBARTICLE 1. 123 40
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                                                           General Firearm Statutes by State                                                            Exhibit 2

South Dakota    South Dakota Codified Laws 22,1,2, (8)                         silencer prohibited


Tennessee


Texas


Utah            Utah Administrative Code R657-5-9. (1),
                R657-6-6. (1) and R657-9-7.

Vermont


Virginia        Virginia Code 18.2-308.                    magazine capacity                         "Assault weapons": Striker 12's commonly called a "streetsweeper," or any
                                                           no more than 7                            semi-automatic folding stock shotgun of like kind with a spring tension
                                                           rounds (not                               drum magazine capable of holding twelve shotgun shells prohibited
                                                           applicable for
                                                           hunting or sport
                                                           shooting)


Washington      Washington Administrative Code 232-12-
                047




West Virginia   West Virginia statute 8-12-5a.




Wisconsin       Wisconsin Administrative Code – NR 10.11
                and NR 10.12




Wyoming         Wyoming Statutes, Article 3. Rifles and                        silencer prohibited
                Shotguns [Repealed] and 23-3-112.
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                                    Drum Magazine                                    Exhibit 3
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                             Integrated Rail System                                     Exhibit 4


                                      Sporting




                                      Sporting




            Non-Sporting                                Non-Sporting




                                                                              .   . .



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                                      Bulk Measurements                                  Exhibit 5


Depth refers to the distance from the top plane of the shotgun to the bottom plane of the shotgun.
Depth measurement “A” below is INCORRECT; it includes the trigger guard which is not part
of the frame or receiver. Depth measurement “B” below is CORRECT; it measures only the
depth of the frame or receiver:




Width refers to the length of the top or bottom pane of the firearm and measures the distance
between the sides of the shotgun. Width measurement “A” below is CORRECT; it measures
only the width of the frame or receiver. Width measurement “B” below is INCORRECT; it
includes the charging handle which is not part of the frame or receiver:
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                                  Forward Pistol Grip                     Exhibit 6
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                        EXHIBIT G
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The Armed Citizen – A Five Year Analysis
OVERVIEW OF SURVEY
For the period 1997 - 2001, reports from "The Armed Citizen" column of the NRA Journals were
collected. There were 482 incidents available for inclusion in the analysis. All involved the use of
firearms by private citizens in self defense or defense of others. No law enforcement related incidents
were included. The database is self-selecting in that no non-positive outcomes were reported in the
column.

DATA ANALYSIS
As might be expected, the majority of incidents (52%) took place in the home. Next most common locale
(32%) was in a business. Incidents took place in public places in 9% of reports and 7% occurred in or
around vehicles.
The most common initial crimes were armed robbery (32%), home invasion (30%), and burglary (18%).
Overall, shots were fired by the defender in 72% of incidents. The average and median number of shots
fired was 2. When more than 2 shots were fired, it generally appeared that the defender's initial
response was to fire until empty. It appears that revolver shooters are more likely to empty their guns
than autoloader shooters. At least one assailant was killed in 34% of all incidents. At least one assailant
was wounded in an additional 29% of all incidents. Of the incidents where shots are fired by a defender,
at least one assailant is killed in 53% of those incidents.
Handguns were used in 78% of incidents while long guns were used in 13%; in the balance the type of
firearm was not reported. The most common size of handgun was the .35 caliber family (.38, .357, 9mm)
at 61%, with most .38s apparently being of the 5 shot variety. Mouseguns (.380s and below) were at
23%, and .40 caliber and up at 15%.
The range of most incidents appears to be short but in excess of touching distance. It appears that most
defenders will make the shoot decision shortly before the criminal comes within arm's length. Defenders
frequently communicate with their attackers before shooting.
The firearm was carried on the body of the defender in only 20% of incidents. In 80% of cases, the
firearm was obtained from a place of storage, frequently in another room.
Reloading was required in only 3 incidents. One of those involved killing an escaped lion with a .32
caliber revolver, which was eventually successful after 13 shots.
Multiple conspirators were involved in 36% of the incidents. However, there were no apparent cases of
getaway drivers or lookouts acting as reinforcements for the criminal actor(s) once shooting starts. At
the sound of gunfire, immediate flight was the most common response for drivers and lookouts.
When multiple conspirators were involved, the first tier was a two man action team. If another member
was available, he was usually the driver of the getaway car and remained in the car. If a fourth
conspirator was involved, he was stationed immediately outside the target location as a lookout for the
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police or other possible intervening parties. The outside conspirators do not generally appear to be
armed. It does appear that the trend over the period has increased from one weapon in the action team
to two weapons.
The largest group of violent criminal actors was 7, a group that committed serial home invasions in
Rochester NY. An alert and prepared homeowner, who saw them invade an adjacent home, accessed his
shotgun, and dispatched them (2 killed and 1 seriously wounded) when they broke in his door.
Incidents rarely occurred in reaction time (i.e., ¼ second increments). Most commonly, criminals acted
in a shark-like fashion, slowly circling and alerting their intended victims. The defender(s) then had time
to access even weapons that were stored in other rooms and bring them to bear.
The most common responses of criminals upon being shot were to flee immediately or expire. With few
exceptions, criminals ceased their advances immediately upon being shot. Even small caliber handguns
displayed a significant degree of instant lethality (30 per cent immediate one shot kills) when employed
at close range. Many criminal actors vocally expressed their fear of being shot when the defender
displayed a weapon. Upon the criminals' flight, the "victims" frequently chased and captured or shot the
criminals and held them for the authorities.

CONCLUSIONS
1) Even small caliber weapons are adequate to solve the vast majority of incidents requiring armed self-
defense.
2) Mindset of the potential victim was far more important than the type of weapon used. All the victims
were willing to fight their opponents in order to survive. Although not common, in some cases bridge
weapons, such as pens, were used to gain time to access the firearm.
3) Frequently, the defenders were aware that something was amiss before the action started and then
placed themselves in position to access their weapons. Awareness of the surroundings appears to be a
key element of successful defense.
4) The defenders had some measure of familiarity with their firearms. Although perhaps not trained in
the formal sense, they appear to be able to access a firearm and immediately put it into action. At least
one defender learned from a previous experience and made the firearm more accessible for subsequent
use.
5) Training or practice with a firearm should include a substantial amount of accessing the firearm from
off body locations, such as drawers, underneath counters, etc.
6) This analysis does not present a view of the totality of armed self-defense in that non-positive
outcomes were not available for inclusion in the database. The analysis may, however, be useful in
helping to describe a methodology for successful armed self-defense. This methodology might be
described as:
    1. Be aware,
    2. Be willing to fight,
    3. Have a weapon accessible,
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   4. Be familiar enough with the weapon to employ it without fumbling,
   5. When ready, communicate, both verbally and non-verbally, to the attacker that resistance will
      be given, and
   6. If the attacker does not withdraw, counterattack without hesitation.


Data Tables
Location of Incident
Business                32%
Home                    52%
Public                  9%
In or around Vehicle    7%

Shots Fired by Type of Location   No      Yes
Business                          33%     72%
Home                              25%     75%
Public                            29%     71%
In or around Vehicle              35%     65%
Grand Total                       28%     72%

Number of Shots Fired
Average       2.2
Median        2
Mode          1
Max           20

Gun Type
Handgun        78%
Long Gun       13%
Unknown        8%

Body Carry by Type of Location    No      Yes
Business                          69%     31%
Home                              94%     6%
Public                            49%     51%
In or around Vehicle              65%     35%
Overall                           80%     20%

Multiple Assailants by Type of Location   No     Yes
Business                                  76%    24%
Home                                      72%    28%
Public                                    62%    38%
Retail Business                           52%    48%
In or around Vehicle                      49%    51%
Overall                                   64%    36%
